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Preface

     The Hampton Standards Manual (“Manual”) has been developed to provide
     the licensee with the required minimum standards, procedures, rules, regu-
     lations, policies and techniques of the Hampton hotel system. These require-
     ments are subject to change, amendment or supplement from time to time by
     Hilton Hotels Corporation. Also, Hilton Hotels Corporation has the respon-
     sibility to ensure compliance with the standards and the authority to grant
     exceptions to the standards as it deems appropriate and in the best interest of
     the Hampton hotel system.
     To achieve and maintain high standards of quality and service and associated
     goodwill for the Hampton hotel system, it will be essential that the licensee
     strictly adhere to all elements of the Hampton hotel system, including, with-
     out limitation, the Manual and the license agreement. The licensee must
     comply with and maintain the standards at a level equal to or greater than the
     requirements set out in the Manual. Violation of any of these standards by
     the licensee could be deemed a substantial and material violation or default
     of the license agreement, and it would be the responsibility of Hilton Hotels
     Corporation to take the necessary action to protect the integrity of the Hamp-
     ton hotel system. In addition, the licensor is committed to maintaining these
     standards in the Hampton hotels under its management.
     This Manual is the property of Hilton Hotels Corporation and is provided to
     the licensee for use and reference during the term of the license agreement.
     Additions and modifications to the Manual will be sent to the licensee in
     order to maintain the Manual in a current status. The licensee shall use all rea-
     sonable efforts to maintain the confidentiality of the Manual. Upon termina-
     tion of the license agreement (or commitment agreement to issue a license),
     the licensee will return the Manual and all other confidential material owned,
     created or used by Hilton Hotels Corporation without retaining any photo-
     copies.
     Questions regarding this Manual or system policies and standards may be
     referred to:
     Hampton Brand Management Team
     Hilton Hotels Corporation
     755 Crossover Lane
     Memphis, Tennessee 38117-4900
     Phone: 901/374-5000




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Introduction

     Hampton branded hotels have been designed to be a superior, moderately-
     priced hotel providing our guests with a clean, high-quality guest room, free
     breakfast bar, complimentary local phone calls, complimentary in-room
     movies, designated smoking and non-smoking rooms and a children-stay-
     complimentary program. The Hampton system will consist of hotels owned
     and operated by licensees and hotels owned and operated by Hilton Hotels
     Corporation
     The integrity, reliability and consistency of the Hampton hotel system will be
     maintained by the use of standards for both facility and service. This Stan-
     dards Manual has been designed to establish the minimum requirements
     for the construction, furnishing and operation of a Hampton branded hotel.
     The Standards Manual is provided by Hilton Hotels Corporation for your use
     and reference during the term of your license agreement. Periodic inspections
     of the hotels in the system will be conducted to ensure compliance with the
     license terms and standards.
     By our mutual dedication and cooperation we will make Hampton hotels the
     leading moderately-priced hotel system in the industry.




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About the PDF Manual and Navigation Tips

     The electronic (“online”) version of the Hampton Brand Standards Manual is your resource
     for finding the information you need quickly and efficiently.
     The PDF manual performs best if you download it to your computer’s hard drive. While it is
     fine to browse it online, it is most efficient from your hard drive or a CD if you plan to refer-
     ence it often.


     Downloading the manual

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          • Click on the “Save a Copy” button in the top left of your Adobe Acrobat screen.
          • Determine the folder in which you want to save the manual and click “Save.”


     Navigating in the manual

     There are several methods by which to quickly and efficiently navigate through the Standards
     Manual:
     Electronic Table of Contents
     This lists every section in the Standards Manual. To access this:
          • Go to the “Bookmark” window in the left margin of your screen.
          • The “Table of Contents” and the “Index” have boxes marked with a “+” sign in front
            of them. Click on the box for “Table of Contents” and the listing of the various sec-
            tions will appear, as well as the “Master” table of contents.
          • Next, click on the “Master” or specific section (i.e. “Rules of Operation”). This opens
            the selected table of contents in the manual
          • Once the actual page is on the screen, point your mouse to the specific subsection on
            the table of contents and click. This will automatically take you to that specific page
            within the manual.
          • To view items in other tables of content, go back to the “Bookmark” window and
            select either the Master or other section table, repeating the above process.




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          • Go to the “Index” section of the manual (most easily found by opening the “Book-
            mark” window as mentioned above) and click.
          • To go to any one of those indexed topics, simply click on the page number next to it
            and you will jump to that page.
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     To search for all references of a key word or phrase using the Acrobat Search function:
          • Click on the search icon (a pair of binoculars) on the Acrobat Reader tool bar. A
            search window will open and you can type in the word, phrase or subject you are
            seeking.
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            ria. It will then display all of the references in the window.
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            specific page.
     Cross References
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          • The page up or page down keys, or
          • The arrows at the bottom of the page.
          • The return key take will take you to the next page as well.


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     printer. Again, it is most efficiently printed from your hard drive or a CD. It is not recom-
     mended to print the entire book online; a few pages at a time printed from online is usually fine.




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                                         Section 100

                          Rules Of Operation




                                             – Confidential –
                                        for use by Hilton Hotels only



                                Any questions regarding the contents
                                of this manual may be addressed to:

                                 HILTON HOTELS corporation
                                     755 Crossover Lane
                                Memphis, Tennessee 38117-4900
05272008
                                     Phone: 901/374-5000
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          109.00              Guest Facilities  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 100-46

          110.00              Employee Service Standards .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 100-63

          111.00              Front Desk Service Standards .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 100-64

          112.00              Hilton HHonors Guest Protocol . .  .  .  .  .  .  .  .  .  .  .  .  . 100-67

          113.00              Customer Really Matters (CRM) .  .  .  .  .  .  .  .  .  .  .  .  .  . 100-70

          114.00              Reservation Service Standard  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 100-72

          115.00              Housekeeping And Maintenance
                              Service Standards  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 100-73

          116.00              Transportation Service Standards .  .  .  .  .  .  .  .  .  .  .  .  . 100-74

          117.00              Meeting Services .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 100-76

          118.00              Guest Room/Suite Amenities And Supplies .  .  .  .  . 100-77

          119.00              Quality  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 100-93

          120.00              Hotel Technology  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 100-96

          121.00              Environmental Program .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 100-98

          122.00              Hampton Brand Privacy .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 100-99




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                                                                          Rules Of Operation
Purpose And Scope

       The license agreement requires that the rules of operation as established by Hilton Hotels
       Corporation and as contained herein, must be observed by each hotel in the Hampton
       brand system in order to provide the public with a standardized, uniform hotel product
       identified by the word “Hampton.”
       These rules, along with the high standards set forth in the building, furnishings, quality of
       construction and the use of Trademarks, provide the basis for developing and operating a
       Hampton hotel.
       REFER QUESTIONS CONCERNING THESE STANDARDS TO:
       Hampton Brand Management
       Hilton Hotels Corporation
       755 Crossover Lane
       Memphis, Tennessee 38117-4900
       Phone: 901/374-5000




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                                                         Friendly service, clean rooms, comfortable surroundings, every time.
                                                         If you’re not satisfied, we don't expect you to pay.
                                                         That’s our commitment & your guarantee. That’s 100% Hampton.




   Rules of Operation
   100% Hampton Guarantee


   Every Hampton hotel must participate in the 100% Hampton Guarantee program and uncondi-
   tionally deliver the 100% Hampton Guarantee to every guest. If a guest is not completely satisfied—
   regardless of the reason—he or she must not be charged for the stay. To effectively implement this
   unconditional guarantee, each hotel owner/operator must:
    A. Train every hotel employee on the importance of guest satisfaction by using the DVDs provided
       by Hilton Hotels as part of our “Ultimate Service: Make It Hampton” training program. The 100%
       Hampton Guarantee training must be completed within 14 days of employment at the hotel.
    B. Empower each hotel employee to action the guarantee when needed and give all hotel employees
       the authority to deliver the guarantee without requiring additional management approval.
    C. Prominently display the Guarantee plaque on the front desk facing the guest—one plaque in the
       front of each work station.
    D. Complete a 100% Hampton Guarantee voucher for each guarantee invoked including guest’s
       signature. Ensure that voucher information is transmitted to the Hilton Hotels corporate office
       during each night’s audit.
    E. Maintain on property a 100% Hampton Guarantee file, which must include copies of completed
       guarantee vouchers and back-up documentation, and any other pertinent information related to
       the guarantee.
    F. The hotel should first attempt to resolve any guest complaints at the hotel level. If a guest con-
       tacts the Guest Assistance department with a complaint, it will either be referred to the hotel for
       resolution or will be resolved immediately by the Guest Assistance Representative. Any complaints
       referred back to the hotel must be resolved to the guest’s satisfaction within 48 hours of notifica-
       tion. If the problem is not resolved within this time frame or if Guest Assistance intervention is
       required to resolve the complaint to the guest’s satisfaction, the hotel will be charged an interven-
       tion fee, in addition to any cash refunds or “Be My Guest” cards issued to ensure/promote 100%
       Guest Satisfaction. Intervention fees are $200 for Diamond guests, $150 for Gold guests and $100
       for all others.
   When Guest Assistance issues a refund or “Be My Guest” card, the hotel responsible for the complaint
   will be responsible for the cost of these refunds/complimentary vouchers and will be invoiced as
   follows. (Refer to Rule of Operation 107.08) for additional information on the “Be My Guest” card
   program.)
   These charges will be due to Hilton Hotels within 10 days of invoice date. Any unpaid/unresolved
   charges may be withheld from any payments due to the hotel/licensee on behalf of Hilton Hotels.
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                                                                              Rules Of Operation
100.00 General Rules of Operation

100.01   See the previous page for 100% Hampton Guarantee information.
100.02   All aspects of a Hampton branded hotel (or any associated facility or service) including but
         not limited to personnel, buildings, grounds, furnishings, fixtures, decor, equipment, signs,
         vehicles, linens, supplies, glass, printed matter and any other element thereof that affect
         the guest directly or indirectly must be maintained at all times in accordance with the high
         standards of service and physical appearance associated with Hampton branded hotels.
         (This includes but is not limited to cleanliness, service level, safety, security, wear, adequacy
         of supply, working order and coordination of color schemes and designs.) This further in-
         cludes but is not limited to requiring:
          A. A very high state of cleanliness throughout the Hampton hotel.
          B. A responsive, caring, guest-oriented hotel staff.
          C. Adequate lighting in all areas.
         D. Adequate ventilation to maintain all areas free from offensive odors.
          E. All landscaping, building exterior and interior furnishings and decor (as exposed to the
             guest) to be professionally designed and coordinated, as specified by standard Hamp-
             ton hotel plans and specifications.
          F. All Hampton Team Members must be knowledgeable of their job requirement, be
             well-groomed, dressed in clean, neat and required wardrobe “i am hampton collec-
             tion” items by Lands’ End (see Section 500 for wardrobe requirements) no later than
             6/15/08.
         G. The hotel, in all aspects of its facilities and operation, to comply with any and all ap-
            plicable laws, ordinances and regulations.
         H. Any and all additions or replacements of items included in the Building and Furnish-
            ing Standards (Section 300) of this manual to conform to those requirements pre-
            vailing at the time of addition or replacement.
          I. All use of trademarks to be in strict conformance with the current requirements in the
             Trademark and Identity Standards, Section 400, of this manual.
          J. Each hotel should ensure compliance with all construction, equipment, and training
             requirements as determined by the Americans With Disabilities Act.
100.03   Any type of material, activity or entertainment which is not in conformity with the high
         standards associated with the Hampton name must not be displayed or conducted on the
         premises. No X-rated movies may be shown or televised at the hotel.
100.04   All Hampton hotels must participate in programs (marketing, training, operating, etc.)
         whether national or regional, which Hilton Hotels designates beneficial to the Hampton
         hotel system. Current system programs include but are not limited to:
          A. 100% Hampton Guarantee – Refer to Rule 100.01 for details.
          B. Ultimate Service: Make It Hampton – Refer to Rule 106.12 for details.

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                                                                         Rules Of Operation
        C. HHonors – Entitles guests who have signed up for membership to participate in our
           guest loyalty program. All Hilton properties are required to participate in this program.
           Promotional materials must be available at the hotel’s front desk kiosk.
        D. eCheck-In – Each Hampton property must participate in the eCheck-In program for
           HHonors guests. eCheck-in is an electronic check-in service that allows Diamond and
           Gold HHonors members to choose their room numbers prior to arriving at the hotel.
           This is important to our best guests because it gives them choice, convenience, control
           and confidence.
            1. Diamond and Gold HHonors guests to go to brand.com up to 36 hours prior to
               arrival to select a specific room number for room assignment. eCheck-in is avail-
               able to guests beginning at 6:00 am local time on the day prior to arrival until
               10:00 pm local time on the day of arrival provided they are eChecking-in at least
               two hours in advance of the guest-supplied arrival time.
            2. Guests are shown room options based on availability, special requests and
               HHonors tier. Time of eCheck-in and the time of guest arrival also affect which
               rooms are shown as available for eCheck-in.
            3. The hotel completes the check-in process in OnQ. In the OnQ system, eCheck-in
               is the same as room pre-assignment because eCheck-in rooms are automatically
               pre-assigned. There is no special reservation status in OnQ for eCheck-in guests.
           NOTE: Guests will not be able to request an early arrival or late check-out during the
           eCheck-in process.
        E. AARP/CARP
            1. U.S. Hotels
               Effective September 1, 2007, all Hampton branded hotels are required to have an
               AARP (ARP) and CARP (CRP) rate plan established in the central reservations sys-
               tem. For U.S. hotels, presentation of AARP/CARP membership card is required in
               order to obtain the 10% discount off the best available rate.
               a. Requires mandatory participation in the program.
                b. Non LRA
                c. Cannot be combined with other discounted rates.
                d. Does not apply to groups.
                e. Cannot be applied to special event rates.
            2. Canadian Hotels
               Effective September 1, 2007, all Hampton branded hotels are required to have an
               AARP (ARP) and CARP (CRP) rate plan established in the central reservations sys-
               tem. Either AARP or CARP member ID or proof that the guest is 50-plus years of
               age is required at check-in.
               a. Requires mandatory participation in the program.
                b. Non LRA
                c. Cannot be combined with other discounted rates.

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                                                                           Rules Of Operation
                d. Does not apply to groups.
                e. Cannot be applied to special event rates.
         F. AAA – All Hampton branded hotels are required to have a AAA rate plan established in
            the central reservation system. Effective January 1, 2005, hotels may offer a 0 percent, 5
            percent or 10 percent discount off of the best available rate to AAA members.
            1. Rates may vary by location, day of week and seasonally.
            2. AAA rate cannot be combined with other discounted rates.
            3. AAA rate does not apply to groups.
            4. AAA membership card is required at the time of check-in.
        G. Employee Room Discount Program – Allows team members not traveling on busi-
           ness to stay at Hilton Hotels Corporation properties at a discounted rate. Team mem-
           bers are responsible for settling all charges upon check-out. This program does not
           include hotels located within 50 miles of the team member’s work or residence. Please
           note that Hilton Hotels Corporation reserves the right to change, cancel or audit com-
           pliance with this program at any time. Participation in this program is mandatory.
           Go to http://www.hilton.com/tmtp for complete details of this program.
            1. Hotel Inventory Requirements
               a. Hotels must continue to set aside a minimum of one to three rooms to be of-
                  fered at these special rates. This Employee Room Discount Program is already
                  established for your hotel. The same guidelines already in place will remain.
                     1) For Hampton brand hotels with less than 75 rooms, a minimum of one
                        room must be available for sale at the employee discount for each night
                        of inventory.

                     2) For hotels with 75 or more rooms, a minimum of three rooms must be
                        available for sale at the employee rate for each night of inventory.

                b. Discounted rooms are available at over 2,000 owned managed or franchised
                   hotels and resorts subject to applicable taxes and hotel guarantee and cancella-
                   tion policies.
                    Conrad Hotels, HGVC, and Hilton International Hotels do not offer an em-
                    ployee rate. Conrad Hotels and Hilton International employees are not eligible
                    for the employee rate in this program. Team member must be present at check-
                    in. Go to http://www.hilton.com/tmtp for complete details of this program.
                c. The only blackout dates permissible are for special events. A maximum of 12
                   blackout days per year are permissible.




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                                                                              Rules Of Operation
            2. Reservations
               a. Reservations must be through our Hilton Reservations Worldwide office using
                  the toll-free number, 1-877-54ROOMS (1-877-547-6667) or visiting the Team
                  Member Travel Program Web site at http://www.hilton.com/tmtp. Reservations
                  are subject to availability and may not be available during onetime special
                  events.
                b. Reservations at Doubletree Hotel/Suites, Embassy Suites, Hampton brands and
                   Homewood Suites by Hilton may be made up to one year in advance, but no
                   fewer than seven days in advance of your arrival (Embassy Vacation Resorts, no
                   fewer than 21 days in advance of arrival). Reservations at Hilton brand hotels
                   may be made up to one year in advance but no fewer than 14 days in advance.
                c. Contact your general manager with your confirmation number and you will
                   receive a signed Travel Passport. Be sure to keep your Travel Passport in a safe
                   place since you’ll need to present it—along with a photo ID—at check-in. Go
                   to http://www.hilton.com/tmtp for complete details of this program.
            3. Rates/Discounts
               a. Team members pay a discounted flat rate, depending on the brand they visit.
                     Destination Properties                                             Team Member Rate

                     Hilton Garden Inn/Hilton Suites                                    $39 per night
                     Hilton Hotels & Resorts                                            $49 per night
                     Hilton Specialty Properties                                        $59 per night
                     Doubletree Club Hotels, Hampton Inns,
                     Hampton Inn & Suites                                               $29 per night
                     Doubletree Hotels and Resorts, Homewood Suites,
                     Embassy Suites Hotels                                              $39 per night
                     Hilton Premium Properties                                          50% discount
                     Embassy Vacation Resorts                                           $125


                   Please see the team member travel program on OnQ Insider.
                b. Some hotel operated restaurants may offer a 25 percent food and beverage
                   discount (excluding bar and lounge charges). The destination hotel must make
                   this information available for the visiting team member at check-in.
            4. Participation in this program is mandatory.
        H. Be My Guest Cards – Refer to Rule 107.08 for details.
         I. Travel Agent Commission Program – Requires all licensees to participate in the cen-
            trally paid Travel Agent Commission Program and to reimburse the Hampton system
            by the 15th of the month for commissions paid the previous month.




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                                                                           Rules Of Operation
         J. Global Distribution System – Requires all licensees to participate in the centrally paid
            GDS booking fees (and all other third-party bookings) and to reimburse the Hampton
            System by the 15th of the month for booking fees paid the previous month.
        K. Unlimited Budget Program – Requires all licensees to participate in the centrally paid
           Unlimited Budget Program and to reimburse the Hampton system by the 15th of the
           month for commissions paid the previous month.
        L. Quality Assurance Program – Requires all hotels to participate in our centrally-man-
           aged QA process. All hotels must adhere to the requirements outlined in the current
           QA program, and will receive periodic unannounced evaluations which will result in
           an overall grade. Current QA criteria may be obtained through the QA Department.
           See Rule 119.01 for more information on Quality Assurance evaluations.
        M. Total Solution – Hilton assumes certain lease payments from preferred lessors for the
           hardware needed to support the OnQ Property System network. This mandatory pro-
           gram allows Hilton Hotels Corporation to ensure that the hardware used at the hotel
           level to drive all of our technology tools and resources, is kept refreshed in today’s ever
           changing world of computer hardware (see Rule 120.07).
        N. Make It Hampton – All Hampton brand hotels are required to comply with all Make
           It Hampton components. These components consist of both product and service ele-
           ments. Selected items are proprietary to the brand and must be purchased through ap-
           proved distributors and/or manufacturers.
            All components must be implemented in their entirety and as a package, and within
            the timeline and the implementation plan as communicated to all hotels. Selected
            items in this initiative will be proprietary to the brand, and as such, must be purchased
            through approved distributors and/or manufacturers.
            NOTE: Hotels engaged in an active Product Improvement Plan (PIP) must complete all
            required components within the specified PIP time frame.
        O. Be Hospitable – Team members must complete Be Hospitable training within 30 days
           of start date.




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                                                                             Rules Of Operation
100.05   A printed copy of the Hampton Standards Manual is no longer required at each property. The
         Hampton Standards are available on OnQ Insider > Hampton Brand.
100.06   Solicitation of guests by outside vendors or employees is strictly prohibited. Solicitation
         material is strictly prohibited from being on the front desk or in the lobby/breakfast area.
100.07   High-speed Internet Access (HSIA)
         Note: All hotels must transition to the Stay Connected HSIA program by December 31,
         2008.
         Hotels must have high-speed Internet access installed in 100 percent of guest rooms/suites
         with either wired or wireless solution and must be complimentary to guests.
          A. For Wired Solutions – A physical connection must be plainly visible on the desk top.
              An Ethernet cord is required to be present at all times in the guest room. See Standard
              613.00 for complete requirements.
          B. For Wireless Solutions – Wireless 802.11b or 802.11g (dual mode) Ethernet bridges
             must be provided at the front desk for at least 10 percent of the total number of guest
             rooms. These devices must be plug-and-play and must not require any configuration of
             the guest’s laptop or the wireless bridge.
100.08   Hampton.com Images
         All Hampton Inns and Hampton Inn & Suites must make available still property im-
         ages on the brand Web site www.hampton.com. Hotels may load multiple images free of
         charge. For information on loading images, consult the following Web site: OnQ Insider >
         Hampton Brand.
          A. Hampton Inn hotels must have a minimum of four still images of their hotel.
          B. Hampton Inn & Suites hotels must have minimum of five still images of their hotel.
             The core four as indicated for the Hampton Inn brand, plus a guest suite image.
         C. All online images of the hotel or property must adhere to the following:
             1. No hotel may have more images on a third-party or stand-alone Web site than it
                has posted on www.hampton.com.
             2. Images must be an accurate representation of the hotel facilities and rooms.
         D. Specific required images to be available on www.hampton.com are as follows:
              1.   Exterior
              2.   Breakfast area
              3.   Front desk/lobby
              4.   Standard guest room
              5.   Guest suite (for Hampton Inn & Suites)




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                                                                           Rules Of Operation
          E. Other ideas (ideal but not mandatory) are:
               1. Swimming pool
               2. Fitness center
               3. Conference/meeting room
               4. Business center
               5. Image of each room type
               6. Local area images
100.09   All hotel public spaces, including hotel entrance areas, must be non-smoking 24 hours per
         day. All hotels should designate a smoking area for meeting room attendees, groups and
         team members. The smoking area should be away from the main entrance with a smoking
         post provided. Hotels electing to be 100% smoke-free must provide an area away from any
         primary entrance way or porte cochere to direct all smoking guests. A smoking post must be
         provided here in addition to the smoking post located at the front entrance.




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                                                                             Rules Of Operation
101.00 Standard Features

         The Hampton Trademark stands for a series of hotel services and features which, taken
         together, support the hotel guest’s perception that Hampton stands for an up-to-date con-
         sumer-oriented lodging experience designed to meet the needs of both business and lei-
         sure travelers. The features detailed in the sub-sections below reflect features integral to the
         maintenance of the value of the Hampton Trademark.
101.01   The complimentary On the House Hot Breakfast must be available to all guests at no
         charge in the lobby of the hotel between the hours of 6:00 a.m. to 10:00 a.m. each day. The
         complimentary Hampton’s On the Run Breakfast Bag must be available from 5:30 a.m. to
         10:00 a.m. Monday through Friday. See Standard 200.03.
101.02   Public perception of the Hampton Trademark, and the service and value orientation of a
         Hampton branded hotel, is adversely affected by hotel practices which impose additional
         charges for non-toll local phone calls or surcharges for long distance calls not charged to
         the hotel. Such activity impairs the value of the licensed Trademark and is directly contrary
         to the objectives of the license agreement.
         Accordingly, hotels will offer the following services:
          A. Complimentary local calls
          B. Complimentary 0+ dialing
         C. No charge for toll-free calls (800, 888, 866, 877 etc.)
         D. No surcharge for long-distance calls not charged to the hotel
          E. No surcharge for calling card calls
          F. Credit card rates from AT&T or if an alternate carrier is used rates must be less than or
             equal to the AT&T credit card rate.
         G. No long-distance access charges
         H. No charge for data port usage utilizing local or toll-free calls
101.03   All hotels are required to make available in every guest room/suite a clear and meaningful
         explanation of the following guest room/suite telephone information. This information
         must be displayed in the Guest Services Directory (Rule 118.12).
         The three pieces of information are:
          A. The name of the carrier with whom the hotel has contracted for long distance (0+) ser-
              vice
             NOTE: If the hotel has contracted with an alternate provider (even one that in turn
             uses AT&T lines underlying their delivery of service), the name of that alternate pro-
             vider must be displayed.
          B. A method to obtain information on what rate the guest will be charged for their call.




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                                                                               Rules Of Operation
         C. A method to obtain assistance when there has been a problem or to get other infor-
            mation about the long distance service.
             The following example of this notification is for format only.
             Recommended: AT&T as the long distance carrier for the hotel.
101.04   Each guest room/suite must have a telephone at the nightstand (see Standard 309.13B)
         equipped with a 25-foot cord and a message light. (See Standard 604.00 for additional de-
         tails.) Adaptor plugs are not permitted. An additional phone may be provided at the desk.
         If two phones are available, each must be equipped with a 15-foot cord. In studio suites,
         phones are required at the nightstand and at the desk.
         Emergency dialing instructions must be displayed on the telephone face plate. A speed-dial
         button may be used as long as the telephone face plate displays the emergency dialing in-
         structions in the event the speed-dial button is inoperable.
101.05   Guest room telephones must have a face plate with a minimum of the following dialing
         instructions.


              We have selected XYZ Company as the long distance
              carrier for calls dialed 0 + area code + telephone
              number.
              For XYZ Company rate information,
                  access an outside line, then dial 0 + area code +
                  telephone number + 0 or 1+ area code + telephone + 0.
              For other questions or customer information on 0 + service,
                  access an outside line, then dial 1-800-xxx-xxxx for an XYZ
                  Company representative.


         If the phone has other special features, i.e., hold, transfer, conference, speaker, automatic
         wake-up call service, etc., instructions for operation of these features must also be displayed
         on the faceplate. Replace the “xxx” in the following list with the appropriate digits for your
         hotel.
          A. Dial xxx for local calls
          B. Dial xxx for long-distance calls charged to your credit card/collect calls
         C. Dial xxx for long-distance calls charged to your room
         D. Dial xxx for international calls
          E. Dial xxx for 800 access
          F. Dial xxx for hotel operator
         G. Dial xxx for hotel services
         H. Dial xxx for emergency
          I. Dial xxx for messages (voice mail access)


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          J. Dial xxx for directory information
          K. Dial 1-800-Hampton for reservations
          L. How to call room-to-room
         M. Room number
         N. Hotel name
         O. Hotel address
          P. Hotel phone number
         Q. Hotel fax number
          R. An efficient voice mail/messaging system must be used as a part of the standard phone
             system, with posted, easy to understand operating instructions.
101.06   A free in-room premium movie channel and guide must be provided to all guest rooms 24
         hours daily. The following are considered acceptable premium channels: HBO, Cinemax,
         Showtime, Disney Channel, The Movie Channel and STARZ.
         At a minimum, ABC, CBS, NBC, CNN Headline News, Fox and ESPN must be provided at
         no additional cost on each guest room/suite television set.
         If the hotel chooses to go with Lodgenet as the hotel’s free to guest provider, the following
         channels are required: HBO, ESPN, ESPN2, CNN, CNN Headline News, TNT, TBS, CNBC,
         The Weather Channel, The Cartoon Network, Comedy Central, MTV, Nickelodeon, A&E,
         History Channel, ABC, NBC, CBS, Fox and PBS.
         Recommended: Full basic cable service
101.07   No charge can be made for children 18 years of age and under, staying in the same room as
         their parent(s) and using existing furnishings.
101.08   Non-scents
         Each Hampton hotel must implement and utilize Hampton’s odor elimination program,
         “non-scents.” The “non-scents” program requires:
          A. Proctor and Gamble dilution center must be installed.
          B. Housekeeping must use the Febreze Linen and Sky Fabric Refresher in each room
             serviced as outlined in the “non-scents” job aid located on OnQ Insider > Hampton
             Brand.
         C. Smoking or rooms with malodors must also be treated with Febreze Linen and Sky Air
            Effects.
         D. No other scent may be utilized at the hotel, with exception to the the public restrooms.
          E. Maintaining an ozone machine on property for use as needed is optional.
         NOTE: Hotels may use ozone generating air purifying units but the “non-scents” program is
         required.




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101.09   All Hampton hotels are prohibited from selling alcoholic beverages and tobacco prod-
         ucts. Beer kegs, beer taps or portable bars may not be present in the lobby or breakfast bar.
         Hampton Inns and Hampton Inn & Suites hotels are allowed to sell bottled alcoholic bev-
         erages (beer and wine only) in the Suite Shop with required local licensing, training, certifi-
         cation, insurance, etc.
101.10   Hotels with no on-site fitness centers must provide guests access to a local facility. A nomi-
         nal charge to guests may be required for off-site facilities.
101.11   Complete coffee, tea and hot cocoa service must be available to all guests at no charge in
         the lobby of the hotel 24 hours a day. See Breakfast Standards 202.00 for details
101.12   Complimentary USA TODAY newspapers must be available for two-thirds or 67 percent of
         occupied rooms Monday through Friday and displayed in the breakfast menu/newspaper
         kiosk. International properties may substitute a local or national newspaper printed in the
         local language with approval of the Hampton Brand Management Team.
         New properties that need to establish USA TODAY subscription service should call USA To-
         day’s national account manager at 303-487-5425. The national account manager will direct
         properties to the correct USA TODAY regional office.
         If a hotel chooses to deliver the paper to all occupied guest rooms/suites the following
         must be implemented:
          A. Order enough papers for 100 percent of the occupied guest rooms/suites.
          B. Include the required verbiage on the guest registration folio:
             “I have requested weekday delivery of USA TODAY. If refused, a credit of 75¢ will be
             applied to my account.”
         C. Provide delivery of the newspaper to the door of all occupied guest rooms/suites by
            7:00 a.m. in the approved bag placing it on the door handle (if the newspaper will slip
            completely under the guest room door, no bag is needed).
         D. The front desk cannot be left unattended. Additional personnel (i.e., a maintenance or
            housekeeping employee) will be needed to deliver papers.
         Please note: Delivery of the USA TODAY newspaper to the guest room/suite is required for all
         HHonors members.
101.13   For Hampton brands, all high-speed Internet access service is deemed to be “complimen-
         tary to the guest.” No other pay for usage services are authorized.
101.14   Hampton Branded Music
          A. Hampton branded music is required in the following areas:
              1.   Lobby
              2.   Breakfast area
              3.   Elevator lobby (first floor)
              4.   Porte cochere
              5. On-hold messaging




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        B. Public Space Music Requirements
           This standard is to ensure a consistent music and messaging operating experience from
           property to property. The following items represent the standard system components
           and quantities for all Hampton properties.The quantities have been determined uti-
           lizing the latest Hampton Inn prototypical lobby templates.Not all properties reflect
           these templates. Floor plans and square footage may vary from location to location;
           this will require adjustments to the speaker layout based on site conditions. An analog
           telephone line is required for system operation/updates.
           The speaker layout is based on an average coverage pattern of 200-250 sq. ft. per speak-
           er. Areas of Coverage: outside entrance, reception, breakfast lounge and elevator lobby
           (first floor). Speaker counts may very. All source equipment will typically be located in
           the PBX room. Also see the 600 Information Technology section, Standard 614.00.
           Hampton Branded Music has been specifically tailored to the Hampton guest demo-
           graphic. The mix of music is warm and welcoming, exuding a rich natural texture. Song
           arrangements are classic with quality musicianship and a keen sense of melody. Di-
           versity and depth are achieved by drawing from a dynamic pool of varied music styles,
           creating an experience that is both subtle and significant. This music is provided on a
           digital hard drive which stores and plays back both music and message files.
        C. On Hold Messaging
           A single-voice message database has been developed with the Hampton Marketing
           team. This allows the Hampton Brand team the ability to support creative direction
           and control the brand message that the Hampton guest hears when calling a Hampton
           property. In addition, Hilton programs, promotions, etc., can be mentioned. The cur-
           rent system provides 90-day updates to the messaging program. The mix of music is
           warm and welcoming, exuding a rich natural texture that is specifically tailored to the
           Hampton guest demographic. Song arrangements are classic, with quality musician-
           ship and a keen sense of melody. Diversity and depth are achieved by drawing from a
           dynamic pool of varied music styles, creating an experience that is both subtle and sig-
           nificant.
           Each property/owner has the ability to customize two individual on-hold messages.
           On hold messaging allows each property to contact DMX directly by e-mailing the
           messaging department at messaging1@dmx.com to select the Standard Hampton Inn
           Corporate messages for their property. It also gives quick access to the Message Mar-
           keting Center to create up to (2) two “signature” or custom messages on a monthly,
           quarterly, or annual basis, dependent upon your contract terms. This feature gives each
           property the ability to market their unique amenities, highlight local attractions and
           schedule message updates quickly and easily.




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102.00 Guest Services

102.01   Telephone switchboard service must be operated on a 24 hour a day basis.
         Initial calls into the hotel switchboard must be answered in person. Automated attendants
         (automated systems that answer/transfer calls) are not permitted. Once answered, an on-
         hold message reminding callers that a service representative will assist them shortly is ac-
         ceptable. Automated interceptors (automated systems that answer on the fourth ring) are
         acceptable as long as there is an on-hold message reminding callers that a service represen-
         tative will assist them shortly.
102.02   Reservation requests at the hotel must be processed for guests 24 hours daily.
102.03   Personnel must offer to find other available Hampton brand hotel accommodations in the
         area when the hotel is filled. However, if there are no Hampton hotel accommodations in
         the area suitable to the guest, personnel must offer to find other suitable accommodations
         within the Hilton family brands. If there are no other Hilton brand hotels available, suit-
         able accommodations for the guest should be secured.
102.04   No charge must be made for baby cribs.
102.05   The charge for rollaway beds must be in accordance with the hotel’s current reservations
         system rate information.
102.06   Every hotel will prominently display in the lobby the current Hampton directory in the
         front desk kiosk.
102.07   All guests must be called within one hour of check-in. This call must include confirma-
         tion of comfort and quality of the room, an offer of a wake up call, a thank you for their
         business, verification of their airline mileage choice as well as reminder about the 100%
         Hampton Guarantee.
         Guest call-backs are not required for check-ins after 9:00 p.m. Documentation of these calls
         must be maintained for 60 days. A call-back log sheet should document each guest room/
         suite number, guest name, check-in time, call-back time, comments if applicable and GSR
         initial.
102.08   Parking must be free to registered guests.
102.09   In-room advertising must be permitted only in the Guest Service Directory and may in-
         clude:
          A. Hampton Inn hotel services and facilities. (Promotion of any company that competes
              with any business of Hilton or its affiliates is prohibited.)
          B. Facilities offering goods, food and beverage services, or entertainment in the area in
             which the hotel is located.
102.10   Hotels must use the red “freshen please” service signal card. The HHonors postcard is lo-
         cated with the water and snack and is not required when a guest participates in MY WAY.




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102.11   Each hotel must have available at the front desk a professionally printed property map to
         provide guests that contains at a minimum the following information:
          A. The location of guest rooms, parking, vending and all other hotel
             facilities. The map must identify all ADA accessible features.
          B. Appropriate service establishment names, telephone numbers, locations, and hours of
             operation to include but not be limited to restaurants, service stations, laundries, drug
             stores, etc.
         C. Local area places of worship with telephone numbers.
102.12   Each hotel must ensure compliance with all equipment, construction and training require-
         ments as required by the Americans With Disabilities Act.
102.13   A facsimile (fax) message sending and receiving service must be available to the Hampton
         guest 24 hours daily. The fax machine must have a dedicated phone line, not an extension
         from the hotel switchboard. The hotel staff must be available to assist the guest.
          A. The hotel may not charge a guest to receive an incoming fax.
          B. To send a domestic fax, charges are not to exceed $2 per page.
         C. To send an international fax, charges are not to exceed $5 per page.
102.14   Every hotel will make available free to guests, upon request, the following toiletry items:
         comb, shaving cream, disposable razors, shower cap, toothbrushes and toothpaste. See Sec-
         tion 400 for an illustration of the approved tray that acts as signage for this program.
102.15   Managers-on-duty and front desk staff must be able to communicate with guests in English,
         as well as in the official language of the country in which the hotel operates.
102.16   Hotel must provide at a minimum one luggage cart for every 50 rooms in the hotel.
102.17   Hotel must provide Express Check-out to all guests paying with a credit card or advance de-
         posit.
         The hotel has two options in delivering Express Check-out to non-HHonors guests.
          A. Print all Express Check-out folios and seal each one with a 100% Hampton sticker.
              Write the guest room/suite number on each sticker. Deliver Express Check-out to all
              occupied guest rooms/suites by 7:00 a.m. daily (this is the brand recommendation), or
          B. Print all Express Check-out folios and seal each one with a 100% Hampton sticker.
             Write the guest room/suite number on each sticker. Arrange folios in numerical order
             and place them at the front desk so that they are available to guests by 7:00 a.m.
             Please note: Express Check-out folios delivery is required to HHonors members. See
             Rule 112.04 for further details.
102.18   Hotel must offer same day dry cleaning and laundry services to guests at least five days per
         week. A detailed laundry service ticket and laundry bag are required in each guest room/
         suite.




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                                                                              Rules Of Operation
102.19   Service Animals
         Hotels are required to comply with the American With Disabilities Act (ADA) governing
         service animals. Hotels are prohibited from requiring a pet deposit for a guest’s service
         animal or pets of any kind. Also, hotels are prohibited from denying an owner of a service
         animal a guest room as this would be a violation of the ADA.
         Required: Effective January 1, 2008, General Managers must be certified in the e-learning course,
         Hampton Animal Service Training as found under Hilton University on OnQ Insider.
         It is recommended that this training be completed by your staff. Additional training videos
         and materials may be obtained from the Delta Society at http://www.deltasociety.org. A
         list of commonly asked questions concerning service animals may be found on the United
         States Department of Justice Web site at http://www.ada.gov/archive/qasrvc.htm.
102.20   Hotels with 75 rooms or less must provide a minimum of three rollaway beds. Hotels with
         76 or more rooms must provide a minimum of five rollaway beds.
102.21   Hotels with 75 rooms or less must provide a minimum of three cribs. Hotels with 76 or
         more rooms must provide a minimum of five cribs.
102.22   Guest Room First Impression
         All reserved and potentially sold guest rooms must be prepared for guest arrival with the
         following procedures:
           A. Set the HVAC in the guest room to a comfortable temperature (based on the tempera-
               ture of the day and the guest’s comfort—extreme heat and cold is not recommended).
          B. Leave one light on in the room, next to the bed.




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                                                                           Rules Of Operation
103.00 Methods of Payment

103.01   American Express (including Optima Card), Diners Club, Carte Blanche, VISA, MasterCard
         and Discover must be accepted at all hotels for rooms, telephone charges, miscellaneous
         charges and advance deposits.
103.02   Cash or money orders must be accepted as methods of payment for guests’ current stays.
         Guests must not be charged a deposit fee for a room key, television pay movie service, guest
         access devices (GADs), pets or telephone service (whether the guest is paying by cash or
         credit card). Individual guests, those not associated with a group, may not be charged a
         damage deposit. No additional charges must be imposed on guests for smoking in a non-
         smoking guest room or violation of hotel pet policy. Guests may not be charged an ad-
         ditional amount for any permanent structure or feature of guest room/suite (i.e., in-room
         safes, bottled water, snacks, bedding, towels, high-speed Internet access [HSIA], collateral,
         GADs, etc.). No charge must be made for baby cribs or for use of microwave and/or refrig-
         erators. The charge for rollaway beds must be in accordance with the hotel’s current reserva-
         tions system rate information.
103.03   Hampton hotels are required to accept and honor, as a form of payment, multi brand guest
         certificates that feature Hampton, Embassy Suites, Homewood Suites, Hilton Garden Inn
         and Doubletree Hotels (suites, resorts and clubs).




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                                                                              Rules Of Operation
104.00 Room Rates

104.01   Room rates are to be determined by each franchisee at his/her discretion. Room rates
         charged must not be higher than the rates listed in the reservation system. These rate levels
         are available to the hotel-LV0 high demand, LV1 right rate, and LV2 length of stay rate.
         The rate effective in the reservation system when the reservation is made is guaranteed.
         Please note: Any changes to the arrival date are subject to availability and possible rate change.
         In the event that room rates increase prior to the date of arrival, the guest may not be
         charged more than the rate guaranteed at the time of the initial reservation booking.
         If a guest advises Hilton Hotels of a rate discrepancy, Hilton Hotels will verify the com-
         plaint and resolve the matter by mailing a refund to the guest. The hotel must reimburse
         Hilton Hotels Corporation for the amount of the refund and intervention fee.
104.02   Hotels must make available all rates and inventory available to the general public through
         Hilton Hotel Corporation proprietary booking channels (HHC Channels) which include:
         Hilton Reservations Worldwide, Brand.com Web sites and OnQ. No general public rate
         offering may be sold through any non-Hilton Hotels Corporation Web site or any other
         channel (including third-party resellers/wholesalers, merchant model Web sites, GDS, etc.)
         unless that rate is also made available (at no less favorable terms) to the HHC Channels.
         All general public rate offerings must be consistent across all HHC Channels. If you choose
         to provide non-Hilton Web sites or any other channel (including third-party resellers/
         wholesalers, merchant model Web sites, GDS, etc.) with a general public rate offering that
         is lower than what is currently being offered through the HHC Channels, you must make
         that new lower rate available through the HHC Channels.
         Hotels are permitted to provide lower rate offerings to third-parties without having to offer
         the same low rates to the HHC Channels only if:
          A. The hotel brand is not apparent at the time of purchase (true opaque channels; review
               HHC accreditation standard for those that are approved.)
          B. The third-party is a wholesaler who resells bundled packages to the guest where the
             hotel rate is not discernible.
         Guests serve in a discovery role to report any inconsistencies to this standard with data col-
         lected through Guest Assistance. Offending hotels are charged the actual cost of resolution
         (at a minimum, honoring the lowest price) plus the current Guest Assistance intervention
         fees.
104.03   Distribution Standard
         Any property that chooses to offer inventory, either directly or indirectly, must comply with
         all of the provisions of this Standard, which includes:
          A. For online merchant (wholesale) or opaque distributors: Offer inventory only when
               HHC has accredited (or temporarily accredited) a distributor.
          B. Comply with the terms of the Best Available Rates Integrity and Consistency Standard.
             Actual selling rates (wholesale, retail, or otherwise) are determined by each hotel.




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         C. Comply with the terms of all Web site and Trademark Protection Standards such as
            (but not limited to):
             1. Refrain from bidding on or purchasing keywords containing HHC trade names or
                 trademarks (i.e., individual properties may only buy brand neutral keywords and/
                 or the hotel’s official name as listed in your Brand Directory).
             2. A hotel is not authorized to permit use of HHC trade names or trademarks to any
                 distributor. This includes advertising or any other direct or indirect marketing (i.e.,
                 affiliate programs, metasearch, etc…).
             3. Any content provided by the hotel to an accredited distributor must also be pro-
                 vided to HHC for its branded Web sites and is subject to HHC review and approv-
                 al in HHC’s discretion.
         D. HHC accreditation standards require that if a hotel participates with third party online
            merchant distributors, then the hotel must participate with all accredited distributors
            approved by HHC when offering merchant model inventory. If the hotel chooses to
            participate with an HHC accredited opaque site, it is required that those sites make our
            brand non-apparent at the time of booking in order for the hotel to participate. Hotels
            aren't required to participate with all accredited opaque sites.
          E. A hotel that signs any agreement with a HHC Accredited Distributor must work with
             ALL Accredited Distributors (i.e., all accredited third-party online merchant distributors
             when offering merchant model inventory, and all accredited third-party online opaque
             distributors when offering opaque inventory).
104.04   Highest seasonal room rates or rates dictated by local or state ordinance must be posted
         conspicuously in all guest rooms.
104.05   When electronic rate signs are included as a part of the on-premise sign package, compliance
         with the following is required:
          A. Rooms must be available for sale for the rate posted.
          B. The word “single” shall mean:
             1. The rate displayed is the one person rate for available advertised rooms and,
             2. The normal multiple occupancy differential will apply.
         C. The words “all rooms” shall mean:
              1. All rooms (both single and multiple occupancy) will be sold at this rate;
              2. All guests will receive the rate displayed for that day regardless of check-in time;
                 and
              3. The rate will not be raised during that one day period.
             These restrictions also apply to banners, billboard snipes and/or any other temporary
             or permanent signage that displays rates.
         D. At the time of re-licensing/change of ownership electronic rate signs will no longer be
            permitted and must be removed.




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104.06   Promotional signs or banners may not be attached to the building grounds or sign on a
         permanent basis. These signs may only be used on a temporary basis for no longer than a
         total of 30 days and an approval must be granted in writing by Hampton Brand Manage-
         ment.
104.07   All services typically provided to hotel guests (standard complimentary breakfast bar,
         housekeeping services, etc.) must be provided to each guest room, regardless of the rate
         charged.
104.08   With exception of rate plans that float as a percentage off BAR, room rates charged to guests
         must be in whole-dollar amounts and inclusive of all operating costs and expenses required
         to deliver core brand product and service components. Room rates listed in the various
         booking channels must be listed as a fixed dollar amount for a single hotel guest (single
         rate) and a fixed-dollar amount for two or more guests occupying the same room (multiple
         rate). Extra person charges (beyond two people) are not permitted.
         Posting of specific incremental changes for core product and service elements (labor/service
         fees, energy charges, resort fees, etc.) is prohibited.
104.09   Accessible Room Rates - If all the accessible rooms in the hotel are of one room type (i.e.,
         either all kings, double/double, singles, etc.) but non-disabled guests have a choice of room
         types at different rates, the hotel must charge the lowest non-accessible room rate for an ac-
         cessible room.
104.10   A key component of the Hampton Brand's pricing philosophy is that there can be a maxi-
         mum of 15 percent between value levels. The LV0 rate cannot be more than 15 percent
         higher than the LV1 rate and LV2 cannot be more than 15 percent lower than the LV1 rate.
104.11   Hotels may not differentiate room type accommodation pricing based solely on the smok-
         ing or non-smoking attribute, e.g. pricing a standard king non-smoking room accommoda-
         tion type at a premium or at a discount to a standard king smoking room accommodation
         type. Pricing parity must be maintained for all comparable smoking and non-smoking
         room type accommodations.




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                                                                              Rules Of Operation
105.00 Reservations

105.01   An advance reservation offer must be made to each guest at the time of check-out or check-
         in.
105.02   There must be no charge to the guest when making a Hampton hotel reservation.
105.03   Hotels must make Hampton hotel reservations and cancellations in accordance with estab-
         lished procedures for up to 357 days in advance.
         Every Hampton hotel must make a minimum of 85 percent of its total rentable rooms
         available for sale through the central reservation system for each day in inventory. (Excep-
         tions granted during pre-determined special event periods.)
105.04   All licensees with OnQ property management system are required to participate in the
         centrally paid Travel Agent Commission Program administered by the Distribution Partner
         Services (DPS) department and to reimburse the Hampton Inns system by the 15th of the
         month for commissions paid the previous month.
         The DPS will only pay commissions to bona fide sellers of travel and members associated
         with the Affiliates program.
           A. Generally up to a 10 percent commission is paid on all general public and other com-
              missionable rates for the first five nights of a stay. For any five nights or less, the full
              commission will be paid. For stays longer than five nights, a 10 percent commission
              will be paid for the first five nights, all subsequent nights are non-commissionable.
          B. Should a hotel choose to pay additional commissions beyond those required, the addi-
             tional commissions will not be paid centrally. It is the hotel’s sole responsibility to pay
             any additional agreed upon amount.
          C. Commissionable rates include: AARP rates, Triple A (AAA) rates, Government rates,
             Consortia parity rates, best available rates, and rates identified in the reservation sys-
             tems as such.
         D. Hotels are required to submit their travel agency commission reports nightly via the
            OnQ Property Management System.
          E. For hotels located outside the United States, payments to agencies based in the same
             country as the hotel may need to be made from the property. Please call the DPS Help
             Desk at 800-325-5020 with any questions.




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          F. For commission inquiries, travel planners can call the Perot Travel Planner Helpline
             at (800) 873-1215, Mon.-Fri. 8:00 a.m. to 5:00 p.m. EST, or write to:
             Perot Systems TACS
             Attn: Commission Inquiry
             13880 Dulles Corner Lane
             Herndon, VA 20171
             or fax the inquiry to Perot Systems TACS at (703) 480-6917
             or email to TACS.CUSTOMERSERVICE@PS.NET
             Travel planner commission inquiries will be posted on the Perot Systems Web site
             http://ce.tacsnet.com.
         G. Commission inquiries must be researched for a period of up to six months after the
            departure date of the reservation.
         H. Hilton’s Distribution Partner Services department reserves the right not to pay commis-
            sions to a travel agent if in Hilton’s reasonable judgment the agent does not engage in
            sound ethical, business and legal practices in the operation of its business.
         For additional information regarding the Travel Agent Commission Program, please see the
         DPS Web site on OnQ Insider.
105.05   Reservations must be held until 6:00 p.m. host hotel time, except for Payment Guaranteed
         All Night Reservations and reservations secured by advance deposits, each of which must be
         held all night until check-out time the following morning.
105.06   The hotel is required to accept a guest’s guarantee for reservations by one of the following
         methods:
          A. By payment of a one night’s advance deposit, including tax, or
          B. By providing a billable (and collectable), acceptable credit card number which must be
             submitted to the credit card company for payment should the guest either fail to arrive
             or to cancel the guaranteed reservation by 6:00 p.m. (host hotel time).
105.07   If a hotel cannot honor a 6:00 p.m. reservation, the hotel must find suitable accommoda-
         tions for the guest at another Hampton hotel. If one is not available, then convenient ac-
         commodations must be found at another comparable hotel. The difference between the
         rate charged at the alternate accommodations and the rate at the Hampton hotel must be
         paid by the host hotel.
105.08   If a hotel cannot honor a Payment Guaranteed All Night Reservation, the hotel must pay
         the full cost of the first night’s lodging rate at another Hampton hotel. If one is not avail-
         able, then accommodations must be found at another convenient, comparable hotel. In
         addition, the hotel must offer to pay for one long distance phone call for the guest to notify
         family/associates of the change and for transportation to the alternate hotel, if needed.
105.09   Room types (bedding type, smoking/non-smoking and accessible rooms) are guaranteed
         when a reservation is made for a specific room type in the reservations system. Special re-
         quests are not guaranteed.




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105.10   Cash, money orders and credit cards must be accepted for advance deposit reservations
         made for other Hampton hotels. This payment must be forwarded within three working
         days to the host hotel.
105.11   If no special deposit policy is established in the reservation system, an advance deposit res-
         ervation booked as “need deposit” can be cancelled if no deposit is received 72 hours prior
         to arrival.
105.12   Guarantee, deposit and cancellation policies effective in the reservation system when the
         reservation is initially made are guaranteed.
105.13   Groups and Meetings Request for Proposal
         All Hampton hotels must respond to group leads within four business hours of the origi-
         nation time for the lead. All leads are sent via e-mail to your generic distribution list or via
         OnQ Sales & Events. This response time includes all leads generated from Hilton Direct,
         Hilton Sales Worldwide, hampton.com and hiltonfamily.com, as well as other Internet sites
         that require a response in GroupQ. Responses must be recorded in OnQ Sales & Events for
         all hotels with access to OnQ Sales & Events.
105.14   If a guest is charged for a guaranteed no-show, a letter must be mailed to the guest in-
         forming him or her of the charge, the reservation confirmation number, the amount of
         the charge and the credit card charged. A hotel contact and phone number must be noted
         should the guest have any questions regarding the charge. Documentation of these letters
         should be retained at the hotel.
105.15   If your hotel’s accessible rooms have only one bed, and guests requiring these handicap ac-
         commodations require two beds to accommodate their needs, a complimentary alternative
         (free use of a rollaway bed or complimentary connecting room) must be provided to the
         disabled guest.




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106.00 Learning And Development

106.01   An individual must be currently employed in the Hampton system to be eligible to partici-
         pate in training courses offered by Hilton Hotels.
106.02   Hilton Hotels reserves the option to conduct employee training periodically. Attendance
         will be mandatory if training is determined necessary by Hilton Hotels. Employees will be
         required to achieve certification upon completion of training. Depending upon the em-
         ployee’s position and the type of training, recertification may be required periodically.
106.03   General Manager Requirements
          A. Every Hampton Inn/Hampton Inn & Suites must have a full-time general manager
              who may not hold that position at another hotel. Full-time is equivalent to spending
              a minimum of 40 hours per week at the hotel. The general manager must have at a
              minimum two years experience as a general manager or an assistant general manager
              of a Hampton Inn or Hampton Inn & Suites hotel or equivalent. A qualified manager
              must be employed within 90 days of the position being vacated and must complete
              the certification process within 90 days of hire or within 180 days of the position being
              vacated, whichever comes first. (See Rule 106.04 for certification requirements.) In the
              absence of a qualified general manager, a competent management company must be
              employed with no less than a two-year management contract. (Hampton Brand Man-
              agement Team reserves the right to approve all management companies.)
          B. The general manager must be able to communicate with guests in English, as well as in
             the official language of the country in which the hotel operates.
         C. If the general manager also holds the position of area/regional manager over several
            hotels, the general manager’s base hotel must have a full-time property manager. This
            property manager must be trained and empowered to make decisions regarding guests
            and employees. The property manager must be certified in the General Manager Leader
            Program within 90 days of assuming that position. (See Rule 106.04 for certification
            requirements.)
         D. A portion of on-going general manager training is conducted annually at the brand
            conference or regional workshops. Attendance of these events is mandatory for general
            managers.
106.04   Hampton Leader Program
         Every general manager must be certified in the Hampton Leader Program prior to opening
         a new Hampton branded hotel. Those general managers assuming positions at existing ho-
         tels must be certified in the Hampton Leader Program within 90 days of assuming the posi-
         tion. The general manager must complete the certification process within 90 days of hire or
         within 180 days of the position being vacated, whichever comes first.
         General manager training certification includes:
          A. Completion of online lessons. Participants will not be permitted to attend the in-class
              portion of the program without successfully completing the required online lessons
              nine days prior to the beginning of class.


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          B. Completion of basic and advanced front desk procedures. Also, management functions
             in OnQ computer based training must be completed in order to achieve Hampton
             Leader Program certification.
         C. Attendance of classroom portion of the program.
         D. Completion of class post-work.
          E. Tuition payment. This is due prior to in-class portion attendance.
          F. Payment for program and all associated fees, including tuition, cancellation and
             rescheduling fees.
106.05   Beginning in 2008 at least one employee from each hotel will be required to attend a mini-
         mum of one Lighthouse Leadership Regional Workshop held throughout the calendar year.
106.06   Licensees are responsible for trainees’ wages, room, board, travel expenses and tuition
         charges (if applicable) during the training period.
         NOTE: Since this is business related, employee discount rooms are not available.
106.07   Each hotel must maintain training documentation in addition to other administrative
         requirements listed on the Quality Assurance Evaluation checklist distributed at the begin-
         ning of each property audit.
106.08   If a manager who has been certified in Step Up leaves the Hampton brand for a period of
         24 months or more, the certificate becomes invalid and they must attend the class to obtain
         a new certificate. If a general manager leaves the Hampton system for 24 months, that gen-
         eral manager must attend the Hampton Leader Program again upon returning to the brand.
106.09   Hampton Brand Management must be notified in writing within 10 days of a change in
         management companies/ownership or general manager at a Hampton branded hotel using
         one of the following options: hampton.advice@hilton.com, 901-374-5800 (fax) or to send
         to Hampton Brand Management, 755 Crossover Lane Memphis, TN 38117.
106.10   On Q Training
         OnQ software contains an on-line self-paced training function. Each hotel employee and
         manager will use this package to become proficient on OnQ functions. The management of
         each hotel is responsible for ensuring that all employees and managers who have respon-
         sibilities related to OnQ have been completely trained. Prior to the hotel’s opening and/or
         conversion to OnQ, HHI (Hilton Hotel Implementation) will conduct a certification to
         verify that this training has been successfully completed.
         A general manager must individually achieve a minimum score of 80 percent on the certi-
         fication test/trial run and complete a workbook during the Hampton Leader Program. OnQ
         certificates are not specifically issued but certification is included in the Hampton Leader
         Program documentation. An OnQ certificate previously earned by a workshop participant
         promoted to GM can serve as documentation. Depending on the title listed on the certif﻿i-
         cate, some additional training documentation may be required.




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         The remainder of the staff will be tested as departments. For example, Management, Fi-
         nance, Housekeeping, Reservations, Guest Services, Night Audit and Housekeeping must
         score at least 80 percent as a department group average to certify. Hotels with more than
         80 rooms must have a minimum of six people certified on OnQ in addition to the general
         manager. For hotels with 80 rooms or less, the minimum requirement is four employees
         certified in addition to the general manager. If a hotel has more than the minimum num-
         ber of employees, all employees will be tested. The aggregate score of the group (minus the
         general manager) must be 80 percent or better.
         After the hotel’s opening, the general manager is responsible for maintaining the staff’s
         proficiency on OnQ. Within 30 days of assuming the position, the general manager and
         assistant general manager must successfully complete certification on the OnQ front desk
         and management function computer based training. In addition, all front desk, night audit,
         and reservations employees must successfully complete certification on the OnQ front desk
         computer based training within 10 days of employment. Certificates of completion must be
         maintained for all current employees and will be verified during a Quality Assurance Audit.
         After the hotel’s opening, the general manager is responsible for maintaining the staff’s
         proficiency on OnQ. Within 30 days of assuming the position, the general manager and
         assistant general manager must successfully complete certification on the OnQ front desk
         and management function computer based training. In addition, all front desk, night audit,
         and reservations employees must successfully complete certification on the OnQ front desk
         computer based training within 10 days of employment. Individual OnQ workbooks must
         be maintained until certification is received from Quality Assurance. Certificates of comple-
         tion must be maintained for all current employees and will be verified during a Quality As-
         surance audit.
106.11   OnQ Rate & Inventory Training
         All OnQ R&I users at each property must be certified in this system prior to being provided
         user access. Certification of all users is required to be kept in the QA Resource Binder. Every
         hotel must meet the required number of certifications as follows:
         < 119 rooms : General Manager and one additional user must be certified
         > 120 rooms: General Manager and two additional users must be certified
106.12   Welcome To Hampton Team Member Training
         Welcome To Hampton Team Member Training is a blended learning journey consisting of
         eLearning modules and Learning Maps that team members are required to complete as part
         of their orientation process.
          A. All new team members must be introduced to Our Brand Story on the first day they re-
              port for work. The introduction must be facilitated by a member of the hotel’s manage-
              ment team using the Our Brand Story pads that are kept at each property.
          B. All new team members must complete the following eLearning modules within 14
             days of hire:
              1. Welcome To Hampton
              2. Connect, Connect, Connect
              3. 100% Hampton




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         C. All new team members must complete a Make It Hampton Everyday Learning Map
            session within 90 days of hire. This interactive tool should be used in a group of six to
            ten individuals. No less than six and no more than ten participants with varying levels
            of experience and from different departments should be facilitated by an individual
            who has completed the Learning Map Train-the-Trainer workshop.
         D. A Make It Hampton Every Day Learning Map to introduce team members to ways to
            develop emotional loyalty with guests. This interactive tool should be used in a group
            of six to ten individuals. No less than six and no more than ten trainees should be fa-
            cilitated by an individual that has completed the Learning Map Train-the-Trainer work-
            shop. New employees must complete this training within 90 days of hire.
          E. A Customer Really Matters (CRM) kit that illustrates learning to apply CRM tools and
             empowering your team members to use CRM everyday to make guests feel special will
             help your property achieve high levels of guest satisfaction and loyalty. New employees
             must complete this training within 14 days of hire.
             Items still verified by the Quality Assurance team—though they no longer fall under
             the category of training—include emergency and fire safety procedures, fire extinguish-
             er operation and alcohol awareness. In addition, components of the Setting Up to Serve
             program continues to be reviewed during the Quality Assurance evaluation (Direction-
             al Cards, and/or OnQ Concierge Information, Menu Folder, As If By Magic kit,
             A to Z Guidebook, etc.).
             Mandatory training must still take place and should be documented for your records.
             Quality Assurance will check for overall knowledge and understanding of the brand
             story and the five connection techniques (Moment Makers) through discussions with
             your team using an open round table format.
106.13   All employees must be trained in handling emergency procedures (see Rule 108.00, Risk
         Control) within 30 days of hire. At a minimum the training must include fire extinguisher
         and fire evacuation procedures. Additional training must include basic emergency proce-
         dures as well as emergency procedures that may be specific to the hotel’s location. All em-
         ployees must receive recertification annually.
106.14   All employees who serve alcohol, or supervise employees serving alcohol, must successfully
         complete a nationally recognized alcohol awareness training program within 30 days of be-
         ginning employment. The Educational Institute of the American Hotel and Motel Associa-
         tion, The National Restaurant Association, and TIPS (Training for Intervention Procedures
         by Servers) offer alcohol awareness training programs. The hotel must maintain appropri-
         ate certification records for applicable employees.
106.15   All employees who serve, set up breakfast or supervise those who serve the breakfast must
         successfully complete Hampton’s On the House breakfast training program located on
         OnQ Insider. All employees members who serve or set up breakfast must be trained on the
         correct layout and presentation standards of each breakfast zone.




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106.16   Every first time Hampton franchisee is required to attend the Owner’s Awareness Program
         within six months of franchise approval or prior to starting construction, whichever is ear-
         lier. The purpose of this class is to familiarize franchisees with the franchisor’s corporate
         policies, operating systems and management values and philosophies.
         If a change of ownership takes place and the new owner is a first time Hampton franchisee,
         he/she is required to attend the Owner’s Awareness Program within 120 days of the date of
         “ownership transfer” for the purpose of familiarizing franchisees with the franchisor’s cor-
         porate policies, operating systems, management values and philosophies.
         The franchisee participant must be the principal correspondent, or alternatively, the person
         designated by the principal correspondent to be responsible for supervising the general
         manager(s) of the franchisee’s hotel(s).
106.17   Each Hampton Inn/Hampton Inn & Suites hotel must have at least a general manager, as-
         sistant general manager or full-time sales manager certified in the Hampton Inn Sales Step
         Inn and Step Up Training Programs prior to opening and within 90 days of turnover. Step
         Inn Sales training will be conducted as a self-paced e-learning via the Internet and the Step
         Up Sales Training will be a classroom experience.
         If a current Manager is certified in the former Sales Skills I Training Program, the hotel does
         not have to repeat the new Step Inn and Step Up Sales Training. However, once the certified
         Manager leaves the hotel, the new training programs must be completed within 90 days of
         turnover by at least a general manager, assistant general manager or full-time sales man-
         ager.
106.18   We CARE Committee (recommended)
         We encourage each hotel to establish a CARE committee. This committee is to have repre-
         sentatives from each department with the GM acting as Chairperson, meeting regularly to
         review SALT scores, guest correspondence and 100% Hampton tracking. It is highly recom-
         mended to post SALT scores and guest feedback for all team members to review to encour-
         age property-wide development.




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107.00 Miscellaneous

107.01   Appearance of Front Desk/Lobby and Lobby Vestibules
         Keep the welcome area free from clutter. The following outlines what is acceptable.
          A. Front desks, lobbies and lobby vestibules must be free of clutter at all times. This
             means hotels must eliminate such items as brochures, brochure racks, benches, pinball
             machines, jukebox-type music machines, coin operated gambling machines, amuse-
             ment machines, musical devices, newspaper machines, popcorn machines, cappuccino
             machines, fish bowl/briefcase drawings, snack and soft drink vending machines from
             the vestibule, registration, and lobby seating areas. Front desk and lobby walls should
             be free of award plaques, AAA plaques and any other item except the Manager On-duty
             sign. The only item permitted in the vestibule is the luggage cart.
          B. Connect with guests by keeping informational materials behind the front desk so that
             you can personally interact and offer assistance and recommendations. You may keep
             these materials along with the required Ultimate Service materials including the Direc-
             tional Cards and Menu Folder.
         C. The front desk counter should be free of all clutter and contain only specific items/col-
            lateral designated by Hampton. Information is available that defines exactly which
            items/collateral can be placed on the display at the front desk. In the interest of sim-
            plifying and uncluttering our welcome area, there can be no menus, awards, artificial
            flowers/plants, brochures or advertisements on the back and side walls in the front
            desk area. The only items allowed on the desk are general manager’s business cards
            and at least one 100% Hampton Guarantee plaque. Prominently display the 100%
            Hampton Guarantee plaque on the front desk facing the guest—one plaque in the
            front of each workstation. One fresh floral arrangement is the only décor enhancing
            item allowed on the front desk.
         D. Centerpieces on breakfast tables are only permitted with the installation of the Perfect
            Mix Lobby standards (see Section 300).
          E. A minimum of four floor containers of plants or one large planter box are allowed in
             the lobby/breakfast area. Freestanding plants and their containers must be approxi-
             mately 36"h x 30"w. Plants are to be high quality silk or polyester (no plastic) and
             containers must be decorative and coordinate with the surrounding furnishings. Two
             smaller sized live plants (approximately 12"h x 12"w) on tables may be substituted for
             each floor planter in a 2:1 ratio. One large fresh flower display may substitute one floor
             planter. Browning or yellowing of live plants is not acceptable. Live plants and/or flow-
             ers must appear healthy and fresh at all times.




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          F. The “On the Run” kiosk is the only acceptable place for brochures. Only Hilton ap-
             proved collateral is permitted for display in the front desk kiosk. The kiosk has four
             brochure holders. Items that are to be placed in the holder slots are:
              1. Hilton HHonors applications
              2. Hilton HHonors Visa Card applications
              3. Hampton Brand directories
              4. Hotel specific brochures or gift certificate rack cards.
         G. Service bells or signage (i.e. will return in 5 minutes) are not permitted on the front
            desk counter.
         H. Chairs or stools are not permitted at the registration counter.
107.02   The check-out time must be conspicuously posted in each guest room. There will be no
         charge for checking out before expected departure date.
107.03   A sign must be displayed in a prominent location in the registration area stating “Manage-
         ment-on-Duty” to advise guests of the name(s) of the manager(s) on duty (and on prem-
         ise). When the general manager is not on duty, someone on the premises must be designat-
         ed “in charge” and so indicated on the Management-on-Duty sign. A manager/supervisor
         must always be accessible via beeper/cellular phone.
         The Management-on-Duty sign (see Trademark and Identity Standards, Section 400, Sig-
         nage) is required; the previous Owned and Operated sign is no longer required.
107.04   The Hampton primary exterior sign must be illuminated from sunset until sunrise.
107.05   Every Hampton hotel must maintain a minimum of 21⁄2 turns of linen and terry for each
         guest room. A minimum of 3 turns is required for duvet covers and lumbar pillow covers.
107.06   To be designated an airport or airport area hotel in the Hampton directory or any promo-
         tional material, the hotel must have an airport courtesy van. See Rule 116.00.
107.07   No hotel employee (including general managers or owners) shall reside in the hotel.
107.08   “Be My Guest” cards may be issued by Guest Assistance when deemed necessary to pro-
         mote/ensure 100% guest satisfaction. Each hotel must accept these cards as a form of pay-
         ment, and this procedure will be handled in the following manner:
          A. When Guest Assistance issues a “Be My Guest” card, the hotel responsible for the com-
              plaint will receive all back-up. The hotel will be invoiced for payment in the amount
              of the Hampton system’s pre-determined average daily rate. Payment will be due upon
              receipt of the invoice.
          B. Receiving hotels who accept the “Be My Guest” card will be reimbursed for the actual
             cost (full rate) of the guests’ room and tax for the night. The accepting hotel will be
             reimbursed for these room/tax charges by submitting an original folio and “Be My
             Guest” card to Hilton Hotels Guest Assistance, 755 Crossover Lane, Memphis, TN
             38117-4900.
107.09   The solicitation of tips by any employee in a Hampton hotel is prohibited. Examples in-
         clude tip jars at breakfast bar, in-room housekeeping envelopes, etc.
107.10   “No vacancy” signs may not be used.
107.11   Advertising of any business that competes with any business of Hilton or its affiliates is pro-
         hibited.

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107.12   The dumpster must always be kept clean and organized. Dumpster gates must be closed
         and secured when dumpster is not in use.
107.13   An ATM, if installed, must meet the following minimum standards:
          A. Must not be installed in the immediate front desk area.
          B. Must be encased in a finished furniture cabinet that coordinates with the lobby style.
             Free-standing types are not acceptable.
         C. The ATM must be in compliance with ADA requirements.
107.14   Televisions in public areas must have closed captioning abilities. The remote must be easily
         accessible.
107.15   Solicitation of guest feedback scores during and post-stay is not permitted. This includes
         and is not limited to collateral, buttons, stickers, letters/e-mail or on-hold messaging
         intended to solicit guest feedback scores (9’s and 10’s).
107.16   Hampton In-Room Collateral and Graphics
         All in-room collateral and items created for Hampton branded hotels must be produced by
         an approved supplier and must meet all specifications listed in Section 400 Trademarks and
         Identity. (Local printers may not copy or duplicate the new graphics without express writ-
         ten consent of the Hampton brand. A request form for alternative or non-approved suppli-
         ers is located on resource.makeithampton.com.)
107.17   Data Integrity
         Guest data is collected for use by Hampton, Hilton Family of Brands and your hotel for use
         in Customer Relationship Management and Research. Manipulation and other means to
         alter the data or information of a guest is not permitted except at the request of a guest.
         Should there be evidence that indicates a hotel, or individual affiliated with the hotel, has
         done so or is partaking in abuse of data, the brand will take the following action:
          A. If altered data is related to the manipulation of SALT surveys, those surveys deemed
              fraudulent will be removed from the sample (survey sample size will be replaced
              throughout the remainder of the year).
          B. The hotel will not be eligible for recognition from any brand awards or other Hilton
             Family recognition opportunities for that current year, including both quarterly awards
             and annual awards.
         C. The hotel will automatically receive a non-reversible, administrative unacceptable. Sub-
            sequent violations may result in an administrative notice of default.




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108.00 Risk Control

108.01   Insurance Requirements
         Licensee or Hotel Owner (Licensee/Owner) must meet the insurance requirements speci-
         fied in the Agreement or this Manual, unless specifically indicated to the contrary. Insur-
         ance requirements are split into two areas: those required during construction or significant
         renovation, and those required during operation.
           A. Insurance Required During Construction
             If the hotel is under construction or major renovations, the following insurance re-
             quirements apply. This insurance must be effective prior to the start of construction or
             renovation.
             General Contractor Insurance. Any and all contractors and subcontractors (collectively,
             “Contractors”) performing work on or about the hotel must be contractually assigned
             responsibility for job site safety and for all claims for injury or damage arising out of
             Contractors’ operations to the greatest extent permitted by law. Licensee/Owner must
             provide or negotiate requirements for sufficient insurance on the part of the general
             contractor, which at a minimum must include:
              1. Occupational Injury Insurance
                 Occupational Injury Insurance as required by law or custom, including statutory
                 Workers’ Compensation insurance and Employers’ Liability, wherever applicable,
                 in an amount not less than $1,000,000 each accident, $1,000,000 Disease - Policy
                 Limit, and $1,000,000 Disease - Each Employee. (Refer to Section 108.01B.3 for
                 additional clarification.)
              2. Commercial General or Public Liability Insurance (CGL)
                 Commercial General Liability Insurance (CGL) Coverage limits in the minimum
                 amount of $10,000,000 per occurrence. If the CGL policy contains a general ag-
                 gregate limit, it must apply separately to the hotel project. Coverage must include
                 products-completed operations, personal and advertising injury, protective liabil-
                 ity, independent contractors, and liability assumed under an insured contract (in-
                 cluding the tort liability of another assumed in a business contract) on an “occur-
                 rence basis.” This insurance may not have any restrictions, modifications or exclu-
                 sions for explosion, collapse, underground property damage, earth movement or
                 damage to work performed by a subcontractor. Contractor must carry completed
                 operations insurance for a period of not less than 5 years after the completion of
                 the project. This requirement may be reviewed and modified in recognition of the
                 local insurance marketplace.
              3. Automobile/Motor Liability Insurance.
                 Coverage limits in the minimum amount of $2,000,000 each accident combined
                 single limit for any automobile (including, but not limited to, owned, scheduled,
                 hired and non-owned vehicles).
              4. Excess and Umbrella.
                 Contractors’ insurance requirements may be satisfied with a combination of pri-
                 mary, umbrella and/or excess policies.

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            5. Builder’s Risk.
               Licensee/Owner must purchase or cause to be purchased Builder’s Risk insurance
               covering the entire work at the jobsite. This insurance must be on a 100% com-
               pleted value (replacement cost) form. For renovation projects, the 100% complet-
               ed value may be achieved through a combination of Property and/or Builder’s Risk
               insurance. This insurance must include the perils covered under a special causes of
               loss (“all-risks”) form and include the following:
                a. Cold testing, windstorm, and collapse, including collapse resulting from de-
                   sign error.
               b. This insurance must apply to property intended for incorporation into the
                  work for the entire duration of the contract including: property in the course
                  of construction, reconstruction, or repair; property while in transport to the
                  site; property stored at the site or off premises; scaffolding, staging, shoring,
                  formwork, fences, false work, and temporary buildings and any similar items
                  commonly referred to as construction equipment located at the site; furniture,
                  fixtures, and other personal property typical to a hotel located on premises or
                  in storage or at any other temporary location.
               c. The policy must cover the cost of removing debris, including demolition as
                  may be made legally necessary by the operation of any applicable law, ordi-
                  nance or regulation.
               d. Permission to occupy or a partial occupancy clause or definition must be in-
                  cluded and allow occupancy without qualification.
               e. This insurance must include Business Interruption coverage including Licen-
                  sor’s interest for full recovery of net profits and continuing expenses of the
                  hotel projected for 12 months following a covered loss (including Rental Value
                  and payments which would have been owed Licensor in the absence of a loss).
                  Such limit must be sufficient to avoid a coinsurance penalty.
               f. This insurance must be maintained in effect until the earliest of either the date
                  on which all persons and organizations who are insured under the policy agree
                  that it may be terminated or as provided for in the contract documents.
               g. This insurance must name all owners of the premises, agents of the owner,
                  and Contractors of any tier as insureds. The policy must include a waiver of
                  subrogation which states that all owners and Contractors waive their rights of
                  subrogation against one another with respect to losses covered by this policy.




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            6. Flood Insurance.
               Flood Insurance with a limit as close to the amount of the Builder’s Risk as is rea-
               sonably available must be obtained. Coverage must include business interruption.
               This requirement is subject to review and modification in recognition of changes
               in the insurance marketplace.
               If the hotel is designated as a USA hotel, this requirement only applies if the loca-
               tion is in the special flood hazard areas of Zones A (A, A1-A30, AE, AH, AO, A99,
               AR and any combination of zones such as AR/AE, AR/AH, AR, AO, etc.) and Zones
               V (V30, VE, and VO). Licensee/Owner should contact FEMA map service at 1-877-
               336-2627 or visit the following websites to determine the hotel’s zone:
               http://www.msc.fema.gov/
               http://www.floodsmart.gov/floodsmart/pages/faq.jsp
               Information may also be obtained through the hotel’s local community planning
               board or building permit department.
            7. Earthquake Insurance.
               The Builder’s Risk must also include earthquake coverage with a limit as close to
               75% of the builder’s risk limit as is reasonably available. Coverage must include
               business interruption. This requirement is subject to review and modification in
               recognition of changes in the insurance marketplace.
               If the hotel is designated as a USA hotel, this requirement only applies if the lo-
               cation is in a zone with a hazard rating of 24 or higher according to the 1996
               US Geological Survey Shaking Hazard maps. Visit http://earthquake.usgs.gov/
               hazmaps/haz101/hazmaps.html to determine the hotel’s Zone. For locations in
               zones 16-24, earthquake coverage with a limit as close to 50% of the builder’s risk
               is required.
            8. Pollution Insurance. If a pollution exposure exists during renovation or construc-
               tion, Licensee/Owner must require Contractor’s Pollution Legal Liability in an
               amount not less than $1,000,000 per occurrence. If the contractor’s pollution legal
               liability coverage is written on a claims-made policy form, the retroactive date of
               the policy must be shown on the certificate of insurance and must be on or be-
               fore the date of the commencement of services by Contractor. Insurance must be
               maintained and evidence of insurance must be provided for at least 3 years after
               completion of the work. If the coverage is canceled or not renewed, and it is not
               replaced with another policy with a retroactive date that precedes the date of Con-
               tractor’s agreement, the Contractor must provide extended reporting coverage for a
               minimum of 3 years after completion of the work on the former policy.
            9. Miscellaneous.
                a. Licensee/Owner must indemnify and hold Hilton Hotels Corporation
                    (“HHC”), its wholly owned subsidiaries, its owners and their managing agents
                    and affiliates now or hereafter existing, harmless from any and all damages or
                    claims arising out of the failure of any Contractor, supplier or vendor doing
                    business with the hotel to maintain adequate insurance. Contractors should
                    not be allowed on the site or within the premises until the stated insurance
                    requirements are evidenced.



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               b. Contractor’s insurance, with the exception of Workers’ Compensation must
                  name Licensee/Owner, HHC, its wholly owned subsidiaries, its owners and
                  their managing agents and affiliates (including their respective directors, offi-
                  cers and employees), now or hereafter existing as additional insureds on terms
                  no less broad than forms ISO CG 20 10 11 85 or a combination of ISO forms
                  CG 20 10 10 01 and CG 20 37 10 04 (or a substitute form providing equivalent
                  coverage), and copies of these endorsements or their equivalent must be pro-
                  vided to Licensee/Owner and Licensor.
               c. Licensee/Owner, at its option, may purchase an “owner controlled insurance
                  program” or “wrap up” insurance program to comply with the coverage re-
                  quirements in this Section 108.01A.
        B. INSURANCE REQUIRED OF LICENSEE/OWNER DURING OPERATIONS
           The insurance required of Licensee/Owner in items 1. through 11. below applies to ho-
           tels in the USA and Non-USA hotels with the exception of Commercial General (Pub-
           lic) and Automobile/Motor Liability requirements. These coverages are separately ad-
           dressed. All policies must be effective at the commencement of any operations related
           to the hotel.
           For hotels in the USA: Commercial General (Public) Liability insurance (“CGL”).
           (Non-USA hotels should refer to Section C).
            1. Licensee/Owner must purchase Commercial General (Public) Liability insurance
               on an occurrence form including defense costs arising out of or connected with
               hotel operations. Coverage limits must be at least $10,000,000 per occurrence, and
               may be satisfied with a combination of primary, umbrella, and/or excess insurance
               policies. The CGL insurance must include coverage for the following risks:
               a. Damage to property of others and bodily injury including sickness, disease and
                   death.
               b. Personal and advertising injury covering liability for false arrest, libel, slander,
                  defamation, false imprisonment, unlawful detention, wrongful or malicious
                  prosecution or invasion of privacy.
               c. Innkeeper’s Liability insuring loss or damage to guests’ property (up to statu-
                  tory requirements). This can be satisfied by any combination of CGL or Crime
                  coverage.
               d. Liquor Liability insuring Licensee/Owner’s liability arising out of the sale or
                  serving of alcoholic beverages, if the hotel serves or sells beer, wine or spirits.
               e. Contractual Liability insuring liability arising out of oral, written or incidental
                  agreements, including, but not limited to, hold harmless agreements and the
                  Indemnity Paragraph of the Agreement.
                f. Independent Contractors insuring liability Licensee/Owner may incur arising
                   out of operations performed for Licensee/Owner by persons other than Licens-
                   ee/Owner’s own employees.


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               g. Premises/Operation insuring liability arising out of work performed on the
                  premises.
               h. Products and Completed Operations
               i. Worldwide jurisdiction covering lawsuits brought anywhere in the world from
                  occurrences arising out of the hotel or the operations connected with the hotel
                  (per form ISO CG2422 10 01 or equivalent).
                j. Aggregate limits, if any, must be aggregated on no less than a “per location”
                   basis for the underlying general liability as well as the umbrella/excess cover-
                   age (per form CG 2504 or equivalent).
               k. Named perils pollution including coverage for liability arising out of heat,
                  smoke or fumes from a hostile fire, or smoke, fumes, vapor or soot produced
                  by or originating from equipment that is used to heat, cool or dehumidify the
                  building, or equipment that is used to heat water (per form CG 2165 or equiv-
                  alent).
            2. Automobile/Motor Liability.
               (Non-USA hotels should also refer to Section 108.01C.)
               Commercial Automobile/Motor Liability insurance with coverage limits of at least
               $10,000,000 each accident/combined single limit, which may be satisfied with
               a combination of primary, umbrella, and/or excess insurance policies. Coverage
               must include:
               a. Coverage for any automobile including, but not limited to, all owned, non-
                   owned, leased, and hired automobiles used in the operation of the hotel.
               b. Garage-Keeper’s Liability, if the hotel’s operations include parking operations,
                  with a limit adequate to cover the full actual value of all automobiles that are
                  in Licensee/Owner’s care, custody, and control at any one time.
            3. Occupational Injury Insurance as required by law or custom, including Workers’
               Compensation insurance wherever applicable. Occupational Injury insurance
               must be in force prior to the hiring of any employees. Employers Liability cover-
               age must also be obtained in the minimum amounts of $1,000,000 each accident,
               $1,000,000 Disease-Policy Limit, and $1,000,000 Disease-Each Employee, or such
               amounts as are required by law or custom. The Employers Liability limits can be
               satisfied by any combination of Workers’ Compensation, Employers Liability, and/
               or Excess/Umbrella policies. However, the certificate of insurance must clearly in-
               dicate that Excess/Umbrella liability insurance affords coverage for Employers Li-
               ability.
               If the hotel is designated as a USA hotel, and Workers’ Compensation Insurance
               is required by law, such coverage must be extended to cover “All States”, Voluntary
               Workers’ Compensation, and Longshoreman’s and Harbor-worker’s Act on an “if
               any” basis, unless the hotel is insured under a state operated fund.




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               If the hotel is designated as a USA hotel, participation in a U.S. state’s insurance
               fund shall satisfy the requirements hereunder. If the hotel self-insures Workers’
               Compensation, a copy of the license granting authority to self-insure must be fur-
               nished to Licensor. If the hotel participates in a state fund or self-insures for Work-
               ers’ Compensation, stopgap coverage or an endorsement to the commercial gen-
               eral liability policy is required in an amount not less than $1,000,000 per claim.
               For the State of Texas, participation as a Non-Subscriber must be evidenced by sub-
               mitting to Licensor a copy of the Employer Notice of No Coverage or Termination
               of Coverage (DWC Form-5), and an ERISA-compliant occupational injury benefit
               plan that covers substantially the same work-related injuries as Workers’ Compen-
               sation. Non-subscribers must carry Employers Liability insurance with limits of no
               less than $5,000,000.
            4. Commercial Property Insurance.
               Property Damage and Business Interruption insurance on a special causes of loss
               policy form (“all–risks”), covering 100% of the insurable replacement value of the
               building and its contents, and for full recovery of the net profits and continuing
               expenses of the hotel (including rental value) for a 12 month period must be car-
               ried. Such limit must be sufficient to avoid a co-insurance penalty, if applicable.
               Continuing expenses must specifically include royalty/license fees and other fees
               payable to Licensor, its subsidiaries and affiliates. The policy must include coverage
               for the peril of windstorm and for ordinance and law. HHC and its wholly owned
               subsidiaries, its owners and their managing agents and affiliates now or hereafter
               existing must be included as an additional insured under the Commercial Prop-
               erty and Business Interruption insurance.
            5. Flood Insurance.
               Flood Insurance with a limit as close to the full replacement cost of the building as
               is reasonably available. Coverage must include business interruption. This require-
               ment is subject to modification based on conditions in the local insurance market
               and reasonableness of premium.
               If the hotel is designated as a USA hotel, this requirement shall only apply if the
               location is in the special flood hazard areas of Zones A (A, A1-A30, AE, AH, AO,
               A99, AR and any combination of Zones such as AR/AE, AR/AH, AR/AO, etc) and
               Zones V (V30, VE and VO). Licensee/Owner should contact the FEMA map service
               at 1/877/336-2627 or visit the following websites to determine the hotel’s zone:
               http://www.msc.fema.gov/
               http://www.floodsmart.gov/floodsmart/pages/faq.jsp
               Information may also be obtained through the hotel’s local community planning
               board or building permit department.




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            6. Earthquake Insurance.
               Earthquake coverage with a limit not less than 75% of the replacement cost of the
               hotel must be provided. Coverage must include business interruption.
               If the hotel is designated as a USA hotel, this requirement shall only apply if the
               location is in a zone with a hazard rating of 24 or higher according to the 1966 US
               Geological Survey Shaking Hazard maps available at http://earthquake.usgs.gov/
               hazmaps/haz101/hazmaps.html. For locations in zones 16-24 earthquake coverage
               with a limit as close to 50% of the replacement cost of the hotel must be obtained.
               This requirement is subject to modification based on conditions in the local insur-
               ance market and reasonableness of premium.
            7. Boiler and Machinery/Equipment Breakdown Insurance.
               Broad form Boiler and Machinery insurance, including business interruption cov-
               erage, against loss from accidental damage to, or from the explosion of, boilers,
               air conditioning systems, including refrigeration and heating apparatus, pressure
               vessels and pressure pipes in an amount equal to 100% of the actual replacement
               value of such items (without taking into account any depreciation) plus full recov-
               ery of the net profits and continuing expenses of the hotel. Continuing expenses
               must specifically include royalty/license fees and other fees payable to Licensor.
            8. Crime Insurance. Crime insurance with the following coverages and limits of in-
               surance (per occurrence):
                a. Employee Dishonesty. . . . . . . . . . . . . . $100,000
               b. Forgery & Alteration . . . . . . . . . . . . . . . . $50,000
                    1) Money & Securities (Inside). . . . . . $50,000

                    2) Money & Securities (Outside). . . . . $50,000

                    3) Robbery & Safe Burglary of
                       Property other than money
                       and securities. . . . . . . . . . . . . . . . . . $50,000

                    4) Computer Fraud . . . . . . . . . . . . . . . $50,000

                    5) Counterfeit paper currency. . . . . . . $50,000
            9. Terrorism.
               Terrorism coverage shall be obtained and maintained for both first party damage
               and third party liability either stand-alone, through a government operated or
               mandated pool, or as part of the General/Third Party Public Liability coverage and
               the Property Damage/Business Interruption coverage. This requirement is subject
               to modification based on conditions in the local insurance market and reason-
               ableness of premium.
           10. Watercraft.
               Watercraft liability coverage to the extent that hotel operations include watercraft
               activities. Please contact Hilton Risk Management for requirements on limits of li-
               ability.


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           11. Aircraft Liability.
                Refer questions concerning coverage requirements to Hilton Risk Management if
                applicable.
        C. Licensee/Owner must comply with Section C if it is designated as other than a USA ho-
           tel.
            1. General/Public Liability. Licensor or its designee will, at Licensee/Owner’s cost,
               procure upon the commencement of operation of the hotel and maintain at all
               times during the term of the Agreement, if available on terms and conditions com-
               mensurate with the risk, third party General/Public liability insurance in such
               amounts as Licensor may deem necessary. Licensee/Owner will be named as an
               additional or co-insured.
            2. All policies may contain such deductibles or retentions as Licensor considers
               reasonable. Licensor may elect to maintain all or part of such policies under an
               arrangement insuring one or more hotels operated by Licensor or its affiliates or
               subsidiaries, in which event the cost of such insurance to Licensee/Owner will be
               allocated by Licensor on a reasonable basis.
               If Licensor cannot obtain coverage using reasonable effort, Licensee/Owner must
               comply with the terms of Section 108.01B.1.
            3. Property Owner’s Liability. Licensee/Owner must procure and maintain Property
               Owners Liability fully protecting Licensee/Owner for liability arising out of its
               ownership, possession and use of the Hotel.
            4. Auto/Motor Liability. Licensee/Owner must procure and maintain Auto/Motor li-
               ability insurance in accordance with any local law or statute and per the terms of
               Section B.2. above. Notwithstanding, Licensee/Owner need only procure a limit of
               insurance sufficient to meet local custom or law if Licensor provides excess public
               liability insurance under Section 108.01C.1. above.
            5. All policies purchased by Licensee/Owner must name HHC, and its wholly owned
               subsidiaries, its owners and their managing agents and affiliates now or hereafter
               existing as an additional or co-insured. All policies must contain cross-liability
               coverage and a waiver of the right of subrogation in favor of Licensor.
        D. GENERAL REQUIREMENTS
            1. Except as noted under Section 108.01C.1., all policies must name the Licensee/
               Owner as named insured and, with the exception of Workers’ Compensation,
               must name HHC and its wholly owned subsidiaries, its owners and their manag-
               ing agents and affiliates now or hereafter existing as additional insureds, including
               their employees, officers and directors. For Commercial General/Public Liability,
               additional insured endorsement form ISO CG 20 10 11 85 or equivalent for con-
               struction and renovation, and form ISO CG 2029 11 85 or equivalent during oper-
               ations must be used to satisfy this requirement. Such forms may be requested from
               Hilton’s Risk Management Department or obtained from Hilton’s intranet site. All
               liability policies must contain cross liability coverage.
            2. All required insurance must be purchased from insurance companies with a finan-
               cial rating acceptable to Hilton, which shall be no less than A-VII if rated by the
               company A.M. Best.


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            3. All policies of Licensee/Owner must be endorsed to be primary insurance with no
               recourse to or contribution from any other similar insurance, if any, which may
               be carried by HHC or its wholly owned subsidiaries or affiliates now or hereafter
               existing, except as provided for in Section C. Evidence of such must be supplied to
               Licensor. Advance notice of cancellation, termination or modification of any poli-
               cy must be given in writing no less than thirty days prior. If a certificate states that
               the Insurer will “endeavor to,” these words must be stricken from the certificate.
               Notice must be sent to the certificate holder, which is “Hilton Hotels Corporation,
               attention Risk Management, 9336 Civic Center Drive, Beverly Hills, CA 90210.”
               Phone (310) 205-4512, Fax (866) 305-2520 and E-mail HiltonCertificates@Con-
               firmNet.com.
            4. Licensee/Owner must deliver or cause to be delivered certificates of insurance or
               other acceptable proof evidencing the insurance required in this Manual, includ-
               ing applicable endorsements, to Licensor at the address above no later than 15
               days after the expiration of any policy. Each certificate must specifically identify
               insured location(s) by name and address.
            5. Failure of Licensor to demand evidence of compliance with the insurance require-
               ments in this Manual or failure of Licensor to identify a deficiency from evidence
               that is provided shall not be construed as a waiver of Licensee/Owner’s obligation
               to maintain such insurance.
            6. Along with the certificates of insurance Licensee/Owner must deliver or cause to
               be delivered the following items to Licensor at the address above:
                a. A signed letter written in or translated to English from the insurance agent or
                   broker who placed the required insurance affirming that he or she has read and
                   understood the insurance requirements contained in this Manual. This letter
                   must specifically address whether the insurance the agent or broker has placed
                   complies with the insurance requirements set forth in this Manual.
               b. A signed checklist from the insurance agent or broker indicating whether there
                  is coverage for each of the minimum requirements set forth in this Manual.
                   For samples of these letters and checklists, as well as sample certificates and
                   evidence of property insurance, please refer to OnQ Insider or request a copy
                   from HHC Risk Management at Risk.Management@hilton.com.
            7. At the request of Licensor, Licensee/Owner must deliver a copy of each policy bear-
               ing certification of the insurance company underwriter(s), that the policy is a com-
               plete copy of the policy issued with all endorsements to Licensor.
            8. Licensor may increase or decrease the minimum amount of insurance, require ad-
               ditional or different types of insurance, or otherwise change the requirements to
               make them comparable to the amount and kinds of insurance carried by other
               properties or hotels, taking into account the size and location of the hotel and
               changing circumstances in the law and insurance marketplace.




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                9. Any deductibles or self-insured retentions above $50,000 or 5% of the replace-
                   ment cost of the hotel must be declared to and approved by Hilton’s Risk Man-
                   agement Department, at 9336 Civic Center Drive, Beverly Hills, CA 90210, Phone
                   (310) 205-4512, Fax (310) 205-7863, Email Risk.Management@Hilton.com.
               10. All certificates or other documents evidencing insurance must be provided in Eng-
                   lish with currency indicated in US dollars. Limits required in this standard may be
                   satisfied in the local currency equivalent at the time the policy is purchased.
               11. Licensee/Owner must obtain and maintain any other insurance required by local
                   or national statute or law.
         ADEQUACY OF INSURANCE
         Licensor makes no representation, implied or express, that the foregoing insurance require-
         ments are adequate to protect Licensee/Owner.
         The insurance coverage requirements contained in this Manual are only minimum require-
         ments. These requirements do not relieve Licensee/Owner from responsibility for any loss
         or claim for damages arising out of the Agreement. Licensee/Owner must indemnify Licen-
         sor for any claim for damages due to failure of Licensee/Owner or any Contractor, supplier,
         or vendor doing business with Licensee/Owner to maintain adequate insurance.
         To ensure compliance, Licensor strongly recommends that Licensee/Owner reproduce all
         insurance sections in this Manual in full and submit it to an agent or broker experienced in
         writing insurance for hotels.
         If Licensee/Owner does not obtain or maintain the required insurance or policy limits, Li-
         censor can (but is not obligated to) obtain and maintain the insurance for Licensee/Owner
         without first giving Licensee/Owner notice. If Licensor does so, then Licensee/Owner must
         immediately pay Licensor upon request the premiums and costs incurred by Licensor.
         RESOURCES/REFERENCES:
         OnQ Insider > Hampton Brand
108.02   Each Hampton hotel must have an emergency plan that meets or exceeds the requirements
         of local and state codes and is designed to fit the individual needs of the hotel. As a recom-
         mendation it should include, at a minimum: fire, evacuations procedures, power failure,
         medical assistance, armed robbery, bomb threat, civil unrest, elevator malfunction, weather
         and all other perils pertinent to the hotel’s geographic location, serious illness, choking,
         death, drowning and all other perils pertinent to the hotel’s geographic location.
         Note: CPR certification is recommended for at least one team member per shift on duty at
         all times.
108.03   The hotel must adhere to the equipment and installation standards detailed in the Building
         and Furnishing, Section 300 for Fire Safety Systems.




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108.04   The hotel must test its fire safety systems, sprinkler systems, and smoke/heat detection sys-
         tems at least once every six months. A minimum of two tests per year must be conducted
         with one of the two tests conducted by an outside third-party licensed to test fire safety
         equipment. This testing must include verification of all working components of the hotel’s
         system (fire pump, sprinkler system, pull stations, alarm, etc.) and be documented thor-
         oughly by the outside third-party. This document must be available for the Quality Assur-
         ance Auditor. Verification of this testing will be documented on a Hilton Hotels Fire Safety
         System Certificate of Testing. All public area and guest room/suite smoke/heat detectors
         must be tested a minimum of once every six months. Documentation of this testing must
         include specific room numbers/areas tested and the date of inspection.
         Recommended: Thermal scan of all electrical panels to be performed annually by a certi-
         fied testing service.
108.05   The Make It Hampton electronic lock key card must be in use with the welcome message
         indicating the state in the which the hotel resides. Neither the hotel’s name, individual
         room numbers, or logo may be printed on guest room/suite keys. No third-party advertis-
         ing may be featured anywhere on that key.
         Electronic locks must be installed in all guest room/suite doors.
108.06   The hotel must post a detailed plan displaying the hotel layout and location of all working
         components of the hotel’s fire safety system and utility shutoffs (fire pumps, sprinkler sys-
         tem, pull stations, alarm, electrical and gas). The hotel layout with emergency procedures
         must be posted in the work area behind the front desk, maintenance and housekeeping,
         easily accessible to all hotel employees.
         Photographs must be taken of the fire system and utility shutoff components and posted
         with the hotel layout denoting the location of that piece of equipment to allow familiar-
         ization of the fire safety components by the hotel staff.
108.07   The hotel’s house phones must automatically dial the switchboard/PBX.
108.08   Emergency exit and safety card(s) (“You are here” cards), denoting emergency exits and
         equipment, must be placed in each room and suite and in employee areas in addition to
         other locations stipulated by local fire codes and should meet or exceed all applicable state
         and local fire codes. State Innkeepers Act shall be posted in guest rooms and public areas
         as required by state law. Signs must comply with Make It Hampton signage standard upon
         replacement of any of the following items: carpet, wall treatment or case goods. See Section
         400.
108.09   Fully-stocked first-aid kits must be available at the front desk area, pantry area, house-
         keeping area and maintenance area, and any other areas required by local or state require-
         ments.
         Required items:
           A. Bandage scissors
          B. Cotton-tipped applicators
         C. Assorted safety pins
         D. Tweezers
          E. Individually-wrapped adhesive dressing
          F. Sterile gauze pads (2" and 4" dressing)

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         G. Absorbent cotton
         H. Adhesive tape rolls (1" wide)
          I. 4" bandage compresses
          J. Triangular bandages
          K. Skin antiseptic
          L. Eye wash
         M. Sterile gauze bandage rolls (1", 2" and 4" wide)
108.10   All lost and found articles should be logged and maintained for 90 days. Valuables should
         be maintained for one year in a safety deposit box or other secure area. Local codes may
         preempt this policy.
108.11   All entrance/exit doors normally locked during specific times in the evening must have
         signs, both inside and outside the doors, that indicate the time they are locked and include
         directions to the appropriate alternate entrance/exit doors.
108.12   A digital camera must always be available to management to document any guest or em-
         ployee loss or injury.
108.13   Security guards, whether on staff or contracted, may not be armed while on property.
108.14   Telephones located in the elevator, pool area, guest laundry room (area designated for guest
         use of laundry equipment, if applicable) and fitness center must automatically dial the
         hotel switchboard when the receiver is lifted off the cradle.
108.15   A minimum of a 10 lb. fire extinguisher must be available in the work area behind the front
         desk, housekeeping, maintenance, pantry and wherever required by state or local regu-
         lations. If a hotel has a storage building on property it must have a minimum of a 10 lb.
         mounted fire extinguisher. Fire extinguishers must be tested and maintained in accordance
         with local regulations.
108.16   Signs must be conspicuously posted in the parking lot stating “Guest Parking, User As-
         sumes All Risks.” Also refer to 303.05L and 405.15.
108.17   If a guest requests a second room key, the front desk employee must require guest identi-
         fication prior to issuance.
108.18   An incoming caller must identify the guest by name before the call can be transferred. Do
         not connect any call by room number only.
108.19   Fire drills must be conducted quarterly to maintain the readiness of all employees. Docu-
         mentation of each fire drill must be maintained for the Quality Assurance Auditor to re-
         view.




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108.20   Closed Circuit Television (if applicable)
         Installing a closed circuit TV system (CCTV) is optional.
         All systems installed in your hotel, are subject to your obligations to maintain a high-
         quality, first class property.
          A. Cameras are not permitted in public restrooms, guest rooms/suites or other non-public
              areas.
          B. Monitors may not be mounted on the ceiling or wall of the lobby or front desk and
             must be no larger than 13" in size. The monitor may be larger than 13" if it is in the
             back office area out of the view of guests. The monitor may be placed in one of two
             locations:
             1. At the front desk/back office, out of the view of guests, or
             2. On the side area of the front desk (not the main registration area). The monitor
                 must be encased in a finished cabinet that coordinates with the front desk mill
                 work. The monitor may be in view of the guests.
         C. All cables must be concealed. When penetrations are made in walls or ceilings, a cover
            plate must be installed over the opening with the cables passing through the cover
            plate. All exposed multiple wires (exiting the ceiling at the camera and exiting the wall
            at the VCR) must be bound using tie wraps.
         D. It is the hotel’s responsibility to ensure that all employees are trained on the CCTV sys-
            tem.
          E. The hotel is obligated to maintain the CCTV system and make certain that all of its
             components are working.
          F. The hotel must comply with applicable laws governing such installations.




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109.00 Guest Facilities

109.01   Swimming Pools (where applicable)
          A. Swimming pools must have water depth markings and “No Diving” markings clearly
             displayed on pool coping. Water-depth markings must also be clearly displayed on
             pool rim at water line. Depth markings must indicate feet (Ft.) or meters (M). Water
             depth should be measured from the water surface to the bottom of the pool 24" from
             the pool coping.
          B. A floating divider rope must be installed if required by code or if the pool includes an
             abrupt change in depth.
         C. Two life preservers (U.S. Coast Guard approved Type IV PFD Life Ring Buoy, minimum
            24"), a shepherd’s crook, and a rules sign must be in the pool area at all times, even
            when the pool is closed.
         D. The minimum chloride or bromine content of pool water must be 1.0 parts per mil-
            lion.
          E. The pH must be between 7.2 to 7.8, unless otherwise specified by local or state health
             department regulations. A daily log must be maintained.
          F. The appearance of the pool water must be clear when available for guest use.
         G. A professionally-fitted pool cover must be installed whenever the pool is closed for the
            season.
             Any pool not covered will be considered open and must be maintained as open/avail-
             able for guest use.
         H. When a pool is closed for the season, a professionally-produced “Pool Closed” sign
            must be prominently displayed.
          I. The underwater pool light must be illuminated from dusk until dawn even when the
             pool is closed.
          J. Swimming Pool and Spa Area signage
            • 4" letters
               NO DIVING.
            • Minimum 1⁄2" for all other letters
               NO LIFEGUARD ON DUTY.
               SWIM AT YOUR OWN RISK. OWNERS AND MANAGEMENT ARE NOT RESPON-
               SIBLE FOR ACCIDENTS AND INJURIES.
               POOL/SPA HOURS ARE ____ TO ____. DO NOT ENTER THE POOL/SPA AT ANY
               OTHER TIME.
               POOL/SPA USE BY REGISTERED GUESTS ONLY.

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              CHILDREN MUST BE ACCOMPANIED BY AN ADULT. NO RUNNING IN THE
              POOL AREA.
              NO GLASS ALLOWED IN POOL/SPA AREA.
              SHOWER BEFORE ENTERING POOL.
109.02 Fitness Center (where applicable)
        An fitness center is required for all new construction approved after January 1, 2000. See
        Standard 308.01 for fitness center standards for new construction, and hotels under PIP.
        Hotels under renovation after July 1, 2008, must comply with Standard 308.01. All other
        existing hotels with fitness centers must maintain the standards below until renovation, re-
        licensing or by January 1, 2013, whichever comes first.
          A. An on-premise fitness center, when provided, must be available for registered guests
             seven days a week. Use of the fitness center must be limited to registered guests only.
             Memberships and passes for non-guests are not permitted.
         B. Use of on-premise center must be complimentary.
         C. The center must be available for daily use (at minimum) between the hours of 6 a.m.
            and midnight.
         D. The fitness center must contain high quality commercial equipment. Instructions must
            be prominently displayed along with safety information for their proper use. Strength
            equipment or dumbbells are optional for existing fitness centers. Consult Standard
            308.01 for specifications. New construction and hotels under PIP must comply with
            Standard 308.01.
             1. High quality commercial grade stationary bicycle
             2. High quality commercial grade stair stepping machine
             3. High quality commercial grade treadmill
         E. The following must be conspicuously posted (minimum 1⁄4" letters) on a sign in the
            fitness center:
            Use equipment at your own risk.
            Equipment for use by registered guests only.
            No one under 18 may use the equipment.
            Follow all directions for use of equipment.
            Improper use can result in injury.
            Do not use this equipment without doctor ’s permission.
            Do not over-exercise. Discontinue use at first signs of stress.
            Fitness center is not supervised. Do not exercise alone.




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          F. A 25” color TV with remote control is required in the fitness center. The remote control
             must be accessible to guests at all times. Hotels must comply with Television Standard
             309.13 by January 1, 2010, or with standard 308.01 upon renovation, whichever comes
             first.
         G. A house telephone which rings the front desk when the handset is lifted is required.
         H. Fitness Center Towels
             Fitness center towels must be provided and easily accessible in a designated towel
             holder. The holder should be decorative and coordinate with décor. An adequate sup-
             ply of towels must be provided and replenished on an as needed basis. Supply a coor-
             dinating decorative hamper for used towels.
          I. Hotels with no on-site fitness center must provide guests access to local facilities. A
             nominal charge to guests may be required for off-site facilities.
          J. The fitness center must contain a wall-mounted clock and three robe hooks.
          K. A minimum of two wall décor pieces are required (matted and framed), each to be a
             minimum of 800 square inches, including frame.
          L. A minimum of one floor planter approximately 36"h x 30"w. Plants must be high
             quality silk or polyester (no plastic) and containers must coordinate with décor.
109.03   Guest Laundry (where applicable)
          A. Guests must be provided access to the guest laundry between the hours of 6 a.m. and
             midnight.
          B. The minimum equipment must be:
               1. One top quality commercial coin operated washer
               2. One top quality commercial coin operated dryer
               3. A laundry products vending machine or provided products for sale at the front
                  desk
               4. There must be one built-in plastic laminate counter top at 34" above the floor in
                  the guest laundry for folding clothes.
             NOTE: If laundry products are sold at the front desk, professional signage must be
             mounted on the guest laundry room wall stating availability of laundry products at the
             front desk.
         C. All equipment must be provided with operating instructions.




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109.04   Suite Shop
         A Suite Shop is required in Hampton Inn & Suites. On occasion, a Suite Shop will exist in
         a Hampton Inn. The Hampton Brand realizes that Suite Shop configurations are different.
         Configurations that exist in older hotels and conversions are different from newly con-
         structed hotels. With the exception of optional alcohol offerings, the following products
         and graphics are the minimum requirement in all Hampton branded Suite Shops. Proper-
         ties that have unusual configurations that do not have adequate space to comply with these
         standards may consult with the Hampton Brand Team at 775 Crossover Lane, Memphis,
         Tennessee 38117 for alternative solutions.
         All hotels with a suite shop must comply with the following standards.
          A. The purpose of the Hampton Suite Shop is to offer guests a convenient place to pur-
               chase snack and sundry items. It is also a place where we have an opportunity to ex-
               tend our Hampton brand personality. We do this by utilizing low cost, high-impact
               graphics that complement the Make It Hampton graphics program displayed through-
               out the hotel.
          B. Regardless if the property is a Hampton Inn or a Hampton Inn and Suites, the property
             must follow the standards listed below for installation and setup of a Suite Shop. All
             Suite Shops have displays that consist of:
              1. Existing shelving or millwork                    tall shelf backer        short shelf backer
              2. A refrigerator and freezer
              3. A free-standing merchandiser with a
                 price menu when space permits.
                 a. In small Suite Shops where space
                     does not allow the use of a merchan-
                     diser, the price list may be displayed
                     in a clear, free-standing Plexiglas
                     frame on the desk of the transaction
                     window.
                 b. Where individual pricing of mer-
                    chandise is mandated by local laws,
                    pricing must be professional in
                    appearance (i.e., pricing gun labels)
                    and positioned in accordance to lo-
                                                                 Existing construction with architectural fins
                    cal code.
             4. The Suite Shop kit containing shelf-
                backer graphics, tray graphics and dis-
                play trays
         C. Shelving
             Suite Shop shelving is to be made of tempered glass, solid wood or laminated MDF.
             Wire or Plexiglas shelving must be replaced with tempered glass, solid wood or lami-
             nated MDF using appropriate hardware. This is true whether a property has wall
             mounted standards or slat wall.


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                   The merchandising wall is divided into three equal sections—sweet, savory and candy/
                   sundries. If your property does not have built-in millwork similar to the prototype
                   example, the merchandising wall should be divided into three sections that are ap-
                   proximately three feet in length with two inches between each section. Smaller zone
                   sections are permissible if space does not permit three-foot sections. Properties that
                   have unusual configurations, including slat wall, may consult with the Hampton Brand
                   Team at 775 Crossover Lane, Memphis, Tennessee 38117 for alternative solutions.
                   To assure that merchandise and graphics fit, adjust the top shelf to a height of 18 inch-
                   es. Adjust all other shelves to a height of approximately twelve inches.
              D. Shelf-Backers
                   Shelf-backers are Lightjet prints on Kodak Endura Silver metallic stock dry mounted
                   to 1/8" sintra with a low gloss laminate and are available from Harlan Graphics. (See
                   OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog.)

             field cut to current length of shelf
                             42”
                                                                                       field cut to current length of shelf
                                                                                                        42”
                                                                   18”




                                                                                                                                             12”
18” shelf backer                               shelf backer clip         12” shelf backer                                shelf backer clip


                   A shelf-backer graphic is placed on the back of each shelf. The shelf-backer graphic re-
                   duces the depth of the shelves to minimize the quantity of merchandise that has to be
                   maintained to ensure a full and plentiful presentation. The shelf-backer graphic must
                   be placed twelve inches from the front edge of the shelf no matter the depth of shelf.
                   The 18" high shelf-backer is used on the top-most shelf. The 12" high shelf-backers
                   are used for the remaining shelves to maintain the proper shelving distances. Modifi-
                   cations to the existing shelving may be necessary. If the shelf-backer graphic must be
                   modified to fit, use a sharp craft knife to make necessary cuts. If your existing condi-
                   tions do not allow the above measurements, consult the Hampton Brand Team at 755
                   Crossover Lane, Memphis, Tennessee 38117.
              E. Shelf-backer Clips
                   Shelf backers must be held in place using SemaSys clear grip self-
                   adhesive shelf-backer clips. Clips are available on OnQ Insider >
                   Hampton > Make It Hampton Product Reorder Catalog. Three clips
                   are placed on top and bottom of the shelf at a 36" distance. If your                                          #120189
                   existing conditions do not match the above standards consult                                               shelf backer clip
                   Hampton Brand Team at 755 Crossover Lane, Memphis, Tennessee
                   38117.
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                                                                          Rules Of Operation
         F. Display Trays with Graphic Inserts and Acrylic Risers
                                                            tray                       tray




              tray




            3”                                  .5”

                                        12”
                     12”




           The sweet, savory and candy/sundry sections use display trays with graphic inserts.
           These 12" x 12" x 3" trays have two uses. One use is to contain small merchandise
           on the shelves such as candy bars or mints or bulk products. The other use is for a
           graphic identity system on the shelves. Trays and tray graphics are available on OnQ >
           Hampton > Make It Hampton Product Reorder Catalog.
           Hampton-branded graphics are inserted into the bottoms of the trays. The trays are
           then turned upright to show the graphic. There must be one graphic display tray in
           each section—sweet, savory and candy/sundry. Place the trays either to the far right or
           far left on the shelf in each section.
           An acrylic riser should be used to display small
           items such as candy on shelves in the bays. The
           riser is available OnQ Insider > Hampton > Make It
           Hampton Product Reorder Catalog.
           If your property has limited shelf space, the use of
           the trays as graphic identity system can be elimi-
                                                                                                 Acrylic riser
           nated. The trays should still be used, however, as
           holder of small items that don’t stack nicely on the
           shelves. No other containers may be used for the
           display of merchandise.
        G. Refrigerator and Freezer Graphics
           The refrigerated and frozen categories also have Hampton-branded graphics. These
           include backlit graphic panels and tray graphics. Graphics for the exterior of the refrig-
           erator/freezer unit are available in two sizes. Custom sized graphics may be ordered for
           older refrigeration/freezer units. No brand endorsements are allowed on either of the
           units. Consult Hampton Building Standard 305.03 for recommended specifications for
           equipment.


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                                                                           Rules Of Operation
             Tray graphics




                              savory            savory                  sweet                        sweet




                              savory            savory                  sweet                        sweet




                              candy             candy                   frozen                       frozen




                              candy             candy                   cold                         cold



           Display trays and graphics are used inside the units.
           Each section should have at least one tray dis-
           played. Place the trays either to the far right or far
           left of the section.
           The refrigerated and frozen categories also use
           graphic trays. Each of these two categories must
           have at least one tray displayed. Place the trays
           either to the far right or far left of the section. If
           your property has limited shelf space or has a high
           volume of sales in this category, the use of the trays
           as graphic identity system may be eliminated to
           reduce the amount of restocking or reduction of
           actual merchandise.

                                                                               refrigerator       freezer




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                                                                         Rules Of Operation
        H. Merchandiser
           One merchandiser must be placed inside the Suite Shop adjacent to the transaction
           window. It is used to display the price menu for all items in the Suite Shop and to
           display merchandise. If space does not permit the use of the merchandiser, it may be
           eliminated. In this case, the price menu is to be displayed on the desk of the transac-
           tion window in a clear, free-standing plexi-glass frame. The price menu must be printed
           by a professional printer on bright white paper. The template is available on OnQ
           Insider > Hampton Brand > Products & Services > Make It Hampton > Touchpoints >
           Suite Shop > Price Template.
           The merchandise displayed in the merchandiser should reflect food products unique
           to your area. These products should have a souvenir quality about them. They do not
           have to be for immediate consumption. For example, in Memphis you could display
           bottles of BBQ sauce on the shelf.
         I. Setting Up Merchandise
           Merchandise in the Suite Shop is organized to make it simple for the guest to find what
           he or she needs easily and to encourage sales. The size and layout of the Suite Shop
           will vary from property to property. However, using these simple merchandising tech-
           niques will create a positive and consistent shopping experience at any location.
            1. Always Merchandise From Top To Bottom
               Items are merchandised in vertical columns creating a zone for each category.
               Zones are never organized in horizontal rows. Most Suite Shops have approxi-
               mately three, three-foot sections of merchandising space. This allows for one three-
               foot section for sweet, one three-foot section for savory, and one three-foot section
               for both candy and sundries.
               If your property has limited space, evaluate what items are purchased or requested
               most often by your guests and stock those items. Try to follow the same vertical
               merchandising format as Suite Shops without restricted space.
            2. Balance
               Balance is also important when organizing the presentation. When a presentation
               is well balanced, products that are not similar in size and shape appear more invit-
               ing.
               Balance the density and color of the merchandise on the shelf by placing the big-
               gest or bulkiest items in the middle and then placing smaller items on the left
               and right sides of the shelf. This creates a pyramid shape. We recommend that in
               this small space, the majority of shelves contain only one or two types of product.
               For example, a shelf in the sweet category could contain six to eight rows of Pep-
               peridge Farm® cookies.




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                                                                        Rules Of Operation
            3. Density
               Shelving must be twelve inches on center from top to bottom so that products can
               be stacked—leaving just enough space to easily get to the top item. This not only
               maximizes shelf space, it looks better, too. Similar types of merchandise should be
               placed close together. Rows should be placed one inch apart creating visual breaks
               between products or flavors of products.
            4. Merchandise
               Merchandise must be displayed based on six zone categories of merchandise:
               sweet, savory, candy, sundries, beverages and frozen. Zones are then subdivided
               into the following categories: Premium/Specialty Products, Novelty and Local
               Products and Everyday Favorites. Merchandise within the same category must be
               kept together when displayed—no mixing of categories on a shelf. Restock shelves
               regularly so everything looks bountiful and neat.




              With architectural fins                       Without architectural fins




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                                                                        Rules Of Operation

                                           Specialty



                                           Novelty


                                           Commodity




                             Savory zone


               a. Savory Zone
                  1) Premium/Specialty Products – Fill section with two or more brands,
                     multi-serving size.

                      NOTE: Premium quality local products may also be included in this sec-
                      tion.

                      Recommended selections: cheese straws, cocktail biscuits/crackers, special-
                      ty corn chips and salsa, Kettle™ Brand Potato Chips, Poore Brothers Potato
                      Chips®, Zapp’s® Potato Chips

                  2) Novelty or Local Products – Fill section with one or more brands, multi-
                     serving size.

                      Recommended selections: honey roasted peanuts, deluxe mixed nuts,
                      fancy whole cashews, natural pistachios, caramel corn with premium nuts
                      such as almonds or pecans, trail mix, bagel chips, sourdough pretzels

                  3) Everyday Favorites – Fill section with one brand of microwave popcorn
                     and two or more brands of single-serving size snacks.

                      Required selections: Ritz Bits® sandwiches and Doritos® snacks

                      Recommended selections:

                        a. Microwave popcorn – two rows of natural flavored, two rows of but-
                           ter flavored; Orville Redenbacher® or Act II® Microwave Popcorn

                        b. Snack mixes and chips – Gardetto’s® Snack Mix, Chex Mix® snacks,
                           Bugles®, Lays® snacks, Frito’s® snacks, Rold Gold®, Brach’s® Popz®
                           popcorn, snack crackers (peanut butter, cheese)




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                                                                       Rules Of Operation


                                          Specialty



                                          Novelty


                                          Commodity


                       Sweet zone


              b. Sweet Zone
                  1) Premium/Specialty Products – Fill section with two or more brands.

                     NOTE: Premium quality local products may also be included in this sec-
                     tion.

                     Recommended selections: Cookies – Pepperidge Farm®, Mrs. Fields®, Fa-
                     mous Amos®, Brent & Sam’s®

                  2) Novelty or Local Products – Fill section with one or more brands, multi-
                     serving size.

                     Recommended selections: chocolate covered pretzels, local confectionary
                     specialty

                  3) Everyday Favorites – Fill section with four or more brands of granola bars
                     and treats.

                     Required selections: OREOS® and Chips Ahoy®

                     Recommended selections:

                       a) Granola/energy bars – Kudos®, Quaker® Chewy®, Nature Valley®
                          Oats‘N Honey Granola Bars, PowerBars®

                       b) Treats – Nutter Butter®, Kellogg’s® Rice Krispies Treats®, Fig New-
                          tons®, Keebler® Soft Batch® Cookies




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                                                                                   Rules Of Operation


                Candy zone                            Specialty


                                                      Novelty


                                                      Commodity




               c. Candy Zone
                             1) Premium/Specialty Products – Fill section with two or more brands.

                                NOTE: Premium quality local products may also be included in this sec-
                                tion.

                                Recommended selections: Ghirardelli® Chocolate Squares, Sharffen
                                Berger®, Lindor® Truffles, Godiva® four piece box, Toblerone®

                             2) Novelty or Local Products – Fill section with one or more brands.

                                Recommended selections: Lake Champlain® (Chicago), Esther Price®
                                (Cincinnati), See’s® (California), Ethel M’s®, Dove®

                             3) Everyday Favorites – Fill section with two or more brands of chocolate
                                and two or more brands of mints/hard candy.

                                Required Selections: M&Ms®, plain and peanut, and Snickers®

                                Recommended selections:

                                  a) Chocolate – Hershey’s®, Mars®, Reese’s®

                                  b) Mints/Hard Candy – Altoids®, LifeSavers®




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                                                                              Rules Of Operation


                Sundries




              d. Sundries Zone
                      Fill one shelf with sundry items. At least one package of each category is re-
                      quired. Brands are recommended.
                      NOTE: Even though some of these items are offered in guest rooms as compli-
                      mentary amenities, alternative selections must be offered in the Suite Shop as
                      well.
                           1) Mouthwash, peppermint or spearmint
                              Recommended selections: Scope®, Listerine®

                           2) Toothpaste, mint gel
                              Recommended selections: Crest®, Colgate®, Aquafresh®

                           3) Deodorant, women’s and men’s
                              Recommended selections: Gillette®, SpeedStick®, Right-Guard®

                           4) Shaving cream, women’s and men’s
                              Recommended selections: Gillette® Satin Care®, Gillette®, Barbasol®

                           5) Hairspray
                              Recommended selections: Pantene®, ThermaSilk®, Suave®

                           6) Hair gel
                              Recommended selections: L’Oreal Studio Line®, Pantene®, ThermaSilk®

                           7) Brushes/combs, two different types; all-purpose

                           8) Panty liners/shields
                              Recommended selection: Carefree®

                           9) Tampons
                              Recommended selections: Playtex®, Tampax®



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                 10) Pain relievers, two brand minimum.
                     Recommended selections: Tylenol®, Aleve®, Advil®, aspirin

                 11) Antacid, variety of flavors
                     Recommended selections: Tums®, Rolaids®

                 12) Eye Drops
                     Recommended selections: Visine® or Clear Eyes®

                 13) Cough drops, roll-type packaging, variety of flavors.
                     Recommended selections: Halls®, Luden’s®, Vick’s®

                 14) Disposable razors, double or triple blade, men’s and women’s
                     Recommended selections: Gillette®, Shick®




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                                                                              Rules Of Operation


                                              Specialty


                                              Novelty



                                              Commodity




              Frozen zone


               e. Frozen Zone
                   Keep freezer shelves full at all times.
                    1) Premium/Specialty Products
                       Frozen prepared dinners: two or more brands, two or more meal choices
                       per brand.

                            Recommended selections: Stouffer’s®, Lean Cuisine®, Marie Callenders®

                    2) Recommended: Ice cream, pint size.
                       Recommended selections: Ben and Jerry’s®, Haagen-Dazs®, Godiva®

                    3) Novelty or Local Products
                       Ice cream bars: two to four brands, individual serving-size (box packaging
                       recommended).

                            Recommended selections: Dove® Ice Cream Bars, Klondike® Ice Cream
                            Bars

                    4) Everyday Favorites
                       Novelty bars: two to four brands, individual serving-size.
                       Required Selections: Snickers® Ice Cream Bars

                            Recommended selections: Dole® Fruit Bars, Nestle®, Drumstick® Ice
                            Cream Cones, Nestle® Crunch® Ice Cream Bars, Butterfinger® Ice Cream
                            Bars, HEATH® Ice, Cream Bars, REESE’S® Ice Cream Bars, OREO® Ice
                            Cream Sandwiches™




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                                                                         Rules Of Operation


                                            Specialty


                                            Novelty



                                            Commodity




                              Beverages


               f. Beverage Zone
                 Keep refrigerator shelves full at all times.
                  1) Premium/Specialty Products
                     Bottled water: regional bottlers, fill one shelf with 16 to 24 oz. sizes

                  2) Novelty or Local Products (recommended)
                     Carbonated beverages; 12 oz. size; two or more brands, two or more fla-
                     vors per brand

                      Recommended selections: Jones Soda® (Cream Soda, Green Apple, Fufu
                      Berry, Orange Cream) or IBC® (Root Beer, Cream Soda, Black Cherry)

                  3) Everyday Favorites

                        a) Juices: two or more flavors, single serving size.

                           Required selection: Gatorade®

                           Recommended selections: Tropicana® Pure Premium® Juices (apple
                           and orange), V8® Juices, V8 Splash Juices® (citrus blend, tropical
                           blend, orange pineapple), Ocean Spray® Cranberry Juice

                        b) Carbonated beverages: leading national brand, minimum of four
                           flavors. Soda products may be in a 12 oz. can or 16 oz. bottle. No
                           bottles larger than 20 oz. are permitted.

                           Required selection: Coke® and Diet Coke® or Pepsi® and Diet Pepsi®

                           Recommended selections: Sprite®, Dr. Pepper®, Mountain Dew®,
                           Slice®




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                              c) Beer and wine (optional and only where allowed by law); fill one
                                 shelf. Hard liquor is not permitted.

                                 Beer; in 12 oz. bottles or cans; regular and light
                                 Wine; in four to eight oz. bottles
109.05   Business Center (if applicable)
         All hotels with a Business Center must meet the following minimum requirements. The Center
         must be easily available for guests’ use at all times. All system cabling must be neatly ar-
         ranged and out of guest view. The center must contain:
          A. Computer workstations (one minimum) with high-speed Internet access and software
              to include the latest version of Microsoft Windows and Microsoft Office.
          B. Two desk chairs
         C. Telephone(s). If there is only one phone, it must be a standard telephone with the abil-
            ity to access an outside line for local calls and credit card calls. One standard phone
            for house and local calls and another phone for credit card calls is acceptable. This
            telephone(s) must be restricted from dialing guest rooms/suites.
         D. An ink jet or laser printer with connection capability for laptops
          E. A fax machine (or service provided on premise)
          F. A calculator
         G. Office supplies (expendable pens, pencils, paper, tape, scissors, clips, a stapler with
            staples, etc.)
         H. Various up-to-date reference materials (dictionary, thesaurus, local telephone books
            and Yellow Pages, zip code directory, atlas, etc.)
          I. FedEx supplies
109.06   Lobby Computers (if applicable)
         A hotel, as an option, may choose to install a computer workstation in the lobby for com-
         plimentary guest use. The workstation must be housed in a piece of finished furniture
         matching the décor of the lobby. All system cabling must be neatly arranged and out of
         guest view. The workstation must have the following features:
          A. A computer workstation with high-speed Internet access, and software to include the
             latest version of Microsoft Windows and Microsoft Office
          B. A comfortable desk chair matching the surrounding lobby décor
         C. An ink jet or laser printer with connection capability for laptops




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                                                                             Rules Of Operation
110.00 Employee Service Standards

110.01   All employees must verbally greet the guest and offer the guest assistance (when appro-
         priate).
110.02   All employees in telephone contact with guests must perform the following minimum be-
         haviors upon each contact:
          A. Offer an appropriate greeting.
          B. Identify either the specific hotel in the case of outside calls or the department in the
             event of inside calls.
         C. Offer assistance.
         D. Any guest that is required to wait, either for an initial answer or by being put on hold,
            should receive an apology.
          E. Requests for wake-up calls must be confirmed by repeating the guest’s room number
             and time.
          F. Incoming calls must not be connected to a guest room/suite until the caller has verified
             the guest's name. No calls should be connected based only on the caller asking for a
             room number.
110.03   While on duty, employees must never chew gum, smoke, drink or eat in view of the public.
110.04   All team members must be in the “i am hampton collection” wardrobe while on duty. See
         Section 500 for ”i am hampton collection” Standards. General Manager and management
         positions may be excluded. However, it is recommended that they participate in the “i am
         hampton collection” wardrobe program as deemed appropriate.
110.05   All employees including management must wear their name tag while on duty. See Section
         400 for examples.
          A. All tags will contain graphic images and display the team member’s name.
          B. Management personnel, at their discretion while representing the hotel off site, are
             permitted to wear the approved ‘off property’ name tags including the manager’s full
             name, title, hotel location, city and state where the hotel is located (etched) and the
             Hampton logo.
110.06   No team member should be sitting in chairs or on stools behind the registration desk at
         any time.
110.07   Guest services representatives and breakfast attendants must be able to communicate with
         guests in English, as well as in the official language of the country in which the hotel op-
         erates.
110.08   Hotels with registration or welcome walls that include doors visible to guests must keep
         the doors closed from 7 a.m. to 11 p.m. daily. Doors to non-guest areas must remain closed
         at all times. This includes back office, front desk, housekeeping, pantry, maintenance shop
         and storage room entry doors.




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                                                                            Rules Of Operation
111.00 Front Desk Service Standards

111.01   Guest service representatives must be thoroughly familiar with all hotel facilities including
         the location of vending areas, elevators, ice machines, etc., and with policies regarding lost
         and found items, safety deposit boxes, the swimming pool, rates and availability of rooms.
111.02   On-duty employees must always be able to reach a manager or supervisor by beeper or by
         cellular phone to assist in resolving unexpected situations and service requests.
111.03   The front desk is required to be staffed 24 hours a day and never left unattended. Appro-
         priate staffing levels must be maintained to ensure this requirement is met.
111.04   Guest service representatives must be able to provide directions to local businesses, places
         of interest, major highways, airports, restaurants, places of worship, etc.
111.05   Non HHonors check-ins must include the following (see Rule 112.00 for HHonors check-
         in/check-out protocol):
          A. Representatives must greet each guest with the appropriate Customer Really Matters
              (CRM) welcome protocol.
          B. Representatives must be pleasant, professional, efficient and use one of the five connec-
             tion techniques (Unexpected Delights, Compliments, Humor, Anticipate or Empathy).
         C. The guest’s name must be used at least once.
         D. Confirm length of stay and assigned room type.
          E. After 5:00 p.m. check-in, offer the guest wake-up call service.
          F. During check-in, guest room/suite numbers are not to be announced.
111.06   At check-in each guest will be handed an electronic key card inside of the approved paper
         key envelope along with the weekly approved high-speed Internet access code and card.
111.07   After check-in, all guests must be called to confirm their satisfaction (see Rule 102.07 for
         details).
111.08   Express Check-in service must be provided to all guests arriving at airport hotels by shuttle
         or hotel-provided taxi service. The Express Check-in process should be quick and efficient.
          A. A representative should obtain the guest’s name either upon receiving the call for pick-
              up or upon entering the hotel’s shuttle van.
          B. Representatives should be pleasant, professional and efficient in obtaining the guest’s
             name. The hotel representative should then inform the guest that Express Check-in ser-
             vice will be available upon arrival at the hotel.
         C. Upon arrival, the guest will only need to present their payment at the desk and sign the
            registration card.
         D. The guest must be informed of the 100% Hampton Guarantee, wake-up call service
            and Express Check-out.




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111.09   All check-outs handled at the front desk must include the following, conducted verbally:
          A. Inquire about guest’s stay and quality of service. If the guest is not completely satisfied,
              they must not be charged for the stay.
          B. Confirm method of payment.
         C. Offer to make further reservations.
         D. Thank the guest.
111.10   Express Check-out
         (see Rule 112.04 for HHonors Express Check-out protocol)
          A. Express Check-out must be available for all guests not paying with cash.
          B. Express Check-out can be delivered via two options:
               1. Print all Express Check-out folios and seal each one with a 100% Hampton sticker.
                    Write the guest room/suite number on each sticker. Deliver Express Check-out to
                    all occupied guest rooms/suites by 7:00 a.m. daily (this is the brand recommenda-
                    tion), or
               2. Print all Express Check-out folios and seal each one with a 100% Hampton sticker.
                    Write the guest room/suite number on each sticker. Arrange folios in numerical
                    order and place them at the front desk so that they are available to guests by 7:00
                    a.m. daily.
111.11   Disabled and Sight Impaired Guests Documentation
         The hotel (front desk staff) must maintain a daily log in a binder or a clipboard contain-
         ing a listing of guest rooms occupied by disabled/sight impaired guests. The binder or
         clipboard must be accessible by all hotel employees and must be available for Quality As-
         surance review. The log must contain:
          A. The guest room number
          B. Guest name
         C. Check-in/check-out information
         D. Guest challenge or impairment
111.12   Ultimate Service – Setting Up to Serve
         Setting Up to Serve components (Directional Cards or hotel concierge information in the
         OnQ Property Management System, A to Z Binder, Menu Folder, FAQ Card and As If By
         Magic Kit) must be maintained and must be available to guests.
          A. Each hotel must have available at the front desk and provide to guests directional cards
              to popular local establishments or attractions upon request. The cards must be filed in
              your Setting Up to Serve Card Filer. The card template is available on your CD Forms and
              Files disc.




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        B. Each hotel must have a Setting Up to Serve A-Z Guidebook available at the front desk for
           easy reference by guest service representatives to address guest questions. If the A-Z
           Guidebook is not utilized, then all information must be maintained in the OnQ Con-
           cierge function. It is also highly recommended that a second book be provided in the
           breakfast area.
        C. Each hotel must have a variety of items at the front desk for guest use on a complimen-
           tary basis. Known as the As If By Magic Kit, suggested items include: eyeglasses repair
           kit, shoe shine kit, nail care products, ear plugs, hair spray, etc.




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112.00 Hilton HHonors Guest Protocol

112.01   Express Check-in (Zip-in Check-inTM)
         Express Check-in service must be provided to all HHonors members. This process should
         be quick and efficient. The key and key envelope, along with the weekly approved access
         code, should be prepared prior to the guest’s arrival.
         Note: When using e-Forms, the hotel does not need to purchase HSIA access cards. The ac-
         cess code can be manually written on the back of the e-Form key card jacket.
          A. Upon arrival, the guest will only need to present their Hilton HHonors membership
              card or a valid driver’s license. The guest service representative will pull the key enve-
              lope from the key card holder and use the appropriate Customer Really Matters (CRM)
              protocol.
          B. Representatives must be pleasant, professional, efficient and use one of the five connec-
             tion techniques (Unexpected Delights, Compliments, Humor, Anticipate or Empathy).
         C. The guest’s name must be used at least once.
         D. During check-in, guest room/suite numbers are not to be announced.
          E. Confirm length of stay, method of payment, knowledge of complimentary services and
             confirm airline partner for point accumulation.
          F. All other check-in protocol is suspended.
         G. At Hampton Inn & Suites, Gold and Diamond HHonors guests must be upgraded to a
            suite if one is available.
         NOTE: The room should be pre-assigned before the guest’s arrival. The key and key enve-
         lope should be prepared prior to the guest’s arrival.
112.02   HHonors Courtesy Call-back
         After check-in, all HHonors guests must be called to ensure their satisfaction. See Rule
         102.07.
112.03   Daily Newspaper Delivery
         All HHonors members are to receive a USA TODAY newspaper delivered directly to their
         guest room/suite daily by 7:00 a.m. Monday through Friday. New properties that need to
         establish USA TODAY subscription service should call USA TODAY’s national account man-
         ager at 303-487-5425. The national account manager will direct properties to the correct
         USA TODAY regional office.
          A. Provide delivery of the newspaper to the door of all occupied guest rooms/suites by
              7:00 a.m. in the approved bag placing it on the door handle (if the newspaper will slip
              completely under the guest room door, no bag is needed).
          B. The newspapers are then delivered to the guest room/suite and hung on the door
             handle.




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         C. The front desk cannot be left unattended. Additional personnel (i.e., a maintenance or
            housekeeping employee) will be needed to deliver the papers.
         D. Newspaper delivery to the guest room/suite is required at all Hampton hotels (Mon-
            day through Friday).
112.04   Express Check-out (Zip-Out Check-outTM)
         HHonors guests receive Express Check-out folios along with USA TODAY newspapers de-
         livered to their guest room/suite using the approved newspaper bag and Express Check-out
         format. The front desk cannot be left unattended. Additional personnel (i.e., a maintenance
         or housekeeping employee) will be needed to deliver papers.
           A. The night auditor prints folios and seals them with 100% Guarantee stickers, writing
              the room numbers on the sticker.
          B. Provide delivery of the newspaper to the door of all occupied guest rooms/suites by
             7:00 a.m. in the approved bag placing it on the door handle (if the newspaper will slip
             completely under the guest room door, no bag is needed).
         C. Deliver Express Check-out folios/newspapers to all HHonors guest rooms/suites by
            7:00 a.m.
         D. The Express Check-out folio should be slipped underneath the door. The newspaper
            and newspaper bag are to be placed on the guest room/suite door handle. (Exterior
            only – if the Express Check-out folio cannot be slipped underneath the door, then the
            guest should be informed that it will be available for him/her at the front desk in the
            morning by 7:00 a.m. See Express Check-out Rule 111.10).
          E. Newspaper delivery to the guest room/suite is required at exterior corridor hotels.
112.05   “The Hampton Touch” Gold and Diamond Elite Status
          A. HHonors elite members’ (Gold and Diamond) are to be prepared by housekeeping
             personnel. When a Gold or Diamond elite member participating in the My Way Pro-
             gram chooses to receive points in lieu of an in-room amenity, amenity preparations
             are not required, including the HHonors postcard.
         B. Snack and Water Specifications
              1. The following are the approved snack items. Choose one, but it is recommended
                 that the choices be alternated to provide variety. Order items a. through i. from
                 your local supplier. See the phone number with item j. to order custom HHonors
                 chocolates.
                 a. Chips Ahoy Cookies (Nabisco) – 4 cookies, 1.4 oz.
                  b. Oreo Cookies (Nabisco) – 6 cookies, 2 oz. or the 1.14 oz 4 pack
                  c. Chex Mix (General Mills) – traditional flavor, 1.75 oz.
                 d. Cheez-It (Sunshine) – party mix, 1.75 oz.
                  e. Chips (Cheetos, Fritos Corn Chips, Lay’s Classic, Lay’s BBQ, Doritos) – 1.5 oz.
                  f. Cracker Jack – 1 oz.


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                 g. Grandma’s Cookies – chocolate chip, 2.75 oz.
                 h. NutraGrain Bars
                    (Strawberry & Crème Twists, Strawberry, Blueberry) – 1.3 oz.
                  i. Candy Bars (M&Ms, 3 Muskateers, Milky Way, Twix, Snickers, Reese’s Milk
                     Chocolate Peanut Butter Cups) – 1.6 oz.
                  j. Hilton HHonors Custom Chocolates
                     To order, call Rikki Steinharter at Astor Chocolate Corp., (732) 901-1000 ext.
                     1130.
                     Astor Chocolate Mints – slide box with 2 milk chocolate mint squares,
                     #FS012HH
                     Or
                     Visions Truffles – box with 2 hazelnut truffles, #FS251HH
              2. The following is required for the bottled water. Order these from your local ven-
                 dor.
                 a. The water must be a nationally recognized brand (Evian, Dasani, Arrowhead,
                    Ice Mountain, Deer Park, Aquafina, Zephyr Hills, Ozarka, Poland Springs or
                    Crystal Geyser).
                 b. The bottle must be 16.9 fl. oz.
112.06   Extended Stay Check-out
         If an HHonors member needs extra time in their room, he/she can call the front desk to
         extend their check-out. The front desk should do everything possible to accommodate the
         request.




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113.00 Customer Really Matters (CRM)

113.01   Service Recovery: Beyond the Guarantee
         (Gold and Diamond VIP Members Only)
          A. Every Gold or Diamond VIP guest who invokes the Guarantee and/or expresses a com-
             plaint about the hotel will receive the following recognition:
             If the Gold or Diamond VIP member is checking out or has checked out, a person-
             alized apology card from the GM is to be mailed to the guest’s address within 48 hours
             of checkout. In addition, HHonors Diamond VIP members will receive a personal
             phone call from the GM or the AGM as an additional touch for apology and service re-
             covery. The call must be placed within 48 hours of checkout.
             Or
             If the Gold or Diamond VIP member is a stay-over the GM will deliver a personalized
             apology card along with one of the recommended apology amenity items (listed in
             B) to the guest’s room. In addition, HHonors Diamond VIP members will receive a
             personal phone call to their room from the GM or the AGM as an additional touch for
             apology and service recovery. The call must be placed prior to the guest checking out.
          B. One apology amenity must be provided to Gold and Diamond VIP Members; each ho-
             tel must carry a minimum of five from the following list:
              1. Free tickets to location attractions
              2. Gift basket
              3. Gift certificate to local restaurant
              4. Free appetizer or dessert certificate at local restaurant
              5. Hilton Gift Checks ($25, $50, $100)
              6. Bath products (bubble bath, shower gel, powder)
              7. Free in-room movie pass
              8. Local amenities (example: salsa in Texas, cheese in Wisconsin, etc.)
              9. Local movie theatre pass
113.02   The 100% Hampton Guarantee and the HHonors Diamond VIP Guest
          A. In addition to the 100% Hampton Guarantee, HHonors Diamond VIP guests (paid
             and reward stays) must also receive immediate (same day) refund of Points & Miles
             back to their accounts. The property will pay for the Points & Miles fee. The hotel must
             retain and make available a 30 day rolling record of these transactions.
          B. In order to support customer satisfaction and loyalty, the Hilton Hotels corporation
             Guest Assistance Department has the discretion to grant HHonors Diamond Member
             up to two complimentary future nights. This fee will be charged back to the property.




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113.03 HHonors Diamond VIP Walk Policy
        To protect the relationship between the super high frequency Diamond VIP members and
        the Hilton family, all brands are introducing a Diamond VIP Walk Policy. That means if a
        hotel happens to walk a Diamond VIP member, we’re going to take steps to keep that best
        guest loyal to us. This means that we’ll follow the same procedures that we do today. Not
        only will this policy serve to protect very valuable customer relationships; it also adds an incentive to
        never walk a Diamond VIP member from a Hilton property.
         A. If an HHonors Diamond VIP member is walked, the hotel must coordinate compli-
             mentary accommodations at an equal or greater value local hotel.
            B. The hotel must pay for the first night’s room and tax, plus one telephone call.
           C. The hotel must offer and/or provide transportation at no charge to the guest.
           D. All pertinent information must be reported to the HHonors Diamond Desk and the
              Hilton Hotels Guest Assistance within 48 hours of the guest being walked.
            E. The hotel must provide the guest with an immediate inconvenience compensation of
               $100 cash.
            F. The hotel must also provide the HHonors Diamond VIP member with an immediate
               (same day) refund of Points & Miles back to the guest account for the first night. The
               property will pay for the Points & Miles fee. The hotel must retain and make available a
               30-day rolling record of these transactions.




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114.00 Reservation Service Standard

114.01   Reservations requests must be processed for guests 24 hours daily. Employees processing
         reservations (via telephone or directly) must provide guests with the following informa-
         tion:
          A. Confirmation of hotel site
          B. Confirmation of the type of accommodations
         C. Confirmation of the room rate
         D. Confirmation of the reservation conditions (e.g. 6:00 p.m., Guaranteed or Advance De-
            posit)
          E. Confirmation number (advising guests to keep a record of such)
          F. Cancellation policy




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115.00 Housekeeping And Maintenance Service Standards

115.01   Guest service personnel must respond to guest requests for expendable amenities and other
         room items (i.e., extra linens, blankets, pillows) within 30 minutes of request during the
         hours of 7:00 a.m. to 8:00 p.m. After-hours requests should be handled as promptly as pos-
         sible.
115.02   Room repair requests for items that directly affect guest comfort, needs or security (i.e., tele-
         visions, HVAC, plumbing, bulbs, lamps, door locks) must be responded to within 15 min-
         utes of the guest’s request.
115.03   Every occupied room (stayovers and check-outs) must be serviced by Housekeeping daily
         unless the guest specifically requests otherwise. Guests may opt to use the red “freshen
         please” service signal to indicate that they wish to have their bed linens (fitted bottom and
         top sheets, pillowcases, duvet cover, and lumbar pillow cover) changed during stayover.
         Otherwise, bedding is changed:
          A. Prior to check-in
          B. During guests’ stayover when they request
         C. After the fourth consecutive night
         D. When there is a visible need
115.04   Hotel must rotate mattresses quarterly according to the rotation schedule on the mattress.
         Box springs must be rotated bi-annually.
115.05   Each Hampton brand hotel must develop, implement and document a systematic quality
         control system. The system must be designed to ensure that the hotel is maintained in qual-
         ity condition. A fixed schedule must be established for inspecting rooms and performing
         appropriate preventive maintenance (to ensure the entire hotel is inspected four times a
         year.)
115.06   Each Hampton hotel must develop, implement and document a deep cleaning program.
         The program must be designed to ensure that the hotel is maintained at a high level of
         cleanliness. Each room should be deep cleaned a minimum of four times a year. A fixed
         schedule must be established for deep cleaning the guest rooms/suites. At a minimum the
         deep cleaning program should include:
           A. Wash/dry clean drapes
          B. Edge vacuum
         C. Rotate mattresses
         D. Wash shower curtains
          E. Vacuum and shampoo upholstery
115.07   Duvet inserts and lumbar pillows must be washed a minimum of four times per year or as
         frequently as the hotel deems necessary.
115.08   For hotels where glassware is not washed in a dishwasher (drinking glasses, coffee pot, mi-
         crowave turntables, etc.), all housekeeping carts must be equipped with a sanitizing agent
         (such as #1610 Sanitizer by Daly International or equivalent product) for use on guest
         room glassware.
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116.00 Transportation Service Standards

116.01   The personnel assigned to drive the vehicles must be properly licensed (chauffeur’s license,
         if required) and insured according to local codes.
116.02   Team members are required to wear a name tag and approved wardrobe pieces from the
         “i am hampton collection.” The wardrobe must be clean and in good repair. See Section
         500.
116.03   All property vehicles must be properly registered, insured and operated according to local
         safety and licensing codes.
116.04   All property vehicles must be fully equipped with seat belts for all seats. At no time should
         the number of passengers carried exceed the number of available seat belts.
116.05   Personal vehicles cannot be used to transport guests under any circumstances.
116.06   Any hotel with van/vehicles used for guest transportation must be wrapped with one of the
         approved vinyl graphics. The material used must be a high performance vinyl and printed
         with solvent inks. Vans must be laminated with UV protection and windows must printed
         with Clear Focus vision material. For specific graphics information, see Trademark and
         Identity Standards, 408.10.
116.07   All hotel vehicles must have a first-aid kit, multi-purpose fire extinguisher, and jumper
         cables on board at all times.
116.08   Brand Directory Designation
         In order for a property to be listed as an airport location in the Hampton Brand Directory,
         the property must provide complimentary 24-hour airport transportation.
         Courtesy vans may not be shared with another hotel without written approval from Hamp-
         ton Brand Management.
         If an “airport” or “airport area” designated hotel cannot provide transportation within 30
         minutes of the request, alternate means of transportation must be offered at the hotel’s ex-
         pense.
116.09   If complimentary airport transportation service is provided, the following rules apply:
           A. A hotel must own or lease a property specific vehicle to provide complimentary trans-
              portation.
          B. Guest Service Representatives must always advise the guest of the estimated waiting
             time until the van arrives and provide clear directions to the transportation waiting
             area.
         C. Drivers must always assist with loading and unloading guest luggage as well as opening
            and closing the van doors.
         D. Express Check-In service must be provided (Rule 111.08).




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116.10   Airport Service Center Advertising
          A. Hotel owners/operators may contract with the airport service center advertising com-
             pany of their choice as long as all advertising complies with the exact standards as de-
             scribed in the design specifications, see Standard 411.00 in the Trademarks and Identity
             section. Hotels may also utilize the Hampton Sales and Marketing Tool Kit
             http://hamptonsalesandmarketing.com to create this artwork at no cost to the hotel.
          B. Advertising File
             Each hotel must maintain, on property, a designated airport service center advertising
             file for review by Hilton Hotel representatives. The file must contain current photo-
             graphs of each airport service center advertisement and other pertinent documents and
             information related to the hotel’s airport service center advertising program.




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117.00 Meeting Services

117.01   Ice water and cups must be provided for every meeting.
117.02   Tidying of meeting rooms during each scheduled coffee and meal break is required.
117.03   Messages received by front desk personnel must be delivered to the meeting area and
         posted on a central board or given to a designated member of the group (in addition to the
         normal guest message service).
117.04   An in-house duplicating service for copying documents in small quantities is required. An
         outside service can be recommended for large quantity copying requirements.
117.05   The hotel must make arrangements for reliable outside catering services when requested.
117.06   The hotel must provide a flip chart stand or hanger, felt-tip markers and extension cords for
         all meeting rooms. One DVD player, videotape player and a 32" portable high definition,
         wide-screen (16:9) LCD screen (maximum size 42") set must be available. Its primary use is
         for employee training.
117.07   The ability to secure rooms to be used on a 24-hour basis is required.
117.08   Wireless high-speed Internet access (HSIA) must be available in all meeting rooms. The
         business center (if applicable) will typically be covered under the wireless area of the lobby.
         This service is to be complimentary.




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118.00 Guest Room/Suite Amenities And Supplies

118.01   In all Hampton hotels, each guest room must contain the minimum supplies listed on the
         chart below. See Section 400 for examples.
           QUANTITY   ITEM                                                                            Logo Required

              1       Guest Services Directory* (Make It Hampton)                                           No
              1       Red “freshen please” service signal (Make It Hampton)                                 No
              1       Wastebasket (13 quarts)**                                                             Yes
              1       “Do Not Disturb” Card (Make It Hampton)                                               No
              2       Ashtrays (Only in smoking rooms)                                                      No
              1       Matchbook (Only in smoking rooms)                                                     No
              1       Laundry Bag and ticket with pricing                                                   Yes
              1       TV Channel Identifier Guide/Card w/restaurant listings
                      on the reverse (Make It Hampton)                                                      No
              1       Pen and note pad (Make It Hampton)                                                    No
              1       Telephone Book (White and Yellow pages)                                               No
              1       Gideon Bible                                                                          No
              1       Lap Desk (Make It Hampton) and Hampton Home Collection Card                           No
              1       Coffee Maker (minimum 4-cup size or CV1 one-cup coffee maker)                         No
              2       Styrofoam or Styrene Coffee Cups (Some Like It Hot,
                      wrapped and bagged, 8 oz.)***                                                         Yes
              4       Clear Plastic Tumblers (Some Like It Cold, wrapped and bagged, 8 oz.)*** Yes

              * See Rule 118.12 for detailed requirements.
             ** Two wastebaskets are required in suites.
            *** Glass tumblers and ceramic cups are not allowed in lieu of plastic tumblers and
                Styrofoam cups.




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118.02   Each existing two room suite with cook tops in a Hampton Inn & Suites must contain
         the minimum supplies listed on the chart below. See Section 400 for examples.
           Quantity   Item                                                                                  Size    Logo Required

              1       Paper Towel Holder
              1       Roll of Paper Towels
              4       Old Fashioned Glasses                                                                8 oz.
              2       Styrofoam or Styrene Coffee Cups (Some Like It Hot,
                      wrapped and bagged)*                                                                 8 oz.
              4       Clear Plastic Tumblers (Some Like It Cold, wrapped and bagged)*                      8 oz.
              4       Coffee Mugs                                                                          7 oz.
              4       Microwave Safe Dinner Plates                                                         93⁄8"
              4       Microwave Safe Bouillon Bowls                                                        63⁄8"
              4       Stainless Steel Dinner Forks
              4       Stainless Steel Dinner Knives
              4       Stainless Steel Teaspoons
              1       Plastic Slotted Spoon
              1       Plastic Spatula
              1       Hand Operated Can Opener
              1       Cutlery Sorter
              1       Disposable Salt & Pepper Shakers
              1       Matching Non-stick 4-piece Cookware Set
                      (2 pots with lids; frying pan with lid)
              1       Pot Holder
              1       Wrapped Sponge
              1       Dish Towel
              1       Wastebasket (must be fire retardant)
                      Locate in living area.                                                               13 qt.       Yes
              1       Coffee Maker (minimum 4-cup size) OR
                      Coffee Maker (CV1 one-cup size). Locate in the kitchen dining area.
              1       Guest Services Directory (Make It Hampton)                                                        No
              1       Red “freshen please” service signal (Make It Hampton)                                             No
              1       “Do Not Disturb” Card (Make It Hampton)                                                           No
              2       Ashtrays (Only in smoking rooms)                                                                  No
              1       Matchbook (Only in smoking rooms)                                                                 No




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           Quantity   Item                                                                                 sizE	     Logo required

              1       Laundry Bag and ticket with pricing                                                                Yes
              1       Welcome Kit (see 118.04)
              1       TV Channel Identifier Guide/Card w/restaurant listings
                      on the reverse (Make It Hampton)                                                                   No
              1       Pen and note pad (Make It Hampton)                                                                 No
              1       Telephone Book (White and Yellow pages)                                                            No
              1       Gideon Bible                                                                                       No
              1       Lap Desk (Make It Hampton) and Hampton Home Collection card                                        No

         * Glass tumblers and ceramic cups are not allowed in lieu of plastic tumblers and Styro-
            foam cups.
         NOTE: Corkscrews and dishwasher soap must be made available upon request.
118.03   Each studio suite or two room suite without cook tops in a Hampton Inn and Suites
         hotel must contain the minimum supplies listed on the chart below. See Section 400 for
         examples.
           Quantity   Item                                                                                 sizE	     Logo required

              1       Guest Services Directory (Make It Hampton)                                                         No
              1       Red “freshen please” service signal (Make It Hampton)                                              No
              2       Wastebaskets                                                                         13 qts.       Yes
              1       “Do Not Disturb” Card (Make It Hampton)                                                            No
              2       Ashtrays (Only in smoking rooms)                                                                   No
              1       Matchbook (Only in smoking rooms)                                                                  No
              1       Laundry Bag and the pricing ticket                                                                 Yes
              1       TV Channel Identifier Guide/Card w/restaurant listings
                      on the reverse (Make It Hampton)                                                                   No
              1       Pen and note pad (Make It Hampton)                                                                 No
              1       Telephone Book (White and Yellow pages)                                                            No
              1       Gideon Bible                                                                                       No
              1       Lap Desk and Lap Desk Hampton Home Collection Card                                                 No
              2       Styrofoam or Styrene Coffee Cups (Some Like It Hot,
                      wrapped and bagged)*                                                                 8 oz.
              4       Clear Plastic Tumblers (Some Like It Cold, wrapped and bagged)*                      8 oz.
              1       Paper Towel Holder
              1       Roll of Paper Towels




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                                                                                     Rules Of Operation
            Quantity    Item                                                                                sizE	   Logo required

               1        Coffee Maker (minimum 4-cup size or CV1 one-cup coffee maker)
                        Located in the kitchen or dining area
               1        Welcome Kit (see 118.04)

       * Glass tumblers and ceramic cups are not allowed in lieu of plastic tumblers and Styro-
         foam cups.
118.04 Welcome Kit in Suite (Hampton Inn & Suites only)
       Replenish as used. Kit to include the following:
            Quantity    Item

               1 each   Prepackaged Coffee (caffeinated and decaffeinated). If using CV1 coffee maker is used, two 		
                        packets of each coffee type are required. See Rule 118.17.
               2        Coffee Condiment Packets (clear packaging required)
               2        Tea Bags (must be the same tea bags used at breakfast [Pickwick or Bigelow] teas),
                        regular and decaffeinated bags required.
               1        Microwavable Popcorn

118.05   Each guest room/suite designated “non-smoking” must be identified with uniformly desig-
         nated signage on door exterior that indicates it is a non-smoking room (see Trademark and
         Identity Standards, Section 400, Signage).
118.06   Coin operated devices in guest rooms are not permitted.
118.07   Each guest room/suite must be identified with uniformly designed and clearly distin-
         guishable numerals. All interior signage must conform with Hampton Identity Standards.
         Interior signage must be submitted for approval. Refer to Trademark and Identity Stan-
         dards, Section 400, for interior and exterior signage specifications.
118.08   Suites are required to have one floor planter approximately 36"h x 30"w and one table top
         arrangement approximately 10"h x 12"w. Plants must be high quality silk or polyester (no
         plastic) and containers must coordinate with decor.
118.09   A free-standing or wall recessed safe may be provided and should be located in the bed-
         room closet (optional). There can be no additional charge for use of these safes.
118.10   All guest room/suite light fixtures must contain 100 watt equivalent bulbs which produce
         a minimum of 1700 lumens (unless prohibited by fixture/shade design). The only energy
         saving/compact bulbs that are approved for use are listed at Standard 309.12G.
118.11   At least six wooden or plastic coat hangers (with cross bar) of uniform size, shape and color
         must be provided. Additionally, at least two pants/skirt hangers with clips must be provid-
         ed. Hangers must not be anti-theft and must utilize a traditional swivel hook. Hotels under
         PIP, renovation or opening as of July 1, 2008, must comply with this standard.




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                                                                                Rules Of Operation
118.12   Each guest room/suite must contain a guest service directory. Directories must be placed on
         the top of the desk or table (where applicable) in the guest room/suite.
         Hotels opening after July 1, 2008, must utilize the approved inserts, three-hole punched, and placed
         in the approved three-ring binder directory. See diagram below.
         Existing hotels that have utilized previous alternative options must utilize the three-ring style upon
         updating information or replacement of the in-room directory.




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                                                                              Rules Of Operation
        A. Three-ring binder specifications:
            1. 1-color silk screen
            2. Translucent three-ring binder with 1⁄2" metal spine
            3. 0.035 natural clear polyethylene binder
            4. 9.5" by 11.625" binder
            5. Directory company needs to obtain approved binder artwork by contacting:
               Hampton Brand Team
               755 Crossover Lane
               Memphis, Tennessee 38117
            6. When requesting artwork please reference project number 14701 and item number
               GR 3.14.1. The file format is (Mac) Illustrator 10.
            7. Approved Suppliers:
               Please call the MIH Help-Line at 866-MIH-HOW2 or e-mail
               hampton.advice@hilton.com




                 outside of three-ring binder: back and front
                 NOTE: grey color represents the translucent binder




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                                                                           Rules Of Operation
        B. Directory Inserts
            1. Inserts must be printed on a 100# bright white stock.
            2. Inserts must be in every directory in every guest room.
            3. Each section in the directory inserts has its own layout for example, the page la-
               beled guest services is the first page of the guest services section.
            4. Information to be included in inserts:
               a. Welcome
               b. Description of property: a description of the Hampton Inn or Hampton Inn &
                  Suites and its features
                c. Guest services: hotel services, telephone information and appropriate exten-
                   sions (see Rule 101.03)
               d. Transportation: airlines, car rental, taxis, etc.
                e. Hotel layout
                f. Safety and security: information on hotel security and emergency systems
                g. Places of worship
               h. In-room safe: information on how to operate the in-room safe
                  (if applicable)
                i. Dining and entertainment: information on local restaurants. Restaurants
                   should include a range of cuisines and price points. Fast food chains should be
                   avoided.
                j. Area attractions: information regarding local points of interests, including
                   times of operation, addresses, and phone numbers
               k. Advertisements
            5. Obtain approved artwork for the directory inserts by contacting:
               Hampton Brand Team
               755 Crossover Lane
               Memphis, Tennessee 38117
            6. When requesting artwork please reference project number 14701 and item number
               GR 3.14.2. The file format is Adobe InDesign.
            7. The directory inserts must be printed by a professional printer.




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                                                                                                                                                                                                            Rules
                                                                                                                                                                                                             Of  Operation
                                                                                                                                                                                                                    DIRECTORY INSERTS




                                                                WELCOME                                                                                                                               DESCRIPTION OF PROPERTY



                                                                                                                                                                      WELCOME                                                                      DESCRIPTION OF PROPERTY




                                                                                 7E ARE PLEASED AND APPRECIATE THAT YOU HAVE CHOSEN OUR (AMPTON )NN AND 3UITES
                                                                                 FOR YOUR STAY AND HOPE YOU WILL lND OUR ACCOMMODATIONS AND SERVICES UP TO YOUR
                                                                                 EXPECTATIONS

                                                                                 /UR ENTIRE (AMPTON )NN AND 3UITES TEAM IS COMMITTED TO PROVIDING YOU WITH A WARM
                                                                                 WELCOME COMFORT AND CONVENIENCE DURING YOUR STAY AND A PARTING WISH FOR YOUR
                                                                                 SAFE TRAVEL AND SPEEDY RETURN

                                                                                 7E GUARANTEE  QUEST SATISFACTION AT THIS (AMPTON )NN AND 3UITES HOTEL 0LEASE
                                                                                 CALL ON ANY MEMBER OF OUR HOTEL STAFF IF YOU NEED ASSISTANCE OR HAVE A PROBLEM
                                                                                 DURING YOUR STAY )F YOU ARE NOT SATISlED WE DONT EXPECT YOU TO PAY
                                                                                 7E HOPE YOU WILL lND YOUR STAY SO PLEASURABLE THAT YOU WILL SELECT OUR (AMPTON )NN
                                                                                 AND 3UITES HOTEL EACH TIME TRAVEL BRINGS YOU TO -EMPHIS

                                                                                 )N THIS DIRECTORY YOU WILL lND DETAILED INFORMATION ABOUT THE GUEST SERVICES OFFERED
                                                                                 AT THE HOTEL 3HOULD YOU NEED SOMETHING WHICH IS NOT LISTED OR REQUIRE ASSISTANCE
                                                                                 QUICKLY PLEASE CALL OUR -ANAGER ON $UTY

                                                                                 %NJOY YOUR STAY 7E LOOK FORWARD TO WELCOMING YOU BACK TO THE (AMPTON )NN AND
                                                                                 3UITES

                                                                                 3INCERELY YOURS
                                                                                 (AMPTON )NN AND 3UITES




                                                                                                                                                                                                                                                                                  




                                                                GUEST SERVICES                                                                                                                        TRANSPORTATION



                                                                                                                                                              GUEST SERVICES                                                                                  TRANSPORTATION




                                                                                 !DVANCE 2ESERVATIONS                                                                        4OUCH                                    !IRLINES
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                                                                                 "USINESS #ENTER                                                                             4OUCH                                        $ELTA                                     
                                                                                        /FFERS COPYING FAXING COMPUTER AND PRINTER USAGE                                                                                  .ORTHWEST                                 
                                                                                        /PEN  HOURS                                                                                                                     4RANS 7ORLD !IRLINES                      
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                                                                                        THIS CHECK OUT TIME PLEASE CALL 'UEST 3ERVICES WHERE EVERY EFFORT WILL BE MADE TO                                              #AR 2ENTAL !GENCIES
                                                                                        ACCOMMODATE YOU                                                                                                                   !LAMO                                  '/ !,!-/
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                                                                                        PM 0LEASE CALL 'UEST 3ERVICES OR LEAVE AT THE &RONT $ESK                                                                       $OLLAR                                    
                                                                                 %MERGENCIES                                                                                 4OUCH                                        %NTERPRISE                                
                                                                                        0LEASE CALL THE (OTEL /PERATOR                                                                                                    4RAVELOCITY                           42!6%,/#)49

                                                                                 &!8 -ACHINE                                                                                 4OUCH                                    $OWNTOWN !IRPORT 3HUTTLE
                                                                                        !VAILABLE IN THE "USINESS #ENTER FOR A NOMINAL FEE                                                                                $!3(                                         

                                                                                 &IRE                                                                                                                                  4AXIS
                                                                                        0LEASE SEE THE h3AFETY  3ECURITY PAGE IN THIS DIRECTORY                                                                         #HECKER #AB                                  

                                                                                 &ITNESS 2OOM                                                                                4OUCH                                        #ITY 7IDE #AB #OMPANY                        

                                                                                        &ITNESS FACILITY WITH CARDIO AEROBIC AND WEIGHT EQUIPMENT IS OPEN AM TO -IDNIGHT                                               9ELLOW #AB                                   

                                                                                        DAILY                                                                                                                         ,IMOUSINE 3ERVICES

                                                                                 &LORIST                                                                                     4OUCH                                        4ENNESSEE ,IMOUSINE                          

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                                                                                 'UST 3ERVICES $ESK                                                                          4OUCH 
                                                                                        ,OCATED ON ,OBBY ,EVEL !VAILABLE TO ASSIST WITH ALL GUEST NEEDS AND SPECIAL REQUESTS
                                                                                 (OSPITAL                                                                                    4OUCH 
                                                                                        0LEASE CALL THE (OTEL /PERATOR
                                                                                 (OUSEKEEPING                                                                            4OUCH 
                                                                                        /UR (OUSEKEEPING $EPARTMENT WILL BE HAPPY TO SUPPLY SPECIAL ITEMS INCLUDING CRIBS
                                                                                        ROLLAWAY BEDS BEDBOARDS EXTRA FEATHER OR SYNTHETIC PILLOWS EXTRA BLANKETS AND EXTRA
                                                                                        HANGERS




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                                                                                                                               Rules Of Operation


                       hotel layout                                                                                       safety & security




                                                                                           hotel layout                                                                                      safety & security




                                                                                                                                              Airlines
                                                                                                                                                  American Airlines                                 1-800-433-7300
                                                                                                                                                  Continental                                       1-800-525-0280
                                                                                                                                                  Delta                                             1-800-221-1212
                                                                                                                                                  Northwest                                         1-800-225-2525
                                                                                                                                                  Trans World Airlines                              1-800-433-7300
                                                                                                                                                  United Airlines                                   1-800-241-6522
                                                                                                                                                  US Airways                                        1-800-428-4322
                                                                                                                                              Car Rental Agencies
                                                                                                                                                  Alamo                                           1-800-GO ALAMO
                                                                                                                                                  Avis                                              1-800-917-2847
                                                                                                                                                  Budget                                            1-800-446-3964
                                                                                                                                                  Dollar                                            1-800-800-4000
                                                                                                                                                  Enterprise                                        1-800-736-8222
                                                                                                                                                  Travelocity                                    1-888-TRAVELOCITY
                                                                                                                                              Downtown Airport Shuttle
                                                                                                                                                  DASH                                                   522-1677
                                                                                                                                              Taxis
                                                                                                                                                  Checker Cab                                            577-7777
                                                                                                                                                  City Wide Cab Company                                  324-4202
                                                                                                                                                  Yellow Cab                                             577-7700
                                                                                                                                              Limousine Services
                                                                                                                                                  Tennessee Limousine                                    452-6207
                                                                                                                                                  SFAX                                                   342-0002
                                                                                                                                                  National Limousine                                     327-8113




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                       places of worship                                                                                  dining & entertainment




                                                                                      places of worship                                                                                 dining & entertainment




                                       St. Mary’s Church                                           526-5555                                   Hampton Restaurants
                                           898 Beale Street, Memphis, TN 38103                                                                    Cafe Expresso           149 Union Avenue                529-4164
                                                                                                                                                  Chez Philippe           149 Union Avenue                529-4188
                                       Beth Sholom Synagogue                                       555-5874                                       Capriccio’s             149 Union Avenue                529-4199
                                           452 Ninth Street, Memphis, TN 38103                                                                Area Restaurants
                                                                                                                                                  Blues City Cafe         138 Smith Street                529-0336
                                       St Stephen Baptist Church                                   847-9574                                       Front Street Grill      425 Front Street                529-4468
                                           554 N. Seventh Street, Memphis, TN 38103                                                               Patterson’s             13 Forth Street                 529-8745
                                                                                                                                                                          759 Keibler Road                529-3842




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                                                                                                                                                      the directory | 117.08 | 8
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                                                                                                                                                        Rules Ofdirectory
                                                                                                                                                         117.08  Operationinserts




                        area attractions                                                                                                            advertisements



                                                                                                               area attractions                                                advertisements




                                           Beale Street Historic District                                                     526-0125
                                                203 Beale Street, Memphis, TN 38103
                                                One of America’s most famous streets. Nightclubs, shops and restaurants offer a
                                                variety of food, gifts and live music, including traditional Blues, Rhythm & Blues, Jazz
                                                and Rock & Roll.


                                           The Children’s Museum of Memphis                                                   320-3170
                                                2525 Central Avenue, Memphis, TN 38104
                                                This discovery museum for children and their families provides interactive exhibits and
                                                programs within a child-sized city. New exhibits featured every three or four months.


                                           Danny Thomas-ALSAC Pavilion                                                        495-3508
                                                St. Jude Children’s Research Hospital
                                                332 North Lauderdale, Memphis, TN 38105-2729
                                                The pavilion serves as historic record of the hospital, the fundrasing organization,


                                                premises. Free admission. Open Sun. - Fri., 8am - 4pm, and Sat., 10am - 4pm. Closed
                                                holidays.




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                                                                          Rules Of Operation
118.13   Each guest room is required to have an evacuation plan posted on the guest room side of
         the entry door. Upon replacement of any of the following items: carpet, wall treatment or
         case goods, this sign must be updated to meet current standards. Refer to Standard 410.21
         in Section 400 for a sample of this required piece.
118.14   Each guest room/suite must be equipped with the Make It Hampton clock radio. The clock
         radio must be located on, but not attached to the night stand. Clock radios must have bat-
         tery backups and the preset buttons must be programmed. See Make It Hampton Product
         Reorder Catalog for ordering information.
118.15   Televisions
          A. By January 1, 2010, all guest room televisions must have digital commercial HD LCD
              units (see Standard 309.13 for specifications).
          B. Starting September 1, 2007, all new construction hotels must have digital commercial
             HD LCD televisions installed in all guest rooms prior to opening (see Standard 309.13
             for specifications).
         C. All channels received must be preset and appropriately identified. Any channel not re-
            ceived must be locked to user access via the commercial master remote.
         D. Remote control unit may not be secured to any furnishings.
118.16   Each guest room/suite must be equipped with an iron, ironing board and caddy/organizer
         (see Standard 311.00C).
118.17   In-room coffee makers must be electric and comply with current UL commercial standards.
          A. Coffee makers must be installed in each room and must be one of two approved types:
              1. Hamilton Beach CV1 one cup coffee maker
              2. Four-cup capacity auto shut off coffee maker (with a dark colored brew basket)
          B. One of the following approved coffee suppliers must be used in the approved pack-
             aging: (minimum .49 ounce size packs) 100% Arabica blends.
               1. Royal Cup Coffee
               2. Sara Lee Coffee and Tea
               3. S & D Coffee
               4. Courtesy Coffee
             If the CV1 is utilized a minimum of two packages each of regular and decaffeinated
             coffee must be provided (minimum .237 ounce packets).
         C. Condiments must be provided in clear plastic packaging two per room and include at a
            minimum the following items:
              1.   One creamer
              2.   Two sugars
              3.   One sweetener
              4.   One stir stick




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                                                                                   Rules Of Operation
         D. Place a coffee caddy or decorative basket to display coffee and condiments in each
            guest room/suite.
118.18   The following items are approved to be displayed in the guest rooms/suites all of these
         items must be approved per Make It Hampton specifications. See Standard 405.00 for ex-
         amples.
         Note: Maintenance work slips are not allowed in the guest rooms.
           A. Emergency exit and safety cards (“You are here”), refer to Standard 405.00
          B. Rate card posting rack rates/legal notices/law cards, refer to Standard 405.00
         C. “Do Not Disturb” (on door knob or key slide-in type). If the key slide-in type is used,
            the holder is required to be in the guest room door when it is not being used.
         D. Red “freshen please” service signal
          E. Pen/notepad
          F. Guest service directory, refer to Rule 118.12
         G. TV channel guide
         H. Lap desk and lap desk card
              1. King room – Place at the foot of the bed on the corner closest to the door
              2. Double room – On the bed closest to the window, place at the foot of the bed on
                 the corner closest to the door
          I. HSIA instructional/informational tent
          J. Approved comment card (optional)
          K. “This room cleaned by” card (optional)
118.19   Bathroom Amenities
          A. Expendable Bathroom Amenities
             “Purity Basics” is the Hampton brand’s private and exclusive personal expendable ame-
             nity program. All Hampton Branded hotels must use Purity Basics products.
              1. Standard Required Items. All hotels must supply these items:
                  Quantity   Item                                                                             Size

                     1       Purity Basics Facial Soap, paper wrapped, square bar                            8 oz.
                     1       Purity Basics Bath Soap, paper wrapped, square bar                           1.25 oz.
                     1       Purity Basics Moisturizer                                                       8 oz.
                     1       Purity Basics Shampoo                                                           8 oz.




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                                                                                             Rules Of Operation
              2. Optional Upgrade Items. The following may be offered if the hotel chooses:
                     Quantity      Item                                                                                 Size

                        1          Purity Basics Conditioner                                                           8 oz.
                        1          Purity Basics Shower Gel                                                            8 oz.
                        1          Purity Basics Mouthwash                                                             8 oz.
                        1          Purity Basics vanity pack in vellum envelope
                                   (cotton swabs, emery board, and cotton balls)
                        1          Purity Basics Breath Mints in a tin
                        1          Purity Basics Shoe Mitt with a band

                        1          Purity Basics Shower Cap in a vellum envelope

          B. Other Bathroom Amenities
             Each guest bathroom must contain the items listed on the chart below:
             Quantity       Item                                                                                    logo required

                 1          Approved “Forget Something“ Amenity tray, brand and design specific                         No
                 1          Night Light (Plug in or hair dryer style)                                                   No
                 1          A decorative soap dish must be added when it is not built into
                            the vanity. Must be decorative and of high quality plastic or better.
                            Wicker is not permitted.                                                                    No
                 1          Wastebasket, minimum 8 qt. size.                                                            Yes
                 2          Rolls of toilet tissue, facial quality. (Kleenex Cottonelle 7713; Scott 4460, 7805;
                            Northern 17096; Angel Soft 16580) These are the only approved products.
                            Recommend that housekeepers fold the exposed sheet into a V-shaped point.                   No
                 1          Box facial tissue, flat or cube box (Kleenex 21606, 21400, 21268;
                            Surpass 21380; Northern 47796, 46596; Angel Soft 48580, 46580)
                            These are the only approved products.                                                       No
                 1          Ice bucket with lid, 2 3/4 qt. (2.6 liter) capacity. Glass or Styrofoam
                            buckets and inserts are not acceptable. Recommend
                            round insulated bucket.                                                                     No
                 1          Plastic bag liner for the ice bucket                                                        No

118.20   Guest Room Linen Specifications (see Standard 309.09 for complete bed specifications)
          A. Standard Beds
              1.     Bed skirt
              2.     Quilted fitted mattress pad (Quantity required: one turn plus ten percent)
              3.     Fitted bottom sheet (Quantity required: two and one half turns)
              4.     200-plus thread-count top sheet (Quantity required: two and one half turns)
              5.     Duvet insert (Quantity required: one turn plus ten percent)
              6.     Duvet cover (Quantity required: three turns)
              7.     Jumbo feather and synthetic pillows

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             8. Pillowcases (Two and one half turns quantity required.)
             9. Lumbar pillow (Quantity required: one turn plus ten percent)
            10. Lumbar pillow cover (Quantity required: three turns)
            11. Blanket in zippered plastic bag (Quantity: one per room in drawer or closet)
         B. Rollaway Beds
             1. Soundly constructed rollaway beds are to be available. Base the quantity on the
                needs of individual hotels (see Standard 102.20). Rollaway beds must not be
                stored in hallways, stairwells, or unoccupied guest rooms/suites.
             2. Rollaway beds must be at least 30” (.76m) wide x 74” (1.99cm) long. Mattresses
                must be at least 4” (.10cm) thick. Foam mattresses are acceptable. Innerspring
                mattresses are recommended.
         C. Sleeper Sofas
            Each sleeper sofa must be neatly made-up with a mattress pad, bottom sheet, top sheet
            and blanket. If the blanket cannot be not made up in the sleeper sofa, the blanket con-
            tained in the approved, zippered plastic bag located in a closet or a drawer (see Stan-
            dard 309.09) may be used for this purpose. Only one blanket per room is required.
            Zippered plastic bags should not contain more than one blanket.
        D. Murphy Beds
            Each Murphy bed must be neatly made with a quilted fitted mattress pad, bottom
            sheet, top sheet, duvet insert/cover, four pillows (two firm and two soft) and red “fresh-
            en please” service signal).
         E. Baby Bed (Cribs)
            Soundly constructed baby beds (cribs) or play yards (play pens) are to be available.
            The quantity of each is to be based on the needs of individual hotels (see Standard
            102.21). Cribs and play yards must not be stored in hallways, stairwells, or unoccupied
            guest rooms/suites. The following guidelines for cribs and play yards are provided by
            the U.S. Consumer Product Safety Commission.
             1. Requirements for metal or wood cribs
                a. Verify that the crib has not been recalled (up-to-date recall lists are available at
                   www.cpsc.gov).
                b. The slats must be 33⁄8" (60mm) apart or less and no slats can be missing, loose,
                   cracked or splintered.
                 c. The crib must not have sharp or jagged edges.




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                                                                             Rules Of Operation
                  d. The mattress must fit tightly into the crib. No more than two fingers can fit
                     between the edge of the mattress and the crib side.
                  e. The mattress support must be securely attached to the crib headboard and
                     footboard.
                  f. Screws/bolts holding the crib together must be tight with none missing.
                  g. Corner posts must be 1⁄16" (11⁄2mm) high or less.
                  h. Cutouts in the head board and/or footboard are not allowed.
                  i. The drop-side latches must be covered with a well-fitting crib sheet. Never use
                     sheets made for adult beds.
                  j. There should be no pillows, comforters, stuffed animals or other soft items in
                     the crib.
              2. Requirements for mesh cribs and play yards
                 a. Verify that the mesh crib/play yard has not been recalled (up-to-date recall lists
                    are available at www.cpsc.gov).
                  b. Mesh must be less than 1⁄2" in size.
                  c. Mesh must be free of tears, holes or loose threads.
                  d. Mesh must be securely attached to the top rail and floor plate.
                  e. The top rail cover must not have any tears or holes.
                  f. The mesh crib/play yard cannot have any missing, loose or exposed staples.
                  g. The mattress/floor pad must be covered with a sheet of floor pad cover pro-
                     vided by the manufacturer. Never use sheets made for adult beds or crib sheets
                     because they won’t fit.
                  h. There should be no pillows, comforters, stuffed animals or other soft items in
                     the crib.
118.21   Guest Bathroom Linen Specifications
         Each guest room/suite bathroom must be supplied with a minimum of the following
         freshly laundered linens. For required quantities, specifications and logo requirements see
         Standard 310.11A-C in Building and Furnishing, Section 300.
          A. Bath towels
          B. Hand towels
         C. Washcloths
         D. Bath mats




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                                                                            Rules Of Operation
118.22   Hotels with open front vanities who desire to place towels on the shelves must fold and
         place them on the shelf at the furthest distance from the toilet. If desired, one hand towel
         and one washcloth may be displayed on the vanity top. All other hotels must place towels
         in the approved towel box holder. The bath mat can be placed either separately on one of
         the vanity shelves, the toilet tank or on the tub edge. Hotels with separate vanity areas may
         place bath terry, shampoo and bath soap in the toilet shower area.
118.23   No solicitation may be made to reduce towel laundering services.




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                                                                             Rules Of Operation
119.00 Quality

(Rule Of Operation 100.04L)
119.01 All Hilton Hotels are subject to periodic Quality Assurance evaluations performed by the
         Hilton Hotels Quality Assurance staff. The hotel is required to provide a complimentary
         room for the Quality Assurance Auditor for the stay relating to the evaluation. The purpose
         of these evaluations is to verify that all hotels are in substantial compliance with Hilton op-
         erating standards relating to:
          A. Cleanliness of the hotel
          B. Condition of the hotel
          C. Adherence to brand standard operating rules
         D. Service delivery
         Evaluations are scored on a three tier grading system of:
          A. Outstanding
           B. Acceptable
          C. Unacceptable
         Hotels receiving an “Outstanding” or “Acceptable” rating will be evaluated a minimum of
         two times each year. Hotels scoring an “Unacceptable” rating will receive a follow-up eval-
         uation 30 to 90 days after the “Unacceptable” evaluation to verify improvement of deficient
         issues.
119.02   Hotels receiving an “Unacceptable” follow-up evaluation are deemed to be substantially
         non-compliant with Hilton quality standards. Upon presentation to the Quality Assurance
         Committee for review and consideration, the hotel may be issued a Notice of Default and
         Termination. Should a hotel be issued a Notice of Default and Termination, a final special
         evaluation would be conducted. The date of the special evaluation will be announced and
         communicated via certified mail to the principal correspondent of the hotel. The purpose
         of the special evaluation is to verify that all previous deficient issues have been remedied
         and to ensure that no new substantial issues are present. An “Unacceptable” score on the
         final special evaluation may result in termination of the license.
119.03   Improvement Plan
         All evaluations will include a detailed “Improvement Plan” outlining remedies for all items
         found to be deficient. Upon completion of the inspection, the Quality Assurance consul-
         tant will review and answer any questions the General Manager has regarding the noted de-
         ficiency. If the overall Evaluation Grade is Unacceptable, then the General Manager will be
         required to submit an updated Improvement Planner with corrective action, person respon-
         sible for corrective action and targeted completion date to the Quality Assurance consultant
         within 14 days of the inspection.




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                                                                              Rules Of Operation
119.04   Each hotel must maintain a structure and décor package which offers our guests a fresh and
         current product. During routine Quality Assurance evaluations, QA consultants will iden-
         tify properties which may have potential issues with dated or non-conforming designs in
         the commercial or guest room/suite areas.
         When one of these potential properties is identified, the QA consultant will document any
         dated or non-conforming issues and forward this information to the Hilton Hotels Quality
         Assurance Design Review Department. If there is an issue, the hotel’s owner/manager will
         be notified and will be required to submit a detailed plan to the Hilton Hotels Quality As-
         surance Design Review Department (completed by a certified interior designer of firm) for
         correcting these issues.
119.05   Plans, color boards or samples must be submitted to the Quality Assurance Department of
         Hilton Hotels for approval prior to any refurbishment or renovation at the hotel. (Projects
         requiring approval include major renovations and construction projects as well as routine refur-
         bishment and replacement of items such as [but not limited to] carpeting, drapery, furniture, wall
         treatment, Robert Allen bed skirt and lumbar pillow cover fabric colors, etc.)
         Samples and plans must be submitted to:
         Hilton Hotels Corporation
         Quality Assurance Department
         755 Crossover Lane
         Memphis, TN 38117
         901/374-5000
         Orders should not be processed until approval is received from Hilton Hotels Quality As-
         surance Department.
119.06   Re-licensing Renewal/Change of Ownership
         Hilton Hotels Quality Assurance Department will conduct an inspection of the property,
         note deficiencies and variances from prevailing Hampton standards, including but not lim-
         ited to construction standards and furnishing standards. A Product Improvement Plan will
         be prepared.
         Failure to identify deficiencies does not relieve the franchisee of the responsibility of com-
         pleting/correcting these items or making modifications necessary to comply with Hampton
         standards.
         Submissions for approval must be made as follows:
           A. Where the redesign/refurbishing of existing facilities is required, design drawings, in-
              cluding but not limited to guest room and commercial area furnishings, layouts and
              interior/exterior color elevations, must be submitted to and approved by Hilton Ho-
              tels. Color renderings must be submitted to and approved by Hilton Hotels.
          B. Where construction of additional facilities is required, complete drawings and speci-
             fications are to be submitted to and approved by Hilton Hotels before beginning con-
             struction.
         A visit by the Hilton Hotels Quality Assurance Department will occur on or after the project
         is 50 percent completed to verify progress on the approved plan.




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                                                                           Rules Of Operation
119.07   Brand Performance Gate Standards
          A. Minimum Performance Gate
             A Brand Minimum Performance Gate Standard will apply to all hotels, based upon a
             rolling six (6) months of data. At the time of the Quality Assurance evaluation, any ho-
             tel that has a Performance Gate score below the acceptable threshold level (in 2008 the
             threshold is 62 percent for Hampton Inn and 67 percent for Hampton Inn & Suites),
             using the Satisfaction and Loyalty Tracker (SALT) “Overall Combined” score of the Top
             Box as “9” or “10”, will receive an automatic, non-reversible grade of “Unacceptable.”
             Quality Assurance will still conduct the evaluation so a clear map for improvement can
             be formulated.
          B. Outstanding Performance Gate
             The Outstanding Performance Gate replaces previous Service Gates and serves as an
             eligibility threshold (in 2008 the threshold is 76 percent for Hampton Inn and 80 per-
             cent for Hampton Inn & Suites) to achieve an Outstanding Quality Assurance evalua-
             tion. Hotels with “Overall Combined” scores (Top Box 9 and 10 based upon a rolling
             six [6] months of data), residing above the Performance Gate will be eligible to receive
             an Outstanding should all other Quality Assurance requirements be met.




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                                                                           Rules Of Operation
120.00 Hotel Technology

120.01   Hilton Hotels will not provide support for any non-approved third-party software and/or
         equipment.
120.02   Hotel must neither attach nor use third-party equipment and/or interfaces with the OnQ
         equipment which have not been certified by Hilton Hotels as meeting Hilton Hotels spec-
         ifications. Hotel may not install other third-party non-OnQ software on equipment that
         has not been certified by Hilton Hotels as being compatible with OnQ. A list of compatible
         third-party software is available on the OnQ Web site. Failure to follow this standard will
         void any maintenance agreement with Hilton Hotels and cause the hotel to be the sole
         bearer of any and all repair or replacement expense.
120.03   OnQ software packages that are Microsoft XP or NT workstation compatible need the legal,
         licensed software (original installation diskettes) in order to install the software.
120.04   Key Hotel Marketing Reports are available online through the Hilton extranet Web site
         OnQ Insider.
120.05   One workstation must have Internet access.
120.06   Principal correspondents or appointed designee must provide a valid e-mail address to the
         Hampton Brand Management Team. The Hampton Brand Management Team must be noti-
         fied in writing within 10 business days of a change in the principal correspondent or desig-
         nee e-mail address.
120.07   Total Solution
         This program allows for the continual 3-year cycle refreshment of OnQ. The Hampton
         brand will assume the cost of installation of new hardware technology across the system.
         This will ensure that the hotel’s hardware technology platform will remain current and con-
         sistent across the brand. The current equipment model deployed at the property during re-
         fresh becomes the minimum equipment standard for the hotel. Total Solution only covers
         the hardware that is primarily used for OnQ. The assumption of costs is determined by the
         hotel’s opening date. Total Solution becomes effective on July 1, 2001.
         When certain OnQ certified equipment or parts for certain OnQ certified equipment are
         no longer being manufactured or reasonably obtainable, Hilton must notify hotels of such
         circumstance and that maintenance on such certified equipment will no longer be provided
         by Hilton. In this circumstance, is it is recommended that hotels replace the retired model
         with the currently manufactured certified model.
           A. Hampton brand Management will cover hardware costs, including shipping of OnQ.
              The hotel is responsible for the software related costs and all implementation cost.
          B. All properties are responsible for payment of personal property tax.
         C. All properties are responsible for equipment maintenance.
         D. Total Solution is a mandatory program for all Hampton branded hotels.




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120.08   Three e-mail accounts are assigned per hotel by Hilton Hotels Corporation. Advantis e-mail
         accounts will no longer be issued and the existing accounts will no longer be utilized. The
         hotels should check their e-mail account on a daily basis. The new e-mail accounts are es-
         tablished as follows: FirstName.LastName@hilton.com
         At minimum one e-mail account must be associated with the general e-mail account as
         noted below. This can be established by assigning the account through the OnQ identity
         site at ID.hilton.com
          A. Inncode.hampton@hilton.com
              (example: LAXTH.hampton@hilton.com)
          B. Inncode.hampton.suites@hilton.com
             (example: LAXTH.hampton.suites@hilton.com)
         Recommended: That the hotel access the e-mail system one time per day.
120.09   Each Hampton hotel will have one training workstation (monitor, mouse, keyboard and
         CPU) as part of its OnQ Total Technology Solution package. This training workstation is to
         be dedicated to training distributed by the Hampton Brand—not OnQ training. The work-
         station will have hardware and software required to run training programs such as Ultimate
         Service–Make It Hampton and On the House Breakfast Training. This computer will also have a
         wireless card providing it with high-speed Internet access in conjunction with the comple-
         tion of the hotel’s HSIA install. It will not, however, be able to access the OnQ network.
         The workstation should not be linked to any other computer at the hotel.
         The hotel may not install or connect any third-party network equipment that would allow
         access to the training computer from an outside source. Fire walls and other devices in-
         stalled on the training computer must be certified by Hilton.
         As with the OnQ system, the maintenance of the workstation is the responsibility of the
         hotel. This fee will be added to the hotel’s monthly system maintenance billing. Also,
         as with the OnQ system, the hotel must neither attach nor use non-certified third-party
         software, hardware and/or interfaces on the training workstation. This would include the
         download and/or access of items which would be considered of questionable nature.
120.10   Each Hampton Hotel will maintain the most current version of Microsoft Office. Software
         will be purchased at a reduced rate and billed through monthly installments through the
         Hilton IT Department.




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                                                                        Rules Of Operation
121.00 Environmental Program

        The environmental program is currently being restructured. The new environmental pro-
        gram will be released in 2008.




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                                                                           Rules Of Operation
122.00 Hampton Brand Privacy

122.01   Hilton Family Guest Access
          A. Hotels, management companies, franchise groups, clusters, brands, etc., must adhere
             to all applicable laws regulating communications (telemarketing, direct mail, e-mail,
             etc.) to consumers.
          B. The Messaging Resource Center (MRC) is the central point for communication to
             guests from all sources—managing volume, opt-outs and access across Hilton Hotels
             Corporation.
         C. Direct mail lists must be obtained and approved from the Messaging Resource Center
            (MRC). To streamline and create ease of use, hotels can request lists via the Hampton
            Sales and Marketing Tool Kit http://hamptonsalesandmarketing.com. This ensures that
            Hilton Family privacy standards are in compliance and seamless to the hotel user.
         D. Hotels, management companies, franchise groups, clusters, brands, etc., are prohibited
            from collecting and maintaining their own e-mail databases. All access to customers
            must be through the Messaging Resource Center (MRC), ensuring the brands ability to
            provide an opt-out and adherence to applicable laws.
122.02   Hilton Family Privacy Values and Business Practices
         The Hilton Family has adopted a set of privacy values that guide its stewardship of custom-
         er data as the foundation for beneficial customer relationships based on trust. Hilton Fam-
         ily customers are offered options on the use of their personal data. They may choose to opt-
         in or to opt-out of a variety of marketing offers and communications channels. The Hilton
         Family Guest Access Marketing Standards make it possible to honor customer choice.
         Hilton Family Brands and hotels are also committed to business-building practices that di-
         rect activity toward taking share from Hilton Family competitors, rather than competing for
         the business of sister hotels within the Hilton Family. The Hilton Family Guest Access Mar-
         keting standards are intended to serve as “rules of the road” in meeting this objective. For
         answers to questions about Hilton Family Guest Access Standards, you may contact your
         Hotel Performance Support Team.
122.03   Marketing Channels
           A. Unapproved Marketing Channels – Telemarketing, Outbound Fax and Hotel Gener-
              ated E-mail.
             Individual hotels and hotel marketing clusters may not use telemarketing, outbound
             fax or hotel generated e-mail communications for marketing purposes. These restric-
             tions are required to honor customer choice as well as to comply with applicable law.
          B. Approved Marketing Channels – Direct Mail
             When using direct mail, please refer to Rule of Operation 122.05 for specifics.
             To streamline and create ease of use, hotels can request lists via the Hampton Sales and
             Marketing Tool Kit http://hamptonsalesandmarketing.com. This ensures that Hilton
             Family privacy standards are in compliance and seamless to the hotel user.


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122.04   Hotel Access to Guests
          A. Hampton branded hotels can access a variety of guests and prospects.
             These guests and prospect groups include:
              1. Past guests of the hotel
              2. Hilton HHonors members
              3. Hilton HHonors partner customers
              4. Other Hilton Family guests
              5. Senior guests
              6. Leisure guests
              7. Motor coach/Tour operator guests
             To streamline and create ease of use, hotels can request lists via the Hampton Sales and
             Marketing Tool Kit http://hamptonsalesandmarketing.com. This ensures that Hilton
             Family privacy standards are in compliance and seamless (via direct mail) to the hotel
             user.
          B. Access to Past Guests of the Hotel
             1. Hampton branded hotels can access past guests of their own hotel via direct mail
                with a requirement that the list of past guests is obtained via HHC’s centrally man-
                aged Messaging Resource Center (MRC). Access is most easily gained through the
                Hampton Sales and Marketing Tool Kit at http://hamptonsalesandmarketing.com.
             2. Hotels may not create a list of past guests out of the hotel’s guest history file.
             3. Hotels may not use any list of past guests or prospects compiled via business card
                collection, third-party list purchases, etc., without working with the MRC to screen
                such lists against the centrally managed system. This message/marketing piece
                must be approved by the Hampton brand.
         C. Access to Past Guests of Terminated Hotels
              1. Hilton HHonors Worldwide (HHW) will centrally communicate to members with
                 past stays at a terminated hotel to inform these members of all nearby HHonors
                 hotels that can be considered alternatives. This communication will primarily be
                 via regularly scheduled e-mail communications and via paper statement messages.
                 Hotels are automatically featured in these venues with the standard Brand offer,
                 your hotel can elect to offer to do a bonus offer.
              2. HHW will also centrally-manage a hotel funded direct mail initiative to members
                 with past stays at the terminated hotel. If there are several hotels within a reason-
                 able proximity of the terminated hotel, the HHonors team will ensure that each of
                 these hotels has an opportunity to participate in a hotel-funded co-op mailing or
                 blast e-mail to past area guests.
              3. If a hotel declines to participate in a hotel co-op direct mail effort, the mailing will
                 proceed without the declining hotel.




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                                                                           Rules Of Operation
         D. Access to Hilton HHonors Partner Customers
             Hampton branded hotels may have access to direct mail lists of customers of selected
             Hilton HHonors partners. Partner database access varies widely among HHonors part-
             ners. Interested hotels should contact their HHonors Marketing Manager for full de-
             tails including any applicable costs.
          E. Access to Non-HHonors Members
             Hampton branded hotels may access Hilton Family guests who are not members of
             HHonors by direct mail via the MRC. If the hotel has a communication that is to be
             sent via the MRC, the selection of past guests and suppression of necessary opt-outs
             will be handled by the central control desk. Content review will be undertaken by the
             Hampton brand. Hotels can access this list through the Hampton Sales and Marketing
             Tool Kit at http://hamptonsalesandmarketing.com.
122.05   Mailing List Usage Guidelines
         Hotels receiving access to such lists agree in writing to safeguard the data as confidential
         and proprietary information and agree to follow proper approval steps.
          A. Approval to use the list(s) is granted for one-time only for marketing purposes that are
             approved by the hotel’s General Manager, the Brand Marketing team and if applicable,
             the Hilton HHonors management.
          B. Marketing materials approval must be obtained from HHC’s central legal department,
             from the Brand Marketing team and, if applicable, Hilton HHonors management. All
             items on the site are pre-approved by HHC’s central legal department.
         C. Mailing List Request Process
             All requests for access to Hilton HHonors or other Hilton Family guests, including a
             hotel’s own past guests, are to be directed to the Hampton Sales an Marketing Tool Kit
             at http://hamptonsalesandmarketing.com. This will ensure that Hilton Family Privacy
             Standards and legal department approvals are in compliance.




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                                                                          Rules Of Operation
122.06   Hilton Family Use of Guest Personal Information
          A. Definition of Personal Information
             Personal information is information about or related to an individual. It includes
             any information that can be linked to an individual or used directly or indirectly to
             identify an individual. Most information collected by a business about a customer or
             potential customer, is likely to be considered personal information. Some examples of
             personal information are:
               1. Name
               2. Home or e-mail address
               3. Identification numbers (i.e., drivers license number, passport number)
               4. Account numbers (i.e., HHonors number, credit card number)
               5. Physical characteristics
               6. Consumer purchase history or preferences
               7. Telephone number
          B. The personal information of guests may be used to process reservations and other
             transactions requested by guests and to provide customer service.
         C. The only acceptable use of guest access personal information for marketing purposes is
            when marketing your Hampton hotel. You may never use guest personal information
            to market the products or services of a third-party or non-Hampton hotel.
         D. Guest personal information may never be shared, sold or rented to third-parties. You
            may grant access to guest personal information to third-parties only to assist in pro-
            cessing transactions or providing customer service and provided that the third-party
            agrees to be shared with third-parties for third-party marketing purposes.




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                                          Section 200

                                      Breakfast




                                              – Confidential –
                                         for use by Hilton Hotels only



                                 Any questions regarding the contents
                                 of this manual may be addressed to:

                                  HILTON HOTELS CORPORATION
                                      755 Crossover Lane
                                 Memphis, Tennessee 38117-4900
                                      Phone: 901/374-5000
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                                                                                                                            Breakfast

          200.00   Breakfast Standards Overview . . . . . . . . . . . . . . . . 200-1

          201.00   Service Standards  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 200-4

          202.00   Coffee Zone Standards .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 200-6

          203.00   Juice Zone Standards  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 200-10

          204.00   Cold Zone Standards  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 200-14

          205.00   Baked Zone Standards  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 200-18

          206.00   Fresh Zone Standards .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 200-24

          207.00   Hot Zone Standards  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 200-28

          208.00   Hampton’s On the Run™
                   Breakfast Bag Standards .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 200-33

          209.00   Breakfast Artwork/Décor Enhancement  .  .  .  .  .  . 200-36

          210.00   Presentation Standards .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 200-38

          211.00   Food Safety and Sanitation Standards .  .  .  .  .  .  .  . 200-47




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                                                                                                      Breakfast
200.00 Breakfast Standards Overview
Note: This document contains approved products with codes. Most products have a manufacturer’s
product code (MPC) that is universal from supplier to supplier. Food distributors may also as-
sign products to their own codes. This document shows MPC and SYSCO universal product codes
(SUPC). In some cases, private label products are also approved as long as the product codes are the
same as those listed in this document. If there are questions regarding the acceptability of a product,
contact your HPS director before refusing delivery. If your property uses a food service distributor
other than SYSCO, the codes in this document may not match the ones used by your supplier. Prop-
erties not using SYSCO Food Service need to take steps to ensure that Quality Assurance can verify
your products are approved. Request documentation from your food service distributor that shows
product code equivalents. This document along with breakfast invoices will be shown during a Qual-
ity Assurance evaluation. Properties are responsible for ensuring that Quality Assurance can verify
approved products. If you have difficulty obtaining this information from your food service supplier,
please contact your regional Hilton Supply Management representative for assistance. Contact num-
bers are shown below.
         •     HSM West
               Nicole Marsenich - (248) 594-2893 or Nicole.Marsenich@hilton.com
               AK, AR, AZ, CA, CO, IA, ID, KS, LA, MO, MT, ND, NE, NM, NV, OK, OR, SD, TX, UT,
               WA, WY, Latin America
         •     HSM Southeast
               Bill Winston - (205) 608-4511 or Bill.Winston@hilton.com
               AL, FL, GA, MS, NC, SC, TN, VA, Puerto Rico
         •     HSM North Central/Northeast
               Chad Bernota - (301) 874-0690 or Chad.Bernota@hilton.com
               CT, DC, DE, IL, IN, KY, MA, MD, ME, MI, MN, NH, NJ, NY, OH, PA, RI, VT, WI, WV
         •     HSM Canada
               Walter Bosse - (514) 828-4227  or Walter.Bosse@hilton.com
200.01 Breakfast standards are designed to provide team members information that will help them
       to:
             A. Create a consistent breakfast experience that exceeds guests’ expectations across the
                entire Hampton system
             B. Promote a work environment that allows “Hampton Moments” with guests
         C. Assure consistent food presentation, quality and safety
200.02 Training
             A. A complete outline of required training is provided in Rule of Operation 106.00,
                Learning and Development.
             B. All staff members who serve, set up, or supervise those who serve the breakfast must
                successfully complete Hampton’s On the House breakfast training program located on
                OnQ Insider.

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                                                                                                  Breakfast
         C. All staff members who serve or set up breakfast must be trained on the correct layout
            and presentation standards of each breakfast zone.
200.03 Complimentary Breakfast/Coffee, Tea and Hot Cocoa Service Availability
         A. Hampton’s On the House breakfast must be available to all guests at no charge in the
            lobby of the hotel, or in a designated area, from the hours of 6:00 a.m. to 10:00 a.m.
            every day.
         B. Hampton’s On the Run Breakfast Bag, Hampton’s shelf-stable, pre-packaged compli-
            mentary breakfast, must be available from 5:30 a.m. to 10:00 a.m. Monday through
            Friday. This is the minimum service being offered for guests who do not have time
            to enjoy the regular On the House complimentary breakfast. (See Breakfast Standard
            208.00)
         C. Complete coffee, tea, and hot cocoa service must be available in the hotel lobby for all
            guests at no charge, 24 hours a day. Coffee must be displayed using approved thermal
            servers with graphic wraps. Tea and hot cocoa must be displayed in approved contain-
            ers. (See Breakfast Standard 202.00 and 210.00)
200.04 Health Code Standards
        All food handling and storage techniques must meet local health department requirements.
        Hampton standards may be more stringent than local codes, or local codes may be more
        stringent than Hampton standards. In every case, meet whichever standard is higher. (See
        Breakfast Standard 211.00 for minimum food safety standards.)
200.05 Quality Assurance
         A. Breakfast is evaluated regularly during Quality Assurance visits. The QA auditor will rate
            the preparation and service of the On the House breakfast to ensure compliance with
            the following:
             1. Food storage               5. Structure, lighting, ventilation
             2. Food quality               6. Risk control
             3. Cleanliness                7. Food presentation
             4. Sanitation                 8. Food products
         B. Breakfast invoices must be kept on file for at least 30 days to demonstrate that correct
            products are ordered for the On the House breakfast. Invoices will be requested during
            a Quality Assurance Evaluation.
200.06 Approved Products Listings
        All products listed have been tested and are approved. Some categories have multiple ap-
        proved products to ensure that food suppliers have an ability to carry at least one of the
        products. Please work with your food suppliers to be sure that you have access to at least
        one of the approved items in each category. They may be willing to bring in additional
        Hampton approved products based on usage.


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                                                                                                 Breakfast
200.07 Breakfast Equipment
        A. Preparation and service of our On the House Hot Breakfast requires that specific pieces
           of commercial equipment are available and used. (New construction and relicensing
           hotels please see Section 300—Building and Furnishing.) Required equipment in-
           cludes:
            1. Chafer
                 a. Spring Chafer model K2509-6
                b. Two chafers required for properties over 150 rooms
                 c. Chafer not used in properties using the Guest Self-Service option
            2. Coffee brewer
                 a. Fetco CBS-2051 for properties with 79 or fewer rooms
                b. Fetco CBS-2052 for properties with 80 rooms or more
            3. Convection oven
                 a. Moffat Turbofan E31 for properties with 119 rooms or fewer
                b. Moffat Turbofan E32 for properties with 120 rooms or more
                 c. An oven stand is recommended and necessary when there is insufficient coun-
                    tertop space available in the pantry.
            4. Juice dispenser – dispenser determined by juice supplier choice
                 a. Quest 4 Post Mix Juice Dispenser, 2- or 4-head, (provided by Royal Cup, Sara
                    Lee, and S&D Coffee)
                b. Vitality Express Beverage System, 2- or 4-head, (provided by Vitality)
        B. Baker’s racks are not permitted. When breakfast buffet countertop space is limited, ex-
           pand breakfast space by:
            1. Building additional cabinets/countertops adhering to Hampton standards
            2. Purchasing a Hampton approved table for use in the Coffee Zone. (See Section 300
               —Building and Furnishing or Breakfast Standard 202.16.)
        C. Two decorative trash cans should be conveniently located in the breakfast area. Recep-
           tacles are to be made of a finished metal that complements the décor.
        D. Two highchairs should be conveniently located and visible to guests in the breakfast
           service area.
        E. Serving trays should be conveniently located and visible to guests in the breakfast area.
         F. If space allows, a guest-use microwave may be placed in the Hot or Baked Zone. The
            microwave must be white or stainless steel.



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                                                                                                 Breakfast
201.00 Service Standards
201.01 Breakfast Coverage
        A. A minimum of one breakfast host/hostess must be dedicated to working the On the
           House breakfast area from 6:00 a.m. to 10:00 a.m. each day.
         B. Hospitality Host presence is required each day during breakfast peak hours to make a
            connection with guests and create a welcoming environment. A minimum of 11⁄2 hours
            is required.
201.02 Hampton Moment
        A. Hospitality Host presence at breakfast during
           the peak 1½ hours each morning is required.
           The role of the Hospitality Host is to con-
           nect with guests at breakfast, ensuring guest
           satisfaction and providing service recovery
           when needed to build continued loyalty to the
           Hampton brand.
         B. The Hospitality Host is any member of the
            hotel team whose natural talents and abilities
            enhance customer experience.
        C. The Hospitality Host will offer guests a warm
           greeting and a Hampton Moment Maker mint
           box. A mint box is also provided in Hamp-
           ton’s On the Run Breakfast Bag. Mint boxes are not offered on the breakfast buffet.
        D. The goal of the Hampton Moment is to make an emotional connection with every
           guest. Any time that the Breakfast Host/Hostess is not involved in re-therming and re-
           plenishing activities, he or she must greet guests and offer the Hampton Moment Maker
           mint box. At a minimum, we suggest making rounds at least every 30 minutes.
         E. The Hospitality Host and/or Breakfast Host/Hostess will prepare the Hampton Moment
            basket with an acrylic inset. He or she will then fill the basket with mint boxes. See
            Service section of the On the House Hot Breakfast Guide for photograph of correctly
            assembled basket.
201.03 The Breakfast “Zones”
        A. Consistent presentation standards must be observed at all times to assure that each
           Hampton guest experiences the same On the House breakfast from location to loca-
           tion.




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                                                                                                    Breakfast
        B. Each property is to maintain six breakfast zones
           on the breakfast buffet:
             1. Coffee Zone
             2. Juice Zone
             3. Cold Zone
             4. Fresh Zone
             5. Baked Zone
             6. Hot Zone
        C. Each breakfast zone consists of the following
           parts:
             1. Graphics:
                 a. Zone signs–Each zone has an approved
                    identification sign that is to be placed
                    3" above the finished surface of the
                    countertop.
                 b. Romance cards–Romance cards are used to describe menu items.
                  c. Condiment cards–Condiment cards and wire condiment card holders are pro-
                     vided for each zone to identify the condiments on display.
             2. Displayware and serving utensils–Each zone has appropriate displayware such as
                serving dishes and holders for single-use cups, plates, bowls and napkins. Utensil
                bain maries with utensil lifts hold single-use utensils with handle ends up. Bain
                maries in the Coffee Zone do not have utensil lifts. Refer to individual zone de-
                scriptions for more details.
        D. At the conclusion of breakfast, all displayware is to be properly cleaned and may be
           returned to its position on the counter for use the next day.
        E. The graphics package and displayware must be maintained in a like-new condition and
           be replaced on an as needed basis.
         F. The addition of any décor enhancing items that are not part of the breakfast kit de-
            scribed in these standards, such as silk or dried flowers, artificial fruit, crockery, regional
            accessories, etc., is prohibited.
        G. Holiday or seasonal decorations are not permitted on the breakfast serving surface nor
           the breakfast tables and chairs.




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                                                                                                  Breakfast
202.00 Coffee Zone Standards
202.01 Adjacencies and Traffic Flow
         A. Arrange the zone in an order that
            is conducive to the heaviest flow of
            traffic and natural progression of
            movement.
         B. Displayware in the Coffee Zone
            includes:
             1. Coffee dispensing thermal serv-
                ers with graphic wraps
             2. Two cup/lid holders. Approved
                coffee cups and lids:
                 a. Cup, 10 oz., Hampton logo,
                    Perfect Touch, Georgia Pacific, MPC #53101513, SUPC #3582525
                 b. Lid for 10 oz. cup, Georgia Pacific, MPC #D9542, SUPC #5350657 or
                    #1503226
                  c. Cup, 10 oz., foam, Hampton logo, Dart®, MPC #10J10, SUPC #9632910,
                     #2906865 or #9508862
                 d. Lid for 10 oz. foam cup, Dart®, MPC #10JL, SUPC #4096319
                  e. Cup, 16 oz., Hampton logo Perfect Touch, Georgia Pacific, MPC #53561513,
                     SUPC #3582558
                  f. Lid for 16 oz. cup, Dart, MPC#10FTL, SUPC #5641915 or #4918645
             3. OPTIONAL: One napkin holder for white napkins. Napkins must be white, 2-ply,
                15” x 17” (unfolded) or 7½ x 4” (folded). For approved napkins, see Hampton Rec-
                ommended Products on OnQ Insider > Hampton Brand page.
             4. Stirrer holder–Bain marie with stir stick riser and graphic band
             5. Trash container–Bain marie with graphic band affixed to top portion of container
                as shown in On the House Breakfast Guide Coffee Zone photograph.
             6. Tea caddy–purchase through your approved coffee suplier.
             7. Hot cocoa basket
             8. Three-tiered condiment display with appropriate condiment cards on stands
             9. Zone sign
         C. The thermal servers are to be arranged with the regular and robust selections in the
            middle of the arrangement. The decaffeinated and hot water selections are placed on
            either side of the grouping.


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                                                                                                   Breakfast
         D. The Coffee Zone graphic on its sign holder is to be positioned directly behind the regu-
            lar and robust thermal servers. The bottom of the sign should be positioned 3" above
            the finished surface of the countertop.
          E. Bain maries are always located adjacent to the three-tiered condiment display.
          F. The tea caddy and hot cocoa basket are always located adjacent to the hot water server.
         G. Cup and lid holders are always located adjacent to the tea caddy/hot cocoa basket and
            the three-tiered condiment display.
         H. When space is limited, the arrangement may be altered as long as adjacencies are ob-
            served. For example, the three-tiered condiment display and bain maries may be placed
            on the same side of the thermal servers as the tea caddy/hot cocoa basket. In this case,
            only one cup/lid holder may be necessary.
202.02 At all times, three coffee selections must be available for the guest: robust, regular and decaf-
       feinated. Hot water will also be provided for tea and hot cocoa selections.
202.03 The following coffee blends must be utilized:
         Royal Cup Hampton Robust Blend – European Gourmet
         Royal Cup Hampton Regular Blend – Fancy Gourmet
         Royal Cup Hampton Decaffeinated Blend
         Or
         Sara Lee® Hampton Robust Blend – Metropolitan Vienna
         Sara Lee® Hampton Regular Blend – Café Royal
         Sara Lee® Hampton Decaffeinated Blend
         Or
         S&D Hampton Robust Blend – European Select
         S&D Hampton Regular Blend – American Select
         S&D Hampton Decaffeinated Blend
202.04 The FETCO® coffee brewer is to be located in the pantry area–not in guest view. It must be
       maintained in accordance with FETCO® requirements.
202.05 Other coffee systems (cappuccino machine, individually brewed or others) are not
       permitted.
202.06 Coffee service through wall units is not permitted.
202.07 Coffee must be served in approved FETCO® 1.0- or 1.5-gallon thermal servers (urns). Each
       server must have the correct thermal wrap graphic. (See Breakfast Standard 210.00.) Wraps
       must be properly maintained and replaced as necessary.




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202.08 Coffee servers must be maintained in accordance with FETCO® requirements. The digital
       display (brew funnel) should be in working order and be monitored for refilling require-
       ments. For optimal performance, the digital display (brew funnel) should be removed when
       brewing and should never be submerged in water during cleaning. Damaged displays can be
       replaced through your coffee supplier.
202.09 The host/hostess should refill guests’ coffee cups on an “as time allows” basis. A generic
       black thermal coffee server (provided by the hotel) is to be used. Glass coffee pots are not
       permitted. Appropriate condiments are to be offered.
202.10 Individual serving size packets of hot cocoa must be provided in the Coffee Zone and
       displayed in the approved hot cocoa wire basket according to the presentation standards
       shown in Breakfast Standard 210.00. The basket should be kept at least half-full at all times.
       Approved hot cocoa:
         A. Nestlé®, MPC #5000-25485, SUPC #1739663
         B. Nestlé®, MPC #28000-45960, SUPC #4046710
         C. Nestlé®, MPC #5000-70060, SUPC #1742519
         D. Swiss Miss® (ConAgra), MPC #15700-55280, SUPC #4037701
202.11 A variety of teas in individual serving size packets must be provided in the Coffee Zone. Teas
       are to be displayed in an approved wire caddy provided by coffee/tea supplier according to
       the presentation standards shown in Breakfast Standard 210.00. The tea caddy must be kept
       at least half-full at all times. Approved teas:
         A. Bigelow (distributor S&D Coffee, Royal Cup) regular and decaffeinated tea product
          B. Pickwick (distributor Sara Lee® Coffee & Tea) regular and decaffeinated tea product
202.12 Sugar, Equal®, Splenda®, and Sweet’N Low® in portion-controlled packets are required. Sug-
       ar and sweeteners are to be presented in a three-tiered condiment display, correctly labeled
       with condiment cards on wire stands. Private label sweeteners are not permitted. Approved
       national brands include:
         A. Equal®
          B. Splenda®
         C. Sugar
              1. Domino®
              2. Diamond Crystal®
         D. Sugar Twin®, (Sweet’N Low® substitute)
          E. Sweet‘N Low®




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                                                                                                  Breakfast
202.13 Three choices of shelf-stable creamers in portion-controlled packaging are to be presented
       in a three-tiered condiment display, correctly labeled with condiment cards on wire stands.
       Creamer flavor choices should include hazelnut, French vanilla, and plain. Cinnamon ha-
       zelnut may be substituted when hazelnut is not available. Powdered creamer is not permit-
       ted. Private label creamers are not permitted. Approved national brands include:
          A. Carnation®
          B. Coffee-mate®
         C. HP Hood
         D. International Delight™
          E. Land O’Lakes®
          F. Morning Star
202.14 Replenish stirrers, condiments, cups, and lids as needed to maintain holders at least half-
       full. Coffee cups should not be stacked more than 3" above top ring on the wire holder.
       Empty trash bain marie as needed.
202.15 Displayware for the coffee station must be maintained as shown in Breakfast Standard
       210.00.
202.16 Existing properties with insufficient countertop space may utilize free-standing tables for the
       Coffee Zone. The tables should be located on a tiled floor if possible. These tables must be
       a minimum of 20" deep and have a stained wood finish to match existing case goods. Table
       top is required to be a solid surface material equal to Gibraltar®, by Wilsonart® or natural
       granite. Glass, wood or plastic laminate tops are not allowed. Table design must be submit-
       ted to Hilton Hotels Corporation for approval.




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                                                                                                  Breakfast
203.00 Juice Zone Standards
203.01 Adjacencies and Traffic Flow
         A. The Juice Zone should be placed in an outside corner of the breakfast bar to allow
            guests to refill their juice cups easily.
          B. Displayware in the Juice Zone
             includes:
              1. Juice machine (properties with
                 cabinet height restrictions use
                 stainless steel pitchers)
              2. Two wire cup holders for clear or
                 frosted 9 oz. plastic cups
              3. Two water pitchers with drip
                 trays
              4. White crockery display enhance-
                 ments if space permits
         C. Plastic cups in wire holders should      Note: the juice graphic on the face of the juice machine
                                                     takes the place of both zone signage and romance cards in
            always be located between the juice      the Juice Zone.
            machine (or juice pitchers) and the
            ice water pitchers.
         D. When space is limited, the zone arrangement may be altered in order to best suit the
            space available. However, the adjacencies discussed in this section must be observed.
203.02 Displayware for the Juice Zone must be maintained as shown in Breakfast Standard 210.00.
       One of the following juice suppliers must be used:
         A. Royal Cup–Royal Grove® juice
          B. Sara Lee®–Suntipt® Fruit Juices
         C. S&D–S&D brand juice
         D. Vitality®–Sunkist® Juice (may be serviced by SYSCO or Vitality®)
203.03 An approved juice machine is to be in the Juice Zone with a minimum of two juice selec-
       tions available, three selections maximum. (When using a four-head juice dispenser, two of
       the four selections must be orange juice. For example, two orange juice, one apple juice, and
       one grapefruit juice selection would be offered.) Approved supplier juice machines include:
         A. Royal Cup–Quest 4 Post Mix Juice Dispenser, 2- or 4-head
          B. Sara Lee®–Quest 4 Post Mix Juice Dispenser, 2- or 4-head
         C. S&D–Quest 4 Post Mix Juice Dispenser, 2- or 4-head
         D. Vitality®–The Vitality® Express Beverage System, 2- or 4-head


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                                                                                                  Breakfast
203.04 Properties that cannot use a juice machine due to
       cabinet height restrictions must offer a minimum
       of two juice selections, with no more than three
       selections, in approved temperature controlled
       containers. (See Breakfast Standard 210.00) A
       Juice Zone graphic on an approved stand must
       be displayed. The sign should be positioned ap-
       proximately 3” above the finished surface of the
       countertop and on a 45˚ angle in the corner of the
       countertop.
203.05 Orange juice is required as one of the selections.
       Other juice choices are apple, cranberry, grapefruit
       and guava. If a 4-head juice dispenser is used, two
       of the selections must be orange juice. For exam-
       ple, two orange juice, one apple juice, and one grapefruit juice selection would be offered.
       When a property has limited counter space and a 4-head juice dispenser is used, one of the
       selections may be water, one orange juice and two other selections from the approved list.
       For example, water, orange juice, apple juice, and cranberry juice. Approved juice selections
       include:
         A. SYSCO Vitality® (frozen concentrate):
              1. CLS/SUN, cranberry, 4/3 liter, MPC #915134, SUPC #8915134
              2. IMP/SUN, apple, 4/3 liter, MPC #915050, SUPC #8915050
              3. IMP/SUN, cranberry, premium, 4/3 liter, MPC #919565, SUPC #8919565
              4. IMP/SUN, grapefruit, 4/3 liter, MPC #915035, SUPC #8915035
              5. IMP/SUN, orange, 4/3 liter, MPC #914608, SUPC #8914608
              6. IMP/SUN, orange express pack, 4/3 liter, MPC #915969, SUPC #8915969
              7. IMP/SUN, passion/orange/guava, 4/3 liter, MPC #915159, SUPC #8915159
          B. Vitality® (frozen concentrate):
              1. Vitality®, apple, 4/3 liter, MPC #103591, SUPC #2090900
              2. Vitality®, cranberry Blast, 4/3 liter, MPC #107813, SUPC #0310474
              3. Vitality®, grapefruit, 4/3 liter, MPC #103590, SUPC #2090892
              4. Vitality®, grapefruit, Ruby Red Cocktail, 4/3 liter, MPC #107815, SUPC #0310201
              5. Vitality®, orange, 4/3 liter, MPC #103588, SUPC #2090876
              6. Vitality®, orange express pack, 4/3 liter, MPC #103596, SUPC #2090884




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                                                                                                   Breakfast
          C. Vitality® (shelf-stable):
               1. Vitality®, apple, 3/3 liter, MPC #140180, SUPC #5673045
               2. Vitality®, cranberry juice blend, 3/3 liter, MPC #140271, SUPC #5503034
               3. Vitality® cranberry juice cocktail, 3/3 liter, MPC #140181, SUPC #5673031
               4. Vitality®, orange, 3/3 liter, MPC #140185, SUPC #5673019
               5. Vitality®, orange juice blend, 3/3 liter, MPC#140179, SUPC #5673027
          D. Sara Lee® (shelf-stable):
               1. Suntipt®, apple, 3/3.5 liter, MPC #25565
               2. Suntipt®, cranberry, 3/3.5 liter, MPC #25570
               3. Suntipt®, orange, 3/3.5 liter, MPC #25567
           E. S&D (shelf-stable):
               1. S&D, apple, 3/3.5 liter, MPC #15954
               2. S&D, apple, 3/3.5 liter, MPC #15955
               3. S&D, cranberry, 3/3.5 liter MPC #15957
               4. S&D, grapefruit, 3/3.5 liter MPC #15959
               5. S&D, orange, 3/3.5 liter, MPC #15962
           F. Royal Cup (shelf-stable):
               1. Royal Grove®, apple, 3/1 gallon, MPC #3483
               2. Royal Grove®, cranberry, 3/1 gallon, MPC #3484
               3. Royal Grove®, grapefruit, 3/1 gallon, MPC #3485
               4. Royal Grove®, orange, 3/1 gallon, MPC #3481
 203.06 Juice must be maintained at 45˚F or colder at all times.
 203.07 Clear or frosted 9 oz. plastic juice cups are to be displayed in the approved wire holders.
        For approved juice cups, see Hampton Recommended Products on OnQ Insider > Hampton
        Brand page.




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                                                                                                    Breakfast
203.08 Ice Water
        A. Two containers of ice water are to be presented in approved clear pitchers with drip
           trays. If space is limited, one pitcher of water is acceptable as long as it is always at least
           three-quarters full.
        B. Some local health department codes dictate that a covered container must be used for
           ice water. If this is the case at your property, these containers are approved for use.
            1. 1.9 liter stain­less steel thermal pitcher and “ice water” graphic band
            2. 1.4 liter clear acrylic pitcher with lid, Service Ideas model #AWP24BS




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                                                                                                   Breakfast
 204.00 Cold Zone Standards
 204.01 Adjacencies and Traffic Flow
          A. Typically, the traffic around the Cold Zone will flow best if located adjacent to the Fresh
             Zone and near the Juice Zone.
          B. Arrange the zone in an order that
             is conducive to the heaviest flow of
             traffic and natural progression of
             movement.
          C. The Cold Zone sign must be dis-
             played using the approved stand
             and hooks. The bottom of the sign
             should be positioned approximate-
             ly 3" above the countertop and
             on a 45˚angle opposite the cereal
             dispensers. This composition serves
             as a frame for the zone.
          D. Displayware in the Cold Zone includes:
              1. Yogurt bowl – large white bowl with drain board insert on chrome stand
              2. Milk pitchers with graphics (or other milk dispenser as allowed by local health
                 department)
              3. Cereal dispenser–Property choice of bulk, revolving box or fish bowl with graphics
              4. Chrome wire hot cereal display
              5. Hot water airpot with graphic
              6. Bowl holder for 6” diameter white bowls. For approved 6" bowls, see Hampton
                 Recommended Products on OnQ Insider > Hampton Brand page.
              7. One utensil holder for spoons–Stainless steel bain marie with utensil lift and
                 graphic band. White, heavyweight or medium heavyweight plastic spoons are re-
                 quired. Medium weight spoons should be used only when heavy­weight or medium
                 heavyweight spoons are not available. Individually wrapped, heavyweight, white
                 spoons are permitted for use only when required by local health department. For
                 approved spoons, see Hampton Recommended Products on OnQ Insider > Hampton
                 Brand page.
              8. Zone sign
          E. All displayware and graphics must be maintained in a like-new condition.




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                                                                                                    Breakfast
          F. When space is limited, the zone arrangement may be altered in order to best suit the
             space available. However, the adjacencies discussed in this section must be observed.
 204.02 Milk
         A. Only 2% and skim milk choices are to be offered.
         B. Heath department regulations regarding the service of milk may vary by location. For
            example, in some locations it is not acceptable to serve milk in any container other
            than the original. It is the property’s responsibility to comply with local health depart-
            ment regulations.
         C. Milk must be served in one of the following options:
               1. Milk dispenser (cow) with graphics–Dispenser is to be installed on the buffet.
               2. Approved stainless steel pitchers with appropriate graphics–Milk should only be in
                  pitchers at time of serving. Empty pitchers are to be refrigerated when not in use.
                  Milk must be poured into empty refrigerated pitchers at the time of serving to en-
                  sure proper sanitation. DO NOT ADD NEW MILK TO MILK ALREADY IN PITCH-
                  ERS. Rotation of pitchers to maintain 40˚F or colder is required.
               3. Original milk container–Milk is to be served in original containers only when
                  required by local health requirements. In most cases, individual serving size milk
                  cartons will be displayed in an ice-filled large white bowl on a wire stand (same
                  as yogurt bowl). When the health department requires a guest-use refrigerator for
                  milk service, it must be white with a glass door.
 204.03 Cold Cereal
         A. Cereal must be presented in one of the three following methods (property choice):
               1. Three-compartment bulk cereal dispenser
               2. Individual serving box cereal dispenser
               3. “Fish bowls” – recommended for properties with cabinet height restrictions
         B. Cereal selections must include raisin bran, one sweet cereal choice and one un-sweet.
            Approved national brands include:
               1. General Mills Cereal
                   a. Cheerios®
                   b. Honey Nut Cheerios®
                   c. Cinnamon Toast Crunch®
                  d. Golden Grahams®
                   e. Lucky Charms®
                   f. Total®
                   g. Total® Raisin Bran

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                                                                                                   Breakfast
                 h. Wheaties®
                  i. Low-fat granola
             2. Kellogg’s® Cereal
                  a. Apple Jacks®
                 b. Corn Flakes®
                  c. Corn Pops®
                 d. Froot Loops®
                  e. Frosted Flakes®
                  f. Frosted Mini-Wheats® (bite size)
                  g. Kashi – Heart to Heart
                 h. Raisin Bran®
                  i. Rice Krispies®
                  j. Special K®
                  k. Low-fat granola
             3. Quaker® Cereal
                  a. Cap’n Crunch®
                 b. Life®
         C. Cereal must be displayed using the approved graphics for the dispenser type.
            For individual serving-size box cereals use box cereal dispenser only, with approved
            graphics.
 204.04 Hot Cereal
         A. Quaker® Instant Oatmeal in individual serving size packs will be offered in the ap-
            proved wire holder in either the Cold Zone or Hot Zone–choose the zone with the
            most available space. Four choices will be available at all times to include: Regular,
            Maple & Brown Sugar, Apples & Cinnamon Spice.
         B. Quaker® Instant Grits are an optional item that may be offered with the Quaker® In-
            stant Oatmeal. Offer grits with the oatmeal in the approved wire container. Grits must
            be in individual serving size packs and may be plain or flavored.
         C. An airpot containing hot water must be provided in the zone with the hot cereal. In the
            Cold Zone, the airpot must have the blue hot water graphic band attached. In the Hot
            Zone, the airpot must have the red hot water graphic band attached. The airpot and
            graphic band must be maintained in a like-new condition.




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                                                                                                   Breakfast
204.05 Yogurt
       A variety of flavors of yogurt in 4-6 oz. individual serving containers is to be available. Light
       yogurt may also be offered. Yogurt is to be maintained at 40°F or lower by submerging in
       an ice bath in the approved white yogurt bowl with riser.
       Approved yogurt:
        A. Dannon®
        B. General Mills Yoplait®




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                                                                                                  Breakfast
 205.00 Baked Zone Standards
 205.01 Adjacencies and Traffic Flow
          A. Typically, traffic around
             the Baked Zone will flow
             best if located adjacent to
             the Hot Zone.
          B. Arrange the zone in an
             order that is conducive to
             the heaviest flow of traffic
             and natural progression
             of movement.
          C. The Baked Zone sign must be displayed using the approved metal stand and hooks. The
             bottom of the sign should be positioned approximately 3" above the countertop and
             on a 45˚ angle opposite the two-tiered bakery stand. This composition serves as a frame
             for the zone.
          D. Displayware in the Baked Zone includes:
              1. Two-tier bakery stand
                   a. Two-tiered stand with hinged acrylic covers and 12" x 20" white platters
                   b. One pair hollow handle stainless tongs
              2. Sweet item display
                   a. 15" round stainless tray stand with 15" round stainless tray and white platter
                   b. 15" clear turn-and-serve with gold graphic
                   c. One pair hollow handle stainless tongs and flat tong holder
                  d. Romance card holder with appropriate romance card
              3. Condiment display
                   a. Three-tiered chrome stand with three clear plastic bowls
                   b. Three small sign holders with appropriate condiment signs inserted into center
                      of bowls
              4. Four slice toaster (white or stainless steel, commercial grade recommended) or
                 Hampton-approved conveyor toaster with On the House graphic attached.
              5. Cold condiment holders
                   a. Chrome stand with 8" white plastic bowls and stainless liners
                   b. Condiment cards and card holders
              6. Romance card holder with appropriate romance card
              7. Bagel slicer no longer required.
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                                                                                                   Breakfast
             8. A cutting board is no longer required.
             9. One napkin holder for white 15" x 17" napkins. For approved napkins, see
                Hampton Recommended Products on OnQ Insider > Hampton Brand page.
            10. One plate holder for 9" diameter, single-use white plates. For approved plates, see
                Hampton Recommended Products on OnQ Insider > Hampton Brand page.
            11. One utensil holder for knives–Stainless steel bain marie with utensil lift and
                graphic band. White, heavyweight or medium heavyweight plastic knives are
                recommended. Medium weight knives should be used only when heavy­weight or
                medium heavyweight knives are not available. Individually wrapped, heavyweight,
                white knives are permitted for use only when required by local health depart-
                ment. For approved knives, see Hampton Recommended Products on OnQ Insider >
                Hampton Brand page.
            12. Zone sign
         E. Utensil bain marie with utensil lift should be located adjacent to single-serve plates in
            approved holder.
         F. Napkins, in approved wire holder, should be adjacent to the plates and utensils.
         G. The cold condiment bowls should be located adjacent to the toaster.
         H. When space is limited, the zone arrangement may be altered in order to best suit the
            space available. However, the adjacencies discussed in this section must be observed.
205.02 All displayware and graphics must be maintained in a like-new condition.
205.03 Non-sweet Bread Options
        Non-sweet bread options include bagels, croissants, English muffins, and wheat bread. Plain
        bagels, cinnamon raisin bagels and wheat bread are to be offered daily. One or two addi-
        tional non-sweet bread items may be offered. Freshly-baked items from a local bakery may
        be offered as long as the items meet serving size requirements.
         A. Bagels (cinnamon raisin and plain) are required to be offered daily. Bagels are to be
            arranged in the approved two-tiered bakery rack and replenished on an as needed basis.
            Never let the quantity fall below six bagels. Usually, bagels and wheat bread are placed
            together on one of the trays in the two-tiered bakery stand. Approved brands for bagels:
             1. Otis Spunkmeyer®, 3 oz., cinnamon raisin, MPC #26120, SUPC #8589251
             2. Otis Spunkmeyer®, 3 oz., plain, MPC #26100, SUPC #8589202
             3. Sara Lee®, 4 oz., cinnamon raisin, MPC #8031, SUPC #6602312
                Note: Sara Lee is all Kosher KVH-d.
             4. Sara Lee®, 4 oz., plain, MPC #8029, SUPC #6602171
                Note: Sara Lee is all Kosher KVH-d.




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                                                                                                  Breakfast
             5. SYSCO BakerSource Label. Manufactured by All Round Foods, 3 oz., variety pack
                (36 plain, 18 cinnamon raisin, 12 onion, 12 sesame, 12 poppy), 15/6 ct.,
                MPC #30511, SUPC #6696058
             6. Local bakery, 3 oz., cinnamon raisin
             7. Local bakery, 3 oz., plain
         B. Croissants are an optional item. They are to be displayed in the two-tiered bakery
            stand. Approved brand:
            Sara Lee®, 2 oz., all margarine, round, sliced, MPC #8403, SUPC #1010693
        C. English muffins are an optional item. They are to be displayed in the two-tiered bakery
           stand. Approved brands include:
             1. Awrey,® 2 oz. (3.5"), fork split, MPC #AWREY1269, SUPC #5287479
             2. Gold Standard Bakery, 2 oz., fork split, MPC #GOLDSTD, SUPC #4183752
             3. Thomas,® 2 oz., fork split, MPC #4800194015, SUPC #1535368
        D. Wheat bread (sliced) is a required item to be offered daily. Bread should be provided
           by a local bakery, food vendor or grocery store. Shingle as many slices of wheat bread as
           possible on one of the trays in the two-tiered bakery stand.
205.04 Sweet Item Options (minimum of two choices, maximum of three per day)
       Sweet item options include cinnamon rolls, coffee cakes, Danish, doughnuts, and muffins.
       When muffins are offered, only one flavor choice is necessary.
       NOTE: Sara Lee® items have limited availability through SYSCO and have been listed only
       as “optional.” Otis Spunkmeyer items also have limited availability through SYSCO because
       these products are primarily delivered directly by Otis in most markets. Six “core” Otis
       Spunkmeyer items have been identified in certain markets where Otis Spunkmeyer cannot
       service the hotels directly. If a hotel is being serviced directly by Otis Spunkmeyer, Sara Lee®
       items are not required.
       Sweet items may be purchased from a local bakery as long the items meet serving size re-
       quirements. For example, 2.25 oz. muffins from a local bakery may be served.
       Sweet items such as coffee cake or doughnuts are to be displayed on the 15" round pedestal
       stand. Simply stack items artfully on the round white platter. Cover with the turn-and-serve
       dome with the gold graphic. Muffins are to be displayed on one tray of the two-tiered bak-
       ery stand. Keep the quantity of items greater than a quarter full at all times. Approved sweet
       items include:
        A. Cinnamon Rolls–Our Hampton cinnamon roll is: Sara Lee® cinnamon roll, 3.25 oz.,
           oven fresh, par-baked, cream cheese, MPC #8415, SUPC #5154513 (all Kosher KVH-d).




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                                                                                               Breakfast
        B. Coffee cakes:
            1. Otis Spunkmeyer®
                a. Apple cinnamon coffee cake, MPC #87145, SUPC #9408535
                b. Cream cheese coffee cake, MPC #87175, SUPC #9408253
                c. Raspberry dessert bar, MPC #40493, SUPC #9408378
                d. Variety pack Pullman loaf, MPC #86101, SUPC #9408204
                e. Apple cranberry cake, MPC #8015, SUPC #2117372
                f. Banana chocolate chip cake, MPC #8012, SUPC #2117406
                g. Blueberry cake, MPC #8203, SUPC #1069889
            2. Sara Lee®
                a. Blueberry cake, MPC, #8203, SUPC # 1069889
                b. Blueberry yogurt cake, MPC #7974, SUPC #9500935
                c. French cake, MPC #8202, SUPC #1235589
                d. Lemon poppy cake, MPC #8014, SUPC #2117380
            3. Danish
                a. Otis Spunkmeyer®, 88/2.75 oz., bulk variety pack–2 trays cheese, 1 tray
                   apple, 1 tray cherry, MPC #80981, SUPC #5316740
                b. Sara Lee®, bulk variety pack–1 tray of 12 cinnamon raisin roll pastries
                   (2.17 oz.); 1 tray each, 16 pastries/tray: apple triangle (1.75 oz.), almond
                   pocket (1.625 oz.), cheese butterfly (1.625 oz.), MPC #8208, SUPC # 6147441,
                   6251607
                c. Sara Lee®, assorted elite, 6/8 ct., MPC #8344, SUPC #1173673
                d. SYSCO BakerSource Label, Manufactured by Pepperidge Farms. 2oz., Danish
                   assortment (cherry cheese pocket, mini bear claws, and mini cheese bowties),
                   MPC #15625, SUPC # 2938116
                e. Pepperidge Farms Assortment #1, (Mini Streudelights, chocolate bananas
                   foster, lemon custard, blueberry, strawberry and cheese), 2 oz., MPC #12201,
                   SUPC #7280308
        C. Doughnuts are to be supplied by a local supplier (example–Krispy Kreme® or Dunkin’
           Donuts®). They must be baked fresh daily–frozen boxed doughnuts are not permitted.




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                                                                                                  Breakfast
          D. Muffins
               1. Otis Spunkmeyer®
                   a. Apple cinnamon, 2.25 oz., MPC #07145, SUPC #7778780
                   b. Banana nut, 2.25 oz., MPC #07105, SUPC #1426394
                   c. Chocolate chip, 2.25 oz., MPC #07120, SUPC #3205259
                   d. Harvest bran, 2.25 oz., MPC #17110, SUPC #3276581
                   e. Variety pack, 2.25 oz., MPC #19101, SUPC #1279801
                   f. Wild blueberry, 2.25 oz., MPC #07100, SUPC #7778798
          E. Sara Lee®
                   a. Apple cranberry nut, 2-1/8 oz., MPC #8676, SUPC #2551315
                   b. Banana nut, 2-1/8 oz., MPC #8677, SUPC #2551281
                   c. Blueberry, 2-1/8 oz., MPC #8605, SUPC #1010362
                   d. Bran, 2-1/8 oz., MPC #8606, SUPC #1010370
                   e. Cheese streusel, 2-1/8 oz., MPC #8673, SUPC #2551299
                   f. Corn, 2-1/8 oz., MPC #8611, SUPC #1010396
                   g. Double chocolate chunk, 2-1/8 oz., MPC #8675, SUPC #2551307
              Note: Sara Lee® is all Kosher KVH-d.
 205.05 Jams, jellies, honey and optional condiments, such as peanut butter, are to be presented
        in portion-controlled packaging in the three-tiered condiment display, correctly labeled
        with condiment graphic cards on stands. (Condiment cards on stands are inserted into the
        center of the condiment display bowl.) Guest requested condiments not listed in approved
        products are allowed provided they are national brands, are served in portion controlled
        packaging and are not used as replacements for approved items. Sugar-free or low-calorie
        condiments may be offered in addition to regular calorie condiments. Replenish as needed,
        never letting the quantity fall below two-thirds full. Private label condiments are not per-
        mitted. For approved condiments, see Hampton Recommended Products on OnQ Insider >
        Hampton Brand page. Approved national brands include:
          A. Honey
               1. Portion Pac
               2. Knott’s®
               3. Kraft®
               4. Smucker’s®
          B. Smucker’s® jams and jellies
          C. Smucker’s® or other nationally recognized brand of peanut butter

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                                                                                                  Breakfast
205.06 Display portion-controlled packages of cream cheese in a cold condiment bowl. Fat-free
       or light cream cheese may be offered in addition to regular cream cheese. Display portion-
       controlled packages of margarine and butter in a second cold condiment bowl. Place ice
       between the base bowls and the stainless steel serving bowls. Replenish as needed. Never
       let quantities fall below half-full. Private label cream cheese, margarine and butter are not
       permitted. Approved national brands include:
          A. Cream cheese
              1. Kraft®, Philadelphia® Cream Cheese
              2. Land O’Lakes®
          B. Butter
              1. Preferred “A” Rated:
                 National Dairy Brands
              2. Approved “B” Rated:
                  a. Land O’Lakes
                  b. WHLFARM
         C. Margarine
              1. Kraft® Parkay® margarine spread
              2. Unilever Promise® whipped margarine




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                                                                                                   Breakfast
 206.00 Fresh Zone Standards
 206.01 Adjacencies and Traffic Flow
          A. Typically, traffic around the Fresh Zone will
             flow best if located adjacent to the Cold Zone.
          B. Arrange the zone in an order that is conducive
             to the heaviest flow of traffic and natural pro-
             gression of movement.
          C. The Fresh Zone sign must be displayed us-
             ing the approved metal stand and hooks. The
             bottom of the sign should be positioned ap-
             proximately 3" above the finished surface of
             the countertop and on a 45˚ angle behind the
             two-tiered wire fruit basket.
          D. Displayware in the Fresh Zone includes:
              1. One napkin holder for white 15” x 17”
                 napkins. For approved napkins, see Hampton Recommended Products on OnQ In-
                 sider > Hampton Brand page.
              2. One bowl holder for 6” diameter, single-use white bowls. For approved bowls, see
                 Hampton Recommended Products on OnQ Insider > Hampton Brand page.
              3. Two utensil holders for white plastic forks and spoons–Stainless steel bain maries
                 with utensil lifts and graphic bands. Medium weight forks and spoons should be
                 used only when heavy­weight or medium heavy weight spoons and forks are not
                 available. Individually wrapped, heavyweight, white forks and spoons are permit-
                 ted for use only when required by local health department. For approved fork and
                 spoons, see Hampton Recommended Products on OnQ Insider > Hampton Brand
                 page.
          E. Bain maries with forks and spoons are to be located adjacent to the single-use bowls
             and napkins in approved holders.
          F. When space is limited, the zone arrangement may be altered in order to best suit the
             space available. However, the adjacencies discussed in this section must be observed.
 206.02 Displayware and graphics must be maintained in a like-new condition.




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                                                                                                  Breakfast
206.03 Fresh, Whole Fruit
         A. Red Delicious apples and bananas must be offered in the approved two-tiered wire
            display. One additional fruit from the approved list below may also be offered. Orang-
            es, pears or peaches are to be arranged with the bananas and apples on the two-tiered
            display. Seasonal berries must be offered in a second temperature-controlled bowl/dis-
            play (same as cut fruit bowl/display). This may be purchased from the Hampton Product
            Reorder Catalog on OnQ Insider > Hampton Brand page.
         B. The two-tiered fruit display is to be kept bountiful with apples 24 hours a day for
            guests.
        C. Individual properties can decide if bananas are to be available 24 hours a day as well.
        D. Remove all stickers from fruit.
         E. Properly wipe the apples before gently placing them into the wire basket. If local health
            codes dictate, wrap them as well.
         F. Carefully arrange the bananas. Always make sure there are at least six available during
            breakfast hours.
        G. The apple basket should be kept more than half-full at all times.
        H. Properly wipe oranges before placing them in two-tiered basket with apples or bananas.
         I. If health codes dictate, carefully wash whole fruit before placing in the two tiered bas-
            ket.
         J. Seasonal berries must be carefully washed before placing in a second temperature-con-
            trolled bowl/display (same unit as the cut fruit bowl/display).
         K. To follow are the approved fresh, whole fruits. Apples and bananas must be offered.
            One additional fruit from the approved list may be offered with the apples and banan-
            as. If these sizes are not available, select the next available size:
             1. Apple, Golden Delicious, 125 ct. (or lower number)
             2. Apple, Granny Smith, 125 ct. (or lower number)
             3. Apple, Red Delicious, 125 ct. (or lower number)
             4. Banana, Green Tip, #1
             5. Orange, navel/Valencia, 113ct. (or lower number)
             6. Pear, Bartlett/Anjou, 100ct. (or lower number)
             7. Peach, 115ct. (or lower number)
             8. Berries, seasonal (strawberries, blueberries, raspberries)




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                                                                                                  Breakfast
206.04 Cut Fruit
        A. Cut fruit is offered in the temperature-
           controlled container, covered with the
           turn-and-serve dome with the green
           graphic. Place ice between the base bowl
           and the stainless steel serving bowl. Fill
           the serving bowl with approved cut fruit
           and cover with the dome. The serving
           bowl should be kept at least half-full of
           cut fruit.
         B. A citrus or melon mix of fruit from the
            approved list must be served. Fresh cut
            fruit or fruit cocktail is not permitted.
        C. Approved cut fruit products:
             1. Preferred “A” rated fresh cut fruit:
                 The following fresh cut fruit mixes must be processed/packed from one of the ap-
                 proved vendors or distributed/sold under the distributor brands listed below:
                   a. Manufacturer labels
                     1) SunRich/SunRich-Markon

                            a) Fruit Salad: oranges, pineapple, honeydew, cantaloupe & grapes
                               (21-day shelf life)

                            b) Rio Citrus Salad: oranges, pineapple, grapefruit & grapes
                               (21-day shelf life)

                            c) Al Fresco Fruit Salad: Preservative-free oranges, pineapple, honeydew,
                               cantaloupe & grapes (12-day shelf life)

                            d) Al Fresco Citrus: Preservative-free oranges, pineapple, grapefruit &
                               grapes (12-day shelf life)

                            e) Al Fresco Tropical Fruit Salad: Preservative-free, pineapple, honey-
                               dew, cantaloupe, orange, mango and papaya (12-day shelf life)

                     2) Orval Kent Foods, Inc.

                            a) Fruit Salad: Fresh-cut orange slices, pineapple chunks, melons and
                               grapes in a light syrup.

                            b) Citrus Fruit Salad Component Kit: Individual pouches of grapefruit
                               slices, pineapple chunks, orange slices and grapes in a light syrup,
                               ready to open and mix.

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                                                                                                  Breakfast
                           c) Citrus Salad with Pineapple: grapefruit slices, pineapple chunks,
                              orange slices in a light syrup.

                     3) Simply Fresh Fruit

                           a) Fruit Mix: honeydew, cantaloupe, orange, pineapple, and red seedless
                              grapes in light syrup or natural grape juice syrup.

                           b) Citrus Salad: grapefruit, pineapple and oranges in light syrup or
                              natural grape juice syrup.

                 b. Distributor brands
                     1) SYSCO

                           a) SYSCO Imperial Brand

                           b) SYSCO Natural Brand

                     2) US Foodservice—Cross Valley Farms Brand

             2. Approved “B” Rated Processed Fruit:
                Approved “B” rated processed fruit (processed fruit is only to be utilized when
                preferred fresh cut fruit is unavailable, out of stock or for backup purposes. Canned
                fruit or fruit cocktail is not permitted.)
                Processed fruit must be processed/packaged by approved vendor, Dole® Packaged
                Foods, Inc. Approved Dole® Product is:
                Tropical Fruit Salad (Pouch Packed) Contains: pineapple, yellow papaya, red pa-
                paya, and guava, packed in juice.
        D. Maintain just enough liquid (juice) in the fruit mix to cover fruit in the serving bowl.
           Drain if necessary.




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                                                                                                 Breakfast
207.00 Hot Zone Standards
Note to properties using alterna-
tive hot zone solutions: Please refer
to On the House Hot Breakfast Standard Ad-
dendums that apply to your service option.
207.01 Adjacencies and Traffic Flow
         A. Typically, Hot Zone traffic will
            flow best if located adjacent to
            the Baked Zone.
         B. Arrange the zone in an order
            that is conducive to the heavi-
            est flow of traffic and natural
            progression of movement.
         C. The Hot Zone sign must be displayed using the approved metal stand and hooks. The
            sign should be positioned approximately 3" above the finished surface of countertop
            and on a 45˚ angle directly behind the chafing dish.
         D. Displayware and serveware for the Hot Zone includes:
             1. Biscuit display
                  a. 15" Round stainless tray
                 b. White platter
                  c. Biscuit display divider
                 d. 15" Clear turn-and-serve with red graphic
                  e. One pair hollow handle stainless tongs with flat tong holder
                  f. Biscuit warmer
             2. One napkin holder for white 15" x 17" napkins. For approved napkins, see the
                Hampton Recommended Products on OnQ Insider > Hampton Brand page.
             3. One plate holder for 9" diameter, single-use white plates. For approved plates, see
                Hampton Recommended Products on OnQ Insider > Hampton Brand page.
             4. Two utensil holders for knives and forks–Stainless steel bain maries with
                utensil lifts and graphic bands. Medium weight knives and forks should be used
                only when heavy­weight or medium heavy weight knives and forks are not avail-
                able. Individually wrapped, heavyweight, white knives and forks are permitted for
                use only when required by local health department. For approved untensil holders,
                see the Hampton Product Reorder Catalog on OnQ Insider > Hampton Brand page.
             5. Zone sign
         E. Displayware must be maintained in the like-new condition.

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                                                                                                  Breakfast
         F. Knives and forks in bain maries and napkins in an approved holder are to be located
            adjacent to the single-use plates in an approved holder. For approved bain maries and
            napkin holders, see the Hampton Product Reorder Catalog on OnQ Insider > Hampton
            Brand page.
        G. The biscuit holder consists of a biscuit warmer 15" diameter stainless steel platter, bis-
           cuit display divider, a white platter and a 15" diameter turn-and-serve dome with a red
           graphic. A set of tongs and tong holders should be adjacent to the biscuit holder.
        H. A three-tiered condiment display with correct condiment cards should be positioned
           between the biscuit holder and the chafing dish. Salt and pepper in portion controlled
           packaging should always be offered as condiments in the Hot Zone. The other two con-
           diment offerings in portion controlled packaging should compliment the daily menu.
           For example, serve syrup with French toast sticks and waffles. Guest requested condi-
           ments not listed in approved products are allowed provided they are national brands,
           are served in portion controlled packaging and are not used as replacements for ap-
           proved items. Sugar-free or low-calorie condiments may be offered in addition to regu-
           lar calorie condiments. For approved condiment displays and cards, see the Hampton
           Product Reorder Catalog on OnQ Insider > Hampton Brand page.
           Approved national brand syrup includes:
             1. Dickinson
             2. Log Cabin®
             3. Log Cabin® lite
             4. Mrs. Butterworth®
             5. Smucker’s®
         I. When space allows, Quaker® Instant Oatmeal and Quaker® Instant Grits (optional)
            may be served in the Hot Zone instead of the Cold Zone.
             1. Quaker® Instant Oatmeal in individual serving size packs will be offered in the ap-
                proved wire holder. Four choices will be available at all times to include: Regular,
                Maple & Brown Sugar, Apples & Cinnamon Spice. Two additional flavors may be
                offered.
             2. Quaker® Instant Grits are an optional item that may be offered with the Quaker®
                Instant Oatmeal. Offer grits with the oatmeal in the approved wire container. Grits
                must be in individual serving size packs and may be plain or flavored.
             3. An airpot containing hot water must be provided in the zone with the hot cereal.
                In the Hot Zone, the airpot must have the red hot water graphic band attached. The
                airpot and graphic band must be maintained in a like-new condition.
         J. When space is limited, the arrangement of the zone may be altered in order to best
            suit the layout of the space available. However, the adjacencies discussed in this section
            must be observed.


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                                                                                                   Breakfast
207.02 The chafing dish is the focal point of this zone. An approved white napkin must be tied
       around the handle of the lid to protect guests from the potential of burning their hands. An
       optional “Caution: HOT” sign is available. A set of tongs and tong holders should be adja-
       cent to the chafing dish.
207.03 Food temperatures in the chafing dish must be maintained at 140˚F or higher.
207.04 A minimum of three different Hot Zone menus must be served in each seven day period. It
       is recommended that the Hot zone menu change daily to provide variety for loyal guests.
       Only approved menus are to be offered.
207.05 Approved Menus:
         A. Big Cheese – filled omelets, plain biscuits
          B. Great Eggs and Ham – egg patties, ham slices, plain biscuits
         C. Little Bit Country – egg patties, sausage gravy, plain biscuits
         D. Opening Act – bacon, egg & cheese topped bagels, plain biscuits
          E. Original Gridiron – waffles, sliced maple smoked sausage, plain biscuits
          F. Real Crowd Pleaser – scrambled eggs with stir-ins, menu enhancement items, plain
             biscuits
         G. Toast of the Town – French toast sticks, sausage patties and plain biscuits
         H. Top of the Morning – egg patties, sausage patties, plain biscuits
207.06 Local and state food handling procedures must be followed at all times.
207.07 Proper rotation of food inventory is required at all times.
207.08 Approved Products Listed by Manufacturer (All menu items must be approved items.)
         A. Approved Egg Patties
              1. Preferred “A” Rated:
                 Michael Foods, sunny-side up, natural-shape egg patty, 1.75 oz., MPC #85879,
                 SUPC #1732940
              2. Approved “B” Rated:
                  a. Michael Foods, scrambled egg patty, 1.75 oz., MPC #46025-85839-00,
                     SUPC #1680156
                  b. Michael Foods, 1.75 oz., MPC #152020, SUPC #1313428
                  c. Michael Foods, 1.75 oz., MPC #152020, SUPC #7360530
                  d. Michael Foods, 1.75 oz., MPC #46025-85841-00, SUPC #9558412
                  e. Michael Foods, 1.5 oz., MPC #G1003233420, SUPC #1438944
                   f. Michael Foods, 1.5 oz., MPC #152025, SUPC #1921881
                  g. Michael Foods, 1.5 oz., MPC #30020, SUPC #2596872
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                                                                                            Breakfast
                h. Michael Foods, 1.5 oz., MPC #7486546275, SUPC #7360480
                i. Cargill/Sunny Fresh®, 1.75 oz., MPC #30606, SUPC #6614804
                j. Cargill/Sunny Fresh®, 1.5 oz., MPC #30001, SUPC #1311406
                k. Cargill/Sunny Fresh®, 1.5 oz., MPC #30636, SUPC #1983881
        B. Approved Omelets
            1. Michael Foods, Cheese, Browned, 3.5 oz., MPC #46025-90135-00, SUPC
               #2232965
            2. Michael Foods/SYSCO Classic, Non-Browned, 3.5 oz., MPC #46025-15208-00,
               SUPC #5475373
            3. Michael Foods, Cheese, Non-Browned, 3.5 oz., MPC #74865-46279-00, SUPC
               #7360704
        C. Sausage Patties
            1. Preferred “A” Rated:
               Ember Farms (Hampton brand), 1.5 oz., MPC #25468-11950, SUPC #4105268
            2. Approved “B” Rated:
                a. Hormel®, 1.5 oz., MPC #17500, SUPC #2311512
                b. Jones Dairy, 1.5 oz., MPC #18753, SUPC #1794650
                c. Odom’s Tennessee Pride, 1.5 oz., MPC #354, SUPC #8172769
                d. Rose, 1.6 oz., MPC #800111, SUPC #2034890
                e. Rose, 1.5 oz., MPC #800172, SUPC #7806243
                f. SYSCO, 1.6 oz., MPC #800176, SUPC #3629540
        D. Approved Biscuits
           Golden Harvest/CH Guenther Plain Biscuits, 144/2.25 ounce, MPC #3244,
           SUPC #5927274
        E. Approved French Toast Sticks
            1. Preferred “A” Rated:
                a. McCain, MPC #41008406, SUPC #1474345
                b. McCain, MPC #41010162, SUPC #7255979
            2. Approved ”B” Rated:
                a. Farm Rich™–Seapack, MPC #67400, SUPC #1251461
                b. Michael Foods, MPC #46025-85803, SUPC #4677118
                c. Rich Seapack, MPC #84044, SUPC #977095


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                                                                                                 Breakfast
         F. Approved Waffles
            1. Preferred “A” Rated:
                a. Advance™ Food Company, MPC #2027761, SUPC #2027761
                b. Bakery Chef®, MPC #6376, SUPC #1826254
                c. Bakery Chef®, MPC #6794028, SUPC #6794028
                d. Belgium Chef, MPC #0074, SUPC #1010313
                e. Chef America, MPC #048, SUPC #1589449
            2. Preferred “B” Rated:
               Advance™ Food Company, MPC #5018, SUPC #2027761
        G. Approved Sausage Gravy
            1. Nestlé®, Chef Mate, MPC #05228, SUPC #4958542
            2. Vanee, MPC #590PY-VAN, SUPC #9037706
            3. Vanee, MPC #590PX, SUPC #0682542
        H. Approved Scrambled Egg Products
            1. Grand Prairie Scrambled Eggs (eggs only); frozen, pre-cooked; MPC #301003,
               SUPC # 6457594
            2. Ham stir-in kit (ham and cheese), MPC # 301005, SUPC # 5049434
            3. Cactus Jack stir-in kit (fire-grilled steak, seasoned cheese, tortillas), MPC #301006,
               SUPC #5243504
         I. Approved Ham Product
           Willow Brook Foods, 3" round/.75 oz. slices, 6/2 lb. cs., MPC #60637, SUPC #7176027
         J. Approved Link Sausage
           Willow Brook Sliced Maple Smoked Sausage, MPC #60211, SUPC #4213823
        K. Approved Bagel Toppers
           Better Baked Foods, Bacon, egg and cheese topped bagel, MPC #02504,
           SUPC #3987534




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                                                                                                 Breakfast
208.00 Hampton’s On the Run™ Breakfast Bag Standards
208.01 Based on occupancy and volume, prepare an appropriate number of Hampton’s On the Run
       Breakfast Bags. A Hampton’s On the Run Breakfast Bag must be available for each guest who
       does not have enough time to enjoy the On the House breakfast buffet. Hampton’s On the
       Run Breakfast Bag stickers are available from Focus Services. See the Hampton Product Reorder
       Catalog on OnQ Insider > Hampton Brand page.
208.02 Maintain a minimum of six Hampton’s On the Run Breakfast Bags on the front desk kiosk
       from 5:30 a.m. to 10:00 a.m. Monday through Friday.
208.03 Use a plain brown kraft bag for the Hampton’s On the Run Breakfast Bag. For approved
       bags, see Hampton Recommended Products on OnQ Insider > Hampton Brand page. SYSCO
       approved bag item numbers: 5113410, 4087680, 1456409, 4014486, 6546931, 5760376,
       5039888, 4087680




        Brown bag specifications:
              Size:       8#; 61⁄8” X 41⁄8” X 127⁄16”

              Type:       35# Natural Kraft, 500/case




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                                                                                                Breakfast
       The top of Hampton’s On the Run Breakfast Bags must be folded down approximately 3".
       On the Run stickers are to be placed centered on the flap to insure quality control. (See
       Standard 409.01) Each bag will contain the following:
        A. One whole Red Delicious apple (125 count)
        B. One Blueberry Muffin
            1. Preferred “A” Rated:
                Otis Spunkmeyer®, individually wrapped, 2.25 oz. blueberry muffin, MPC #09100,
                SUPC #7579295.
            2. Approved “B” rated (use only when “A” rated not available):
                Sara Lee®, individually-wrapped, 2 oz. blueberry muffin, MPC #8666,
                UPC #2407039
        C. One bottle of 16.9 oz bottled water. Private labels are not permitted. Water must be a
           nationally recognized brand:
            1. Aquafina®
            2. Arrowhead®
            3. Crystal Geyser®
            4. Dasani®
            5. Deer Park®
            6. Evian®
            7. Ice Mountain®
            8. Ozarka®
            9. Poland Springs®
           10. Zephyrhills®
        D. Kellogg’s® Special K® Cereal Bar
           One Kellogg’s® Special K® Vanilla Crisp Cereal Bar, MPC #3800022222,
           SUPC # 4834836
        E. One box of Hampton Moment mints. Order Hampton Moment mints from Guest Sup-
           ply. Order form available on the Hampton Brand page of OnQ Insider.




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                                                                                                Breakfast
          F. One 15" x 17" white napkin
             1. Fort James, dinner, 2-ply, 15" x 17", 1/8 FLD, MPC #31428, SUPC #5759618
             2. Georgia Pacific, dinner, 2-ply, MPC #31459, SUPC #4482899
             3. Georgia Pacific, dinner, 2-ply, 15" x 17", 1/8 FLD, MPC #32559/01, SUPC
                #4545562
             4. Hoffmaster®, dinner, 2-ply, 15" x 17", 1/8 FLD, MPC #56105, SUPC #5887302
             5. Hoffmaster®, dinner, 2-ply, 15" x 17", 1/8 FLD, MPC #85550, SUPC #4961694
             6. SCA, dinner, 2-ply, 15" x 17", 1/8 FLD, MPC #NP310, SUPC #4057071
208.04 Date of assembly must be written on the bottom of each bag to assure food safety and qual-
       ity. This will allow for a daily first in, first out (FIFO) rotation system.




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                                                                                                 Breakfast
209.00 Breakfast Artwork/Décor Enhancement
209.01 If there are no cabinets above the breakfast bar, display two to four framed black and white
       photographs from the Hampton brand approved image library.
209.02 Finished frame size is 33.5" x 34.5".
209.03 Approved Image Library




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                                                                                                 Breakfast
209.04 Décor Enhancing Items
       Décor enhancing items are to be used as dividers between zones if space permits. These ele-
       ments are highly recommended, however some properties have limited counter space and
       may not be able to install some portion or any of these items. When counter space is lim-
       ited, display enhancement items may be used to enhance other parts of the breakfast serving
       area, such as built-in shelves. Do not add any other decorative elements to these items.
       White ceramic serving items – The provided white ceramic serving items act as visual fillers
       between the breakfast zones. The items are intentionally white to contrast our food offer-
       ings. These elements are intended to create three different groupings:
        A. Three pitchers (see letter “A” below)
        B. Two serving bowls (see letter “B” below)
        C. One large platter (see letter “C” below) and one serving bowl (not pictured)




                                                   A




                                    B
                                                                                  C




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                                                                                                 Breakfast
210.00 Presentation Standards
210.01   The On the House breakfast presentation must mirror that of the following plan-o-grams
         and pictures. Consistent presentation standards are required to assure that each Hampton
         guest experiences the same On the House breakfast from location to location.
210.02 Holiday or seasonal decorations are not permitted on the breakfast serving surface nor the
       breakfast tables and chairs. The only approved item to be placed on breakfast tables is the
       HSIA table tent.




                                                            A. Cold Zone

                                                              1. Wire holder for hot cereal
                                                              2. Hot water airpot
                                                              3. Yogurt bowl with stand
                                                              4. Cold Zone sign with sign holder
                                                              5. Bulk cereal dispenser (or fish bowl
                                                                 dispensers/scoops) with cereal
                                                                 graphics
             1.    2.   3.      4. 5.   8. 6.   7.            6. Wire holder for 6” bowls
                                                              7. Two 1.9 liter thermal pitchers with
                                                                 graphic bands or other approved
                                                                 milk dispensing option
                                                              8. Stainless steel 1-qt. bain marie
                                                                 with graphic band and utensil lift
                                                                 for spoons



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                                                                                           Breakfast




                                                          B. Hot Zone

                                                           1. Hot Zone sign with sign holder
                                                           2. Wire holder for 9” plates
                                                           3. Two stainless steel 1-qt. bain
                                                              maries with graphic bands and
                                                              utensil lifts for forks and knives
                                                           4. Chafing dish with romance card/
                                                              holder, optional “caution: hot”
      1.    2.   3.   4.5.   10.   6. 7.   8. 9.              sign
                                                           5. Two sets stainless steel hollow
                                                              handle tongs/trays (One 3 oz.
                                                              ladle when serving gravy)
                                                           6. Wire holder for napkins
                                                           7. Three-tiered condiment display
                                                              with appropriate condiment
                                                              cards/holders
                                                           8. Stainless steel hollow handle
                                                              tongs/tray
                                                           9. Biscuit display (white platter,
                                                              biscuit display divider, 15" clear
                                                              turn-and-serve with red graphic,
                                                              and biscuit warmer)
                                                          10. Ladle holder (when applicable)

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                                                                                      Breakfast




                          3.    6.
                                                      C. Fresh Zone
                   1.     4.
                   2.     5.                            1. Fresh Zone sign with sign holder
                                                        2. Cut fruit display (12” turn-and-
                                                           serve/green graphic), hollow
                                                           handle pierced spoon, and
                                                           romance card
                                                        3. Two-tiered chrome wire fruit
                                                           display
                                                        4. Wire holder for napkins
                                                        5. Wire holder for 6” bowls
                                                        6. Two stainless steel 1-qt. bain
                                                           maries with graphic bands and
                                                           utensil lifts for forks and spoons




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                                                                                           Breakfast




                                                          D. Baked Zone

                                                           1. Baked Zone sign with sign holder
                                                           2. Sweet item display (15” turn-and-
                                                              serve/gold graphic), romance
                                                              card with holder
                                                           3. Stainless steel hollow handle
                                                              tongs/tray
          10. 1. 2. 3.   4.   5.   6.   7. 8. 9.           4. Toaster
                                                           5. Wire holder for 9” plates
                                                           6. Stainless steel 1-qt. bain marie
                                                              with graphic band and utensil lift
                                                              for knives
                                                           7. Two cold condiment bowls/stands
                                                              with condiment cards/holders
                                                           8. Wire holder for napkins
                                                           9. Two-tiered bakery stand with
                                                              stainless steel hollow handle tongs
                                                              and romance cards
                                                          10. Three-tiered condiment display
                                                              with appropriate condiment
                                                              cards/holders




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                                                                                               Breakfast




                                                              E. Coffee Zone—Free Standing Table

                                                               1. 2 wire holders for cups lids
                                                               2. Hot cocoa basket with sign/
                                                                  holder
                                                               3. Hot water thermal server
                                                               4. Robust coffee thermal server
              1.   2.   3.   4.   5. 6. 9.   7.   8.           5. Coffee Zone sign with sign holder
                                                               6. Regular coffee thermal server
                                                               7. Decaf coffee thermal server
                                                               8. Tea caddy
                                                               9. Three-tiered condiment display
                                                                  with appropriate condiment
                                                                  cards/holders
                                                              10. Stainless steel 1 qt. bain marie
                                                                  with graphic band and clear stir
                                                                  stick riser
                                                              11. Stainless steel 1 qt. bain marie
                                                                  with graphic band for trash




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                                                                                           Breakfast




                                                        Juice Zone—Without Dispenser
           F. Juice Zone                                (properties with height restrictions)
            1. Two clear plastic water pitchers           1. Two clear plastic water pitchers
               with drip trays                               with drip trays
            2. Two wire cup holders for 9 oz.             2. Two wire cup holders for 9 oz.
               clear or frosted plastic cups                 clear or frosted plastic cups
            3. Juice dispenser                            3. Zone sign with holder (properties
                                                             with height restrictions)
                                                          4. Four thermal 1.9 liter thermal
                                                             pitchers with graphic bands
                                                             (properties with height restrictions)


                                                                                          1.
                                                                                               3.
                           1.   2.     3.                                                           2.
                                                                                                          4.




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                                                                                                               Breakfast
 Large Format–Breakfast Layout with Coffee Table                                 1. Hot Zone sign with sign holder
                                                                                 2. Wire holder for 9” plate
                                                                                 3. Two stainless steel 1 qt. bain maries with graphic bands and
                                                                                    utensil lifts for forks and knives
                           23.   26.   29.    31.    35.            38.          4. Chafing dish with romance card/holder, optional “caution:
                     21.   24.   27.   30.    32.    36.            39.             hot” sign
                     22.   25.   28.          33.    37.                         5. Two sets stainless steel hollow handle tongs/trays (one 3oz.
                                              34.                                   ladle/tray when serving gravy)
                                                                                 6. Wire holder for napkins
                                                                                 7. Three-tiered condiment display with appropriate condiment
                                                                                    cards/holders
                                                                                 8. Stainless steel hollow handle tongs/tray
                                                                                 9. Biscuit display (15” turn-and-serve with red graphic)
                                                                                10. Decorative ceramic pitchers
                                                                                11. Baked zone sign with sign holder
                                                                                12. Three-tiered condiment display with appropriate condiment
                                                                                    cards/holders
                                                                                13. Sweet item display (15” turn-and-serve/gold graphic),
               20.                                                                  romance card with holder
               19.                                                              14. Stainless steel hollow handle tongs/tray
               18.                                                              15. Toaster
                                                                                16. Wire holder for 9” plates
                                                                                17. Stainless steel 1-qt. bain marie with graphic band and
               17.                                                                  utensil lift for knives
                                               40.                              18. Two cold condiment bowls/stands with condiment cards/
                                               41.                                  holders
               16.                                                              19. Wire holder for napkins
                                               42.
                                                                                20. Two-tiered bakery stand with romance cards
               15.                             43.
                                                                                21. Fresh Zone sign with sign holder
                                                                                22. Cut fruit display (12” turn-and-serve/green graphic),
               14.
                                               44.                                  hollow handle pierced spoon, and romance card
                                                                                23. Two-tiered chrome wire fruit display
               13.                             45.                              24. Wire holder for napkins
               12.                                                              25. Wire holder for 6” bowls
                                                                                26. Two stainless steel 1-qt. bain maries with graphic bands and
               11.                             46.                                  utensil lifts for forks and spoons
                                                                                27. Decorative ceramic platter/bowl
               10.
                                                                                28. Wire holder for hot cereal
                                               47.
                                                                                29. Hot water airpot
               9.                              48.                              30. Yogurt bowl with stand
                                               49.                              31. Cold Zone sign with sign holder
               8.                                                               32. Bulk cereal dispenser (or fish bowl dispensers/scoops) with
                                                                                    cereal graphics
               7.                                                               33. Stainless steel 1-qt. bain marie with graphic band and
               6.                              50.                                  utensil lift for spoons
                                               51.                              34. Wire holder for 6” bowls
                                                                                35. Two 1.9 liter thermal pitchers with graphic bands or other
                                                                                    approved milk dispensing option
                                                                                36. Decorative ceramic platter/bowl
               5.
                                                                                37. Two clear plastic water pitchers with drip trays
               4.
                                                                                38. Two wire cup holders for 9 oz. clear or frosted plastic cups
                                                                                39. Juice dispenser
               3.
                                                                                40. Stainless steel 1-qt. bain marie with graphic band and clear
                                                                                    stir stick riser
               2.                                                               41. Stainless steel 1-qt. bain marie with graphic band for trash
                                                                                42. Wire holder for cups/lids
                                                                                43. Hot cocoa basket with sign/holder
               1.                                                               44. Decaf coffee thermal server
                                                                                45. Regular coffee thermal server
                                                                                46. Coffee Zone sign with sign holder
                                                                                47. Robust coffee thermal server
                                                                                48. Hot water thermal server
                                                                                49. Tea caddy
                                                                                50. Three-tiered condiment display with appropriate condiment
                                                                                    cards/holders
                                                                                51. Wire holder for napkins




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                                                                                                                       Breakfast
U-Shaped Breakfast Layout with Coffee Table                                             1.
                                                                                        2.
                                                                                             Baked Zone sign with sign holder
                                                                                             Wire holder for napkins
                                                                                        3.   Wire holder for 9” plates
                                                                                        4.   Stainless steel hollow handle tongs/tray
                                                                                        5.   Two-tiered bakery stand with romance cards
                                                                                        6.   Two cold condiment bowls/stands with condiment cards/
                                                                                             holders
                                                                                        7.   Stainless steel 1-qt. bain marie with graphic band and
                    21.               24. 25.   26.                                          utensil lift for knives
                                                                                        8.   Three-tiered condiment display with appropriate condiment
                                                                                             cards/holders
                                                                                        9.   Sweet item display (15” turn-and-serve/gold graphic),
                                                                                             romance card with holder
                                                                                       10.   Toaster
                                                                                       11.   Three-tiered condiment display with condiment cards/
                                                                                             holders
                                                                                       12.   Two stainless steel 1 qt. bain maries with graphic bands and
                      22.       23.                                                          utensil lifts for forks and knives
                                                                                       13.   Wire holder for napkins
                                                                                       14.   Biscuit display (15” turn-and-serve with red graphic)
                                                                                       15.   Stainless steel hollow handle tongs/tray
                      20.
                                                                                       16.   Stainless steel hollow handle tongs/tray
      19.                                                                              17.   Chafing dish with romance card/holder,
                      18.
                                                                                             optional “Caution: hot” sign
      17.                                                                              18.   Stainless steel hollow handle tongs/tray (or 3oz. ladle when
                      16.                                                                    serving gravy)
                                                      27.                              19.   Hot Zone sign with sign holder
                                                                                       20.   Wire holder for 9” plate
      14.             15.                                                              21.   Fresh Zone sign with sign holder
                                                      28.                              22.   Wire holder for 6” bowls
                      13.                                                              23.   Two stainless steel 1-qt. bain maries with graphic bands and
                                                      29.         30.                        utensil lifts for forks and spoons
                      12.
      11.                                                                              24.   Cut fruit display (12” turn-and-serve/green graphic), hollow
                                                                                             handle pierced spoon, and romance card
                                                                                       25.   Wire holder for napkins
      10.                                                                              26.   Two-tiered chrome wire fruit display
                                                      32.         31.
                                                                  33.                  27.   Juice dispenser
                                                                                       28.   Two wire cup holders for 9 oz. clear or frosted plastic cups
                      9.
                                                                                       29.   Two clear plastic water pitchers with drip trays
                                                      34.                              30.   Decorative ceramic bowl
      8.
                      7.                              36.         35.                  31.   Decorative ceramic platter
                                                                                       32.   Yogurt bowl with stand
                      6.                              37.
      5.                                                                               33.   Hot water airpot
                                                      38.                              34.   Wire holder for hot cereal
                      4.                                                               35.   Cold Zone sign with sign holder
                                                                  39.                  36.   Two 1.9 liter thermal pitchers with graphic bands or other
                      3.                                                                     approved milk dispensing option
                                                                                       37.   Stainless steel 1-qt. bain marie with graphic band and
      1.                                                                                     utensil lift for spoons
                      2.
                                                                                       38.   Wire holder for 6” bowls
                                                                                       39.   Bulk cereal dispenser or fish bowl dispensers with cereal
                                                                                             graphics
                                                                                       40.   Three-tiered condiment display with appropriate condiment
                                                                                             cards/holders
                                                                                       41.   Tea caddy
                                                                                       42.   Hot water thermal server
                                                                                       43.   Stainless steel 1 qt. bain marie with graphic band and clear
                                                                                             stir stick riser
                                                                                       44.   Stainless steel 1 qt. bain marie with graphic band for trash
                                                                                       45.   Coffee Zone sign with sign holder
                                                                                       46.   Robust coffee thermal server
                                                                                       47.   Regular coffee thermal server
                          40.     42.           45. 47. 49. 51.                        48.   Decaf coffee thermal server
                          41.     43.           46. 48. 50.                            49.   Hot cocoa basket with sign/holder
                                  44.                                                  50.   Wire holder for cups/lids
                                                                                       51.   Wire holder for napkins




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                                                                                                                                  Breakfast
Limited Space-Breakfast Layout with Coffee Table                                               1. Baked Zone sign
                                                                                               2. Two cold condiment bowls/stands with condiment cards/
                                                                                                  holders
                                                                                               3. Two-tiered bakery stand with romance cards*
                                                                                               4. Three-tiered condiment display with appropriate condiment
                                                                                                  cards/holders
                                                                                               5. Wire holder for napkins (Baked zone/Hot zone share)
                                                                                               6. Toaster
      1.    3.         4.   6.    8.     11. 12.                 14.                           7. Wire holder for 9” plates (Baked zone/Hot zone share)
                                                                                               8. Biscuit display (15” turn-and-serve with red graphic)
                                                                                               9. Two stainless steel 1-qt. bain maries with graphic bands and
                                                                                                  utensil lifts for forks and knives (Baked zone/Hot zone
                                                                                                  share)
                                                                                              10. Stainless steel hollow handle tongs/tray (3oz. ladle/tray
                                                                                                  when serving gravy)
                                                                                              11. Three-tiered condiment display with appropriate condiment
                                                                                                  cards/holders
                                                                                              12. Chafing dish with romance card/holder, optional “caution:
                                                                                                  hot” sign
                                                                                              13. Stainless steel hollow handle tongs/trays
     2.                5. 7. 9.    10.       13.     15. 16.                                  14. Hot Zone sign
                                                         17.                                  15. Stainless steel 1-qt. bain marie with graphic band and
           Baked                       Hot                                                        utensil lift for forks (if space allows)
                                                                                   19.        16. Wire holder for napkins
                                                           18.                                17. Cut fruit display (12” turn-and-serve/green graphic),
                                                                                                  hollow handle pierced spoon, and romance card
                                                   Fresh 20.                                  18. Wire holder for 6" bowls (Fresh Zone/Cold Zone can share;
                                                         21.                                      move closer to center)
                                                         22.                       23.
                                                                                              19. Two-tiered chrome wire fruit display
                                                         24.                                  20. Two stainless steel 1-qt. bain maries with graphic bands and
                 35.                   36.               25.                                      utensil lifts for forks and spoons (Fresh Zone/Cold Zone can
                                                                                                  share; move closer to center)
                                                         27.                                  21. Wire holder for napkins
                 37.                                                               26.
                                       38.               28.                                  22. Hot water airpot (can be eliminated if wire holder for hot
                                                                                   29.            cereal is moved to Coffee Zone)
                                                   Cold                                       23. Fresh Zone sign
                                       39.                                                    24. Wire holder for hot cereal **
                                                           30.                                25. Stainless steel 1-qt. bain marie with graphic band and
             Coffee                                                                32.            utensil lift for spoons (move to Coffee Zone if wire holder
                                       40.                 31.
                                                                                                  for hot cereal is moved)
                                       41.                 33.                                26. Two 1.9 liter thermal pitchers with graphic bands or other
                                                                                                  approved milk dispensing option
                                                                                              27. Wire holder for 6” bowls (move to Coffee Zone if wire
                                       42.                 34.                                    holder for hot cereal is moved)
                 43.                                                                          28. Wire holder for napkins
                                       44.
                                                   Juice                                      29. Bulk cereal dispenser (or fish bowl dispensers/scoops) with
                 45.                   46.                                                        cereal graphics
                                                                                              30. Yogurt bowl with stand
                                                                                              31. One clear plastic water pitcher with drip tray
                                                                                              32. Cold Zone sign
                                                                                              33. Wire holder for 9 oz. clear or frosted plastic cups
                                                                                              34. Juice dispenser
                                                                                              35. Tea Caddy
                                                                                              36. Three-tiered condiment display with appropriate condiment
                                                                                                  cards/holders
                                                                                              37. Wire holder for napkins
                                                                                              38. Decaf coffee thermal server
                                                                                              39. Robust coffee thermal server
                                                                                              40. Coffee Zone sign with sign holder
                                                                                              41. Regular coffee thermal server
                                                                                              42. Hot water thermal server
                                                                                              43. Hot cocoa basket w/sign holder
                                                                                              44. Stainless steel 1-qt. bain marie with graphic band and clear
                                                                                                  stir stick riser
                                                                                              45. Stainless steel 1-qt. bain marie with graphic band for trash
                                                                                              46. Wire holder for cups/lids
                                                                                          *     The limited space breakfast layout does not include a sweet item display.
                                                                                                Use the bottom tier of the two-tiered bakery stand to offer sweet items
                                                                                                to guests. Use the top tier for bagels and bread.
                                                                                          ** The wire holder for hot cereal may be moved to the Coffee Zone near
                                                                                             the hot water thermal if space is needed. Also move one wire holder for
                                                                                             6” bowls and spoon bain marie if space allows. The hot water airpot may
                                                                                             then be eliminated from the Cold Zone.




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                                                                                                    Breakfast
211.00 Food Safety and Sanitation Standards
211.01   Where food is concerned, cleanliness is a safety issue. Following the rules is an absolute
         must. Careful attention to food safety and sanitation protects the health and safety of guests
         and keeps your hotel in good standing with local health department officials. It’s one more
         way to demonstrate to guests our commitment to their satisfaction. And remember, when
         the breakfast area is neat and clean, it contributes to a guest’s overall perception of quality.
         State and local agencies have strict rules about how to serve food to the public. Three critical
         steps to contribute to food safety:
          A. Buy food that is fresh and free from contamination.
          B. Store and serve food at the right temperature.
         C. Use clean-handling techniques.
211.02   Observing each of these critical steps, and doing it the right way every single time, demon-
         strates an understanding of the proper way to handle food. In addition, remember that:
          A. Safe food is food that is free from danger.
          B. Serving safe food is the job of every team member who comes into contact with food.
         C. Foodborne illness occurs when food is contaminated. Contamination means that for-
            eign substances—such as bits of glass, hair, metal shavings or microbes—are in food.
         D. Microbes are bacteria, viruses and parasites that are all around us but are too small to
            see. In small numbers, microbes are generally harmless. But in large numbers, they
            cause illness.
211.03   Food Safety Starts at Home
         Food safety at work begins with good personal hygiene habits at home.
          A. Stay away from the food preparation area and service area when you are sick.
          B. Cover infected cuts, burns or sores with a dry, durable, tight-fitting bandage.
         C. Shower or bathe daily.
         D. Wear neat, clean ”i am hampton collection” wardrobe items by Lands’ End.
            (See Section 500.)
          E. Keep your fingernails clean and well-trimmed.
          F. Avoid wearing jewelry.
211.04   Food Safety at Work
         Personal hygiene isn’t limited to at-home habits. It carries over to the habits practiced at
         work as well. Follow the rules below to reduce the risk of contaminating food.
          A. Wash your hands before work, after using the restroom, when returning from break,
             and whenever something is touched that might carry microbes.



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                                                                                                  Breakfast
          B. Smoke, eat or drink away from food production and storage areas. Wash your hands
             afterward.
         C. Wash your hands if you cough or sneeze, or handle garbage. To wash correctly:
              1. Wet your hands with warm water.
              2. Apply soap and wash your hands for at least 20 seconds.
              3. Scrub your nails with a nailbrush.
              4. Rinse with hot water for at least 20 seconds.
              5. Repeat steps 2 through 4.
              6. Dry with a single-use paper towel or air dryer.
              7. Always wash at a hand-washing station, not a food-prep sink.
              8. All food-handling team members must wear disposable gloves when handling
                 food.
211.05   Prevent Contamination
         How can you tell if food is contaminated? You can’t always see problems. There are ways to
         handle food that will help prevent spreading germs from one area to another. Understand
         that:
          A. Many sources can contaminate food, including you.
          B. Contamination often cannot be seen, tasted or smelled.
         C. Some foods are more easily contaminated than others.
         D. Cross-contamination happens when one food contaminates another. Cross-contami-
            nation can easily be prevented by properly cleaning and sanitizing surfaces that touch
            food.
          E. Our hands can carry contamination from one food to another. Be sure to wash them
             often, especially after handling raw food.
211.06   Storing Food
         Using a good inventory system can help in planning to have the right amount of food on
         hand and can help in tracking when food was purchased and when foods should be used.
         Keep these things in mind:
          A. Safely store food, equipment and supplies before, during and after preparation.
          B. FIFO–“First In, First Out”–means that to use the products that came in first before using
             new products. Every container should be dated when it is received.
         C. FIFO helps ensure that products that are too old are never used.




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                                                                                                   Breakfast
         D. Store food properly:
              1. Cold foods must be stored below 40˚F.
              2. Each refrigerator/freezer unit must have a working thermometer.
              3. Use the right food-grade container (a container specially designed to store food).
              4. Select the right storage location.
              5. Label and date the food.
              6. Move food into storage areas quickly.
          E. Store chemicals in their original containers. Follow the storage and handling instruc-
             tions on Material Safety Data Sheets (MSDS). The General Manager or supervisor will
             show you where the MSDS are kept.
          F. Improperly stored food cannot be made safe again, no matter how carefully it is pre-
             pared.
211.07   Time and Temperature
         Of course, no one wants to eat spoiled food. Keep in mind, however, that food doesn’t actu-
         ally have to “spoil” to be unsafe. Even after just a few hours at room temperature, food can
         become hazardous to the consumer’s health. To be safe, food must be kept at the proper
         temperature.
          A. Harmful microbes grow best in the Temperature Danger Zone, 40˚ to 140˚ Fahrenheit.
             Most food has been in the Temperature Danger Zone (which includes room tempera-
             ture) for a total of four hours or more should be considered unsafe.
          B. Avoid temperature danger zones by:
              1. Checking temperatures regularly.
              2. Keeping food out of danger zones whenever possible.
              3. Moving food through danger zones as quickly as possible.
              4. Cleaning and sanitizing your thermometer after each use.
              5. Regularly check the thermometer for accuracy.
211.08   Wash Clean, Rinse Clear, Sanitize Safely
         Not only do we need to ensure that food is safe, we also have to make sure your food prepa-
         ration and storage areas are spotless.
          A. Proper cleaning and sanitizing can prevent many food safety problems. Cleaning re-
             moves visible soil. Sanitizing reduces the number of microbes to a safe level. Sanitizing
             involves three steps:
              1. Wash clean, remove visible soil.
              2. Rinse in clear water.


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                                                                                                    Breakfast
             3. Sanitize safely with required sanitizing solution.
          B. Many areas, such as floors, walls and refrigerator doors, need only cleaning.
         C. Clean and sanitize food-contact surfaces before and after each use or at least once every
            four hours. Food-contact surfaces are any surfaces that touch food and should be sani-
            tized when switching from one food item to another.
         The health and safety of our guests is extremely important. To ensure compliance with the
         above standards, you will need to retain 30 days of invoices of your selected sanitation
         product and store the invoices as part of your Quality Assurance documentation.
211.09   Watch Out for Warnings
         Not all food dangers arise from the food itself. What if a toxic chemical was stored next to
         a juice container? Would that be a danger? Of course it could be. Watch out for all kinds of
         threats to your food safety.
          A. Not all food contamination comes from microbes. A food warning sign is any threat to
             food safety that can be seen. Never ignore food safety warnings.
          B. Know whom to contact when a food safety problem arises such as:
              1. Warning signs outside your own area
              2. Problems with equipment
              3. If guests complain about food safety, a manager should be notified.
211.10   Food Pantry/Breakfast Area Cleanliness and Safety
          A. All chemicals and cleaning agents must be stored away from food and related products.
          B. No visible dust or debris can be on the ceiling.
         C. Trash dumpster areas must be free of trash and garbage on the ground. Lids must re-
            main closed.
         D. Odors, insects and vermin must be controlled.
          E. A hand sink must be provided in the pantry area. C-fold paper towels and liquid anti-
             bacterial soap must be located at the sink. If a hand sink is not provided in the pantry/
             prep area, a liquid waterless antibacterial soap and paper towels must be provided.
          F. Latex, plastic or rubber gloves must be worn by personnel when handling food.
         G. Pantry doors should have no visible gaps and the door should fit the frames correctly.
            Doors should remain closed.
211.11   Food Pantry/Breakfast Area Risk Control
          A. A stocked first-aid kit must be available in the pantry/breakfast area.
          B. A multi-purpose 10-pound fire extinguisher is required in the pantry/breakfast area.




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                                          Section 300

                                  Building and
                                   Furnishing




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                                 Any questions regarding the contents
                                 of this manual may be addressed to:

                                  HILTON HOTELS corporation
                                  MEMPHIS OPERATIONS CENTER
                                      755 Crossover Lane
                                 Memphis, Tennessee 38117-4900
05272008                              Phone: 901/374-5000
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                                                                 Building and Furnishing
Purpose and Scope
        These construction standards are designed to serve as a guideline in the preparation of
        construction documents. Hilton Hotels may, when giving approval for projects, increase or
        rescind certain requirements contained herein in accordance with the local market, design
        requirements or trade practices.
        Included within these standards are specific products, manufacturers and/or distributors.
        Products must be provided as specified; any “or equal” products may be submitted for re-
        view. Some products have been explored thoroughly and have been found to be pertinent
        to the distinction of the Hampton Brand and therefore, alternates will not be reviewed or
        accepted for these particular products. Any “or equal” manufacturer will be considered but
        must be submitted for approval PRIOR to any fabrication or ordering. Distributor lists are
        recommendations only; any alternates may be used.
        NOTE: The prototype drawings are also a part of the construction standards. If any discrepancies
        are found between the standards and the prototype drawings, the Design and Construction Depart-
        ment will clarify.
        Hampton Inn (including the Hometown prototype) and Hampton Inn & Suites hotels
        must, at a minimum, conform to the plans and specifications approved by Hilton Hotels
        Corporation at the time of franchise approval. Where later modified plans and specific-
        ations are approved by Hilton Hotels, hotels must conform to the modified plans and spec-
        ifications upon making any changes, upgrades or refurbishments. The owner of the project
        is responsible for the compliance with all Hampton Standards and prototype drawings.
        Any plan reviews, approvals or site inspections by Hilton Hotels does not relieve the owner
        of this responsibility.
        Due to the combination of Hampton Inn (including the Hometown prototype) and
        Hampton Inn & Suites requirements in this section, all requirements listed apply to all
        brands except where noted.
        In addition to the minimum requirements, there are recommendations to consider during
        the development or upgrading of a hotel. These recommendations are based on experience
        in the hotel industry and product development research. Many are beneficial operationally,
        others improve guest satisfaction/value perception.
        Hilton Hotels does not and cannot warrant conformance with interpretation of the Amer-
        icans With Disabilities Act (ADA) and the ADA Accessibility Guidelines within these stan-
        dards or the prototype drawings. The owner of the project is responsible for the compliance
        with applicable provisions of the ADA and any additional local requirements. The owner is
        urged to seek appropriate counsel to ensure such compliance.
        If local codes exceed the requirements contained in any following standard, then the local
        codes should be construed as minimum requirements.




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                                                               Building and Furnishing
Introduction
        The following construction standards apply to the situations listed below:
        1. Plan and specification review for proposed new construction projects.
        2. Plan and specification review for remodeling, refurbishing and renovation projects.
        3. Preparation of a deficiency list in connection with an application for conversion of an
           existing hotel or change of ownership of a Hampton Inn or Hampton Inn & Suites ho-
           tel.
        The following standards will refer to other publications and industry standard abbrevia-
        tions that may not be recognizable so these are listed for easy reference below:
                  ADA      Americans with Disabilities Act
                  AFF      Above the Finished Floor
                  AGA      American Gas Association
                  ANSI     American National Standards Institute
                  ASHRAE   American Society of Heating, Refrigerating and Air Conditioning
                           Engineers
                  ASTM     American Society for Testing and Materials
                  E.I.F.S. Exterior Insulation Finish System
                  IIC      Impact Insulation Class
                  NEC      National Electrical Code
                  NFPA     National Fire Protection Association
                  OSHA     Occupational Safety and Health Act
                  PTAC     Package Terminal Air Conditioner
                  SMACNA Sheet Metal and Air Conditioning Contractors
                           National Association
                  STC      Sound Transmission Coefficient
                  UFAC     Upholstered Furniture Action Council
                  UL       Underwriters Laboratories

               REFER ANY QUESTIONS CONCERNING THESE STANDARDS TO:
                                   Hilton Hotels Corporation
                               Design & Construction Department
                                       755 Crossover Lane
                                      Memphis, TN 38117
                                      Phone: 901/374-5000
                                       Fax: 901/374-5008




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300.00 Plan Review and Required Approvals
300.01 Project Team Approval
        A. Prior to submission of plans, Hilton Hotels must be furnished with resumes and other
           information on the training, experience and financial responsibilities of the architect
           and/or engineer retained for the project. The architect and all engineers must hold a
           current license in the state in which the project is located. The plans must not be ap-
           proved and the construction must not begin until Hilton Hotels has approved the ar-
           chitect and/or engineer.
        B. Before construction begins, Hilton Hotels must be furnished a resume and financial
           statement of the proposed contractor and, if requested by Hilton Hotels, of any major
           subcontractors, along with any additional information concerning their experience and
           financial responsibility Hilton Hotels may request. Construction must not begin until
           Hilton Hotels has approved the contractor.
300.02 Make It Hampton
        A. All Make It Hampton (MIH) items must be installed in all hotels. The Make It
           Hampton items within this section have been designated so by the acronym, MIH. All
           hotels must comply with this standard.
        B. The following Make It Hampton items are automatically shipped and billed to each
           new opening property. The questionnaire that precedes the automatic order is included
           in the New Construction Product Order Guide.
            1. Planter garden (planters, ash & trash)
            2. Welcome mats
            3. Vestibule presentation: wall vinyl, artwork and chair rail
            4. Entrance door graphics
            5. Front desk presentation: wall vinyl, artwork, welcome message and chair rail
            6. Acrylic key card holder
            7. Guarantee pad
            8. Lamp/Hampton’s On the Run™ Breakfast Bag kiosk
            9. Elevator graphics
           10. On the House™ Hot Breakfast kit: Harlan breakfast graphics, Edward Don breakfast
               equipment and Moffat oven
           11. Breakfast information graphics
           12. Breakfast artwork
           13. Lap desks
           14. Alarm clock radios

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                 15. Febreze® Linen Refresher Concentrate and Febreze® Air Effects
                 16. Zippered plastic bags for blankets
                 17. Shower curtains
                 18. Duvet inserts
                 19. Duvet covers
                 20. Lumbar pillows
                  21. Lumbar pillow covers
                 22. Red “freshen please” service signals
             C. All other Make It Hampton items may be purchased through the Make It Hampton
                Products Reorder Catalog.
300.03 Preliminary Plans - New Construction and Additions/Remodeling
             All plans, specifications and progress reports are to be submitted to and approved for com-
             pliance with overall concept by Hilton Hotels as follows:
             A. Site plan with building, parking (quantity and size of spaces and aisles to be provided),
                landscaping and recreational area outlined. Indicate satellite dish location, if provided,
                signage locations and dumpster/storage building location.
             B. Floor plans of all areas. The following information must be included:
                   1. Number of guest rooms and suites per floor.
                   2. Gross building square footages.
             C. Exterior elevations.
                 Non-prototypical exterior designs and color schemes will be considered when required
                 by local governmental authorities. Drawings, colored renderings, color samples, etc.
                 must be submitted to Hilton Hotels for review and approval prior to submitting to local
                 jurisdictions.
                 NOTE: For room additions and pool enclosures, all floor plans and exterior elevations
                 must show the relationship to the existing building(s). Review and approval of prelimi-
                 nary plans must be secured prior to submission of final plans and specifications.
300.04 Fifty Percent Complete Plans–
       New Construction and Additions/Remodeling
             All plans, specifications and progress reports are to be submitted to and approved for com-
             pliance with overall concept by Hilton Hotels as follows:
             A. Site plan - 100 percent complete
             B. Floor plans - 50 percent complete
             C. Details - 50 percent complete


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             D. Elevations - 100 percent complete
             E. Structural plans - 100 percent complete
              F. Mechanical, plumbing and electrical plans - 50 percent complete
                 (Mechanical plans must include a cover sheet showing the air balance calculations—in-
                 clusive of total exhaust and total make-up air, but not including any thru-wall units.)
             G. Outline specifications
             H. Location of satellite dish, if provided
              I. Signage selection and electrical requirements
             Note: Review and approval of Preliminary and 50 Percent Plans must be secured prior to
             submission of final plans and specifications.
 300.05 Final Plans and Specifications–
        New Construction and Additions/Remodeling
             Complete working drawings and specifications, properly sealed and signed by the architect
             and engineers of record, are to be submitted to and approved for compliance with overall
             concept by Hilton Hotels before construction begins. The drawings and specifications must
             include the following:
             A. Complete and indexed civil, architectural, mechanical, plumbing (including detailed
                fire protection drawings), electrical and structural drawings (including definitions of all
                abbreviations and symbols used).
                 NOTE: Exterior color renderings may be required by Hilton Hotels.
             B. All room finishes, door and hardware schedules.
             C. Swimming pool drawings and specifications.
             D. Identification sign drawings showing location and design.
             E. Landscape, irrigation and accent lighting plans prepared by a professional landscape
                architect or approved nursery firm.
              F. An interior design package prepared by a professional interior design firm experienced
                 in hospitality interior design. The submittal must include the items listed under 300.09.
             G. Room layouts for all room types indicating room dimensions, furnishings, electrical,
                telephone and television outlets are required. Interior elevations of each room type are
                also required.




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300.06 Changes of Ownership, Conversions and Re-licensing
             Hilton Hotels will conduct an inspection of the property, note deficiencies and variances
             from prevailing Hampton Inn or Hampton Inn & Suites hotel standards. A deficiency re-
             port will be prepared.
             Failure to identify any deficiencies does not relieve the franchisee of the responsibility
             of completing/correcting these items or making modifications necessary to comply with
             Hampton standards. Submissions for approval must then be made as follows:
             A. Where the redesign/refurbishing of existing facilities is required, design drawings, in-
                cluding but not limited to guest room/suite and commercial area furnishings, layouts,
                and interior/exterior color elevations, must be submitted to and approved by Hilton
                Hotels. Color renderings must be furnished upon request of Hilton Hotels.
             B. Where construction of additional facilities is required, complete drawings and speci-
                fications are to be submitted to and approved by Hilton Hotels before beginning con-
                struction.
300.07 Progress Reports
             The principal correspondent is required to submit monthly, during construction, a Sched-
             ule Status Report and a Construction Progress Report, complete with a major item cost
             breakdown.
             The Progress Report must indicate the approximate percentage of completion of each major
             construction item. Not less than twenty 35mm or digital color photographs indicating the
             general level of completion of the entire project must be submitted by the principal corre-
             spondent with each Construction Progress Report.
300.08 Shop Drawings and Other Submittals
             The following construction submittals are required to be submitted for review and approval
             by Hilton Hotels Corporation:
             A. Value engineering considerations—Addenda and Change Orders
             B. Plumbing fixture cutsheets
             C. Light fixture cutsheets
             D. Door hardware cutsheets and schedule
             E. Roof material sample and cutsheet for color (and gauge when applicable)
              F. Exterior wall finish samples and spec data—color and texture
             G. Swimming pool shop drawings
             H. Vanity and tub surround material
              I. Vanity base shop drawings
              J. Knockdown wall texture for color and texture
             K. Fire sprinkler shop drawings

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              L. Front desk shop drawings
            M. FF&E submittal—colorboards and complete specifications
 300.09 Interior Design Submittals
             An interior FF&E/Finish package prepared by a professional interior design firm experi-
             enced in hospitality design must be submitted and approved for compliance by Hilton
             Hotels before procurement begins.
             A. The submittal must include:
                   1. A cover letter with the property name, location, number of rooms, and an outline
                      of commercials areas.
                   2. A scope of service page, listed in detail.
                   3. A project directory sheet for the particular project (contact sheet).
                   4. To-scale floor plan of scoped area with coded references to spec sheets.
                   5. An 8” x 10” high quality photo of the color board(s) for guest rooms/suites and
                      public areas.
                   6. Spec books must be neatly bound and presented and not sent loose.
                   7. All specification sheets must have a color thumbnail photo of the product.
                   8. Include a cut sheet of the product on a separate page if it requires more space in
                      the specification sheet.
                   9. Include the interior elevations and/or reflected ceiling plans relevant to the
                      product specified (e.g., sconces, mirrors, chandeliers) drawn TO SCALE in order to
                      properly access correct scale of the specified item.
                  10. Actual samples of fabrics and finishes must be submitted; electronic scans ARE
                      NOT ACCEPTABLE.
                  11. All finish and fabric samples must be of a 3" x 3" (minimum) size.
                 12. Any heavy sample materials (e.g., stone, solid surface material, etc.) must be
                     mounted on heavy board and protected in a clear binder pocket.
             B. Any revisions required in a re-submittal should be sent utilizing the following process:
                   1. Previous submittal comments must be included with the new submittal.
                   2. The interior designer must submit all revisions on colored paper. Use a different
                      color for each re-submittal. If revisions are sent via e-mail, the designer must send
                      a follow up hard copy of the revision on colored paper.
                   3. All revised specifications submitted by the interior designer must have the revision
                      “bubbled” for clarification and easy identification.




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 300.10 Hotel Records
             Prior to opening, complete floor plans and building elevations must be provided to Hilton
             Hotels Corporation in an 11" x 17" PDF format, readable by Adobe Acrobat. These photos
             and elevations must include the following:
             A. Site plans
             B. Floor plans
                   1. Overall plan of each floor
                   2. Enlarged plans of public areas
                   3. Enlarged guest room/suite plans
                   4. Reflected ceiling plan of public areas
             C. Building elevations




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 301.00 Life Safety Systems
 301.01 Building Codes and Government Requirements
              A. In addition to applicable building codes, commitment agreement holders should
                 become familiar and conform with OSHA, as it applies, or the equivalent local or na-
                 tional codes; the applicable barrier free (handicap accessibility) design standards; the
                 applicable standards of the NFPA and all applicable requirements of the ADA.
              B. Lobbies and other non-guest room function areas must comply with all applicable
                 governmental agency and/or board requirements and must coincide with the Hampton
                 concept.
 301.02 Fire-rated Construction
              A. Fire-rated construction is required for all building structures. Steel framing as well as
                 wood framing in a fire-resistant category is acceptable for the canopy, subject to local
                 fire code requirements.
              B. The roof membrane, insulation and ballast (if required) must be non-combustible or
                 the roof “system” must be “Class A” rated as defined by UL.
              C. In the guest room/suite buildings, all floors, load-bearing walls, columns, beams and
                 lintels must have a one-hour fire rating unless higher ratings are required by local code.
                 See requirements for sprinkler systems, Standard 301.03.
              D. A minimum of one-hour, fire-rated separation consisting of fire walls and protected
                 openings must be provided between rental units, between corridors and rental units or
                 as otherwise required by local codes if more stringent.
              E. A minimum fire-rated separation of one-hour is required from floor to floor. If the lob-
                 by is open to a second floor corridor above, fire-rated doors are required in the second
                 floor corridor to separate it from the two-story lobby space. These doors must be “C”
                 label 45-minute fire-rated doors with automatic closers and magnetic hold-open de-
                 vices that are connected to the fire alarm system.
               F. All boiler rooms and any other rooms containing gas fired equipment must be one-
                  hour rated minimum or as otherwise required by local codes if more stringent. Doors
                  must be fire-rated with closers.
              G. All duct work must be nonflammable.
 301.03 Fire Safety Systems
              Minimum standards for fire safety systems are detailed below. These more stringent re-
              quirement between the standards and any state and local requirements must be followed as
              a minimum.
              A. Fire Alarm System and Fire Sprinkler System
                   All areas of a property must be equipped with a fire alarm system and automatic fire
                   sprinkler system, which are zoned by floors.

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                    1. Fire Alarm System
                          a. The fire alarm system must be comprised of Underwriters Laboratory approved
                             equipment and devices. The installation, location and spacing of such equip-
                             ment and devices must be in accordance with the latest edition of NFPA 72, or
                             as otherwise specified by the governmental authority having jurisdiction.
                          b. Strobe notification appliances must be provided in accordance with federal
                             accessibility rules (28 CFR 36, Appendix A, Sec. 4.28) as to number, locations,
                             spacing and visual intensity.
                          c. A manual fire alarm pull station capable of sounding a general alarm must be
                             located behind the front desk. The panel must not be located on the back wall
                             facing the registration desk.
                    2. Fire Sprinkler System
                         The property is to have complete automatic and supervised fire sprinkler systems
                         throughout all areas, including all guest rooms, in accordance with the stricter of:
                          a. Applicable standards referenced in the building or fire codes of the local juris-
                             diction, as interpreted by the authority having jurisdiction, and only as appli-
                             cable for the status of the subject property; or
                          b. An automatic fire sprinkler system located throughout the property, including
                             all guest rooms, and complying with NFPA 13 (reference TS 015, Hilton Inter-
                             national CO).
                                 Exceptions – Within the Americas
                                  1) For properties where the building is four stories or less in height, NFPA
                                     13R is acceptable if allowed by local or other applicable codes.

                                  2) For properties where the building is three stories or less in height with
                                     guest rooms exiting directly to the exterior, an automatic fire sprinkler
                                     system is not required. However, such properties must have been built in
                                     accordance with applicable building codes in force at the time of permit
                                     issuance, and must be maintained in compliance with any applicable
                                     codes.

                                 Exceptions – Outside the Americas
                                 Properties where the building is four stories or less in height.




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                                 Exception – Worldwide
                                 Properties converted to any of the Hilton-family-of-brands (“Conversion Prop-
                                 erties”) must be in full compliance with the standards set forth above within
                                 the time period set forth in the applicable Product Improvement Plan for the
                                 property. Compliance must occur prior to the property’s opening to the public
                                 as a Hilton family property unless an exception is approved in writing by the
                                 Senior Vice President of Architecture and Construction, Senior Vice President
                                 of Hotel Brand Management and the Senior Vice President of Franchise Devel-
                                 opment for properties within the Americas; by the Vice President of Technical
                                 Services, Area President and CEO of International Operations for properties
                                 outside the Americas (“Committee”). In no event must a Conversion Property
                                 open to the public until it is in full compliance with any applicable codes of
                                 the local jurisdiction. Any exception that may be granted by the Committee
                                 relates only to standards that exceed applicable local codes.
              B. Smoke Detectors
                   Smoke detectors are required throughout the property as set forth in this section.
                    1. Smoke Detectors in Guest Rooms/Suites
                         The property must equip hard-wired and locally annunciated smoke detectors in
                         all guest rooms and each livable space of a suite. Smoke detectors within accessible
                         guest rooms/suites and any others required by ADA or the local jurisdiction must
                         be equipped with an integral strobe light providing a visual intensity of 177cd.
                    2. Smoke Detectors in Areas Other Than Guest Rooms/Suites
                         The property must have system connected, hard-wired smoke detectors in the fol-
                         lowing areas (where applicable and allowed by local code):
                          a. Lobby
                          b. Administration areas/front desk
                          c. Pantry prep/pantry/kitchen
                          d. Food and beverage outlets/restaurant
                          e. All corridors
                           f. Laundry
                          g. Dryer enclosure (heat detector only behind dryers)
                          h. Meeting rooms/ballrooms/pre-function areas/executive center
                           i. Maintenance shop (must have combination heat and smoke detectors)
                           j. Linen rooms
                          k. Mechanical/boiler/electrical rooms - must have combination heat and smoke
                             detectors


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                           l. Elevator equipment - must have combination heat and smoke detectors
                         m. Top of stairwells
                          n. Miscellaneous storage rooms
                          o. Public restrooms
                          p. Exercise room/health club
                          q. Guest laundry
                           r. Parking structure
                           s. Enclosed swimming pool
                           t. Any other areas required by local codes.
                     3. Exception
                         Properties converted to any of the Hilton-family-of-brands (“Conversion Proper-
                         ties”) must be in full compliance with any applicable codes of the local jurisdic-
                         tion. In addition, all Conversion Properties must comply with the standards set
                         forth above relating to Guestrooms/Suites. Compliance must occur prior to the
                         property’s opening to the public as a Hilton family property. Unless HHC deter-
                         mines that there are unique circumstances related to the subject Conversion Prop-
                         erty, the standards set forth above for Areas Other than Guest rooms/Suites will not
                         apply to Conversion Properties.
              C. Fire Extinguishers
                     1. Fire extinguishers must be contained in fully recessed (flush to wall) cabinets.
                     2. Fire extinguishers must be contained in public spaces according to local and na-
                        tional codes.
                     3. Fire extinguishers must be mounted in front office area, laundry, maintenance, cor-
                        ridors and near storage rooms, and as otherwise required by the local jurisdiction.
                     4. Fire extinguishers must be in clear view within the appropriate rooms.
                     5. Portable Fire Extinguishers must be provided and installed in accordance with
                        NFPA 10 and NFPA 96 (for restaurant kitchens).
                     6. Restaurant kitchen fixed fire extinguishing systems must be installed for all cooking
                        equipment and appliances in accordance with NFPA 17A and NFPA 96 using wet
                        chemical water assisted type systems.
              D. Approval, Testing and Maintenance, Training
                     1. Approval
                         Written approval of the plans for required fire safety systems must be obtained
                         from the governmental authority having jurisdiction prior to installation of the fire
                         safety system.


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                         The form of written approval may vary by governmental authority. For the pur-
                         poses of these standards, “written approval” is defined as a certificate, letter of
                         approval, permit, stamp of approval, or other approval method as used by the
                         governmental authority.
                         Written certification that the required fire safety systems have been installed accord-
                         ing to the approved plan by a licensed contractor and are fully operational, tested
                         and approved by the authority having jurisdiction must be obtained from the
                         installation contractor.
                    2. Testing and Maintenance
                          a. All fire safety systems installed (including any systems installed above and be-
                             yond the requirements of this standard) must be tested and maintained either:
                                  1) Through a maintenance contract with an organization licensed to install
                                     and maintain such equipment, or

                                  2) By individuals trained to perform such maintenance and testing.

                                 Testing and maintenance of sprinkler systems must be in accordance with the
                                 manufacturer’s instructions, NFPA 25, or as otherwise specified by the govern-
                                 mental authority having jurisdiction.
                                 Testing and maintenance of smoke detection systems (or heat detection devic-
                                 es where appropriate) must be in accordance with the manufacturer’s instruc-
                                 tions, NFPA 72, or as otherwise specified by the governmental authority having
                                 jurisdiction.
                          b. A statement certifying that such testing and maintenance have been performed
                             must be signed by either:
                                  1) The maintenance company representative and by the General Manager of
                                     the property; or

                                  2) By the individual trained to perform such maintenance and testing and by
                                     the General Manager of the property.

                                 All statements certifying such testing must be kept on file at the property and
                                 be made available to HHC’s field inspector. Such testing and maintenance
                                 must be performed at least once every six months. A minimum of one test per
                                 year must be conducted by an outside third party licensed to test fire safety
                                 equipment. Guest room/suite smoke detectors must be included as part of this
                                 testing and documentation.




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                     3. Training
                         The General Manager, assistant manager, all guest services (front desk) personnel,
                         maintenance supervisors, housekeepers and night auditors, as well as any other
                         personnel designated as “managers on duty” at the property, must be familiar with
                         the operation of the fire safety systems, fire evacuation procedures and the opera-
                         tion of portable fire extinguishers.
              E. Installation
                   All system wiring must be in conduit unless otherwise permitted by local codes. Water
                   piping for the fire sprinkler system must be attractively concealed within walls, ceilings
                   and furred areas; however, fire sprinkler heads and other system equipment may not be
                   concealed in a manner that reduces their effectiveness or defeats their purpose.
 301.04 Fire/Emergency Exits
              A. A minimum of two fire/emergency exits must be provided for each floor. The distance
                 of travel from the entrance of any guest room/suite to the nearest exit must not exceed
                 125'-0" (38.1m). Exits must be located as remotely as possible from each other and
                 provide optimum convenience to guests.
              B. All fire/emergency exits must be clearly marked with illuminated exit signs. Where exits
                 are not visible, illuminated directional signs must be provided to indicate the direction
                 of egress. These signs must be provided with a maintained secondary emergency power
                 source. Lighted exit signs are required at all major exit ways.
              C. Provide panic hardware (crash bar type) on all designated exit doors that contain a
                 locking device or latch.
 301.05 Emergency Lighting
              A. Emergency lighting is to be provided for the following areas and in accordance with
                 prevailing governmental regulations:
                     1. Lobby
                     2. Registration desk - located on employee side and not visible to guests
                     3. Back office/work area
                     4. Public restrooms
                     5. Meeting rooms
                     6. Corridors
                     7. Stairwells
                     8. Elevators
                     9. Room where the fire alarm panel is located
                   10. Laundry
                   11. All breezeways

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                   12. Exercise room
                   13. Guest laundry (where applicable)
                   14. Executive center (where applicable)
                   15. Enclosed swimming pool
              B. Emergency lighting fixtures must be arranged to maintain the values of not less than
                 one foot-candle measured at the floor at all points, including corners.
              C. Required emergency lighting fixtures will be automatic, not requiring any manual ac-
                 tion to put them into operation after failure of normal lighting.
              D. Power for emergency lighting must be supplied by approved, reliable electric storage
                 batteries with trickle charge system or equivalent.




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302.00 General Building
302.01 Building Materials/Structure
         A. The design of each hotel must conform to the current prototypical plans, FF&E speci-
            fications and construction standards as furnished to each approved franchisee. If such
            requirements are exceeded or increased by, or differ from any local requirements, the
            more stringent must govern.
         B. Variations from these and other requirements regarding the general character, quality
            and kinds of materials and finishes must be subject to approval by Hilton Hotels. The
            Hometown prototype will allow very few, if any, changes to its design.
        C. Exterior corridor hotels are not allowed for new construction. See Standard 318.00 for
           “Existing Hampton Inn Exterior Corridor Hotels” at the end of this section.
        D. The building structure must be one of the following systems:
             1. Wood frame
             2. Metal frame
             3. Load-bearing masonry with cast-in-place or precast concrete floor and roof slabs.
                (When two foot wide precast concrete floor planks are used, a furred drywall ceil-
                ing must be installed. Larger width floor planks do not have this requirement.)
         E. Non-load bearing walls must be wood stud or steel stud framed with interior faces of
            gypsum board.
         F. Exterior wall finish must be brick or EIFS (such as Dryvit with a finish texture equal to
            Quarzputz).
        G. Roof materials must meet the following requirements:
             1. The Hampton Inn mansard (when applicable) at the canopy and upper roof is to
                be constructed to give the appearance of a standing seam roof. Color is to be as
                noted below and must be submitted for approval. Panels are to have a smooth fin-
                ish. Structural supports for the mansard must be designed on an individual project
                basis by the architectural/engineering firm hired by the owner.
             2. Metal roofing must be 24-gauge, prefinished with a 12" wide panel, Kynar 500
                finish with the appearance of a standing seam of 11⁄2" height. Fabricate and install
                metal roofing and accessories in accordance with SMACNA. All flashing, edges,
                trim, valleys, etc. must be the same color and finish as the roofing, when metal
                roofing is provided.
             3. Roof vents, exhaust caps and other penetrations must be screened by metal roof or
                parapet walls. Antennae are not allowed to be any taller than the mansard or any
                parapet walls. Cell phone antennae or any other antennae that are not used for the
                operation of the hotel are not allowed on the building.



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 302.02 Exterior Colors
             The following are acceptable color schemes for the exterior of a Hampton Inn (including
             the Hometown prototype) or Hampton Inn & Suites. Reference Color Standards packet for
             more detailed information. In all cases, the storefront corridor entrance doors are to match
             the window frames. All other miscellaneous doors are to be painted to match the exterior
             wall color. Samples of the exterior materials must be submitted for approval. Exterior color
             renderings may be required by Hilton Hotels prior to approval.
             A. Hampton Inn Exterior Colors (mansard roof scheme)
                  NOTE: If the Hampton Inn & Suites exterior design is used for a Hampton Inn, the
                  colors listed below under Hampton Inn & Suites may be used.
                  The exterior colors must be one of the following schemes:
                   1. Base and field: Dryvit #108 Manor White; roof: Dark Bronze; window frames: Dark
                      Bronze; window glass: Bronze
                   2. Base: Dryvit #346 Patchwood; field: Dryvit #108 Manor White; roof: Berridge For-
                      est Green, Colonial Red or Dark Bronze; window frames: White or Dark Bronze;
                      window glass: Clear (white frames) or Bronze (dark bronze frames).
                   3. Base: Dryvit #392 Coconut Shell; field: Dryvit #400 French Toast; roof: Berridge
                      Forest Green, Colonial Red or Dark Bronze; window frames: Dark Bronze; window
                      glass: Bronze.
                   4. Base: Dryvit # NA2-03-06-13-01 Pecan Shell; field: Dryvit #110 Van Dyke; roof: Ber-
                      ridge Forest Green, Colonial Red or Dark Bronze; window frames: White or Dark
                      Bronze; window glass: Clear (White Frames) or Bronze (Dark Bronze Frames).
              B. Hampton Inn – Hometown Prototype Exterior Colors
                  The exterior colors must be one of the following schemes:
                   1. Main building: Dryvit # 110 Van Dyke; columns/trim: Dryvit # 442 Cotton; cor-
                      nice: Dryvit # 455A Pearl; window frames: Dark Bronze; window glass: Clear or
                      Bronze
                   2. Main building: Dryvit # 110 Van Dyke; columns/trim: Dryvit # 442 Cotton; cor-
                      nice: Dryvit # 110 Van Dyke; window frames: Dark Bronze; window glass: Clear or
                      Bronze
                   3. Main building: Dryvit # 400 French Toast; columns/trim: Dryvit # 109 Eggshell
                      Cream; cornice: Dryvit # 400 French Toast; window frames: Dark Bronze; window
                      glass: Clear or Bronze
             C. Hampton Inn & Suites Exterior Colors
                  The exterior colors must be one of the following schemes (the column trim color is
                  optional and may be replaced with the assigned field color):




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                   1. Base: Dryvit #346 Patchwood; field: Dryvit #108 Manor White; column trim: Dryvit
                      #442 Cotton; window frames: White, Dark Bronze or match column trim color;
                      window glass: Clear (white frames) or Bronze (dark bronze frames).
                   2. Base: Dryvit #392 Coconut Shell; field: Dryvit #400 French Toast; column trim:
                      Dryvit #109 Eggshell Cream (or #108 Manor White); window frames: Dark Bronze
                      or match column trim color; window glass: Bronze.
                   3. Base: Dryvit #NA2-03-6-13-01; field: Dryvit #110 Van Dyke; column trim: Dryvit
                      #442 Cotton; window frames: White, Dark Bronze or match column trim color;
                      window glass: Clear (White or trim color frames) or Bronze (Dark Bronze frame)
             D. Louvers
                   1. Fixed louvers for laundry and kitchen ventilation are to be of anodized aluminum
                      with stormproof blades in a color that coordinates with the exterior color scheme.
                   2. Exterior louvers, which align with guest room windows must be the same size and
                      finish as the window frames. Miscellaneous louvers of various sizes, which do not
                      align with guest room windows must be painted to match the adjacent wall color.
                      Louvers must be combined into one larger louver when possible, except at the
                      laundry when exhaust may impact make up air.
 302.03 Furnishings and Finishes
             A. Carpet/Tile/Wood/Vinyl/Laminate Flooring
                   1. Carpeting for public areas including the lobby, meeting room, boardroom, guest
                      room/suite corridors, guest rooms/suites, hospitality suites, and offices must meet
                      the following minimum standards:
                         a. Carpet and carpet padding must be commercial grade and meet or exceed all
                            local, state, and general flammability codes including DOC-FFI-70 and ASTM
                            E648, Class I testing. Carpet must have a “Class B” or better flame spread rat-
                            ing.
                        b. Minimum carpet specifications:
                              CUT PILE

                              Construction:         Tufted
                              Machine Gauge:        1/10 Guest Rooms and Public Areas
                              Stitches per Inch:    10 - Guest Rooms 12 - Public Areas and Corridors
                              Tufted Pile Height:   .250 (1/4”) or greater for 32 oz. and .281 (9/32”) or greater for
                                                    36. Oz.
                              Face Yarn:            100% Solution Dyed Type 6 Nylon Branded Yarns Printed - Type 6.6
                              Primary Backing:      Woven polypropylene
                              Secondary Backing:    Action Bac
                              Face Weight:          36 oz./sq. yd. for heavy traffic areas, Lobby, Guest Corridors and
                                                    pre-function areas 32 oz./sq. yd. for Guest Rooms



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                                                                           Building and Furnishing
                              CUT AND LOOP

                              Construction:         Tufted
                              Machine Gauge:        1/10 Guest Rooms and Public Areas
                              Stitches per Inch:    10 - Guest Rooms 12 - Meeting Rooms
                              Tufted Pile Height:   High 9/32 Low 3/16
                              Face Yarn:            100% Solution Dyed Type 6 Nylon Branded Yarns + or - 5% variance
                                                    on face wt. allowed
                              Primary Backing:      Woven polypropylene
                              Secondary Backing:    Action Bac
                              Face Weight:          32 oz./sq. yd. for Guest Rooms;
                                                    NOT APPROVED FOR USE IN HEAVY TRAFFIC AREAS


                              MULTI-LEVEL LOOP

                              Construction:         Level Loop
                              Machine Gauge:        1/12 Guest Rooms, Meeting Rooms
                              Stitches per Inch:    10 - All Areas
                              Tufted Pile Height:   3/16
                              Face Yarn:            100% Solution Dyed Type 6 Nylon Branded Yarns
                              Primary Backing:      Woven polypropylene
                              Secondary Backing:    Action Bac Tuft Bind Rating Dry 10; Wet 8; Ravel 2 to 3 lb. Strength
                              Face Weight:          32 oz./sq. yd. for Guest Rooms; 36 oz. for Public Areas;
                                                    NOT APPROVED FOR USE IN HEAVY TRAFFIC AREAS


                              LEVEL LOOP
                              Construction:         Level Loop; All Loop Same Heights
                              Machine Gauge:        1/10
                              Stitches per Inch:    10
                              Pile Height:          3/16
                              Face Yarn:            100% Solution Dyed Type 6 Nylon Branded Yarns
                              Face Weight:          26 oz. or higher Back of House
                              Primary Backing:      Polypropylene
                              Secondary Backing:    Action Bac Tuft Bind Rating Dry 10 lb.; Wet 6 lb.;
                                                    Edge Ravel 2 to 3 lb. Strength




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                              CYP (Computer Yarn Replacement)

                              Construction:             Tufted
                              Machine Gauge:            1/11 All Areas
                              Stitches per Inch:        11- All Areas
                              Tufted Pile Height:       9/32
                              Face Yarn:                100% Solution Dyed Type 6 Nylon Branded Yarns
                              Primary Backing:          Action Bac
                              Face Weight:              42 oz./sq. yd. for All Areas


                              AXMINSTER

                              Fiber:                    Wool/Nylon Blend (80/20) or 100% Nylon (Type 6.6) Wool must
                                                        be - Woolen Spun Yarn. Semi-worsted is not permitted. 70% British
                                                        Specialty wool blend is preferred.
                              Yarn Count:               2/46
                              Tuft Density:             63 per sq. inch - Corridors
                                                        70 per sq. inch - Public Areas and Ballrooms
                              Dye Method:               Pre-metalized dyes required
                              Pitch:                    7
                              Pile Height:              .250 to .270
                              Rows per Inch:            9 in Corridors and 10 in Public Areas and Ballrooms
                              Pile Weight Above Back:		27 - 30 oz./sq. yd. (80/20) 31 - 40 oz./sq. yd. (nylon)
                              Total Pile Weight:        36 - 44 oz./sq. yd.
                              Backing:                  Synthetic
                              Widths Available:         27”, 36” (for use as borders only) 9’, 12’, 15’ and 4 meter


                         c. All carpet must be in compliance with CRI (Carpet and Rug Institute) “Green
                            Label Plus.” All carpet must pass TARR (Texture Appearance Retention Rating)
                            of 2.5 - 3.0 or higher. (Hexapod Test) All nylon carpet must be stain-treated
                            with foam and heat set method. All carpet must pass Tuft Bond Test minimum
                            of Dry 6. All carpet must be warranted for wear at 10% fiber loss over 10 years.
                            Sprouting will not be allowed.
                        d. Spin Bonnet floor machines should NEVER be used in cleaning carpet. All car-
                           pet cleaning equipment and chemicals should have the CRI Seal of Approval.
                         e. All hotels should contact Carpet America Recovery Effort
                            (www.carpetrecovery.org) to ascertain what carpet reuse programs are available
                            in your area before sending carpet to a landfill.
                         f. All carpet must be twisted with a minimum of four and a half (4.5) twists per
                            inch and be heat set with Superba or Suessen methods.



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                         g. All carpet must have an average Density Factor of 275,00. A Density Factor of
                            300,000 to 350,000 is recommended for corridors and public areas. Density
                            Factor = stitches x gauge x yarn size.
                        h. All carpeting must be installed over padding and be power stretched except in
                           double glue-down installations. Carpet pad must be produced from 100% syn-
                           thetic fibers or high-density flat sponge rubber. The use of urethane or rebond
                           (foam) products is not allowed. Synthetic fiber pad (guest rooms) must be a
                           minimum of 3/8”, commercial grade, 32 oz. weight. Synthetic fiber pad (suites
                           and corridors) must be a minimum of 7/16” commercial quality/grade, 40 oz.
                           weight. Sponge rubber pad (public areas) must be ripple (not bubble) and a
                           minimum of 22 - 26 lb. density (26 lb. recommended).
                         i. Commercial Grade 2 tackless strips should be used at all perimeter walls ex-
                            cept in glue-down installations.
                         j. Where Axminster Carpets are used, it is recommended that all seams be hand
                            sewn (6” wide melt tape may be used with seam sealer as an alternate). Tufted
                            carpet such as printed or graphics may be seamed with heated pin-tape.
                         k. Installation must meet all local, state, and safety codes (i.e., contrasting colors
                            on steps).
                         l. Padding must be Class I and have manufacturer’s label of “contract/commer-
                            cial grade.”
                       m. Meeting space, public space, and corridor carpet should be glued down as high
                          traffic and equipment may adversely affect normal wear. The following require-
                          ments must be met in this instance:
                              1) A double glue-down policy must be followed. The pad is to be glued to
                                 the floor and the carpet glued to the pad. Installation is to be according to
                                 manufacturer’s instructions.

                              2) Use of the double-stick Carpet Installation System with factory approved
                                 adhesive on a sponge cushion rubber pad (23-26 lb. density) is the pre-
                                 ferred method. A synthetic fiber pad that is specially treated for this type
                                 of installation will also be considered.

                        n. The use of certain pre-attached padding systems may be utilized but must be
                           reviewed and approved by HHC prior to being ordered.
                        o. In some extreme cases, it may be beneficial to glue the carpet directly to the
                           base floor. These cases must receive prior written HHC approval before instal-
                           lation. Expediency and/or budget are not acceptable exceptions.
                        p. All guest room, suites and corridors must have a minimum 4" bound carpet
                           base that matches the floor covering. Carpet base must match or complement
                           the floor carpet. Stained wood or Johnsonite vinyl base is also allowed. John-
                           sonite vinyl base is recommended for corridors.

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                        q. Carpet pads must be replaced at the same time as the carpet.
                   2. Tile
                       Public area floor tile must be decorative porcelain. Nominal 18" x 18" minimum
                       with a minimum grout joint size (3⁄16" maximum). Rectangular shaped tiles are
                       recommended for the breakfast serving area. They must be nominal 5" x 12" mini-
                       mum with a rectified edge to minimize grout joint size (3⁄16" maximum). Tile is
                       recommended to include base tiles, corners, etc. Floor tile must have a coefficient
                       of friction (ASTM-C1028-84) of 0.6 wet or better and a breaking strength (ASTM-
                       C648-84) of not less than 250 lbs. Tile base is to be provided at tile floors. Tile is
                       subject to approval by Hilton Hotels Corporation. Vinyl tile is not acceptable.
                   3. Wood Floor
                       Wood flooring in public areas must be commercial grade and meet the following
                       minimum standards:
                         a. Wood flooring fire ratings must meet or exceed all applicable local and state
                            codes, or the most recent standard of NFPA, whichever is more stringent.
                        b. It should be acrylic impregnated engineered wood flooring and be at least 5
                           ply construction.
                         c. Plank width shall be no less than 3".
                        d. Flooring must carry a minimum 5 year commercial warranty.
                         e. Wood flooring is subject to approval by Hilton Hotels Corporation.
                   4. Vinyl Wood Flooring
                       Vinyl wood flooring in public areas must be commercial grade and meet the fol-
                       lowing minimum standards:
                         a. Vinyl wood flooring fire ratings must meet or exceed all applicable local and
                            state codes, or the most recent standard of NFPA, whichever is more stringent.
                        b. Vinyl wood flooring must have a coefficient of friction (ASTM D2047) of 0.5
                           or better.
                         c. Plank width must be no less than 3". Tile size shall be no less than 12" x 12".
                        d. Vinyl wood lflooring is subject to approval by Hilton Hotels corporation.
                   5. Wood Laminate Flooring
                       Wood laminate flooring in public areas must be commercial grade and meet the
                       following minimum standards:
                         a. Wood laminate flooring fire ratings must meet or exceed all applicable local
                            and state codes, or the most recent standard of NFPA, whichever is more strin-
                            gent.



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                        b. Wood laminate flooring must have a coefficient of friction (ASTM D2047) of
                           0.7 or better.
                         c. Plank width shall be no less than 3".
                        d. Wood laminate flooring is subject to approval by Hilton Hotels Corporation.
              B. Wallcovering
                   1. Type II vinyl wallcovering with a minimum total weight of 20 oz. per linear yard
                      is required in the lobby, guest room/suite corridors, public restrooms (if not ce-
                      ramic tile), back office/administration, boardroom (if provided), meeting room
                      (if provided), vending areas, fitness center, suite shop (where required) and other
                      public areas. Fitness center wall vinyl must be one of the five microvented, Make It
                      Hampton colors. See Standard 308.01 and the Jump Start Fitness Guide for specifica-
                      tions and color selections.
                   2. Vinyl wallcovering in the guest room must be Type I with a minimum total weight
                      of 15 oz. per linear yard.
                   3. All wallcovering must meet the following requirements:
                         a. Class A (ASTM E-84 tunnel test).
                        b. Federal Specifications CCS 408A and CFFA W101 A, B, & C.
                   4. All wallcovering adhesives must be strippable and must contain mildew inhibitors.
                   5. If vinyl wallcovering is not recommended due to high levels of humidity in areas
                      such as coastal areas or southeastern states, the guest bedroom, entry area and
                      dressing area (when applicable) must have a 100 percent acrylic textured knock-
                      down wall finish. Any exterior walls in the public areas should also be considered
                      for the acrylic knock-down vs. vinyl wallcovering but these must first receive Hilton
                      approval. The finish must be provided by one of the following approved manufac-
                      turers listed in Standard 309.03.
             C. Ceilings
                   1. No ceiling in a habitable space may be less than 7'-6" (2.29m) in height. In no
                      case shall any ceiling be less than 7'0" (2.13cm).
                   2. Suspended acoustical ceilings in public areas must be 2' x 2', tegular (reveal edge)
                      tile.
                   3. Back office ceiling to be 2' x 2' ACT as a minimum.




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             D. Window Treatments
                   1. Guest Rooms
                       All guest room windows are to receive a drapery treatment. All drapes must be ceil-
                       ing mounted, except in rooms with ceilings higher than 9'-0". In these rooms, the
                       drapes may be wall mounted at 8'-0". Provide adequate blocking in the wall. All
                       drapery will be clipped to each end of the rod where it returns to the wall.
                       Draperies in guest rooms should meet one of the following requirements based on
                       window placement. Regardless, all guest room window treatments must be of the
                       same type throughout the hotel.
                         a. For windows centered on the exterior wall of the guest room or suite, window
                            treatments must consist of the following:
                              1) Two stationary blackout lined drapery side panels finished to a minimum
                                 200 percent fullness. They must hang 1⁄2" above the finished floor.

                              2) Two blackout fabric panels finished to a minimum 200 percent fullness
                                 so that they overlap and completely cover the window. They must hang to
                                 1⁄2" above finished floor or 1⁄2" above the PTAC unit if present. They must
                                 be split traversing with 1⁄2" clear batons. Colored blackout panels that
                                 coordinate with surrounding fabrics are recommended over white or ecru.

                        b. For windows tight in the corner of the exterior wall in the guest room or suite,
                           window treatments may consist of the following:
                              1) Side draw, single panel drapery. The drapery will be stacked back to the
                                 side of the rod on one end and abut the guest room wall at the other end.
                                 The single panel must be blackout lined and finished to a minimum 200
                                 percent fullness. The drapery must hang to 1⁄2" above the finished floor
                                 or 1⁄2" above the PTAC unit if present.

                              2) Required to have 1⁄2" clear batons pulling toward the wall.

                         c. If a room, such as a studio, contains both windows with and without the PTAC
                            unit, window treatments must consist of the following:
                              1) Both windows must have two stationary blackout lined drapery side
                                 panels finished to a minimum 200 percent fullness. They must hang 1⁄2"
                                 above the finished floor.

                              2) Both windows must have two blackout fabrics panels finished to mini-
                                 mum 200 percent fullness so they overlap and completely cover the
                                 window. They must hang to 1⁄2" above the finished floor at one window
                                 and 1⁄2" above the PTAC unit at the second window. They must be split
                                 traversing with 1⁄2" clear batons. Colored blackout panels that coordinate
                                 with surrounding fabrics are recommended over white or ecru.

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                        d. Drapery as described in Standard 302.03.D.1.a. above or the windows as part
                           of the Style Right packages may use specified cellular or Roman shades. Infor-
                           mation can be found on OnQ Insider > Hampton or hamptonfranchise.com.
                         e. Sheer drapery, valances (or cornice treatments) are required at all guest room
                            windows. Sheer drapery is NOT required with cellular or Roman shades.
                         f. Draperies or other fabric window treatment must be flame retardant woven
                            fabric or be chemically treated to meet the most recent NFPA standard. Proof
                            of compliance is required either by a sewn-in manufacturer’s tag or a letter on
                            file from the manufacturer.
                         g. Draperies must be clear baton operated unless they are installed as stationary
                            panels. Operable draperies in accessible guest rooms/suites must comply with
                            ADA guidelines.
                        h. “Accordion” drapes are not permitted.
                   2. Public Areas
                         a. All public area windows, including corridors, are to have either valances and
                            drapes or valances and 2" wood blinds as a minimum. An exception may be
                            made for greenhouse type window structures. All other windows, i.e., non-
                            public spaces such as offices, housekeeping, etc. must have 2" wood blinds as a
                            minimum.
                        b. In the lobby, if a decorative drapery rod is not used, then valances or cornices
                           are required and must be a minimum 8" in height. All windows must receive a
                           type of window treatment.
                         c. Draperies in the meeting rooms and board rooms (if provided) should comply
                            with 302.03.D.2.c.3), regardless of PTACs are not included within the room.
                            All drapery will be clipped to each end of the rod where it returns to the wall.
                            Sheer drapery must also be provided. Valances are required.
                              1) Windows without PTAC units must have two operable blackout lined
                                 fabric panels, finished to a minimum 200 percent fullness so they overlap
                                 and completely cover the window. Panels must be split traversing with
                                 1⁄2" clear batons. Drapes must hang to 1⁄2" above finished floor.

                              2) Windows with PTAC units must have two stationary blackout lined
                                 drapery side panels finished to minimum 200 percent fullness. They must
                                 hang 1⁄2" above the finished floor. There must also be two blackout fabric
                                 panes finished to a minimum 200 percent fullness so they overlap and
                                 completely cover the window. They must hang to 1⁄2" above the PTAC
                                 unit. They must be split traversing with 1⁄2" clear batons. Colored black-
                                 out panels that coordinate with surrounding fabrics are recommended
                                 over white or ecru.


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                              3) If the room contains both windows with and without a PTAC unit, win-
                                 dow treatments must consist of the following. Both windows must have
                                 two stationary blackout lined drapery side panels finished to a minimum
                                 200 percent fullness. They must hang 1⁄2" above the finished floor. Both
                                 windows must have two blackout fabric panels finished to minimum 200
                                 percent fullness so they overlap and completely cover the window. They
                                 must hang to 1⁄2" above the finished floor at the windows without PTAC
                                 units and 1⁄2" above the PTAC units when present. They must be split
                                 traversing with 1⁄2" clear batons. Colored blackout panels that coordinate
                                 with surrounding fabrics are recommended over white or ecru.

                        3. All fabrics making up the window treatments must be inherently flame retar-
                           dant or be chemically treated to meet the most recent NFPA standard. Proof of
                           compliance is required either by a sewn in manufacturer’s tag or a letter on file
                           from the manufacturer.
                        4. Draperies must be clear baton operated unless they are installed as stationary
                           panels. Operable draperies in public areas and accessible guest rooms/suites
                           must comply with ADA guidelines.
              E. Upholstered Furniture
                  Upholstered furniture must have upholstery fabric, which meets or exceeds Class I
                  (NFPA or UFAC), and foam, which meets or exceeds California 117 or must meet local
                  and state codes where they are more stringent. Durability 30,000 double rubs or
                  greater.
 302.04 Public Area Doors
             See Standard 309.05 for specific guest room door requirements. Also see Standard 314.03
             for stairwell and exit doors.
             A. No door must be less than 3'-0" x 6'-8".
              B. Wall-mounted door stops are required at all doors unless noted otherwise. Floor stops
                 are not permitted.
             C. Provide view panels in doors of public activity rooms such as exercise, guest laundry,
                business center, vending, indoor pool, etc. unless side lites are provided instead.
             D. All designated exit doors must swing in the direction of egress from the building. If
                they contain a locking device or latch, they must be equipped with operable panic
                hardware.
                  Recommended: Providing alarms on remote exit doors that are annunciated at the
                  front desk and can be activated at any specified time, i.e., roof access doors.
              E. Exterior doors to all public areas must be aluminum and glass, a minimum of 3'-0"
                 (.091 m) wide and have electronic door locks with remote card readers.
              F. All doors must have lever-style hardware.

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302.05 Sound Reduction
             Additional sound deadening material is required in walls of activity areas, elevator enclo-
             sures, laundry rooms, vending rooms, maintenance shops, etc., that are located adjacent to
             guest rooms. These walls must have a minimum STC rating of 54.
             Recommended: Door bottoms or drops to improve STC ratings at these locations.
302.06 Heating/Air Conditioning
             A. A heating and refrigerated type air conditioning system is required in all areas of the
                building. PTAC units may be used in guest rooms, studio suites, boardrooms, two bay
                meeting rooms, fitness rooms, maintenance area, computer room and employee break
                rooms. All other areas are to have a central type system.
             B. Make-Up Air
                   1. Make-up air enhances indoor air quality and can positively pressurize a building.
                      While indoor air quality is very important to the health and satisfaction of hotel
                      guests, a positively pressurized building assists in controlling water vapor transmis-
                      sion through the building envelope and maintaining even temperature throughout
                      the interior. Controlling water vapor protects the building from condensation in
                      the wall cavities, thus reducing the potential for the growth of mold and mildew.
                      By allowing the corridor to serve as make-up air for the guest rooms, the pressur-
                      ization of the corridor will keep any smoke generated from within a guest room
                      inside the room and prevent it from entering the corridor. Therefore, a clear cor-
                      ridor is maintained for faster and easier egress of the occupants. It is important that
                      the equipment designed to make-up exhaust air be specif﻿ically designed for this
                      purpose and minimize operational cost and maintenance. Common roof top units
                      or other package units (including PTAC’s) are not designed for this purpose.
                   2. Buildings are to be pressurized with a make-up-air system providing 100 percent
                      outside air. PTAC units must not be counted in determining exhaust/make-up air
                      balance. Building air balance calculations must be provided to Hilton Hotels Corp.
                      for approval. See form at end of this section. Make-up-air systems must comply
                      with ASHRAE Standard 62-1999 Ventilation for Acceptable Indoor Air Quality
                      and local codes. ASHRAE recommends 35 cfm exhaust per guest bath, 30 cfm per
                      bedroom and 30 cfm per living room (as in suites), however these are not addi-
                      tive (See ASHRAE Interpretation IC 62-1989-28 dated 4/26/98). The standard OSA
                      intake bedroom and/or living room units will normally meet code requirements
                      for these areas. Make-up air units will therefore normally be sized to offset the
                      bathroom exhausts at 35 to 40 cfm each multiplied by the total number of guest
                      baths for continuous exhaust operation, plus any other exhaust air from the corri-
                      dors. If individual guest bath exhaust fans are provided for intermittent operation,
                      diversity may be considered and the make-up-air for baths only may be reduced to
                      75 percent of their total. NOTE: If local codes require ventilation cfm’s in excess of
                      above, the local codes must govern.



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                   3. EAT for cooling must be selected at ASHRAE .4 percent summer design DB/design
                      WB (not coincident WB) temperatures, and for heating at ASHRAE Annual Extreme
                      Daily Mean DB Minimum winter design (not Heating DB @ 99.6 percent or 99
                      percent). Normally select cooling at 160 to 250 cfm per nominal unit ton for ap-
                      prox. maximum 60 degree DB coil LAT and approx. minimum 65 degree LAT at
                      winter design. This will vary depending on enthalpy of OSA design temperature
                      with lower cfm/ton for the higher air enthalpy.
                   4. Units for rooftop or on grade mounting must be designed for 100 percent OSA
                      operation and be completely factory assembled, piped, wired, tested and include as
                      a minimum the following items:
                         a. ETL or UL label (to comply with local code enforcement requirements)
                        b. 100 percent OSA intake hood and birdscreen (recommend provide motorized
                           OSA damper if winter design 32° F or below)
                         c. Belt drive to balance CFM at actual static pressure (SP)
                        d. Two inch 30 percent pleated filters
                         e. Minimum two independent cooling circuits for units up through nominal 25
                            tons, and four independent cooling circuits for 26 nominal tons and above
                            (for capacity control and redundancy)
                         f. Interlaced or series cooling coils—not face or horizontal split (so that all air is
                            conditioned, not half of it bypassed)
                        g. Hot gas bypass on lead refrigerant circuit (to protect against coil freeze-up and
                           refrigerant slugging of compressors due to low suction pressure/temperature at
                           low load conditions)
                        h. Hot gas reclaim circuit and controls for humidity control (provides free reheat
                           to keep cooling circuit in operation without over cooling space. Using gas or
                           electric reheat for this purpose is not acceptable due to additional energy op-
                           erating costs). Note: Humidity control may not be necessary at locations with
                           low design wet bulb/humidity ratio (approx. 80 grains/lb. or less) such as the
                           arid Southwest or at high altitudes, however should be provided in those areas
                           if there is a rainy season.
                         i. Adjustable compressor lock-out thermostats (to lock out compressors at am-
                            bient temperatures of approx. 60° F and 80° F for lead and lag compressor
                            circuits respectively which saves operating compressors when not required at
                            lower OSA temperatures and protects against low ambient head pressure prob-
                            lems)
                         j. For gas fired heating, provide stainless steel heat exchanger with 25-year non-
                            prorated part warranty (standard aluminized steel is not acceptable and will
                            not hold up under low ambient OSA conditions as will fail prematurely).



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                         k. Minimum two-stage heating with discharge override thermostat (maintains
                            minimum 55° F heating discharge air temperature if wall thermostat satis-
                            fied. Otherwise raw cold OSA may be introduced into corridor). If winter de-
                            sign temperature is below 32° F, recommend use four-stage control for better
                            comfort conditions. For units nominal 26 tons and larger, provide four-stage
                            control. Provide unit mounted W973 controller on four-stage units. Note the
                            discharge override not required for four-stage control.
                         l. For electric heating, provide minimum four-stage control or maximum 10 kilo-
                            watt per stage (because electric heat is instantaneous with no residual heat as
                            opposed to that retained in mass of gas fired heat exchanger).
                       m. Low discharge air temperature limit lock out for winter design below 32° F (to
                          protect against discharging freezing air into corridors in event of gas or heat
                          failure)
                        n. Heating/cooling interlock circuitry to prevent both heating and cooling from
                           operating at same time
                        o. A copy of RUN TEST report shipped with each unit including unit wiring
                           diagram in control panel door
                        p. Five year compressor parts warranty and 25-year heat exchanger part warranty
                           non-prorated for 100 percent OSA application—in writing
                        q. Supply air smoke detector
                         r. Assembled and internally insulated acoustical curb/plenum, minimum 14"
                            high for down discharge or 30" high (36" for nominal 26-ton units and above)
                            for side discharge
                         s. Auto changeover thermostat with two stages (T874D) or two stages (T7067A)
                            cooling/heating as required, auto-off subbase, dehumidistat and locking cov-
                            ers, for wall mounting in top floor corridor approximately two-thirds distance
                            from discharge air to end of corridor (for flywheel effect). Mount 48" AFF.
                              NOTE: For 100 percent OSA application, discharge air temperature control is
                              not recommended, especially with humidity control, due to resultant rapid
                              cycling of compressors and heaters.
                         t. Require submittal for unit to include complete descriptive, capacity, electrical
                            and wiring data, including sequence of operation and control set-up proce-
                            dures.
                              Note: This item is extremely important and often overlooked. Units not start-
                              ed properly run a far higher risk of component failures.




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                   5. The following additional options are recommended, depending on project circum-
                      stances and engineer’s evaluation of project requirements:
                         a. Phase and brown out protection (to protect against mechanical failure of scroll
                            compressors running in reverse in event of phase reversal or burnout at low
                            voltage conditions)
                        b. Stainless steel drain pan (for increased longevity at normal usage and a must
                           for sea coast locations)
                         c. Double wall cabinet construction
                        d. Coastal construction and phenolic coated condenser and evaporator coils
                   6. Energy Recovery Wheels, although recognized as an energy saver, are not normally
                      recommended due to possibility that large percentage of guest room baths could
                      be without exhaust ventilation in the event of heat wheel or exhaust fan failure.
                      If energy recovery wheel devices are utilized, equipment must be provided as a
                      complete unitary package. Field add-on devices requiring fabricated transitions and
                      interconnecting power wiring are not acceptable.
                   7. Sample Control Set-up and Sequence of Operation
                       Set compressor lock-out thermostats to close first stage at 60o F and second stage at
                       80o F outside temperature. (If four-stage cooling, set lock-out at approximately
                       60o F, 70o F, 80o F and 90o F.) Install heating discharge override thermostat sensor
                       through bottom of return air blank-off plate so it extends into discharge plenum
                       and set to close first stage at 55o F. Set wall mounted thermostat at 75o F for heating
                       and cooling. System switch in AUTO position and fan switch in ON position. Set
                       dehumidistat at 50 percent. Set low limit temperature safety at 35o F. (Note above
                       temperature settings are typical and can be field adjusted for specific job site condi-
                       tions).
                       If wall mounted thermostat calls for cooling, compressor(s) will run and heat-
                       ing locked out whenever outside air is above setpoint. Hot gas bypass valve will
                       maintain evaporator coil above icing condition, regardless of enthalpy of outside
                       air. Compressor shut off thermostat(s) will lock out compressors below outside
                       air setpoint temperatures indicated above. As temperature continues to drop, wall
                       thermostat will energize heating stages as required. If room thermostat is satisfied,
                       two-stage heating discharge ductstat will override wall stat whenever unit leaving
                       air temperature falls below 55o F. If leaving air temperature falls below 35o F, unit
                       will shut down on low limit safety, requiring manual reset at wall thermostat by
                       moving system switch to “off” and then returning to “auto” position.
                       If the space cooling and heating functions are satisfied but humidity is not, the
                       space dehumidistat will activate reheat by bringing on the first and second stage
                       compressors with the first stage compressor reheat valve energized. Should the
                       space temperature rise above the cooling setpoint, the Y1 call will de-energize the
                       reheat and return the unit back to normal cooling and heating functions.


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                   8. Make-up-air units must be AAON, Inc. model RK/RM series or equivalent by Dec-
                      tron, McQuay, Mammoth, Governair or as approved. For application and selection
                      assistance, contact AAON national account representative for Hilton Hotels Corp.
                      at phone number (901) 345-6100. See Hilton Suppliers Corner for Make-Up Air
                      Manufacturer’s Representative. Only AAON units are allowed on Hometown prototype
                      properties.
                   9. Building air balance calculations must be provided to Hilton Hotels Corporation.
                      Use the following form for this submittal.




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 BUILDING AIR BALANCE SUMMARY                                                 DATE:__________________________


 PROPOSED MAKE-UP UNIT:
    Manufacturer: ____________________________________________ Model #: _________________

 EXHAUST AIR QUANTITIES:

 A.    Total Guest Room Bath Exhaust Air Quantities
 B.    Total Corridor, Vending, Linen, Storage, Etc. Exhaust Air
 C.    Total Lobby, Restaurant, Public Restroom Exhaust Air
 D.    Total Kitchen Exhaust Air
 E.    Total Meeting & Prefunction Exhaust Air
 F.    Total Exercise Room Exhaust Air
 G.    Total Office Area Exhaust Air
 H.    Total Back of House Exhaust Air
        (1) Service Corridors (2) Laundry (3) Pantry
        (4) Employee Break Room/Lockers (5) Maintenance
        (6) Storage
 I.    Misc.

                                                       Total Exhaust Air CFM


 MAKE-UP AIR QUANTITIES & SOURCE:

 A.    Total Guest Room Bath Make-up Air Quantities
        (75% Diversity Permitted)*
 B.    Total Corridor, Vending, Linen, Storage, Etc. Make-up Air
 C.    Total Lobby, Restaurant, Public Restroom Make-up Air
 D.    Total Kitchen Make-up Air
 E.    Total Meeting & Prefunction Make-up Air
 F.    Total Exercise Room Make-up Air
 G.    Total Office Area Make-up Air
 H.    Total Back of House Make-up Air
        (1) Service Corridors (2) Laundry (3) Pantry
        (4) Employee Break Room/Lockers (5) Maintenance
        (6) Storage
 I.    Misc.

                                                      Total Make-Up Air CFM


       Exhaust air < make-up air = > Positive building pressurization
       Exhaust air > make-up air = > Building under negative pressure

       * For individually switched fans only.



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303.00 Site
303.01 Utilities
         A. All utilities in the development must be provided underground. (If service locally is
            above ground, provisions must be made at the property line for underground service.)
         B. Transformers, mechanical units, gas/electric meters, sprinkler valves, etc., must be kept
            from public view by means of screen walls or substantial landscaping.
         C. Satellite dishes must be screened from view at the rear of the site or on top of the build-
            ing.
        D. Hose bibs must be installed every 50 feet around the main building perimeter and at
           the dumpster enclosure.
303.02 Landscaping
        Landscaping is required in all areas of the site not covered by pavement or a building. The
        following criteria and the prototypical landscape guidelines must be used in determining
        the extent of landscaping:
         A. Approximately 15 percent of the gross area of the site is to be devoted to landscaping.
         B. Landscaping must be as comprehensive as possible, based on local climate. Special em-
            phasis should be placed on landscaping at the front entrance and along primary drives.
         C. Special landscaping or fencing is required to screen off unsightly adjacent structures or
            activities such as gas meters, transformers, etc., without interfering with the equipment’s
            operation or accessibility for maintenance.
             1. Fencing must be of quality wood or block materials with a decorative finish
                (stucco, paint, or stain) to coordinate with the main building.
             2. Chain link and barbwire type fencing is not permitted.
        D. All landscaped areas must be automatically irrigated, except those areas immediately
           adjacent to the exterior walls of the ­hotel.
         E. Landscape plans must be submitted to Hilton Hotels for approval.
         F. See Standard 304.01 for planter requirements at hotel entry.
303.03 Exterior Sidewalks
         A. Exterior paved walks must be a minimum of 5'-0" (1.52m) wide and be of non-slip
            design and texture. Access panels and manholes are not permitted in walkways.
         B. Sidewalks must be exposed broom-finished concrete, sealed concrete or better. Painted
            concrete is not permitted.
         C. Covered walkways are required between buildings.




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 303.04 Exterior Railings
             Exterior railings such as at steps, ramps, landings and retaining walls must conform to local
             and state codes and must be fabricated from Duracron 600™ electrostatically finished alu-
             minum or painted steel. (See pool rail requirement 308.02 for specific requirements.)
 303.05 Parking Areas
              A. The parking area must accommodate one space for each guest room, including handi-
                 cap parking spaces.
              B. The minimum width of parking spaces is to be 9'-0" (2.74m) from centerline to center-
                 line of car space lines.
             C. The minimum length of parking spaces from curb to drive line is to be 18'-0" (5.49m).
             D. Where permitted by local code, smaller parking spaces may be provided for compact
                automobiles. Size and percentage must be approved by Hilton Hotels.
              E. The driveway minimum width is to be 22'-0" (6.71m).
                  F. Parking and drive areas must be concrete or asphalt with con­tinuous concrete curbing
                     provided for both interior and exterior perimeters. Turned down sidewalk slab edges are
                     permitted on interior perimeters within 5'-0" (1.52m) wide sidewalks if land­scape areas
                     are provided.
             G. The area under the canopy must be a decorative non-slip surface such as brick, stone or
                tile pavers. Imprinted concrete similar to Bomanite is allowed. (Minimum width to be
                24'-0".) This area must be flush with the walkway which leads to the main entrance so
                that a ramp is not needed.
             H. The paved area in front of the dumpster must be concrete and be 20'-0" in length by the
                width of the dumpster enclosure opening.
                  I. Handicap accessible parking spaces, associated ramps, signage and access must be as re-
                     quired by the ADA and local code jurisdictions. These parking spaces are to be marked
                     with the international wheelchair symbol.
                    Signage on posts and handicap logos on pavement are required. A ramp for access to
                    the main entrance is also required.
                  J. Dead-end parking drive areas are not permitted.
              K. The parking area must be adequately illuminated. All parking areas must have a mini-
                 mum lighting level of two foot-candles at the darkest spot. Exterior lighting at hotel
                 entrance doors must be a minimum of five foot-candles. Light fixtures must be pole
                 mounted. Building, wall or parapet mounted lights are not permitted.
              L. “Guest Parking, User Assumes All Risks” signage must be prominently displayed in the
                 parking lot. (Refer to Rule 108.16 and Standard 405.15.)




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303.06 Parking Garage/Covered Parking
             Requirements for surface parking apply except as modified below.
              A. In multi-level garages, an elevator(s) is required. The garage elevator must provide ac-
                 cess only to the registration area. It may not access the guest room floors or other guest
                 areas.
              B. Where multi-level garages are provided, exit stairwells must meet the same require-
                 ments as for the main hotel.
             C. A complete fire sprinkler system is required. A dry pipe system is required where the
                potential for freezing exists.
             D. A fire alarm system is required with pull stations at all exit doors. Other devices must be
                provided to comply with NFPA codes.
              E. Ventilation systems in enclosed garages must be provided in accordance with applicable
                 building codes.
              F. Provide heat/smoke detectors connected to fire alarm system.
             G. All conduit, piping, ductwork, etc. must be concealed with soffits, which are appropri-
                ate for the climate. Suspended acoustical tile ceilings are not recommended.
             H. Lighting levels must be at least five to ten foot-candles in the parking bays, and two to
                five foot-candles in the traffic lanes, except at the entrance which should be ten foot-
                candles minimum.
                  I. Light fixtures must be suitable for outdoor installation. Wrap-around type fluorescent
                     fixtures are not permitted. High-pressure sodium or metal halide fixtures are recom-
                     mended. “Bare bulb” type utilitarian fixtures are not permitted. Fixtures must be locat-
                     ed out of drive lanes.
303.07 Flagpoles/Flags
             Hotels are required to properly display their national flag outside the hotel. Only the na-
             tional, state, brand and Olympic flags are permitted.
              A. One 30'-0" bronze finish flagpole is required for the national flag. Optionally, one 35
                 foot pole for the national flag and two 25 foot poles, one for the state and one for the
                 brand flag and Olympic flag, may be used. When multiple poles are used, they must be
                 spaced so that each flag cannot wrap itself around another pole. Finish of poles to coor-
                 dinate with exterior materials and color schemes.
              B. Ground-mounted floodlights must be provided for all flagpoles. For hotels approved
                 after January 1, 1997, the flags must be illuminated with ground-mounted lights from
                 dusk until dawn.
             C. All flags must be a minimum of 4' x 6' in size. When the state flag, brand flag and/or
                Olympic flag are displayed with the national flag, the national flag must be increased in
                size to 5' x 8'.


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             D. U.S. hotels must fly the Olympic Flag through the 2012 Summer Olympics. Olympic
                flags may be obtained from Flag Source by visiting www.hotelflags.com. For access, use
                the password: 7HILTON55.
303.08 Exterior Lighting/Electrical
              A. All hotels must have uplighting installed at the base of every false column around the
                 perimeter of the building. Column lights must be ground mounted with a concrete
                 mounting pad. The lights may not be mounted on the column or any other part of
                 the building. Fixtures should be aligned vertically and aimed at the centerline of each
                 column. Light must be thrown the entire height of the column. The uplights must be
                 controlled by a photoelectric cell or time clock calibrated to provide illumination from
                 dusk to dawn. Each fixture must be mounted on 1⁄2" rigid conduit. Circuiting must be
                 per the National Electrical Code and/or local code governing. The control system must
                 switch all lights on and off simultaneously. All weatherproof junction boxes, conduit
                 and inter-connecting wiring accessories must be painted dark bronze to match the fin-
                 ish of the fixture.
              B. All exterior outlets must be waterproofed and GFI protected.




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304.00 Lobby Area
304.01 Canopy
        A. The width of the drive is to be at least 24'-0".
        B. Access to the canopy area is to be clear of obstructions. Complete elevations of the en-
           trance canopy are to be included in the final plans. Canopy clearance must be posted
           on the entrance canopy’s finished structure and must not be less than 12'-6" (3.81m).
        C. See Standard 303.05 for paver requirement under canopy.
        D. Provide soffit venting to avoid moisture/condensation problems.
        E. Minimum lighting level under the canopy must be ten foot-candles achieved with re-
           cessed fixtures.
         F. Distributed audio (background music) is required under the canopy. See Standard
            614.00 in Distributed Audio Standards in the Information Technology section.
        G. Entry Way Planters (MIH)
           Landscaping is required under the canopy, adjacent to the entrance door. A minimum
           of four large planters, as manufactured by Benchmark, of varying heights and colors
           must be provided. Planting must be pristinely maintained at all times, in accordance
           with the greenthumb, hampton planting guide. Planter gardens must have live plants and
           may not be accented with any additional decorations. Two seasonal rotations are re-
           quired, spring/summer and fall/winter. Consult the greenthumb, hampton planting guide
           for required plant specifications. (OnQ Insider > Hampton > Product and Service >
           Make It Hampton > Green Thumb)




                                               Lobby




                                              Vestibule



                                                                                Planter #1



                                                   Ash
                       Planter #4
                                                   Trash
                         Planter #3
                                              Outside
                                                                                Planter #2


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                   1. Planter #1 to be Loomis #5028-34, Featherstone, 34"w x 28"h of PD-25 of Cinna-
                      mon color.
                   2. Planter #2 to be Fairfield #5010-36, Featherstone, 36"w x 14"h of PD-17 Paprika.
                   3. Planter #3 to be Leland #5031-12, Featherstone, 12"w x 20"h of Color #2644.
                   4. Planter #4 to be Hudson #5003-26, Featherstone, 26"w x 27"h of PD-17 Paprika.
                 All planting containers to have drain holes in the bottom and a matching tray to con-
                 trol drainage. Brand recommends utilizing the sub-irrigation system highlighted in the
                 green thumb planting guide.
            H. Ash and Trash Receptacles (MIH)
                 Decorative ash and trash receptacles which meet the following specifications are re-
                 quired at the front entrance next to the landscape planters. No other trash or ash recep-
                 tacles, floor or wall mount, are permitted within the canopy/vestibule entry area.
                   1. The ash receptacle is to be a floor mounted smokers post, model #4403BK by
                      Glaro.
                   2. The trash receptacle is to be Fiberstone, 31"w x 32"h of PD-17 Paprika color as
                      manufactured by Benchmark. A metal liner is required inside the receptacle.
304.02 Lobby
             A. Vestibule Décor (MIH)
                 The following items must be provided on the wall inside the main vestibule:
                   1. The following items must be provided on the wall inside the main vestibule:
                        Vinyl wallcovering, as manufactured by Eykon Wallcovering (approved color op-
                        tions are listed below), is required on all walls inside the main vestibule. The color
                        of the wallcovering must be the same as the wallcovering behind the front desk. A
                        chair rail and art must be provided on one wall along the main path of entry. If the
                        primary path wall contains a fire panel and/or door that limits its use, the opposite
                        wall may be utilized instead. Any doors and door frames located in this area (not
                        including the storefront or main entry doors) must be painted to match the wall-
                        covering with two coats of gloss paint. Luggage carts may be stored against the wall
                        opposite the chair rail, but no other machines, collateral racks, photos, plaques,
                        awards, etc., are permitted in the vestibule area.




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                                 23"W x 24"H      15.5"W x 16.5"H     33.5"W x 34.5"H




                          Model #              Color*
                           HP-17               Toast
                           HP-22               Palmetto
                           HP-23               Grove
                           HP-25               Ocean
                           HP-30               French Blue
                           HP-32               Brushed Navy
                           HP-33               Raisin
                           HP-37               Wicker
                           HP-38               Thai Copper
                           HP-39               Cedar
                           HP-40               Geranium
                           HP-41               Walnut
                        * The wallcovering color should be selected not only to complement lobby/vesti-
                          bule finishes, but also to attract attention, so it should offer some contrast.




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                   2. The chair rail must be Stylmark trim #110465 with base #410509, with endcaps:
                      RH #310399 and LH #310400 and a buffed satin black finish #123. Length of chair
                      rail must be entire length of the wall (only the main portion of the wall if a door is
                      located on the wall) less 11⁄2" at each end to allow proper clearance for installation.
                      Rail to be mounted 3'-0" AFF to the bottom of the rail.
                   3. A minimum of three framed art pieces must be provided, resting on the chair rail
                      unless space prohibits. The map of the local area takes precedence over all other
                      photos.
                        a. Finished frame sizes must be 36"w x 37"h (map of the local area),
                           16"w x 17"h and 18"w x19"h. Any additional art must vary in size.
                        b. The frames must be secured to the wall with T-shaped security hangers. The
                           frames must sit on top of the chair rail regardless.
                        c. The frames must be a matte black finish in an approved profile with 1⁄8" thick,
                           clear glass. The matte board must be Queen City Paper, QCP0011 Cool White,
                           with straight edge. The backing is to be drymounted on 3⁄16" foam core.
                        d. Photos must be chosen from the Hampton Brand Approved Image Library and
                           must encompass the feeling/perception of the local area or city.
             B. Finishes
                   1. A decorative porcelain or ceramic tile floor is required in high soil and traffic areas
                      such as the breakfast serving area and at all primary and secondary entrances. Floor
                      tile must meet the requirements as specified in Standard 302.03. See Standard
                      304.05 for specifics on floor tile for the pantry (complimentary area).
                   2. A combination of carpeted areas or area rugs with wood look hard surface flooring
                      areas are required in all other public areas such as the dining area where shown on
                      the prototype drawings. Acceptable wood look flooring includes engineered wood
                      flooring, vinyl tile, laminate flooring, and porcelain tile. The wood look flooring
                      must meet the requirements as specified in Standard 302.03. Carpet is required
                      behind the registration desk. There must be either a carpet inset or area rug in front
                      of the reception desk to create the look of an area rug.
                   3. A stained wood base which matches all other wood finishes in the lobby is re-
                      quired in the lobby area and behind the registration desk at all carpeted wood floor
                      areas. Tile base or wood base may be used at tiled areas. The base is to be nominal
                      1" x 6" (3⁄4" x 51⁄2").
                   4. The wall finish is to be decorative Type II vinyl wallcovering, 20 oz. per linear yard
                      minimum, Class A.




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                   5. The minimum ceiling height in the Hampton Inn lobby/breakfast area is to be
                      9'-0" (2.75m). The minimum lobby/breakfast area ceiling height in the Hampton
                      Inn & Suites must be 15'-0".
                        a. When the 15 foot ceiling is utilized, the height of the walls must be broken
                           by the addition of a full perimeter wood trim, mounted 10'-0" AFF minimum.
                           Coordinate trim with windows and second floor. Walls must be vinyl wallcov-
                           ering below the trim but may be painted above.
                        b. Alcoves are allowed in lobbies with high ceilings. Recessed can lights are re-
                           quired in lobby alcoves with high ceilings. Electrical outlets are optional. As an
                           alternative, the lobby may be open to the second floor corridor if allowed by
                           local code.
             C. Doors/Windows
                   1. Aluminum and glass automatic entrance doors are required. Automatic doors must
                      be center bi-parting with approximately a 6'-0" opening and the depth of the ves-
                      tibule must be 10'-0". 12'-0" is recommended. Finish for the aluminum entrance
                      work must have a painted, not anodized, finish and match the color specified for
                      the windows. Automatic doors must have a breakaway feature.
                   2. Entry Door Graphics (MIH)
                      Main entrance vestibule doors are required to have graphics installed on both
                      sets of doors and any sidelights. Hotels without vestibules must have installed as
                      a minimum the “hello” and corresponding set of graphics on the doors and any
                      sidelights.
                   3. Night check-in windows are not permitted. An intercom or house phone is re-
                      quired in the vestibule so guests can notify the front desk employees of their ar-
                      rival during night hours. The intercom or house phone should be located so that
                      the guests are easily seen by the front desk employees. A security camera may be
                      provided in the vestibule if desired. A switch located at the front desk is required
                      to activate the automatic door. A card reader is also required at the main entrance
                      vestibule.
                   4. Windows must be double glazed in painted frames. Frames for window units for
                      hotels located in areas within ASHRAE winter design temperature below 32˚F (0˚C)
                      must be thermally broken. Colors must be as noted in Standard 302.02.
                   5. Window treatment must be provided at all lobby windows. Transom type windows
                      must have wood blinds as a minimum.
                   6. Sliding doors with no floor track are required at the breakfast serving area to close
                      it off when it is not in use. Doors must be stained wood with full panel glass with
                      an approved frosted glass Hampton pattern (www.harlangraphics.com online or-
                      dering for access to Hampton graphics). When sliders are not feasible due to exist-
                      ing conditions, alternative door styles may be submitted to Hilton Hotels Corpora-
                      tion for approval.


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             D. Furnishings
                 All furniture is to reflect residential character and be of contract quality. Refer to pro-
                 totypical drawings for recommended location, number and groupings of individual
                 pieces.
                 Each hotel must have furnishings in the lobby including, but not limited to:
                   1. Welcome Mat (MIH)
                        Walk off mats are required at the front entrance inside the vestibule. They are also
                        required at all secondary exterior doors if mats are used. “Welcome” mats are
                        required at each entrance. They are to be placed inside single door entries unless
                        there is a covered area on the exterior in which case they must be placed outside.
                        “We love having you here” mats are to be placed inside the main vestibule. The
                        mats are to be rotated with wording on the left upon entry. Mats are to be manu-
                        factured by Mountville Mills. The mats are to be premium dye injected, nylon mats
                        with non-skid rubber backing. They are to withstand laundering and carry a three-
                        year warranty.
                        In-laid welcome mats with “We love having you here” are acceptable. Contact the
                        MIH Help Line at 866-MIH-HOW2 for more information and approved suppliers.
                   2. Seating
                        Seating must be composed of three types of seating zones: the community table,
                        soft seating, and traditional dining seating. The community table should seat a
                        minimum of 10 guests (the Hometown prototype minimum requirement is six
                        seats). Soft seating should make up approximately 35% of the total seat count and
                        the other 35% should be composed of traditional dining seating. A minimum of
                        two to five percent of the total seating must be handicap accessible. Certain mar-
                        kets, such as resort areas or airport locations, may be required to provide additional
                        seating.
                        In a Hampton Inn, seating must accommodate the number of persons equal to 30
                        percent of the guest rooms/suites. But in no case must less than 30 seats be pro-
                        vided except in the Hometown prototype, in which case the minimum number of
                        seats must be as shown in the prototype drawings.
                        Hampton Inn & Suites properties must have enough seating to accommodate 35 to
                        40 percent of the guest rooms/suites.
                        Each hotel must provide seating as described:
                         a. Soft seating areas with sofas and a mix of lounge chairs, dining chairs, and
                            ottomans along with tea height (27") dining tables and floor lamps. Sofas
                            should have a seat height of 18".




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                        b. Dining tables with tops of solid wood, stone or high-pressure laminate with
                           wood edge (11⁄4" thick and 24" x 30" for a two-top table and 30" x 30" for a
                           four-top) and commercial grade bases which provide sturdy support. If stone
                           tops are used, they must have water and stain resistant penetrating sealer fin-
                           ish. Tea height tabletop requirements are the same as those for dining tables.
                           They must be 24" x 30" two-top size.
                        c. Wood framed dining chairs with upholstered seats (minimum overall seat size:
                           18"w x 18"d) without arms. Upholstered backs are recommended. Recom-
                           mend additional chair style with added height of back to break up dining seat-
                           ing. Lounge chairs should have upholstered seats, minimum of 18" seat height,
                           and upholstered backs. If the chair has arms, the arm must clear the tea height
                           tabletop so that chairs can be pushed under the table. Ottomans must have an
                           upholstered seat and be a minimum of 18"w x 18"d x 18"h. Barstools (mini-
                           mum overall seat size: 18"w x 18"d) must be used at the community table.
                           Upholstered seats and backs are recommended. Recommend using two differ-
                           ent upholstery fabrics to help break up the barstool seating. Footrests should
                           have metal caps to prevent wear and tear. Be sure to coordinate seat height of
                           barstool with the apron height of the Community Table to allow for adequate
                           leg clearance.
                        d. Community table length should comfortably accommodate 5 guests per side
                           at minimum. Minimum 36"w x 42" h. Table should have four to six power and
                           date outlets built in. The outlets should be plug-in type grommets, not hard-
                           wired unless required by local code. If power grommets are located directly in
                           the tip, they must be UL listed and meet UL spill test requirements. All power
                           cords must be concealed. Tops must be solid surface material, quartz, natural
                           granite with water and stain resistant sealer, high-pressure laminate with wood
                           edge or wood with protective polyurethane finish. Tile or cultured marble tops
                           are not acceptable. A large-scale decorative element, such as a bowl of fruit or a
                           series of three to five decorative elements such as hurricane style candleholders,
                           must be placed on the center of the Community Table.
                   3. Serving counters for the breakfast area in relation to style, length and layout are
                      to be provided as shown on the prototype drawings. (See Standard 304.05, Pantry
                      (Complimentary Area), for specifics.)
                   4. If plants are used, they must be well-maintained live plants.
                   5. The Coffee Serving Table is to be located in an area which is accessible to guests at
                      all times, not within the Breakfast Serving Area. Size to be a minimum of 30" d x
                      34"h x 66"l. The top must be a solid surface material, quartz, natural granite with
                      water and stain resistant sealer, high-pressure laminate with wood edge, or wood
                      with protective polyurethane finish. Tile or cultured marble tops are not acceptable.
                      Below the top a shelf must be provided to hold a 4" high stack of newspapers.




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                   6. When located in front of a wall, the Coffee Cup Framed Artwork must be used.
                      These three frames should be installed in a horizontal row on the wall behind
                      the coffee serving table. They should be spaced closely and hang together as one
                      artwork installation. When installed these replace the current coffee zone sign. (See
                      Standard 300.02 Make It Hampton)
                   7. Provide library shelves composed of three to five free floating wood shelves ar-
                      ranged as an asymmetrical composition and providing a ledge to display black and
                      white framed photographs, accessories, and a flat panel television.
                   8. Television
                        A minimum 42" commercial grade flat panel television with remote control is
                        required and must be easily viewable from the seating area.
                        The lobby television should meet the following specifications:
                        a. Minimum 42" widescreen (16:9) LCD screen, high definition display capable
                           of receiving 1080i signal (60Hz), ATSC Digital Tuner built-in.
                        b. Televisions should be set with closed caption as default.
                         c. The remote control must be accessible to guests at all times.
                        d. The power and cable outlets and cords must be concealed from view behind
                           the television.
                         e. TV must not be mounted on any wall that shares a common wall with a guest
                            room.
                   9. Black and white framed art should appear to be sitting on the library shelves lean-
                      ing against the wall. A minimum of three different sized framed pieces must be
                      used. At least one of the three pieces must be the large frame LB43 (28" x 43"),
                      LB50 (33.5" x 50"), or LB68 (48.5" x 68.5"). The images for these frames may be
                      chosen from any of the Lobby Area Image Banks as well as the public space (PS)
                      image bank. The other frame sizes are LB18 (17.5" x 18.5"), LB24 (23" x 24"), and
                      LB36 (33.5" x 34.5"). Choose images for these from the Lobby Area Image Banks
                      LB18, LB24, and LB 36 accordingly. All images should be representative of the
                      property's local flair or culture.
                 10. Accessories must be provided at the Community Table and library shelves. One
                     battery powered or rechargeable candle must be lit on each tabletop from 5pm -
                     5am at both the soft seating and dining seating tables.




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                 11. Breakfast Information Graphics
                        Previously these graphics existed in the breakfast newspaper kiosk. If your property
                        has an existing newspaper kiosk, remove the newspaper kiosk and retain only the
                        top “on the house” breakfast panel and the bottom breakfast hours panel. These
                        two panels are reusable and slip into new frames that mount in a vertical column
                        directly to the wall adjacent to the breakfast serving area. If there is no wall directly
                        adjacent or if other conditions prohibit this placement, the property must identify
                        a wall for these that will best signal to guests the breakfast offering. New construc-
                        tion hotels will receive these panels as part of the Make It Hampton pieces.
             E. Lighting
                   1. The minimum light levels must be ten foot-candles in the lobby and 30 foot-
                      candles at the registration desk surface.
                   2. Decorative fixtures or pendants on dimmers are required over the Community
                      Table. It is recommended that there are either two large scale, 36" diameter or
                      larger, pendants or a series of five to seven smaller pendant fixtures, 6" diameter to
                      15" diameter. Bottom of the fixtures should be no lower than 6'-0". If decorative
                      fixtures or pendants are not feasible due to a low ceiling height, 7'-0" or less, incor-
                      porate table lamps into the design of the Community Table. These lights should be
                      dimmable, plug in and not be hardwired. All cords must be concealed. Coordinate
                      height of lobby ceiling with fixture selection. High ceilings may require a larger
                      fixture for proper scale within the space if pendants are used. Fixtures at these high
                      ceilings must be a minimum of 36" in diameter and must be submitted for Hilton
                      Hotels Corporations approval.
                   3. Accent lighting such as wall washers or adjustable downlights must be incorpo-
                      rated to highlight the library shelves. These must be on dimmers. All public areas
                      must be lit with warm white lamps.
                   4. Lighting at soft seating areas should be a combination of spill light from floor and/
                      or table lamps.
              F. Distributed audio (background music) is required in the lobby. See Standard 614.00
                 Distributed Audio Standards, in the Information Technology section.
            G. Fireplaces
                 Fireplaces in lobbies will only be allowed when the market warrants. They must meet
                 the following requirements:
                   1. Gas fired units must be metal, pre-fabricated and UL/AGA approved. Metal flues
                      must extend above the roof or be direct vent.
                   2. Ventless units are allowed when necessary, but must be submitted for approval.
                   3. Fireplaces are to be enclosed, inaccessible to guests and cool to touch when in op-
                      eration.
                   4. Carbon monoxide detectors are required.

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304.03 Registration Area
             A. Registration Desk
                   1. The registration countertop (customer counter) must be a solid surface material
                      equal to Corian® or Gibraltar by Wilsonart. Natural stone slabs such as granite or
                      marble are acceptable. Neither stone tiles nor cultured marble are acceptable. The
                      front side of the desk must be stained wood. The employee side of the desk may be
                      plastic laminate. It should be designed to give the appearance of a piece of furni-
                      ture. Computer monitors should not be seen above the top of the guest side of the
                      desk.
                   2. The registration desk must have a lowered section for use by guests in wheelchairs
                      as required by the ADA. These minimum standards must not supersede state, local
                      or ADA requirements that are more stringent.
                   3. The desk must be freestanding on all new construction and/or renovations. Refer to
                      Prototype drawings for front desk layout and workstation modules with registration
                      desk equipment. See the Chief Engineer’s Guide for specifics on all OnQ equipment.
                   4. Each individual workstation shall have two quad outlets and one duplex outlet
                      above. Each must be dedicated and isolated ground, 20A. One phone dedicated and
                      one data port shall be provided above the counter with two data below. See proto-
                      type drawing for details.
                   5. Registration Desk Kiosk (MIH)
                        A welcome lamp, model #1273-Black as manufactured by Trinity Lighting, must
                        be provided on top of the front desk. The lamp must be located on the left side of
                        the desk when facing the desk, if during entry to the hotel, the front desk is on the
                        right. If the desk is on the left, the lamp must be on the right unless existing condi-
                        tions warrant review by Hilton Hotels Corporation. The lamp must be held off side
                        walls 18"-24" to allow full display of items.
                        The lamp must contain two removable trays for displaying Hampton’s On the Run
                        Breakfast Bags and four front pockets for directories and brochures as well as one
                        banner rod for signage.
                   6. Registration Desk Guarantee Pad (MIH)
                        A Guarantee Pad, 8" x 10" acid-etched zinc panel with peel and stick adhesive back
                        as manufactured by Dixie Graphics, must be provided on top of the registration
                        desk on the guest side in front of each workstation. The plaque must be secured
                        to the countertop with adhesive provided. The plaque should not be permanently
                        adhered with liquid nails or any other application as it may need to be removed in
                        the future and may damage the countertop.




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                                                                                                                                   Building and Furnishing
             B. Registration Desk Décor (MIH)
                   The following items must be provided on the wall behind the front desk:
                      1. Vinyl wallcovering, as manufactured by Eykon Wallcovering (approved color op-
                         tions are listed below), is required on the wall directly behind the registration desk.
                         A chair rail and art must be provided on the same wall. Any doors and door frames
                         located on this wall must be painted to match the wallcovering with two coats of
                         gloss paint. No other artwork, plaques, awards, light switches, panels, etc., are per-
                         mitted on this wall. Any wing walls or offset walls beyond the immediate back wall
                         of the registration desk must also receive the same wallcovering to give the appear-
                         ance of a full back wall rather than a partial one.




                                                                             frutiger 45 light                                                      frutiger 75 black
                                                                          230 point, tracking 50                                                  230 point, tracking 50
                               1 5/8"




                                                                                             major portion of wall behind front desk


             Stylmark trim is placed along the entire wall,                   Install 3/4" thick black sintra letters with brushed stainless steel face to match Stylmark trim finish 218
             on both sides of any door opening, wherever                      Align the 'welcome to cincinnati' lettering with left side of 23"x24" frame
             the wallcovering occurs.
                                                                                   3/4" x 3/4" Stylmark trim 110410 with base 411331, brushed stainless steel finish 218



                                                                      EQUAL                                         83"                                             EQUAL

                                                                                                                     align right side of the image                                                  Distance from edge
                                                                                                                     with center line of the 'major portion                                         of wall: 2" minimum,
                                                                                                                     of the wall'                                                  3/4"             30" maximum


                                                                                                                           6"
                                                                 EQ
                                                        1 5/8"




                                                                                                                                                                              8"
                                                                 EQ




                                                                                                                                                                                   3/4"




                                                                                                    3"
                                                                                                                                                                                                    Secure frames to wall
                                                                                                                                                                                                    with hardware provided
                                                                                                                                                                                                    with frames
                                        door opening
                                                                                                                                                                                            6'-3"




                                                           11/2"                                                                                                              11/2"
                                                                                                                     L

                                                                                    FD - 1                    FD - 4                       FD - 3
                                                                                                                                                                                    3'-0"




                                                                                    23"W x 24"H               17.5"W x 18.5"H              33.5"W x 34.5"H




                                If there is an existing door frame,        Chair Rail: Stylmark trim 110465 with base 410509, Endcaps RH 310399,
                                paint to match wallcovering with           �    �      and LH 310400, buffed satin black finish 123
                                (2) coats of gloss paint.




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                                                                Building and Furnishing
                  Model #              Color*
                   HP-17               Toast
                   HP-22               Palmetto
                   HP-23               Grove
                   HP-25               Ocean
                   HP-30               French Blue
                   HP-32               Brushed Navy
                   HP-33               Raisin
                   HP-37               Wicker
                   HP-38               Thai Copper
                   HP-39               Cedar
                   HP-40               Geranium
                   HP-41               Walnut
               * The wallcovering color should be selected to complement lobby furnishes but
                 also to draw attention, therefore have differentiation enough to warrant it as an
                 accent wall.
            2. The chair rail must be Stylmark trim #110465 with base #410509, with endcaps:
               RH #310399 and LH #310400 and a buffed satin black finish #123. Length of chair
               rail must be entire length of the wall (only the main portion of the wall if a door is
               located on the wall) less 11⁄2" at each end to allow proper clearance for installation.
               Rail to be mounted 3'-0" AFF to the bottom of the rail.
            3. A minimum of three framed art pieces must be provided, resting on the chair rail.
                a. Finished frame sizes must be 34"w x 35"h, 24"w x 25"h and 18"w x 19"h. Any
                   additional art must vary in size.
                b. The frames must be secured to the wall with security hangers. The frames must
                   sit on top of the chair rail regardless. Recommend installation of art prior to in-
                   stallation of chair rail for easier access to security hangers.
                c. The frames must be a matte black finish in an approved profile with 1⁄8" thick,
                   clear glass. The matte board must be Queen City Paper, QCP0011 Cool White,
                   with straight edge. The backing is to be dry mounted on 3⁄16" foam core.
                d. Photos must be chosen from the Hampton Brand Approved Image Library and
                   must encompass the feeling/perception of the local area or city.




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                   4. The registration wall must have “welcome to [city]” signage (including horizontal
                      trim pieces). Lettering is to be 3⁄4" thick black sintra letters with brushed stain-
                      less steel face to match Stylmark trim finish #218. Lettering must be Frutiger font,
                      230 point, tracking 50. ‘Welcome to’ must be size 45 light and ‘[city]’ 75 black.
                      Lettering must be left justified aligning with the left side of furthermost left frame
                      once mounted. Horizontal trim to be 3⁄4" x 3⁄4" Stylmark trim #110410 with base
                      #411331 and a brushed stainless steel finish #218. Trim is to run entire length of
                      wall (except not on any doors or door frames nor behind any art). Trim is not
                      required on any wing walls or offset walls beyond the immediate back wall of the
                      registration desk.
             C. Safe Deposit Boxes
                 Safe deposit boxes must be provided in the work area located behind the registration
                 desk or within the registration desk (employee side) if there is ample space and hidden.
                 Provide a minimum of one box for every 10 guest rooms.
304.04 Telephones/Internet Access
             A. There must be a minimum of one telephone that has local, credit card and 800 number
                access. There must be a house telephone with these dialing features available. An ad-
                ditional house telephone is required in or near the lobby. All phones must be restricted
                from dialing guest rooms.
             B. Signage must be in place designating local, credit card and 800 number dialing instruc-
                tions. The signage must be professional and match existing interior signage. Verbiage
                should include:
                 For local calls, dial X + number
                 For credit card and 800 numbers, dial X + number
             C. Handicap accessibility is required at each type of telephone. A permanent or portable
                TDD must be available. An outlet must be provided along with appropriate signage.
             D. Wireless high-speed Internet access must be provided in the lobby and wireless in a
                minimum of one meeting room (if applicable). Additional meeting rooms must have
                either wired or wireless HSIA. The executive center (if applicable) is optional but will
                typically be covered under the wireless area of the lobby. See Standard 613.00 for spe-
                cific requirements.

304.05 Pantry (Complimentary Area)/Breakfast Serving Area
             A. Provide a pantry directly adjacent to the lobby as shown on the prototype drawings for
                the complimentary breakfast area.
             B. Pantry Finishes
                 The floor finish must be decorative tile floor in two alternating colors in a checkered
                 pattern with wood or tile base. At a minimum the floor must have a subdued contrast
                 checkerboard pattern. See Standard 302.03A2 for specifics.

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             C. The wall finish is to be decorative Type II vinyl, 20 oz. per linear yard wallcovering. Any
                walls between the base cabinet and existing wall cabinet are to receive decorative ce-
                ramic tile.
             D. Provide base cabinets, including islands, to the extent shown in the prototype drawings.
                   1. Detailing of the cabinets should make them appear to be a freestanding piece of
                      furniture rather than a built in unit. They should have a recessed kick plate to pre-
                      vent food or other items from going underneath the cabinets. Cabinet finish must
                      be stained wood. The countertop must be solid surface material such as Gibraltar
                      by Wilsonart or natural granite. Plastic laminate is not allowed for either surface.
                      Samples must be submitted to Hilton Hotels Corporation for approval.
                   2. Minimum base counter length to be 20 feet, with 24 feet as optimum. This does
                      not include the coffee area. Counter depth must be 30" minimum on new con-
                      struction or any renovations. Counter should be broken into five food serving sec-
                      tions: fresh (three to six feet in length); hot, baked and cold (each five to six feet);
                      and juice (two feet). Baked and hot areas should remain together unless an island
                      is provided, then only hot is located on the island if/when electrical is provided.
                      Juice should be in an inconspicuous location. Coffee is to be located outside the
                      main serving area, if possible, for easy all day access by guests.
                   3. Upper cabinets are not allowed on new construction. Existing properties must
                      coordinate required equipment clearances and provide proper screening of under-
                      cabinet lighting from adjacent sitting areas.
             E. Provide convenience outlets above the base cabinets, including electrical for the juice
                machine, chafing dish, microwave (if provided) and toaster. A water inlet is also re-
                quired for the juice machine. See specific requirements for equipment below. An electri-
                cal outlet must be provided within the island (where applicable) on new construction
                projects with grommets provided for power cord access.
              F. Pantry serving area equipment:
                   1. Microwave (NOT REQUIRED)
                        A microwave is not required but if provided, must be a commercial unit, minimum
                        700 watts, with a white or stainless steel finish with preset and calibrated time cook
                        controls. It must be located within the hot and/or baked areas.
                   2. Pop-up Toaster (REQUIRED)
                        A minimum of one four-slice toaster is required for hotels with 100 or fewer rooms
                        must be in the breakfast area. For hotels with more than 100 rooms, a minimum of
                        two toasters or one four-slice toaster must be provided. Unit must be NSF and UL
                        approved.
                        A conveyor toaster may be used. See OnQ Insider > Hampton > Make It Hampton
                        Product Reorder Catalog for suppliers.



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                    3. Juice Dispenser (REQUIRED)

  Cornlius Quest 2 Juice Dispenser (option #1)
                                        Base Equipment Footprint: 10.4”w X 24.3” d
  External Dimensions
                                        Base Equipment Height: 29.3” h
  Minimum Clearance Requirements        Recommended clearance 4” in the back and 8” at the top
  Equipment Weight                      96 lbs. empty; 136 lbs. full


  Installation Electrical
                                        115V, 60Hz, 15 amp NEMA 5-15
  Requirement


  Installation Plumbing and Waste
                                        3/8” SAE male flare on dispenser… 20 – 100 psi
  Requirements
  Ventilation Requirements              None
  Other Installation Requirements and
                                        None
  Issues



  Vitality Express Beverage System Juice Dispenser (option #2)
                                        Base Equipment Footprint: 9.0”w X 24.3” d
  External Dimensions
                                        Base Equipment Height: 29.3” h
  Minimum Clearance Requirements        3” – Back, 2” – Both sides, 2” – Top
  Equipment Weight                      115 lbs


  Installation Electrical
                                        115V, 60Hz, 15 amp NEMA 5-15
  Requirement


  Installation Plumbing and Waste
                                        Water inlets 3/8” male flare … 30 – 100 psi “
  Requirements
  Ventilation Requirements              See clearance requirements
  Other Installation Requirements and
                                        None
  Issues




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                                                                          Building and Furnishing
                    4. Chafing Dish (REQUIRED)


  Spring #K2509-6 Chafing Dish
  External Dimensions                     Base Equipment Footprint: 26”w X 187⁄8”d
                                          Base Equipment Height: 153/4”h
  Minimum Clearance Requirements          None
  Equipment Weight                        Chafer - 45 lbs, Heating Element – 3lbs (will be contained in one box)


                                          Separate, dedicated 120 V, 600 W
  Installation Electrical
                                          (for Spring #9509 heating element) 5.5
  Requirements
                                          amp NEMA 5-15


  Installation Plumbing and Waste
                                          None
  Requirements
  Ventilation Requirements                None
  Other Installation Requirements and
                                          None
  Issues


                    5. If the local health department requires a refrigerator for milk or other items being
                       displayed at breakfast, a unit equal to Summit #SCR600 undercounter refrigera-
                       tor must be used. This unit is only to be used when required by the local health
                       department.
             G. Artwork is required on all walls with no upper cabinets (MIH).
                    1. Two to a maximum of four framed art pieces must be provided within the break-
                       fast area unless existing conditions warrant review by Hilton Hotels Corporation.
                       Photos must be hung over the corresponding area: fresh, hot, baked or cold. For
                       example, a milk bottle image should be located over the cold zone. This artwork
                       may not be placed elsewhere within the hotel.
                    2. Finished frames must be in the approved profile and 33.5"w x 34.5"h unless exist-
                       ing conditions warrant review of the size by Hilton Hotels Corporation.
                    3. The frames must be secured to the wall with T-shaped security hangers.
                    4. The frames must be a matte black finish in an approved profile with 1/8" thick,
                       clear glass. The matte board must be Queen City Paper, QCP0011 Cool White, with
                       straight edge. The backing is to be drymounted on 3/16" foam core.		
             H. Fifty foot-candles of illumination must be provided at counter height. When ceiling
                height allows, (8'-0" or higher) incorporate decorative fixtures or pendants on dimmers.
                All lighting within the Breakfast Serving Area must be dimmable.




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              I. Two decorative trash cans should be conveniently located in the breakfast area. Recep-
                 tacles are to be made of a finished metal that complements the décor.
              J. Distributed audio (background music) is required in the complimentary breakfast area.
                 See Standard 614.00 in Distributed Audio Standards in the Information Technology
                 section.




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                                                                                 Building and Furnishing
 305.00 Suite Shop
 305.01      Each Hampton Inn & Suites hotel must provide a Suite Shop adjacent to the front desk
             with a pass-through window to the registration desk work area at a height in compliance
             with the ADAAG. Pass-through counter finish to match registration desk finish (guest side).
             See prototypical drawings for layout.
 305.02      Regardless if a property is a Hampton Inn or a Hampton Inn & Suites, the property must
             follow standards for the installation and setup of a Suite Shop (see Rule 109.04). All Suite
             Shops have displays that consist of:
              A. Existing shelving or millwork
              B. A refrigerator and freezer
              C. A free-standing merchandiser with a price menu when space permits.
             D. A Suite Shop kit that contains shelf-backer graphics, tray graphics and display trays
             The Hampton Brand realizes that Suite Shop configurations are different. Configurations
             that exist in older hotels and conversions are different from newly constructed hotels. Prop-
             erties that have unusual configurations that do not have adequate space to comply with
             standards may consult with the Hampton Brand Team at 775 Crossover Lane, Memphis,
             Tennessee 38117 for alternative solutions.




                            243⁄4”
                                                                               freezer graphic                        refrigerator graphic
                                                                 83⁄8”




 Hampton approved refrigerator graphic




Hampton approved freezer graphic

Note: These graphic panels are sized for the recommended equipment.                                                New construction
If other equipment is selected, size of panels will need to be adjusted.




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                                                                    Building and Furnishing
305.03       Finishes
             A. The floor must be ceramic/porcelain tile. Use of a high contrast checker board pattern
                is recommended to create energy within the store. One of the tile colors should be the
                same as the lobby floor finish.
              B. Vinyl wallcovering must be Type II, and a minimum of 20 oz. per linear yard.
             C. The finish and style of all millwork must match front desk millwork.
305.04       Equipment
             A. A commercial grade glass door reach-in refrigerator and separate glass door reach-in
                freezer, each 22 cubic feet minimum, with self-contained condensation evaporation
                system must be provided. Units must be located such that they cannot be seen directly
                from the lobby. Units must have a minimum of four vinyl coated adjustable shelving
                for product display. Exterior surfaces must be stainless steel or a white vinyl surface.
                All interior surfaces must be a white finish. No brand endorsements are allowed on
                the units. (Recommend equipment: True Manufacturing GDM-23 and GDM-23F). The
                freezer and refrigerator units must have a backlit panel above the door, and the panel
                graphic must be the Hampton approved design. Panel graphics are available from Har-
                lan Graphics. This may be purchased from Make It Hampton Product Reorder Catalog on
                OnQ Insider > Hampton Brand.
              B. Ice machines may not be located in the Suite Shop.
             C. See Standard 314.04 of Building and Furnishing for additional vending requirements
                throughout the hotel.
305.05       Millwork with shelving must be provided for display of food and sundries. This should
             include closed cabinetry for storage and an open display system. Shelves must be adjust-
             able using recessed wall standards and knife brackets. All millwork and shelves must be a
             stained wood finish. Shelves must be a minimum of 15" deep and 3/4" thick with a wood
             finish to match the cabinets, tempered glass or laminated MDF. Shelving wall is to be divis-
             ible into three equal sections approximately three feet in length. Smaller sections are per-
             mitted, but not preferred. Top shelf should have a height of 18"; all other shelves approxi-
             mately 12".




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                                                                  Building and Furnishing
306.00 Public Restrooms
306.01   There must be one restroom each for men and women in the lobby building. The rest-
         rooms must not open directly onto the lobby area but must be accessed from a secondary
         corridor. The number of lavatories, stalls and urinals is to be as shown on the prototype
         drawings or as dictated by code, whichever is more stringent.
306.02   Direct line of visual sight or line of sight via mirror reflection into restrooms with multiple
         stalls is prohibited.
306.03   The floor and base must be ceramic or porcelain tile. If glazed, the tile must have a non-slip
         additive. A minimum floor tile size of 12" x 12" is required.
306.04   Walls are to have Type II - 20 oz. vinyl wallcovering. Recommend tile wainscot with base at
         all walls or full height tile on plumbing walls. Minimum wall tile size of 6" x 6" is required.
306.05   All restroom entrance doors must be a minimum of 3'-0" (.91m) wide. Privacy set is re-
         quired with lever handle at the entrance door, except in multi-stall restrooms. Door closers
         are required. Entry doors for multi-stall restrooms may not be lockable.
306.06   Toilet partitions and doors are to be plastic laminate or better and are recommended to be
         ceiling hung.
306.07   Provide handicap accessible stalls in accordance with the ADA.
306.08   Single stall toilets may have a wall-hung china commercial sink meeting ANSI and ADA
         accessibility requirements. Individual or built-in vanities are also allowed, but built-ins are
         required for multi-stall toilets. Built-in vanities must have a natural granite top with back
         and side splashes and a skirt compliant with ADA. Exposed piping must be covered with
         pre-formed protective insulation. All vanities must comply with the ADA.
306.09   The toilets must have white, open front plastic seats with stainless steel check hinges. The
         seats must remain in an upright position without being held.
306.10   A decorative framed mirror is required above all vanities. The frame width must be 2" mini-
         mum. The mirror should be sized appropriately for the space. It should be approximately
         36" tall, depending on light fixture placement, and extend the distance of the wall less 4"
         each side. The mirror must be installed with the reflective surface no higher than 40" above
         finished floor for compliance with ADA.
306.11   The following accessories are required:
         A. Kick plates on push side of public restroom doors. Kick plates may be omitted if doors
            have a plastic laminate veneer.
         B. Fluorescent lighting, recessed in ceiling. A decorative fluorescent light fixture is also
            recommended over the vanity mirror.
         C. Reserve roll toilet tissue holder or surface-mounted dual dispenser.
         D. A coat hook is required at 6'-0" on all stall doors (or on entry door for single stall rest-
            rooms). In accessible stalls, provide an additional hook mounted a maximum of 40"
            (or on entry door for single stall restrooms).

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                                                                      Building and Furnishing
             E. A fully recessed combination paper towel dispenser and large capacity waste receptacle.
                (“No touch” towel dispensers are allowed.) Receptacle or separate decorative receptacle
                to be adjacent to restroom entry.
              F. A fully recessed (flush to wall) sanitary napkin dispenser in women’s restroom.
             G. Recessed facial tissue holder or a decorative, residential style tissue box dispenser made
                of high quality molded plastic sitting on top of the vanity. The dispenser must color
                coordinate with the decor.
             H. Wall-mounted grab bars on the side and back wall of the handicap accessible water
                closet to comply with the ADA.
              I. Wall-mounted liquid soap dispenser or a decorative, freestanding soap dispenser.
              J. Single lever or dual lever with an 8" spread, first line chrome-plated brass faucets.
306.12       Continuous exhausting must be provided by power exhaust fans to comply with the local
             codes. Minimum requirement is 60 CFM. If two or more toilet stalls are provided in the
             public restrooms, HVAC supply must also be provided in addition to continuous exhaust.
306.13       Light fixtures in multi-stall restrooms must be wired so that they remain on at all times or
             have keyed switches. Light fixtures must be UL approved/certified and have warm white
             lamps.
306.14       Men and women’s restrooms must be clearly identified with international symbols.
306.15       A dual height, ADA compliant drinking fountain is required near the public restrooms. The
             unit must have a decorator front. Painted fronts are unacceptable.




 PUBLIC RESTROOMS CONTINUED                                     2008 EDITION / Effective June 1, 2008   300-57
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307.00 Meeting Facilities
307.01 Business Center (Optional)
        A. If provided, the Business Center (minimum size 8' x 12' or 6' x 6' for Hometown)
           should be located convenient to the meeting facilities and adjacent to the office area for
           assistance.
        B. The center must be available to guests 24 hours a day, 7 days a week. Signage indicating
           24 hour availability must be visible at the entry.
        C. The wall finish is to be decorative Type II vinyl, 20 oz. per linear yard wallcovering,
           Class A.
        D. The floor must be carpet with a carpet base.
        E. The ceiling must be acoustical ceiling tile or better.
         F. The entry door must have an electronic card key access (dead bolt function to be dis-
            abled) and a full glass vision panel. Additional window side lites are recommended.
            The glass area may not receive window treatments for guests’ safety. If a connecting
            door is provided to the office area, the door should have a digital keypad access lock.
        G. Computer workstations (one minimum) with high-speed Internet access and software
           to include the latest version of Microsoft Windows and Microsoft Office. Wireless high-
           speed Internet must also be provided.
        H. Provide two desk chairs. All chairs must have casters and fully upholstered seats and
           backs to extend to a minimum height of 20". Hotel must not lock seat extension
           height.
         I. If wall and base cabinets are utilized, they must be furniture quality with all exposed
            surfaces made of wood. Desktop must be high-pressure laminate and 30" AFF upper
            cabinets.
         J. The following equipment must be provided as a minimum:
             1. Inkjet or laser printer with laptop connection capability
             2. Fax machine (or service provided on premise)
             3. Computer with Internet access
             4. See Meeting Services, Rule 117.00 for other requirements
             5. Calculator
             6. Office supplies (expendable pens, pencils, paper, tape, scissors, clips, a stapler with
                staples, etc.)
             7. Various up-to-date reference materials (dictionary, thesaurus, local telephone books
                and Yellow Pages
             8. FedEx supplies


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                                                                      Building and Furnishing
              K. All equipment, including phones, must have printed instructions for their operation.
                 On new construction, this equipment must be placed inside the designated Business
                 Center room and may not be interspersed within the lobby or any other public area
                 space. Existing properties may install equipment in a desk hutch or computer armoire
                 where the cords are concealed and the equipment displayed neatly. Placement and de-
                 sign must be approved by Hilton. See Standard 109.06.
               L. A minimum of sixty (60) foot-candles of general lighting measured at desk height is
                  required. Lights must be wired to remain on at all times.
             M. Provide a minimum of one quadplex 110-convenience outlet above the countertop.
              N. If the hotel has an Business Center, distributed audio (background music) is optional.
                 See Standard 614.00 in Distributed Audio Standards in the Information Technology
                 section.
              O. Artwork is required and must be décor enhancing. Hotels may use black and white art
                 selected from the MIH image library.
307.02 Meeting Room
              A. Meeting rooms to be included at the owner’s discretion except for the requirement in a
                 Hometown prototype. All individual components must meet these standards and the
                 room layout will be reviewed and considered for approval by Hilton Hotels.
              B. In the Hometown prototype, a single bay meeting room is required as shown on the
                 prototype drawings. This small meeting room is optional if the large meeting room is
                 added as shown on the prototype drawings.
              C. Floors are to have carpet, carpet pad and carpet base as a minimum. Walls are to have
                 vinyl wall covering and the ceiling to be ACT or painted drywall.
              D. If meeting rooms are subdivided with folding partitions, the folding partitions must
                 have a minimum STC rating of 50. An STC rating of 54 is recommended. Accordion
                 type partitions are not permitted.
              E. Meeting rooms must be furnished with folding tables with high-pressure laminate tops
                 and stack chairs with fabric upholstered seats and backs. Storage for these items should
                 be provided nearby.
               F. Built in counters must have stained wood bases and solid surface or granite tops.
              G. Presentation materials such as a blackboard/whiteboard, display easel and viewing
                 screen (or audio visual equivalent) must be available for meetings. The hotel must pro-
                 vide a flip chart stand or hanger, felt-tip markers, extensions cords, pens and pads for all
                 meeting rooms.
              H. Light level at the meeting room tabletops must be a minimum of 50 foot-candles. Pro-
                 vide recessed or decorative ceiling mounted lighting with concealed conduit. Provide
                 lighting on dimmer switches.
               I. A television outlet and a telephone with a data port are required.


 MEETING FACILITIES CONTINUED                                   2008 EDITION / Effective June 1, 2008   300-59
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               J. A minimum of two wall decor pieces is required. Each is to be a minimum of 800 sq.
                  in. including frame.
              K. Each meeting room must have individual HVAC controls.
               L. Distributed audio (background music) is optional in meeting rooms. See Standard
                  614.00 in Distributed Audio Standards in the Information Technology section.
             M. Wireless high-speed Internet access must be provided in all meeting rooms. (See Stan-
                dard 613.00 for specific requirements.)
307.03 Boardroom (Optional)
              A. Recommend a single bay boardroom in heavy commercial market areas.
              B. Floors are to have carpet and carpet base as a minimum. Walls are to have vinyl wall-
                 covering and the ceiling to be ACT or painted drywall.
              C. The boardroom, where provided, must include a permanent conference table (a high
                 pressure laminate top with wood edge, a solid wood top or better) to seat a minimum
                 of eight persons, fully upholstered conference chairs with casters, a telephone, built-in
                 counter with stained wood base and a solid surface top (minimum) for beverage service
                 or console table suitable for beverage service.
              D. A permanent visual aids unit is required. Finished dimension must be 48" x 48". It
                 must include a projection screen, grease pen board and chart holder. A unit similar to
                 those manufactured by Egan is acceptable.
              E. Provide a 12'-0" long display/presentation rail. The wood rail should be stained to
                 match the casegoods. It is typically mounted on the wall opposite the audio visual cab-
                 inet.
               F. Light level to be a minimum of 50 foot-candles measured at tabletop.
              G. A television outlet and a telephone with a data port are required.
              H. Provide artwork and submit for approval.
307.04 Hospitality Suite (Optional)
              A. The Hospitality Suite, if provided, must be equivalent in size to two bays in place of two
                 standard minimum 12' x 18' (3.66m x 5.49m) rooms. It must include one handicap-
                 accessible bath and be designed for use as a sleeping room or a meeting/boardroom
                 suitable for comfortably accommodating eight persons.
              B. Floors are to have carpet and carpet base as a minimum. Walls are to have vinyl wall-
                 covering.
              C. The suite must provide a comfortable soft seating area with sofa, lounge chair(s), end
                 table(s), lamp(s), coffee table and television armoire. A sofa-sleeper is required when
                 no Murphy bed is provided.




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                                                                      Building and Furnishing
              D. A conference table with high pressure laminate top and wood edge (minimum 30" x
                 72") must be provided with at least eight fully upholstered conference chairs with cast-
                 ers.
              E. A permanent visual aids unit is required. Finished dimensions must be 48" x 48". It
                 must include a projection screen, grease pen board and chart holder. A unit similar to
                 those manufactured by Egan is acceptable.
               F. Presentation materials such as a display easel, slide/overhead projector, and markers
                  must be available for meetings. A pen and pad must be available for each attendee.
              G. The light level to be a minimum of 50 foot-candles measured at tabletop.
              H. The mechanical closet for this room must be accessed off the corridor so to reduce
                 noise transmission into the room.
               I. Artwork must be provided in keeping with the overall design of the suite, including, but
                  not limited to:
                     1. Over the sofa –
                        Minimum size: 30" x 40", including the frame
                     2. On the window wall –
                        Minimum size: 24" x 36", including the frame
                     3. Over the Murphy bed -
                        Minimum size: 24" x 36", including the frame
                     4. Artwork is typically mounted 60" to the center of the piece




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                                                                 Building and Furnishing
308.00 Recreational Facilities
308.01 Fitness Center
        Note: Hotels opening after July 1, 2008, and hotels under PIP must comply with the fol-
        lowing standards. Existing hotels with an fitness center, needing to update may comply in
        stages as outlined below. All existing fitness centers must comply by January 1, 2013:
        If renovation includes replacement of flooring or wall treatments, the hotel must comply
        with the room design specifications found in the Jump Start Fitness Guide on OnQ Insider.
        If equipment is in need of replacement, the hotel must replace existing equipment with
        commercial grade equipment from Precor, Hotel Fitness (True equipment) or Star Trac. See
        the Jump Start Fitness Guide for specifications. Cardio and strength equipment may not be
        mixed and matched among vendors.
        A. The on-premise fitness center must meet the square footage requirements for new con-
           struction as of July 1, 2008.
              Number	Minimum Required
              of Rooms	Square Footage

              < 80                          450 sq ft
              80-100                        525 sq ft
              101-120                       600 sq ft
              121-160                       675 sq ft
              > 160                         Add 3 sq ft for each room

             1. Hotels under PIP must increase their fitness center to the appropriate minimum
                required square footage for total number of rooms.
             2. Existing hotels with fitness centers are recommended to increase room size to two
                guest room bays, a minimum of 450 sq. ft.
             3. Existing hotels without a fitness center are recommended to add a fitness center
                and may limit the space to one guest room bay, a minimum of 250 sq. ft.
             4. Fitness centers must not include a shower, bathtub, or bath fixtures. A toilet and
                sink are permitted.
             5. Hotels with more than 160 rooms must contact the Hampton Brand for additional
                equipment requirements.
        B. All fitness center walls must have Type II vinyl wallcovering with a minimum total
           weight of 15 oz. per linear yard or a textured 100% acrylic knock-down wall finish
           product. The vinyl/knock-down wall color must be similar to the neutral color listed in
           the fitness design guide. An interior accent wall of vinyl must be one of five pre-selected
           Make it Hampton welcome wall colors. Knock-down accent wall must be of coordinat-
           ing paint color consistent to the pre-selected MIH colors listed in the Jump Start Fitness
           Guide.



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                   A knock-down finish is recommended in areas of high humidity such as coastal areas or
                   southeastern states.
                   See Standard 309.03D for specifications and approved knock-down vendors.
              C. Provide a ceiling of 9’0” or higher to accommodate exercise equipment.
              D. Use of the facility must be complimentary and available for registered guests seven days
                 a week. At a minimum, the hours of operation must be between 6:00 a.m. and mid-
                 night.
              E. When possible, the fitness center shall overlook the pool area. The fitness center may
                 not be accessed directly through the pool area, nor may the pool area be accessed by
                 going through the fitness center.
               F. Entry door must have a vision panel (half lite or the maximum code will allow) and
                  be accessed by key card only. The vision panel may not have window treatments other
                  than specified graphics from the Hampton Brand. The deadbolt function must be dis-
                  abled. Any side lites may not receive window treatments for guests’ safety.
              G. Two-inch wood blinds matching décor are required on exterior facing windows. Cor-
                 ridor facing windows are required to display approved graphics only. See the Jump Start
                 Fitness Guide for ordering information.
              H. The fitness center must contain the following pre-selected equipment. Reference the
                 Jump Start Fitness Guide for vendor specifications.
                       Facility size (square feet)   200+   300+       400+         500+         600+

                       Treadmill                      1      2          2             3            3
                       Elliptical Fitness Trainer     1      1          1             1            2
                       Cycle, Recumbent               1      1          1             1            2
                       Functional Training System
                       or Dumbbells system		                 1          1             1            1


               I. Universal strength training equipment or dumbbells, rack and bench combination are
                  required for rooms greater than 400 sq. ft. See the Jump Start Fitness Guide for specifica-
                  tions.
               J. Personal Viewing Screens (PVS) are not required, but optional. If a hotel opts to use
                  PVS, the following must be provided:
                     1. Adjustable headset with foam ear covers for each piece of equipment must be avail-
                        able at all times.
                     2. Offer guests replacement, one-time-use, foam earpieces for headsets as sanitary
                        options between guest uses. Replacement parts should be stored in a wire mesh
                        basket and available on the towel station at all times. Professional signage designed
                        to match existing signage should be visible on towel station to direct guests to
                        replacement pieces. Purchase approved signage from Harlan Graphics.


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              K. A sign outlining applicable health and safety information for use of the fitness center
                 must be posted. Only the approved rules signage, as part of the fitness graphics package,
                 may be used.
              L. Televisions
                   A commercial LCD television with remote control is required and must be easily view-
                   able from all equipment locations.
                     1. The fitness center television must meet the following specifications:
                          a. Minimum 32" Widescreen (16:9) LCD Screen (Maximum size 42")
                          b. High Definition display capable of receiving 1080i signal (60Hz)
                          c. ATSC Digital Tuner built-in
                     2. Television should be set with closed caption as default.
                     3. Remote control must be accessible to guests at all times.
                     4. Television must be wall or ceiling mounted. In cases where the fitness center shares
                        a wall with a guest room, the ceiling mounted option must be used.
                     5. The power and cable outlets and cords must be concealed from view behind the
                        television.
             M. A wall-mounted house telephone is required. It must be mounted near the entry door,
                48" AFF as measured to the top of the phone. This phone must ring directly to the front
                desk switchboard when lifted off the cradle.
              N. A 10"to 20" wall-mounted clock with a white face and black numbers must be provid-
                 ed.
              O. A high quality commercial grade scale is optional if space permits.
               P. An adequate supply of towels, neatly displayed in an Orion towel and hamper station
                  or 30" minimum wooden equivalent must be provided for guests using the facility.
                  Towel station must match décor in color and must not exceed 40". Three decorative
                  robe hooks must be mounted near the towel station.
              Q. A five (5) gallon water cooler with cup station must be provided for guest use. Water
                 cooler should coordinate with fitness center. Bottleless water coolers are permitted. See
                 the Jump Start Fitness Guide for product specification from Aquaverve.
              R. Hotel must maintain hygienic wet wipes for guest use. Hygienic wipes do not replace
                 daily disinfecting during the cleaning process. Consult equipment owner’s manuals for
                 recommended cleaning solutions.




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               S. A décor enhancing, metal trash can must be present in the fitness center. Trash can must
                  be a minimum of 13 quart capacity and may not include a logo.
               T. Flooring shall be of EcoSurfaces or equivalent rubber flooring with a minimum of 6mm
                  interlocking, Bedrock Color (charcoal). Consult Jump Start Fitness Guide for details.
              U. Wall base must be a contoured millwork by Johnsonite or equivalent. Color should be
                 charcoal in color to complement flooring.
                   Mandalay – 6"H x 3/8" D x 8' L, rectangular profile with 45º chamfer top
                   Reveal – 6" H x ¼" D x 8' L, 45º angular top and 7/32" wide surface reveal
              V. Wall mirrors must be installed flush mount or leaning, a minimum of 7' x 7' frame. Ex-
                 isting properties may utilize a retro frame kit for mirrored walls, if applicable. Consult
                 Fitness guide for more details. Framing color must coordinate with room decor.
             W. Locate electrical outlets convenient to the equipment and out of guest traffic areas to
                prevent tripping.
              X. Recessed ceiling light fixtures are recommended. Recessed fixtures are required when a
                 suspended acoustical tile ceiling is provided. If surface mounted light fixtures are pro-
                 vided, they must be decorative or trimmed in wood and finished to match the door or
                 decor. Plans and fixture specifications must be submitted to Hilton Hotels for review
                 and approval. The light level must be a minimum of 20 foot-candles measured at the
                 floor. The lights must be wired so that they remain on at all times or be key switched.
               Y. Distributed audio (background music) is optional in fitness centers. (See Standard
                  614.00 in Distributed Audio Standards in the Information Technology section.)
308.02 Swimming Pool/Whirlpool
              A. General
                     1. Minimum pool area is 500 sq. ft. (46.45m2) sloping uniformly from 3'-0" (.91m)
                        at one end to 5'-0" (1.52m) maximum at the other end. Kidney shaped or other
                        “free-form” pools are to have a minimum water area equivalent to the above. The
                        Hometown prototype allows a 400 sq.ft. minimum pool area. The depth must be
                        measured 24" from the edge of the coping to the water surface.
                     2. Hot or dry saunas and steam rooms are not allowed.
                     3. Fiberglass and stainless steel pools/whirlpools are not permitted.
                     4. Whirlpools are allowed but not required.
              B. Coping/Deck
                     1. All coping is to have a non-slip finish.
                     2. The deck around the pool/whirlpool must have a non-slip surface.
                         Recommended: Deck surface finished with Kool Deck.



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                     3. A minimum 5'-0" (1.52m) wide deck around all pools and 2'-0" (.61m) wide deck
                        minimum around whirlpools is required. A swimming pool and whirlpool must
                        be separated by 5'-0" (1.52m) minimum wide deck. In addition, a minimum 500
                        sq. ft. (46.45m2) of deck area must be provided adjacent to the swimming pool for
                        seating. If an indoor pool area is utilized, the deck area may be reduced to 300 sq.
                        ft.
                     4. Drainage for the deck area must be provided.
              C. Pool Markings
                     1. “No Diving” Markings
                         Swimming pools and whirlpools must have “No Diving” markings clearly dis-
                         played on the deck coping with recessed tile markings. Letters must be a minimum
                         of four (4) inches in height.
                     2. Water Depth Markings
                         Depth markings must be displayed on the deck coping at various locations around
                         the pool/whirlpool perimeter at reasonable intervals on each side and end and at
                         locations denoting every 12" of depth change. Depth markings must also be on
                         the pool/whirlpool rim above the water line. Lettering must be at least 4" high.
                         All markings must indicate measurements in feet but may also include meters. For
                         dual units of measurement, “feet” will be above the metric unit. Wherever islands,
                         fountains and other structures are located within pools, depth markings must be
                         posted thereon and must be visible from the opposite pool edge.
              D. Pool Fencing
                   Aluminum or steel perimeter fencing must be provided around exterior pools. All
                   pool gates must be self-closing and self-latching. Minimum fence height must be 48"
                   (1.22m). The fence must have a top cap which is 2" x 51⁄2" with a sloped top or half
                   round top. Fence color must be approved by Hilton Hotels. The picket spacing must be
                   a maximum of 4" on center unless the local regulatory requirements are more stringent.
              E. Pool Phone
                   An emergency house phone must be provided at the pool. It must be in a weathertight
                   enclosure for exterior pools. When the receiver is lifted, the phone must automatically
                   dial the front desk or local emergency authority if required by local authorities. The top
                   of the phone must be mounted 48" from the floor or deck.
               F. Drinking Fountain
                   A drinking fountain must be provided within the indoor pool area.
              G. Exposed Metal Accessories
                   Where used, exposed metal accessories are to be chrome-plated brass/bronze or stain-
                   less steel.



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              H. Steps/Ladders
                   Steps with uniform treads and risers and a handrail must be provided at the whirlpool
                   and shallow end of the pool. Ladders must be provided at the deep end of the pool.
               I. Diving Boards
                   Diving boards and slides are prohibited.
               J. Floater Line
                   A floater line is required to separate deep and shallow water levels if required by code
                   or if the pool includes anything but a gradual change in depth.
              K. Filtration/Pump
                     1. Filtration and pump equipment must have the capacity to recirculate the entire
                        contents of the pool within a six hour period.
                     2. Conventional sand filters, high-rate sand filters or pressure type diatomaceous
                        earth filters are acceptable.
                     3. Equipment must include gauges, sight glass and air release valves. Installation and
                        equipment are subject to local health regulations.
              L. Disinfectant/Chlorination
                   Chlorination is required or an alternate form of pool water purification such as ozone
                   treatment and bromination if allowed by the local governmental authority. The system
                   must meet all local health department regulations.
             M. Safety Equipment
                   The following equipment is required and must be provided and/or be readily available
                   at every pool, even when the pool is closed (including off season):
                     1. One shepherd’s hook with a minimum length of twelve feet (12').
                     2. Two United States Coast Guard or international equivalent life rings for each swim-
                        ming pool. Each life ring must be attached to a line with a minimum diameter of
                        3⁄16". The length of the line must be one and half times greater than the largest
                        dimension of the pool.
                     3. Anti-vortex covers for primary drains and all suction inlets at pools and whirlpools.
                     4. Automatic drain blockage detection relief or pump shutdown device for pools and
                        whirlpools.
                     5. At least one ADA approved means of accessible entry for disabled and/or wheel
                        chaired guests into pools and whirlpools.
                     6. Signage listing rules for usage, hours of operations and health warnings for pools
                        and whirlpools.




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                     7. A professionally fitted pool cover must be installed when the pool is closed for the
                        season. The temporary use of pool covers is prohibited. When used, pool covers
                        and their installation must meet the requirements of the ASTM Standard Perfor-
                        mance Specification for Safety Covers and labeling Requirements for all Covers for Swim-
                        ming Pools, Spas and Hot Tubs, F1346 [R1996].
              N. Electrical
                     1. One (minimum) underwater light is required and must be activated during hours
                        of darkness.
                     2. The circuits supplying the underwater lighting fixtures must be low voltage and
                        must be protected through an approved ground fault interrupter that will automat-
                        ically de-energize the circuit should a short circuit or voltage leak occur. One circuit
                        guard is required for each circuit.
                     3. All electrical outlets must be waterproof and contain ground fault interrupters.
              O. Perimeter Landscaping
                   Extensive perimeter landscaping is required at the pool area.
               P. Pool Lighting
                   Lighting must be provided around pool and whirlpool decks. Minimum requirement
                   is five foot-candles measured at the deck surface. Lighting must be directed away from
                   guest room windows.
              Q. Enclosed Swimming Pool
                     1. When an enclosed swimming pool is provided, its exterior design must be consis-
                        tent with the exterior design of the main building. The pool area must be separated
                        from the rest of the hotel with a vapor barrier.
                     2. Acceptable floor finishes include Kool Deck and slip resistant ceramic tile. Other
                        finishes may be submitted to Hilton Hotels for consideration.
                     3. The wall finish must be appropriate for an enclosed pool environment. Acceptable
                        wall finishes include synthetic stucco, such that is used on the building’s exterior,
                        moisture resistant gypsum board with a knock-down textured finish, enamel paint
                        and ceramic tile. If the textured gypsum board finish is used, it is recommended
                        that a four foot high ceramic tile wainscot also be used.
                     4. A finished ceiling must be provided in the pool area. Exposed painted structure
                        and ductwork are not acceptable. However, painted, exposed spiral ductwork is ac-
                        ceptable. Acceptable ceiling finishes include exterior gypsum ceiling board with an
                        enamel painted finish; a suspended acoustical ceiling system with a painted alu-
                        minum grid and vinyl-coated, moisture-resistant ceiling tiles; and synthetic stucco.
                        All ductwork, conduit, sprinkler piping and other plumbing must be concealed by
                        the ceiling system. All ceiling system hanger wires must be stainless steel to prevent
                        corrosion. The minimum acceptable ceiling height in the pool area is 9'-0". Light
                        fixtures must not be located over the pool water.

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                     5. The finishes and materials in the pool area should provide an acceptable acoustical
                        environment. The use of acoustical ceilings, banners, etc., should be considered.
                        Sound ratings between pool and adjacent guest rooms must be 54 STC.
                     6. When an indoor pool is located adjacent to public areas, provide 2" wide hori-
                        zontal blinds on windows between the pool and public space. The location and
                        size of such windows are subject to approval.
                     7. Provide a vapor barrier to prevent condensation from forming on building walls
                        and ceilings. Locate supply air registers to minimize condensation on windows. Ad-
                        joining fitness centers and their entry way must be located outside the pool room
                        envelope due to sensitive electronic controls on exercise machines.
                     8. A complete HVAC and dehumidification system must be provided to maintain the
                        area at 80˚F dry bulb and 50 percent (inactive time) to 60 percent (active time)
                        relative humidity with minimum requirements as follows:
                         The packaged dehumidification and A/C unit must be capable of dehumidifying
                         and cooling the space. Include a coaxial, double wall, cupro nickel swimming pool
                         heater vented for contamination prevention and recovery of latent heat from con-
                         densed moisture (spa energy recovery is not required). Pool heater vents must not
                         terminate within ten feet of an operable window. The unit is to be completely fac-
                         tory assembled, wired, piped and tested with the test report available upon request.
                         All coils are to be coated with a corrosion resistant material and the evaporator coil
                         is to be a minimum of six rows deep. Include a microprocessor control system with
                         solid state sensors and a remote mounted solid state control panel with LED indi-
                         cations and service diagnostics located in the pool room. Open type temperature
                         and humidity contacts are not acceptable. Provide a separate gas fired duct heater
                         with stainless steel heat exchanger, two-stage heating, stainless steel burners, spark
                         ignition and power venter for area heating. If natural gas is not available, provide
                         electric two-stage heating coil per any NEC requirements. Dehumidifier must be
                         Dectron model DS/RS Dry-O-Tron or equivalent.
                     9. A pool heater must be provided.
                   10. Pool equipment rooms may not be located below guest rooms.
                   11. If sliding glass doors are provided at the exterior walls of the pool building, they
                       must be equipped with locking hardware. Adequate emergency exits with panic
                       hardware must be provided in addition to any sliding glass doors. All emergency
                       exits have illuminated exit signs with reserve power. Also, emergency lighting is
                       required in the pool area (minimum one foot-candle per square foot).
                   12. The requirements for outdoor pools regarding pool size, pool furniture, safety
                       equipment, etc., also apply to enclosed swimming areas. The additional deck area
                       required may be reduced to 300 sq. ft. (Umbrellas are recommended but not re-
                       quired at indoor pools.)
                   13. Pool supplies are not to be stored in the same room as dehumidification equip-
                       ment.

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                   14. Provide a remote card reader that is operated by guest room card keys at the indoor
                       pool entrance door. Remote card readers are also required at doors from the indoor
                       pool to the outdoor sun deck unless the sun deck is enclosed with a fence. The
                       fence must be the same as required for outdoor pools.
                   15. Window frames must be aluminum.
                   16. Door frames must be aluminum where possible.
                   17. The entry door into the pool area must have a vision panel or a sidelight adjacent
                       to the door. A full glass and aluminum door is recommended.
                   18. The room lights must be wired so that they remain on at all times or be key
                       switched.
              R. Furnishings
                     1. Pool furnishings must be commercial quality. All table tops must be of a shatter-
                        resistant material. A combination of chairs and chaises must be provided to seat a
                        minimum of 16 guests except in the Hometown prototype, where the minimum
                        number of seats must be as shown in the prototype drawings. The minimum seat-
                        ing requirement may vary for certain markets. At least two tables with sunscreen
                        umbrellas must be provided at exterior pool locations.
                     2. Self-extinguishing, commercial, plastic trash urns with enclosed tops must be pro-
                        vided.
                     3. Plant containers with high quality silk or polyester (no plastic) plants must be
                        incorporated into the overall layout of the pool furnishings for indoor pools.
                     4. Window treatment is optional at the exterior windows in the pool enclosure area.
                     5. Hotels must maintain a minimum path of travel that is compliant with ADA re-
                        quirements.
                     6. Distributed audio (background music) is optional in the pool area. (See Standard
                        614.00 in Distributed Audio Standards in the Information Technology section.)




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309.00 Guestrooms/Suites
309.01 Room Types/Layouts
        A. Refer to Standard 313.00, Room Layouts, regarding room/suite types.
        B. A minimum of 10 percent of the guest rooms must be connecting, including the hand-
           icap accessible rooms. The connecting rooms must be comprised of a variety of room
           and suite types and 50 percent of the handicap accessible rooms.
        C. Reference each room and suite layout in Standard 313.00, Room Layouts for the mini-
           mum furnishings and room dimensions. The 14'-0" bay king room must be used on all
           new construction projects. The bay width may change depending upon its placement in
           the building. Any odd size or shaped rooms and suites must be submitted for approval
           by Hilton Hotels on an exception only basis.
        D. Up to 50 percent of the room count in any Hampton hotel may have showers only.
           The shower only inventory is limited to king rooms. All room types with two beds or
           a sleeper sofa are considered multiple occupant rooms and must have a tub/shower
           combo; this includes all studios.
        E. In a Hampton Inn, up to ten percent of the key count may be studio suites. The queen
           room is not allowed as a room type.
         F. In a Hometown prototype, the room mix must be 30 percent single queen rooms and
            70 percent double/queen rooms or 70 percent single queen rooms and 30 percent dou-
            ble/queen rooms. A maximum of ten percent of the room count may be used for alter-
            nate room types. Only studio suites or king spas may be used as alternate room types.
        G. In a Hampton Inn & Suites, the studio suites must be at least 30 percent but not more
           than 50 percent of the key count. Two room suites or other suite configurations will
           be considered when market conditions warrant alternate suites. In no case may there
           be more than ten percent of the key count of alternate suites. If alternate suite configu-
           rations are provided for a Hampton Inn & Suites hotel, they may not be used to satisfy
           the minimum requirement for 30 percent studio suites. Also, the number of studio
           suites plus alternate suites may not exceed 50 percent of the key count in a Hampton
           Inn & Suites hotel. The queen room is not allowed as a room type.
        H. Kitchens are no longer allowed in either Hampton Inn or Hampton Inn & Suites. Built-
           in microwave and refrigerator with a bar sink is allowed but is considered part of a stu-
           dio and must be included in the studio room key count.
309.02 Floors
        A. The floor assembly must have an STC rating of 50 and an IIC rating of 55.
        B. All floor penetrations must be sealed with fireproofing material to ensure fire rating
           between floors.




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             C. Tiled Floors
                 Decorative porcelain tile floor and tile base is required at the entry to all rooms and
                 suites including in front of the wet bar in the studio suites. When two room suites are
                 allowed, the floor finish in the kitchen area must be porcelain tile. Tile must be nomi-
                 nal 12" x 12" minimum with a rectified edge to minimize grout joint size and is recom-
                 mended to include base tiles, corners, etc. Vinyl tile and/or granite tile is not acceptable.
                 The tile below is pre-approved. Visit hamptonfranchise.com > D & C > Standards >
                 Alternate for more pre-approved manufacturers. All other tile is subject to approval by
                 Hilton Hotels Corporation.

                 Product Specification: Porcelain Tile
                 Manufacturer:          Dal-Tile                                 Designer Tile & Stone
                                        1713 Stewart Street                      115 Newfield Avenue, Suite C
                                        Santa Monica, CA 90404                   Edison, NJ 08837
                 Contact:               John Hall
                                        (310) 453-9112                           (800) 959-8453
                                        (310) 453-1783 fax                       (732) 225-0660 fax
                 Description:           PORCELAIN TILE                           PORCELAIN TILE
                 MFR Stock #:           BXO3                                     N/A

                 Specifications
                 Pattern:               BRIXTON                                  N/A
                 Color:                 MUSHROOM                                 PABLO
                 Dimensions:            12" X 12" (BASE 3" X 12")                12" X 12" (BASE 3" X 12")
                 Shade Variation:       MODERATE                                 RANDOM
                 Tile Thickness:        5/16"                                    5/16"
                 Grout Color:           #94 STRAW ULTRACOLOR                     #94 STRAW ULTRACOLOR
                                        BY MAPEI                                 BY MAPEI
                 Grout Joint:           3/16" MAXIMUM                            3/16" MAXIMUM
                 Coefficient of
                 Friction:              > .60 WET, > .65 DRY                > .60 WET, > .66 DRY
                 Distribution:          GUEST ROOM FLOORS, BATH FLOORS, BATH TUB/SHOWER SURROUND
                 General:               * ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY WITH
                                        STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN STANDARDS.
                                        * GENERAL CONTRACTOR TO FIELD VERIFY QUANTITY REQUIREMENTS.
            D. The floor covering in all guest rooms must be wall-to-wall carpet. One seam maximum
               is allowed per guest room. See Standard 302.03 for more requirements.
309.03 Walls
             A. Partition walls that separate guest room units must be of fire-resistant construction with
                a minimum one-hour fire rating and an STC rating of 50 or better.
            B. Corridor walls are to be of one-hour fire-rated con­struction, regardless of building size/
               design, and have an STC rating of 50 or better. STC ratings are to be determined
               according to Gypsum Association Standards. Fire ratings are to be determined accord-
               ing to UL standards.


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             C. Additional soundproofing is required between guest room units and commercial or
                service areas and elevators. A minimum STC rating of 54 is required.
            D. Wall Finish
                 NOTE: New hotels, renovations, relicensing, change of ownership, PIP and room addi-
                 tions as of August 1, 2007, must comply with this standard.
                   1. All guest room walls except the bath must have Type I vinyl wallcovering with a
                      minimum total weight of 15 oz. per linear yard or a textured 100 percent acrylic
                      knock-down wall finish product.
                   2. The headboard wall color should be a different color therefore becoming an accent
                      wall.
                   3. A knock-down finish is recommended in areas of high humidity such as coastal
                      areas or southeastern states. The knock-down color must be a neutral color similar
                      to Beige unless specified otherwise in a pre-approved Hampton FF&E package. The
                      knock-down must be provided by one of the following approved manufacturers:
                        a. Plexture (Sierra or Landscape textures; Howard White color) with Teflon® by
                           Triarch Industries of Houston, TX; (800) 537-6111; www.triarchinc.com
                        b. Texturi by Comex Paints USA of San Antonio, TX; (800) 266-3987;
                           www.comexpaints.com
                        c. Supreme-Tex by U.S. Textures, Inc. of San Antonio, TX; (800) 414-8805
                        d. Quartz Silco (Fino, Damascus or Rustic Stone textures) by Perma Tone, Inc. of
                           Houston, TX; (800-permatone); www.permatone.com
                        e. Romatex by Levwall, Inc. of Marietta, GA; (800) 342-2747; www.levwall.com
                        f. Profinish (Emerald System Series II) by ProKo Industries
                   4. To submit a product for consideration as equal to one of the above approved
                      products, a sample of the proposed equal must be submitted, along with all the
                      technical and independent testing information relating to the proposed product as
                      described below.
                        a. Submit two samples (8" x 8" minimum) showing the specific color and texture
                           of the knock-down finish to your Hilton Hotels Corporation Project Manager.
                           If the product is approved, one sample will be retained and one will be re-
                           turned and must be kept on file at the jobsite for reference.
                        b. All submitted products must meet the following Minimum Performance Char-
                           acteristics:
                                1) A perm rating of greater than 16 for the system, including basecoat, prim-
                                   ers, texture coats, etc.

                                2) Scrub resistance of minimum of 2500 scrubs before failure ASTM D
                                   2486-89

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                                3) A minimum dry film thickness of 10 mils or greater

                                4) VOC levels of 1.0 lbs. per gallon or less ASTM-D 3960

                                5) A minimum of 5-year product performance warranty and a 5-year war-
                                   ranty against mold and mildew growth. (Product must have been in com-
                                   mercial use for a time period that meets or exceeds factory stated warranty
                                   period.)

                                6) A product listing a “SEALER” as part of the system is not acceptable

                        c. Other manufacturers’ products, which comply with the above minimum per-
                           formance quality requirements, may be considered by Hilton Hotels provided
                           such products are submitted to Hilton Hotels for review with sufficient time
                           allowed for evaluation. Submit proposed substitute products with supporting
                           documentation to verify conformance with the above requirements. All pro-
                           posed substitute products must provide Independent Laboratory Test Results to
                           support their claims. Submitted Independent Lab Test Results must be on the
                           testing lab letterhead, test results on the manufacturer’s letterhead will not be
                           accepted.
                   5. Knockdown using drywall mud with paint or smooth painted walls is unacceptable
                      in all instances.
                   6. No product is to be considered approved until Hilton Hotels Corporation provides
                      written approval.
                   7. The bath area must have Type I, 15 oz. vinyl wallcovering regardless.
309.04 Ceilings
             A. No ceiling must be less than 7'-0" (2.13m) in height. Guest bedroom and living area
                ceilings must be a minimum of 8'-0" high. 8'-8" is recommended. Guest room bath
                and entry ceilings are to be a minimum of 7'-4" high. Local codes may require higher
                ceilings.
             B. Guest room ceilings are to be of a sprayed Aristex texture finish as supplied by Proko
                Industries or equal. Color must be “ceiling white.” Other ceiling finishes are subject to
                approval by Hilton Hotels Corporation.
             C. Dressing areas, baths and furrdowns over the wet bar are to be smooth painted drywall.
            D. When 2' wide precast concrete planks are used for the floor/ceiling system, a furred
               drywall ceiling must be applied. Planks which are 3' or wider do not have this require-
               ment, but imperfections such as badly misaligned planks and air pockets must be ad-
               dressed as necessary to achieve an acceptable appearance.




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309.05 Doors
             A. Guest Room Entry Doors
                   1. Entry doors must be 13/4" (4.45cm) solid embossed tempered hardwood, painted,
                      two-panel doors or approved alternate. They must have a 20-minute fire rating
                      indicated by permanently attached UL labels.
                   2. Guest room entry doors are to be a minimum of 3'-0" x 6'-8" (.91m x 2.03m).
                   3. Door Frames
                        a. Frames must be hollow metal with a 20 minute fire-rating and must be prop-
                           erly secured and installed.
                        b. 18 gauge, fully welded frames or three piece metal frames are required. Knock-
                           down frames with snap-on-trim are not permitted in any case.
                        c. Framed, non-masonry walls must be reinforced on both sides of the jamb to
                           prevent prying and flexing for security control.
                        d. Vinyl sound stripping is required on all guest room entry doors. Sound strip-
                           ping must be equal to “Cush-N-Seal” by Door and Hardware Systems, Inc. or
                           S773 by PEMKO
                   4. Door Hardware
                        a. Doors must be self-closing and self-latching. Doors to have three commercial
                           hinges with a commercial grade door closer with cover.
                        b. Tamper-proof, one-way viewers at 60" AFF are required for all guest room en-
                           trance doors. A second viewer must be mounted at a height as required by ADA
                           in all accessible guest rooms.
                        c. A door guard equal to Ives 482 with edge guard mounted at 48" AFF is re-
                           quired for all guest room entrance doors. Ensure that door guard does not in-
                           terfere with the light switch.
                        d. A door sweep equal to Door and Hardware Systems (DHS) Cap Sweep, #CS36,
                           or Pemko’s 2343 or 2173 is required. The make up air feature for these sweeps
                           may be utilized if needed. Recommend automatic door bottoms be used when
                           possible to reduce sound and light infiltration.
                        e. Kick plates are not permitted on guest room doors.
                        f. DHS’s “Fire Threshold” FT—2.75 or Pemko’s V232 or V2325 must be used to
                           protect carpet seams at the guest room entry threshold.




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                        g. An electronic lockset with lever handle for hotel/motel usage is required. An
                           approved vendor and models must be used. Contact Hilton Hotels Corpora-
                           tion for the approval list. The electronic locksets must have the following fea-
                           tures:
                                1) Lockset must be mortise design Grade 1 or 2L, ANSI 15613 Series 1000.

                                2) Trim and operation must comply with ADA standards.

                                3) The lock must have a deadbolt with a hardened steel insert with a mini-
                                   mum throw of 1" (2.54cm).

                                4) The latch bolt must be a deadlocking type with a two-piece anti-friction
                                   mechanism and a minimum throw of 3⁄4" (1.9cm).

                                5) An occupancy indicator is required.

                                6) The lock must re-key after each guest use.

                                7) The lock must use an encoded card key for each guest operation.

                                8) The lock must have master key and emergency master key functions.

                                9) Master and emergency levels must be re-keyable by the hotel employees.

                            10) The lock must have an audit/interrogation feature.

                            11) The lock system must have back-up battery power.

                            12) The lock system must have a minimum one-year manufacturer’s warranty.
                                13)The latch bolt is to be operated by the inside lever at all times and
                                from outside by guest key card.

                            14) The deadbolt is to be engaged by a turn piece on the inside of the room.

                            15) When the deadbolt is projected, all keys except emergency keys must be
                                inoperable.

                            16) The emergency key also acts as a lockout key.

                            17) When the deadbolt is in a projected position, turning the inside lever
                                must retract the latch bolt and deadbolt simultaneously.

                        h. Hardware Finish
                            Door hardware must be US26D Satin Chrome or US4 Satin Brass. 26D is pre-
                            ferred for durability reasons. The finish on all hardware must be the same, in-
                            cluding hinges.



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             B. Connecting Room Doors
                   1. Rooms, when connected, are to be separated by two 20-minute fire-rated, 3'-0"
                      x 6'-8" solid core wood doors. The door frame must be the full width of the wall
                      thickness to allow the doors to open 180˚. (See Prototypical Plans.) Ten percent of
                      the guest rooms must connect.
                   2. Door Hardware
                        a. Connecting doors must have a latch set equal to Corbin 463-5611 x 23⁄4 x
                           217L13 with an operating lever on the room side only.
                        b. Each door is to have a thumb-turn deadbolt with 1" throw such as Falcon
                           Hardware Company catalog #D-861. A blank plate must be installed on the
                           opposite side of the door.
                        c. Each door must have 11⁄2 pair of butts.
                        d. Provide door guard same as entry door on both connecting doors.
                        e. Provide sound stripping same as entry door on both sides of the door frame.
                        f. Provide door sweeps same as entry door on both doors for sound attenuation.
                        g. All hardware finishes to match entry door hardware finish.
                        h. Moveable wall partitions are not permitted between adjoining guest rooms.
             C. Door Stops
                 Wall-mounted door stops are required for all doors. Floor-mounted door stops are not
                 permitted.
            D. Door Numbers
                 Refer to Standard 405.00, Trademarks and Identity, for signage requirements.
309.06 Windows
            Refer to prototype drawings for size and location of required guest room windows.
             A. Each guest room must have a minimum of 16 sq. ft. (1.49m2) of window area. Codes
                may require additional window area due to the room size.
             B. Glass must be double glazed in painted aluminum frames or approved equal. Double-
                insulated room unit glazing should be designed flush to the exterior frame to prevent
                water build-up and dirt retention. Window units may use annealed glass, where permit-
                ted. Frames must be thermally broken in areas where ASHRAE design temperature is
                below 32˚F. Frames must be properly sealed, both inside and outside. Colors for glass
                and frames must be as noted in Standard 302.02.




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             C. Glass is to be fixed except where operable glass is required by local codes/requirements.
                Operable windows, if provided, must have a locking device approved by Hilton Hotels
                and may not open more than 4” unless required otherwise by code. Once opened, the
                window must remain in the open position without having to be propped open. All
                window sections must meet or exceed AWMA specifications for commercial windows.
            D. Thru-wall HVAC wall sleeves occurring in guest room/suite windows must be properly
               sealed, inside and out. (See Prototypical Plans.)
             E. Louvers for thru-wall HVAC units in guest rooms must be furnished by the window
                manufacturer and must be architectural style with finish to match the window sections.
                These architectural louvers must be an integral part of the window system. Louvers must
                match style and finish as noted above and must match the free air requirement of the
                thru-wall unit selected.
              F. Window sills must be solid surface material.
309.07 Drapery
            See Standard 302.03D for information.
309.08 Closets
             A. Closets are required in guest rooms for all new construction projects (except in the
                Hometown prototypes queen room).
             B. Closets must be fitted with a laminate-covered shelf with a 2" (5cm) self-edged front.
                The shelf must have a depth of 15" (0.38m) and be mounted at 5'-10" AFF in stan-
                dard rooms and as required by ADA in accessible rooms. Fitted below the shelf must
                be a chrome or stainless steel bar not less than 1" (2.54cm) diameter. The bar is to be
                mounted at 5'-6" AFF in standard rooms. A plastic coated wire shelf and 5/8" diameter
                bar unit is acceptable as an alternate.
             C. Closets must have swinging mirrored doors (or sliding where shown) or hinged wood
                doors. Coordinate mirror door frame finish with adjacent door hardware. If mirrored
                doors are not provided, a full-length mirror (18" x 60") must be provided near the
                dressing area. Bi-fold doors are not allowed.
            D. Closets must have a minimum size of 1'-10" in depth and 2'-6" in width (interior di-
               mensions) with the doors closed.
             E. Floor finish is to be carpet with 4" carpet base.
              F. Walls are to have vinyl wall­covering or be smooth painted if the guest room has a tex-
                 tured wall finish. Color must match guest room walls.




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                                                                      Building and Furnishing
309.09 Bedding
             A. Every Hampton bed must meet a height requirement of 28" – 31" and include the fol-
                lowing Hampton approved items:
                   1. Bed skirt
                   2. Quilted fitted mattress pad (hotel quantity required: one turn plus ten percent)
                   3. Fitted bottom sheet (hotel quantity required: two and one half turns)
                   4. 200-plus thread-count top sheet (hotel quantity required: two and one half turns)
                   5. Duvet insert (hotel quantity required: one turn plus ten percent)
                   6. Duvet cover (hotel quantity required: three turns)
                   7. Jumbo feather and synthetic pillows
                   8. Pillowcases (hotel quantity required: two and one half turns)
                   9. Lumbar pillow (hotel quantity required: one turn plus ten percent)
                 10. Lumbar pillow cover (hotel quantity required: three turns)
                 11. Each Hampton room must have:
                        a. Red “freshen please” service signal on one bed per room
                        b. Blanket in approved zippered plastic bag (room quantity: one per room in
                           drawer or closet; hotel quantity: have enough blankets on hand for roll-away
                           beds and guest requests)
                       NOTE: No collateral other than the red “freshen please” service signal is to be
                       placed directly on the bed.
             B. Bed Base (MIH)
                 Bed bases are to be soundly constructed to support the outer rail of the wood box
                 springs and securely hold the mattress and box springs in place with rigid center sup-
                 port characteristics. Bed base heights are to be coordinated with mattress sets to achieve
                 a total bed height* between 28" (minimum) and 31" (maximum) except in accessible
                 rooms. Metal bed frames are required in the ADA rooms. Bed frames (6" to 7½" in
                 height) must be provided in accessible rooms for lift accessibility.
                 * Bed Height: Measurement of the finished bed, including base, mattress set and bed-
                   ding.




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                                                                      Building and Furnishing
                 Product Specification:
                 King/Queen/Full XL Bed Base
                 (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for suppliers.)
                 Size:                 10"h, K-20/ Q-20/ F-20 LINWOOD BED BASE
                 Finish:               DARK BROWN LAMINATED WALNUT WOODGRAIN FINISH.
                 Description:          THREE CROSS SUPPORTS; SINGLE LEG ON QUEEN AND FULL XL SIZE AND
                                       CENTER PANEL FOR KING SIZE TO PROVIDE CENTER SUPPORT; LAMINATED
                                       INDUSTRIAL FIBRE BOARD PANELS; RECESSED DESIGN; NONTOXIC AND
                                       NONCOMBUSTIBLE; ALUMINUM CHANNEL LOCKS; BOXSPRING RETAINER
                 Note:                 METAL BOX BASES ARE ALLOWED.
                 Distribution:         KING, QUEEN OR FULL XL BED BASE AT TYPICAL GUESTROOM
                 General:              *ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY WITH
                                       STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN STANDARDS.

                 Product Specification:
                 King/Queen/Full XL Bed Frame, ADA Accessible
                 (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for suppliers.)
                 Size:                 7½" H INSTAMATIC FRAME
                 Finish:               BROWN ENAMEL FINISH
                 Description:          INSTAMATIC PREMIUM BED FRAME; 12 GAUGE 1¾ " X 13⁄8" ANGLE SIDE
                                       RAILS; CENTER SUPPORT WITH LEGS
                 Glide:                STEEL STEM WIDE STANCE GLIDE
                 Distribution:         KING, QUEEN OR FULL XL BED FRAME AT ADA ACCESSIBLE GUESTROOM
                 General:              * ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY WITH
                                       STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN STANDARDS.
             C. Mattresses
                 All mattress sets must be Serta® Perfect Sleeper’s Tranquility Nights™ (minimum),
                 Serta® Perfect Sleeper’s Dream Structure™, Spring Air® Brentwood or Spring Air® Grand
                 Suite and must meet the specifications that follow. All substitutions must be submit-
                 ted to Hampton Brand Management, 755 Crossover Lane, Memphis, TN 38117 prior to
                 ordering for approval. Once approved, the order may be processed. Any non-approved
                 beds are at risk of being rejected, therefore replaced, in order to comply with standards.
                 Approved manufacturer’s labels, which include Federal law labels, identification labels,
                 turn labels, and certification and specification labels, must be on each bed set.




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                                                                           Building and Furnishing
                 Product Specification:
                 Serta® Perfect Sleeper’s Tranquility Nights™ King/Queen/Full XL Mattress
                 (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for suppliers.)
                 MFR Stock #:          620042
                 Size:                 KING: 76" x 79½"/ QUEEN: 60" x 79½"/ FULL XL: 53" x 79½"
                 Innerspring:          ** 800 CONTINUOUS WIRE COIL; 143⁄4 GAUGE, SIX GAUGE BORDER WIRE;
                                       CLIPPED BORDER ROD; POSTURIZED CENTER THIRD; REINFORCED EDGE
                                       SUPPORT
                 Upholstery:           SYNTHETIC FIBER PAD INSULATOR; TOPPER: 13⁄8" ZONED CONVOLUTED
                                       FOAM
                 Quilt Fill:           COMFORT QUILT® WITH FLAME BLOCKER™; ONE LAYER OF 7⁄8" ZONED
                                       CONVOLUTED FOAM; 1 LAYER OF BATT FLAME BLOCKER; ONE LAYER OF 1⁄4"
                                       POLYURETHANE FOAM
                 Border:               MULTI-NEEDLE QUILTED
                 Cover:                BURLINGTON MONITOR; TREATED TO PASS NFPA 701
                 Flammability:         PASSES NFPA 107; KEVLAR THREAD; CERTIFIED TO BE MANUFACTURED IN
                                       ACCORDANCE WITH THE CAL TB-603
                 Warranty:             TEN YEARS NON PRORATED
                 Distribution:         KING, QUEEN OR FULL XL MATTRESS AT GUESTROOMS
                 General:              * ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY WITH
                                       STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN STANDARDS.
                                       ** QUEEN SIZE (STD.KING: 992; FULL XL: 748)

                 Product Specification:
                 Serta® Perfect Sleeper’s Dream Structure™ King/Queen/Full XL Mattress
                 (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for suppliers.)
                 MFR Stock #:          610042
                 Size:                 KING: 76" x 79½"/ QUEEN: 60" x 79½"/ FULL XL: 53" x 79½"
                 Innerspring:          **848 CONTINUOUS WIRE COIL; 141⁄2 GAUGE; SIX GAUGE BORDER WIRE;
                                       POSTURIZED CENTER THIRD; DUAL POSTURE EDGE
                 Upholstery:           SYNTHETIC FIBER PAD INSULATOR; TOPPER: 11⁄2" ZONED CONVOLUTED
                                       FOAM
                 Quilt Fill:           COMFORT QUILT® WITH FLAME BLOCKER™; ONE LAYER OF 7⁄8" ZONED
                                       CONVOLUTED FOAM; 1 LAYER OF BATT FLAME BLOCKER; ONE LAYER OF 1⁄2"
                                       POLYURETHANE FOAM
                 Border:               MULTI-NEEDLE QUILTED
                 Cover:                BURLINGTON CREAM SNOW; TREATED TO PASS NFPA 701
                 Flammability:         PASSES NFPA 107; KEVLAR THREAD; CERTIFIED TO BE MANUFACTURED IN
                                       ACCORDANCE WITH THE CAL TB-603
                 Warranty:             TEN YEARS NON PRORATED
                 Distribution:         KING, QUEEN OR FULL XL MATTRESS AT GUESTROOMS
                 General:              * ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY WITH
                                       STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN STANDARDS.
                                       ** QUEEN SIZE (STD.KING: 1040; FULL XL: 796)




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                                                                           Building and Furnishing
                 Product Specification:
                 Spring Air® Brentwood King/Queen/Full XL Mattress
                 (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for suppliers.)
                 MFR Stock #:          KING: NC146140 / QUEEN: NC146130/ FULL XL: NC146121
                 Size:                 KING: 76" X 80"/ QUEEN: 60" X 80"/ FULL XL: 54" X 80"
                 Innerspring:          COMFORT CARESS INNER SPRING DESIGN; 725** COIL, 14.5 & 14 GAUGE
                                       LFK: BACK SUPPORTER; FOAM ENCASED; POSTURIZED CENTER THIRD
                 Upholstery:           SLEEP SHIELD
                 Quilt Fill:           7/8" DENSIFIED POLYESTER PAD; 1" DENSIFIED COTTON PAD
                 Border:               MULTI-NEEDLE QUILTED
                 Cover:                TREATED TO PASS NFPA 701; HIGH LOFT FIRE RETARDANT FABRIC;
                                       BURLINGTON BLUE ICE; 7/8" SUPER SOFT FOAM; TREATED TO RESIST STAINS
                 Flammability:         NFPA VBS #701; KEVLAR THREAD; CERTIFIED TO BE MANUFACTURED IN
                                       ACCORDANCE WITH THE CA BUREAU OF HOME FURNISHINGS TECHNICAL
                                       BULLETIN 603*
                 Warranty:             10/10
                 Distribution:         KING, QUEEN OR FULL XL MATTRESS AT GUESTROOMS
                 General:              TURN LABELS; LAW TAGS; HEIGHT 12" +/- 1/2"
                                       * ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY WITH
                                       STATE, LOCAL FIRE & LIFE SAFETY CODES, AND HAMPTON INN STANDARDS
                                       ** QUEEN SIZE (KING: 928; CAL.KING: 961; FULL XL: 638)

                 Product Specification:
                 Spring Air® Grand Suite King/Queen/Full XL Mattress
                 (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for suppliers.)
                 MFR Stock #:          KING: NC145140/ QUEEN NC145130/ FULL XL NC145121
                 Size:                 KING: 76" X 80"/ QUEEN: 60" X 80"/ FULL XL: 54" X 80"
                 Innerspring:          COMFORT CARESS INNER SPRING DESIGN; 725** COIL, 14.5 & 14 GAUGE
                                       LFK: BACK SUPPORTER; FOAM ENCASED; POSTURIZED CENTER THIRD
                 Upholstery:           SLEEP SHIELD
                 Quilt Fill:           7/8" DENSIFIED POLYESTER PAD; 7/8" DENSIFIED COTTON PAD
                 Border:               MULTI-NEEDLE QUILTED
                 Cover:                TREATED TO PASS NFPA 701; HIGH LOFT FIRE RETARDANT FABRIC;
                                       BURLINGTON BLUE ICE; 7/8" SUPER SOFT FOAM; TREATED TO RESIST STAINS
                 Flammability:         NFPA VBS #701; KEVLAR THREAD; CERTIFIED TO BE MANUFACTURED IN
                                       ACCORDANCE WITH THE CA BUREAU OF HOME FURNISHINGS TECHNICAL
                                       BULLETIN 603*
                 Warranty:             10/10
                 Distribution:         KING, QUEEN OR FULL XL MATTRESS AT GUESTROOMS
                 General:              TURN LABELS; LAW TAGS; HEIGHT 13" +/- 1/2"
                                       * ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY WITH
                                       STATE, LOCAL FIRE & LIFE SAFETY CODES, AND HAMPTON INN STANDARDS
                                       ** QUEEN SIZE (KING: 928; CAL.KING: 961; FULL XL: 638)




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                                                                          Building and Furnishing
            D. Box Springs
                 All box springs must be Serta® Perfect Sleeper’s Tranquility Nights™ (minimum), Serta®
                 Perfect Sleeper’s Dream Structure™, Spring Air® Brentwood or Spring Air® Grand Suite
                 and must meet the specifications that follow. All substitutions must be submitted to
                 Hampton Brand Management, 755 Crossover Lane, Memphis, TN 38117 prior to order-
                 ing for approval. Once approved, the order may be processed. Any non-approved beds
                 are at risk of being rejected, therefore replaced, in order to comply with standards.
                 Approved manufacturer’s labels, which include Federal law labels, identification labels,
                 turn labels, and certification and specification labels, must be on each bed set.
                 Product Specification:
                 Serta® Perfect Sleeper’s Tranquility Nights™ King/Queen/Full XL Box Springs
                 (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for suppliers.)
                 MFR Stock #:          620042
                 Size:                 KING: 76" x 791⁄2"/ QUEEN: 60" x 791⁄2"/ FULL XL: 53" x 791⁄2"
                 Spring Unit:          **532 123⁄4 GAUGE; CONTINUOUS WIRE UNIT; SIX GAUGE BORDER WIRE;
                                       POSTURIZED CENTER THIRD; REINFORCED EDGE SUPPORT
                 Insulator:            HEAVY DUTY FIBER PAD
                 Border:               MULTI-NEEDLE QUILTED
                 Cover:                NON-SKID TOP
                 Flammability:         PASSES NFPA 107; KEVLAR THREAD; CERTIFIED TO BE MANUFACTURED IN
                                       ACCORDANCE WITH THE CAL TB-603
                 Warranty:             TEN YEARS NON PRORATED
                 Notes:                CORNER GUARDS; TURN LABELS; DUST COVER
                 Distribution:         KING, QUEEN OR FULL XL BOX SPRINGS AT GUESTROOMS
                 General:              *ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY WITH
                                       STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN STANDARDS.
                                       **QUEEN SIZE (STD.KING: 672; FULL XL: 476)

                 Product Specification:
                 Serta® Perfect Sleeper’s Dream Structure™ King/Queen/Full XL Box Springs
                 (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for suppliers.)
                 MFR Stock #:          610042
                 Size:                 KING: 76" x 791⁄2"/ QUEEN: 60" x 791⁄2"/ FULL XL: 53" x 791⁄2"
                 Spring Unit:          **532 123⁄4 GAUGE; CONTINUOUS WIRE UNIT; SIX GAUGE BORDER WIRE;
                                       POSTURIZED CENTER THIRD; REINFORCED EDGE SUPPORT
                 Insulator:            HEAVY DUTY FIBER PAD
                 Border:               MULTI-NEEDLE QUILTED
                 Cover:                NON-SKID TOP
                 Flammability:         PASSES NFPA 107; KEVLAR THREAD; CERTIFIED TO BE MANUFACTURED IN
                                       ACCORDANCE WITH THE CAL TB-603
                 Warranty:             TEN YEARS NON PRORATED
                 Notes:                CORNER GUARDS; TURN LABELS; DUST COVER
                 Distribution:         KING, QUEEN OR FULL XL BOX SPRINGS AT GUESTROOMS
                 General:              *ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY WITH
                                       STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INNSTANDARDS.
                                       **QUEEN SIZE (STD.KING: 672; FULL XL: 476)

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                                                                         Building and Furnishing
                 Product Specification:
                 Spring Air® Brentwood Box Springs King/Queen/Full XL Box Springs
                 (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for suppliers.)
                 MFR Stock #:          KING: NC146311/ QUEEN: NC146330/ FULL XL: NC146321
                 Size:                 KING: 76" X 80"/ QUEEN: 60" X 80"/ FULL XL: 54" X 80"
                 Spring Unit:          **416 13" GAUGE SH PEZ; CONTINUOUS WIRE UNIT; SIX GAUGE BORDER
                                       WIRE; REINFORCED EDGE SUPPORT
                 Insulator:            1" DENSIFIED COTTON PAD
                 Border:               MULTI-NEEDLE QUILTED
                 Cover:                NON-SKID TOP; TREATED TO PASS NFPA 701; HIGH LOFT FIRE RETARDANT
                                       FABRIC; BURLINGTON BLUE ICE; 7/8" SUPER SOFT FOAM; TREATED TO 		
                                       RESIST STAINS
                 Flammability:         PASSES NFPA 107; KEVLAR THREAD; CERTIFIED TO BE MANUFACTURED IN
                                       ACCORDANCE WITH THE CA BUREAU OF HOME FURNISHINGS TECHNICAL
                                       BULLETIN 603*
                 Warranty:             TEN YEARS NON PRORATED
                 Notes:                CORNER GUARDS; TURN LABELS; DUST COVER
                 Distribution:         KING, QUEEN OR FULL XL BOX SPRINGS AT GUESTROOMS
                 General:              *ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY WITH
                                       STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN STANDARDS.
                                       HEIGHT 7 1/2" +/- 1/4"
                                       **QUEEN SIZE (KING: 486; CAL.KING: 520; FULL XL: 364)

                 Product Specification:
                 Spring Air® Grand Suite Box Springs King/Queen/Full XL Box Springs
                 (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for suppliers.)
                 MFR Stock #:          KING: NC145311/ QUEEN: NC145330/ FULL XL: NC145321
                 Size:                 KING: 76" X 80"/ QUEEN: 60" X 80"/ FULL XL: 54" X 80"
                 Spring Unit:          **416 13" GAUGE SH PEZ; CONTINUOUS WIRE UNIT; SIX GAUGE BORDER
                                       WIRE; REINFORCED EDGE SUPPORT
                 Insulator:            1" DENSIFIED COTTON PAD
                 Border:               MULTI-NEEDLE QUILTED
                 Cover:                NON-SKID TOP; TREATED TO PASS NFPA 701; HIGH LOFT FIRE RETARDANT
                                       FABRIC; BURLINGTON BLUE ICE; 7/8" SUPER SOFT FOAM; TREATED TO RESIST
                                       STAINS
                 Flammability:         PASSES NFPA 107; KEVLAR THREAD; CERTIFIED TO BE MANUFACTURED IN
                                       ACCORDANCE WITH THE CA BUREAU OF HOME FURNISHINGS TECHNICAL
                                       BULLETIN 603*
                 Warranty:             TEN YEARS NON PRORATED
                 Notes:                CORNER GUARDS; TURN LABELS; DUST COVER
                 Distribution:         KING, QUEEN OR FULL XL BOX SPRINGS AT GUESTROOMS
                 General:              *ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY WITH
                                       STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN STANDARDS
                                       HEIGHT 7 1/2" +/- 1/4"
                                       **QUEEN SIZE (KING: 486; CAL.KING: 520; FULL XL: 364)




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                                                                             Building and Furnishing
             E. Bed Skirts
                 Hampton approved bed skirts are constructed from a proprietary fabric from Robert Al-
                 len Group. Robert Allen Group must be utilized upon bed skirt replacement. Robert Al-
                 len Group is the recommended manufacturer of completed bed skirts. All substitutions
                 must be submitted to Hampton Brand Management, 755 Crossover Lane, Memphis, TN
                 38117 for approval. Once approved, the order may be processed.
                 Hotels that purchased and installed MIH Generation II bedding (bed skirt and coverlet)
                 that is less than one year old as of December 31, 2005, may continue to use the Genera-
                 tion II bed skirt with the New Hampton Bedding as long as a color-coordinating lum-
                 bar pillow cover is purchased and installed. Approved colors are cinnabar, raffia, sand,
                 pear and azure.
                 Bed skirts must be constructed so that the length is one inch or less above the finished
                 floor.
                 Product Specification: King/Queen/Full XL Bed Skirt
                 (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog
                 for Robert Allen Group contact information.)
                 Fabric width:            54½"
                 Repeat:                  6.75" VERTICAL, 5.5" HORIZONTAL
                 Fabric:                  100 PERCENT FIRE RESISTANT POLYESTER; FABRIC MUST BE OF CONTRACT
                                          QUALITY AND SUITABLE FOR COMMERCIAL USE. FABRIC MUST BE FIRST RUN
                                          GOODS FROM FULL BOLTS. PRINTING, DYEING AND FINISHING METHODS
                                          SHOULD BE APPROPRIATE FOR USE OF FABRIC. FABRIC SHOULD BE PRE-
                                          SHRUNK, NON-FADING, NON-CROCKING, AND NONPILLING
                 Flammability:            ALL FABRICATION, LINING AND FABRIC must MEET LOCAL FIRE CODES
                 Style:                   FIVE-PLEAT TAILORED BED SKIRT WITH 4" END CAPS
                 Decking:                 SKIRT TO HAVE POLYESTER DECKING WITH 4" (100MM) WIDE PLATFORM
                                          STRIPS ON PERIMETER. PLATFORM STRIPS TO BE OF FACE FABRIC. DECKING
                                          MUST BE FLAME PROOF
                 Stitching:               ALL STITCHING TO BE DOUBLE OVERLOCKED AND SAFETY STITCHED.
                 Hem:                     SKIRT HEM IS A 1" STRAIGHT NEEDLE HEM. THREAD COLOR MUST MATCH
                                          FABRIC
                 Pleats:                  KING AND QUEEN: KING AND QUEEN SKIRTS HAVE FIVE INVERTED PLEATS.
                                          ONE PLEAT IS LOCATED AT THE CENTER OF EACH OF THREE SIDES
                                          AND AT BOTH END CORNERS
                                          FULL: FULL SKIRTS HAVE FOUR INVERTED PLEATS. ONE PLEAT IS LOCATED AT
                                          THE CENTER OF TWO SIDES AND AT BOTH END CORNERS
              F. Quilted Fitted Mattress Pads
                 Each bed requires a quilted fitted mattress pad which completely covers the mattress
                 with allowance for normal shrinkage after laundering (not to exceed 5" on any side).
                 A quantity of one turn, plus ten percent is required.




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                                                                              Building and Furnishing
                 Product Specification: King/Queen/Full XL Quilted Fitted Mattress Pads
                 (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for suppliers.)
                 Fabric:               50/50 cotton/poly blend top and bottom fabric

             G. Duvets and Covers
                   1. Duvet Inserts
                       Each standard and Murphy bed must have a duvet insert and cover. Our Hampton
                       approved duvet insert has a hypoallergenic synthetic fill. Duvet inserts must be
                       washed on an as-needed basis or at least quarterly. A quantity of one turn plus ten
                       percent is required.

                      Product Specification: King/Queen/Full XL Duvet Insert
                       (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for supplier.)
                       Thread Count:         250
                       Cover:                60/40 POLY COTTON BLEND WITH WHITE ON WHITE WOVEN STRIPE
                       Fill:                 Hypoallergenic poly
                       Size:                 King: 110 x 95/ Queen: 98 x 95/ Full: 92 x 95
                       Weight:                 King: 54 oz/ Queen: 48.6 oz/ Full: 45 oz

                   2. Duvet Covers
                       Each standard and Murphy bed must have a duvet insert and cover. A quantity of
                       three turns of duvet covers is required.

                      Product Specification: King/Queen/Full XL Duvet Cover
                       (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for supplier.)


            H. Sheets
                   1. A quantity of two and one-half turns is required for both flat and fitted sheets.
                      Standard beds must have two sheets provided per bed—one flat, one fitted. Sheets
                      must be white.
                   2. The sheets that have been specified as part of the new Hampton Bedding Experi-
                      ence will be phased-out in 2006-2007. During the normal replacement rotation,
                      purchase new sheets as specified below. Complete inventory replacement must be
                      made by December 31, 2007.




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                                                                                  Building and Furnishing
                      Product Specification: King/Queen/Full XL Sheets
                       (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for supplier.)
                       Label:                ALL SHEETS HAVE A LABEL STATING “HH COLLECTION”
                       Thread Count:         200
                       Fabric:               60 PERCENT COTTON/40 PERCENT POLYESTER
                       Hem size:             4” HEM AT TOP OF FLAT SHEET. 1" HEM AT THE FOOT. HEM IS COLOR
                                             CODED FOR SIZE DISTINCTION ON BOTH FLAT AND FITTED SHEETS.

                   3. Minimum sheet sizes and hem thread colors are specified as follows.
                       BED                  BED	FLAT SHEET	FITTED SHEET	                                              HEM
                       TYPE                 SIZE	MINIMUM SIZE	MINIMUM SIZE	                                         THREAD
                                                           Use with fitted bottom sheet           Deep Pocket        COLOR

                       FULL            XL 53" x 80"               81" x 110"                54" x 80" x 12"        Light Blue
                       QUEEN              60" x 80"               87" x 110"                60" x 80" x 12"        Navy
                       KING               76" X 80"             103" x 110"                 78" x 80" x 12"        Orange

                       NOTE: Sheet sizes MUST be coordinated with mattress selection. Serta Perfect
                       Sleeper’s Dream Structure™ mattress set or other thick mattress sets may require
                       deep pocket sheets and should be coordinated carefully. Suggested sheet sizes for
                       thick mattress sets: F 92" x 128", Q 102" x 128", K 116" x 128".
              I. Pillowcases
                 The Hampton pillowcase with the honeycomb logo print will be phased out in 2006
                 to a plain white, 250 thread-count pillowcase with satin piping trim. The plain white
                 pillowcase must be in place in all hotels by December 31, 2007. A quantity of two and
                 one-half turns is required.
                 As of May 31, 2006, king-size pillows/pillowcases will no longer be acceptable.
                 Recommended: Pillowcases must match per bed or per room. Mixing of honeycomb
                 print pillowcases and plain pillowcases on a bed or room is not recommended.
                 Product Specification: Jumbo Pillowcases
                 (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for supplier.)
                 Size:                 42" X 35
                 Trim:                 1/8” SATIN PIPING
                 Fabric:               60 PERCENT COTTON/40 PERCENT POLYESTER
                 Label:                HH COLLECTION
                 Hem thread color:     LIGHT BLUE




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                                                                      Building and Furnishing
              J. Pillows
                 Every Hampton guest room will have both jumbo feather and jumbo synthetic pillows.
                 King-size pillows/pillowcases are not acceptable. A red “freshen please” service signal
                 goes on one bed in each room. Arrange pillows in this way:




                                                                    queen or double bed




                                                                    king or one bed in a room



                   1. King beds have four pillows:
                        a. Two jumbo feather pillows on one side
                        b. Two jumbo synthetic pillows on the other side
                   2. Rooms with two queen or double bed have three pillows on each bed:
                        a. Three jumbo feather pillows on one bed
                        b. Three jumbo synthetic pillows on the other bed
                   3. Rooms with one bed, regardless of the size of the bed, are to be treated as king bed
                      rooms. The bed has four pillows:
                        a. Two jumbo feather pillows on one side
                        b. Two jumbo synthetic pillows on the other side
                 No other pillows are required in the room, i.e., for a sofa sleeper. Pillows to be posi-
                 tioned as overlapping and standing against the headboard. All pillows must comply
                 with the following specifications.



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                                                                        Building and Furnishing
                 Product Specification: Jumbo Synthetic Pillows
                 (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for supplier.)
                 Manufacturer:         DOWNLITE
                 Style:                BRENTHAVEN CLUSTER GREEN PILLOW
                 Dimensions:           JUMBO, 20" X 28"
                 Fill:                 23 OZ. (JUMBO) MINIMUM FILL WEIGHT. FILL TYPE TO BE CLUSTER FIBER,
                                       SHORT STAPLE, SILICONIZED, EXTRA REFINED, MICRO BLEND, POLYESTER
                                       AND HYPO ALLERGENIC.
                 Tick:                 T240, 100% COTTON.
                 Close:                OVERLOCK, SELF PIPE
                 Description:          TIGHT CLUSTERS INCORPORATING A DUAL COMPONENT FIBER OF 1.25"
                                       STAPLE, SILICONIZED, HOLLO CORE, BI COMPONENT (CHEMICALLY
                                       CRIMPED) CONJUGATE IN A BLEND WITH A SILICONIZED MICRO DENIER
                                       FIBER
                 Distribution:         KING, QUEEN OR FULL XL BED IN TYPICAL GUEST ROOM
                 General:              *ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY WITH
                                       STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN STANDARDS.

                 Product Specification: Feather/Down Pillows
                 (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for supplier.)
                 Manufacturer:         PACIFIC COAST
                 Style:                TOUCH OF DOWN
                 Dimensions:           JUMBO, 20" X 28"
                 Fill:                 29 OZ. (JUMBO); OUTER CHAMBER: HYPERCLEAN DOWN; INNER CHAMBER:
                                       95 PERCENT SMALL WHOLE FEATHERS / FIVE PERCENT DOWN.
                 Tick:                 BARRIER WEAVE; 230 THREAD COUNT; 100 PERCENT COTTON
                 Cambric:              WHITE; OUTER: 185 THREAD COUNT, 100 PERCENT COTTON (INNER);
                                       DOUBLE NEEDLE SEWN EDGE.
                 Label:                PACIFIC COAST WOVEN LABEL
                 Distribution:         KING, QUEEN OR FULL XL BED IN TYPICAL GUESTROOM
                 General:              *ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY WITH
                                       STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN STANDARDS.

                 Product Specification: Feather/Down Pillows
                 (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for supplier.)
                 Manufacturer:         GUEST SUPPLY
                 Style:                DOWN DREAMS
                 Dimensions:           JUMBO, 20" X 28"
                 Fill:                 29 OZ. (JUMBO); OUTER CHAMBER: SUPERCLEAN DOWN; INNER CHAMBER:
                                       95 PERCENT SMALL WHOLE FEATHERS/5 PERCENT DOWN
                 Tick:                 DOWN PROOF T233 THREAD COUNT, 100 PERCENT COTTON (INNER);
                                       WHITE (100 PERCENT COTTON)
                 Label:                85 PERCENT FEATHERS/15 PERCENT DOWN
                 Edge:                 DOUBLE NEEDLE SEWN
                 Distribution:         KING, QUEEN OR FULL XL BED IN TYPICAL GUESTROOM
                 General:              * ALL MATERIALS AND METHODS OF CONSTUCTION MUST COMPLY
                                       WITH STATE, LOCAL, FIRE AND LIFE SAFETY CODES, AND HAMPTON INN
                                       STANDARDS.


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                                                                              Building and Furnishing
             K. Lumbar Pillows and Covers
                   1. Lumbar Pillows
                       One accent/lumbar pillow with cover must be placed on each standard bed. Pillow
                       cover color must match color of bed skirt. A quantity of one turn plus ten percent
                       is required.

                      Product Specification: Lumbar pillows
                       (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for supplier.)
                       Thread count:         200
                       Fabric:               100 PERCENT COTTON
                       Fill:                 POLYESTER
                       Weight:               14 OZ
                       Size:                 ONE SIZE 12 X 24
                   2. Lumbar Pillow Covers
                       Lumbar pillow cover color must match bed skirt color. Approved color selections
                       are cinnabar, raffia, sand, pear and azure. A quantity of three turns is required.

                      Product Specification: Accent/lumbar pillow covers
                       (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for supplier.)

             L. Blankets and Bags
                   1. There must be one blanket per room. Blankets are not to be placed on beds. Blan-
                      kets must be stored in a closet or drawer in an approved, zippered plastic bag.

                      Product Specification: Blankets
                       (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for supplier.)
                       Fabric:               FLEXIBLE POLYURETHANE FOAM WITH 100 PERCENT NYLON FACE ON
                                             AN INSULATION BASE
                       Hem:                  ONE INCH, TWO-NEEDLE SELF-HEM
                       Size:                 KING: 108" X 90" FINISHED SIZE; QUEEN: 80" X 90" FINISHED SIZE; FULL:
                                             72" X 90" FINISHED SIZE
                   2. Blanket Bag
                       Blankets must be stored in an approved zippered plastic bag in either a closet or
                       drawer.

                      Product Specification: Blankets Bags
                       (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for supplier.)




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                                                                        Building and Furnishing
309.10 Furnishings
             A. General - (Refer to the Standard Room Layouts, Standard 313.00, for specific furniture
                required for each room type.)
                   1. All casegoods provided must have high pressure laminate tops with overall thick-
                      ness of 3⁄4" and a minimum density flakeboard of 45 lbs. Front edges must have
                      solid wood trim incorporated into the cabinet construction. Drawers must have
                      side mounted, 75 lb. capacity, ball bearing roller glides with positive stops. Drawer
                      sides to be French dovetailed to drawer front and tenon and dadoed to drawer
                      back. Drawer bottom to be grooved, stapled and glued to drawer front, back and
                      sides. Drawer sides and bottom interiors to be smooth and sealed. Bottom edges to
                      be PVC bonded to prevent moisture absorption.
                   2. All furniture is to reflect a residential character and to be of contract quality.
                   3. Under a change of ownership, conversion or re-licensing, any casegoods over ten
                      years old must be replaced.
                   4. Guestrooms with closets may have casegoods with 20" depth except for the executive
                      desk unit, which must be a minimum 28" in depth.
                   5. All Hometown prototype hotels must utilize one of the mandatory Hampton
                      Hometown FF&E packages. These packages are optional for all other Hampton
                      hotels. These specifications may be found on the hamptonfranchise.com website.
             B. Headboards
                 Each permanent bed must have a headboard that is wall-mounted or otherwise an-
                 chored to the wall. The bottom of the headboard must be between 1" below and 1/2"
                 above the top of the mattress. The headboard must be fabricated in approved finishes
                 and styles (Hampton Oval or Hampton Panel are pre-approved designs; all others must
                 still obtain approval). Art work should not be mounted above these headboards due to
                 their height.
                 Minimum dimensions: King                76"w x 36"h x 11⁄2"d
                                     Queen               60"w x 36"h x 11⁄2"d
                                     Full XL             53"w x 36"h x 11⁄2"d*
                                                         (*allowed only in existing hotels)




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                                                                              Building and Furnishing
                 Product Specification: King/Queen/Full XL Oval Headboard
                 (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for ordering information.)

                 Specifications: “HAMPTON OVAL”
                 Dimensions:          76"/ 60"/ 53"w x 11⁄2"d x 36"h
                 Finish:              GM: STAIN TO MATCH NEVAMAR #W-8-371T “GRAND ISLE MAPLE" (LOW
                                      LUSTER) – FOR COLOR ONLY
                                      GB: STAIN TO MATCH NEVAMAR #WZ-0017T “GALLOWAY BURL- DARK
                                      MAOHOGANY” (LOW LUSTER) - FOR COLOR ONLY
                                      WC: STAIN TO MATCH NEVAMAR #WC-0045E “WILD CHERRY”-(LOW LUSTER)
                                      FOR COLOR ONLY
                 Finish Note:         FINISH OPTION TO BE SELECTED BY FRANCHISEE; SELECTED OPTION TO
                                      APPLY TO ALL CASEGOODS IN PACKAGE .
                 Construction:        NO LEGS TO FLOOR; PROVIDE RECESSED RABBET IN BACK OF PANEL TO FIT
                                      INTO WOOD CLEAT FOR FLUSH WALL MOUNTING; PROVIDE WOOD CLEATS
                                      FOR WALL MOUNTING.
                 Notes:               INDUSTRIAL GRADE FRAME CONSTRUCTED OF 3⁄4" THICK PARTICLEBOARD
                                      WITH CHERRY VENEERS; SOLID KILN DRIED HARDWOOD MOLDINGS; TOP
                                      OF HEADBOARD MUST BE AT LEAST 34" ABOVE TOP OF MATTRESS.
                 Reference:           ALTERNATE DESIGN MAY BE SUBMITTED TO HAMPTON BRAND FOR
                                      APPROVAL
                 Distribution:        WALL MOUNTED FLUSH ABOVE BED
                 General:             * ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY WITH
                                      STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN STANDARDS.
                                      * FABRICATOR MUST REVIEW DESIGN CONCEPT AND INFORM PURCHASING
                                      AGENT OF ANY PROBLEMS OR DISCREPANCIES PRIOR TO FABRICATION.
                                      * FABRICATOR MUST PROVIDE A STRUCTURALLY SOUND PRODUCT WITH
                                      PROPER PROPORTIONS TO INSURE STABILITY AND PREVENT TIPPING.
                                      * WHERE APPLICABLE, ALL WOOD PARTS MUST BE TREATED FOR WOOD
                                      WORMS.




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                                                                              Building and Furnishing
                 Product Specification: King/Queen/Full XL Panel Headboard
                 Manufacturer: JTB Furniture
                 (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for ordering information.)
                 Description:           KING/ QUEEN/ FULL XL PANEL HEADBOARD
                 MFR Stock #            2-8960K-00-105 / 3-8960Q-00-105 / 2-8960F-00-105

                 Specifications: “HAMPTON PANEL”
                 Dimensions:          76"/ 60"/ 53"w x 11⁄2"d x 36"h
                 Finish:              GM: STAIN TO MATCH NEVAMAR #W-8-371T “GRAND ISLE MAPLE” (LOW
                                      LUSTER) – FOR COLOR ONLY.
                                      GB: STAIN TO MATCH NEVAMAR #WZ-0017T “GALLOWAY BURL- DARK
                                      MAHOGANY” (LOW LUSTER) - FOR COLOR ONLY.
                                      WC: STAIN TO MATCH NEVAMAR #WC-0045E “WILD CHERRY”(LOW LUSTER)
                                      FOR COLOR ONLY.
                 Finish Note:         FINISH OPTION TO BE SELECTED BY FRANCHISEE; SELECTED OPTION TO
                                      APPLY TO ALL CASEGOODS IN PACKAGE .
                 Construction:        NO LEGS TO FLOOR; PROVIDE RECESSED RABBET IN BACK OF PANEL TO FIT
                                      INTO WOOD CLEAT FOR FLUSH WALL MOUNTING; PROVIDE WOOD CLEATS
                                      FOR WALL MOUNTING.
                 Notes:               INDUSTRIAL GRADE FRAME CONSTRUCTED OF 3⁄4" THICK PARTICLEBOARD
                                      WITH CHERRY VENEERS; SOLID KILN DRIED HARDWOOD MOLDINGS; TOP
                                      OF HEADBOARD MUST BE AT LEAST 34" ABOVE TOP OF MATTRESS.
                 Reference:           ALTERNATE DESIGN MAY BE SUBMITTED TO HAMPTON BRAND FOR
                                      APPROVAL.
                 Distribution:        WALL MOUNTED FLUSH ABOVE BED
                 General:             *ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY WITH
                                      STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN STANDARDS.
                                      * FABRICATOR MUST REVIEW DESIGN CONCEPT AND INFORM PURCHASING
                                      AGENT OF ANY PROBLEMS OR DISCREPANCIES PRIOR TO FABRICATION.
                                      * FABRICATOR MUST PROVIDE A STRUCTURALLY SOUND PRODUCT WITH
                                      PROPER PROPORTIONS TO INSURE STABILITY AND PREVENT TIPPING.
                                      * WHERE APPLICABLE, ALL WOOD PARTS MUST BE TREATED FOR WOOD
                                      WORMS.
             C. Nightstand
                 All nightstands are required to have a minimum of one drawer, side glides, and recessed
                 back (when back is closed) and be free standing. Heights may range from 24" to 28".
                 The top surface must be within 4" of the top of the mattress. Existing properties may
                 utilize existing 24"h nightstands after raising beds until casegoods are replaced. Mini-
                 mum dimensions: 24"w x 16"d x 24"h. 18"w minimum allowed only where shown on
                 the prototype drawings.
            D. Sofa Sleeper
                 Sofa sleepers must have a top quality, heavy duty, full-size 54" bed mechanism unit
                 with an innerspring mattress which complies with the same codes as standard bedding
                 (see Bedding, Standard 309.09). The sofa sleeper must have a tight back or attached
                 back cushions. Seat cushions must be reversible. Minimum dimensions: 64"w x 35"d x
                 30"h.


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                 Cushion must be 1.8 foam core with 1.25 oz. Thermafiber wrap and meet California
                 Bulletin #117.
             E. Lounge Chair with Ottoman or Chaise Lounge Chair
                 Either a lounge chair with a matching ottoman or a chaise lounge chair is required
                 where shown on the standard room layouts at the end of this section. All pieces must
                 be comfortable and fully upholstered. If the ottoman has casters, they must be con-
                 cealed. Chaise must have a reversible seat cushion with ventilation at the zippers and is
                 recommended to have a single arm. Recliners are no longer allowed.
                 Minimum dimensions: Lounge Chair          30"w x 32"d x 32"h
                                     Ottoman               24"w x 18"d x 15"h
                                     Chaise                29"w x 65"d x 32"h, 18"h seat
              F. Work Surface/Desk
                   1. Each guest room/suite must be provided with a work surface in the form of an
                      executive desk unit or curved desk unit as shown in the Standard Room Layouts,
                      Standard 313.00. Only executive desk type units are allowed in the Hampton Inn &
                      Suites studio suites and they are not allowed to be built-in.
                   2. The executive desk unit must have a surface of 1344 sq. in. minimum in the form
                      of 48"w x 28"d x 30"h (1.22m x .71m x .76m). Desks 36"w x 20"d are allowed for
                      the Style Right case goods when necessary.
                   3. The curved desk unit must be in the form of 72"w x 28"d x 30"h (1.83m x 0.91m x
                      .76m) as shown in Standard 313.00. The curved desk must have a 11⁄4" thick plastic
                      laminate top with a PVC T-edge or solid wood edge and 2" backsplash. A grommet
                      must be placed in the top for electrical or phone cords. Plans should be submit-
                      ted to the desk manufacturer for verification of the number of right and left hand
                      units.
             G. Desk Chair(s)
                   1. A fully upholstered chair (25"w x 26"d x 361⁄4"h) is required at the desk in each
                      guest room. The desk chair must be provided with arms, 5-star base with casters,
                      pneumatic lift extending a minimum of 20", black finish, and black casters. Arms
                      must be coordinated with clearance under the desk. Chair heights must not be
                      locked into an adjustable height position for the arms to clear the desk, preventing
                      full extension.
                   2. Where shown on the standard room layouts at the end of this section, a secondary
                      desk chair—an activity chair—is required in addition to the ergonomic chair. This
                      desk chair must have an upholstered, foam-padded seat and a full back rest. An
                      upholstered back is recommended for the reduction of damage to the chair back
                      from the desk. Arms are recommended. Stack chairs are not permitted. Minimum
                      dimensions: 18"w x 20"d x 32"h.



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                                                                    Building and Furnishing
            H. Bachelors Chest
                A chest of drawers must be provided with a minimum of three drawers. A built-in shelf
                for a VCP is recommended. The VCP shelf is to be used for TV items, i.e., game controls,
                etc. The chest must be reinforced to hold the required television. Recessed back and
                side drawer glides are required. Minimum dimensions: 30"w x 20"d x 36"h for typical
                unit; corner unit to be 56"w x 39"d x 36"h with a 351⁄2"w front (drawer face) and 15"
                side returns.
             I. Tables
                  1. Coffee Table
                      Each sofa sleeper must have a coffee table where shown on the room layouts. Mini-
                      mum dimensions: 24"w x 18"d x 16"h.
                  2. End Table
                      Living rooms in suites must have at least one end table at the sofa. Minimum di-
                      mensions: 20"w x 24"d x 24"h.
             J. Style Right Package
                A furniture wardrobe must be provided in those rooms with no closet. For guest rooms
                without closets and undergoing relicensing, renovation or change of ownership, consult
                hamptonfranchise.com or OnQ Insider > Hampton Brand for the Style Right package
                required for these rooms.
            K. Luggage Bench
                  1. A luggage bench must match the other furniture in the guest room. It may be wood
                     or have an upholstered top. A wood bumper 30"w x 4"h x 1"d may be included
                     as wall-mounted above the bench, or be integral to the bench when the bench is
                     located against the wall. A drawer may also be included. Minimum dimensions:
                     36"w x 22"d x 24"h. Side drawer glides (if drawer is provided) and recessed back
                     are required.
                  2. Free standing luggage benches shown in the 14"-0' bay King room must be 42"w x
                     18"d x 221⁄2"h and must have an upholstered attached cushion.
            L. Floor Lamps
                A floor lamp must be placed beside the chaise lounge chair or lounge chair.
           M. Portable Luggage Bench
                A portable luggage bench is required in all room types without a permanent luggage
                bench. The portable luggage bench is to be stored in the closet.




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                                                                    Building and Furnishing
309.11 Artwork/Mirrors
             A. Each guest room, as a minimum, must contain the following wall decor arrangements
                where shown on the Standard Room Layouts in Standards 313.00:
                   1. Over Sofa –
                      Minimum size: 980 sq. in. including frame
                   2. Over Desk –
                      Required to be a framed mirror, except in studio suites.
                      Mirror minimum size: 24"w x 40"h, including frame;
                      Mirror minimum: 3⁄16" polished float glass, free of distortion
                      Art minimum size (at studio suite): 900 sq. inches including frame
                   3. At Lounge Chair –
                      Minimum size: 980 sq. in. including frame
                   4. Over Wet Bar –
                      Required to be a framed mirror.
                      Minimum size: 30"w x 36"h including frame
                   5. Over Luggage Bench –
                      Minimum size: 600 sq. in. including frame
                   6. On Side Bed Wall –
                      Minimum size: 980 sq. in. including frame. Center of the artwork/mirror should be
                      5'4" from the floor.
             B. All framed pictures must include a mat, either single or double, clear glass and security
                mount. Frames must be 2" minimum, appropriate for a residential setting and coordi-
                nate with room furnishings.
             C. Art in general, is mounted approximately 60" to the center of the frame.
309.12 Lighting
             A. Sufficient lighting must be provided in each guest room. The minimum requirements
                for each respective area must be as follows:
                   1. There must be a minimum of 30 foot-candles as measured at the surface of the
                      nightstand for reading purposes.
                   2. There must be a minimum of 30 foot-candles provided at the surface of the desk.
                   3. Lighting of 30 foot-candles measured 5'-0" AFF must be provided in front of each
                      closet.
                   4. A minimum of 30 foot-candles must be provided at the luggage bench.




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                                                                     Building and Furnishing
                   5. A minimum of 30 foot-candles measured 3'-0" AFF must be provided in the leisure
                      area (lounge chair, sleeper sofa, etc.) at the normal height for reading and writing.
             B. Electrical cords must be as short as possible. Excess length is to be removed or con-
                cealed. All wall lamps are to be plug wired and must have cord covers, which extend
                below the top of the furniture. Cord covers must match the finish of the lamp and ex-
                tend below the top of the furniture. Extension cords are not permitted.
             C. The guest room entry light should be a surface/ceiling mounted light fixture with (2)
                PLI8 watt fluorescent lamps minimum (2700 Kelvin and 84 CRI).
            D. Guest Room Luggage Light
                 A wall mount light must be provided over the luggage bench when applicable. It may
                 be plug wired or hard wired and be switched on the lamp or at the entry; however, in
                 the handicap accessible rooms, it cannot have a lamp switch and must be switched sep-
                 arately at the entry. All designs must be submitted to the Hampton Brand for approval
                 prior to purchase.
             E. Guest Room Bedside Light
                 Single beds require one fixture, wall-mounted or table lamps (30 foot-candles each), for
                 each side of the bed. Double-bedded rooms must have a wall-mounted double lamp
                 fixture between the beds with two switches capable of turning on each lamp individu-
                 ally. All fixtures must have an electrical outlet in their bases.
              F. In the 14'-0" bay king rooms, a welcome light model #1535-Black by Trinity Lighting,
                 must be provided on the bachelors chest behind the TV, when the free-standing corner
                 bachelor chest is used. The light must be switched at the entry but separately from the
                 entry light.




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                 Product Specification: King Room Welcome Light
                 Supplier:            Trinity Lighting
                                      2902 Quality Way
                                      Jonesboro, AR 72401
                 Contact:             Robyn Smith
                                      (870) 972 1177
                                      (870) 972 6381 fax
                 Description:         WELCOME LIGHT IN TYPICAL KING ROOM
                 MFR Stock #          1535 - BLACK

                 Specifications
                 Dimensions:          6" ROUND BASE, 181⁄4"h
                 Finish:              BLACK POWDERCOAT
                 Switch:              NO SWITCH, SWITCHED AT ENTRY
                 Cord:                8' CORD SET
                 Lamp:                ONE (1) LOW PROFILE FLUORESCENT SPRINGLAMP – EQUIVALENT TO 100
                                      WATT INCANDESCENT.
                                      2700 KELVIN MINIMUM, 84 CRI, 1850 LUMENS, 10,000 HOURS - AVERAGE LIFE
                                      RECOMMEND – TCP #28927 (SOLD SEPARATELY)
                 Notes:               FOR VERSION 5 HAMPTON PROTOTYPE AND VERSION 3 HAMPTON INN &
                                      SUITES PROTOTYPE.
                                      LAMP NOT FOR USE WITH INCANDESCENT BULBS.
                 Distribution:        WELCOME LIGHT BEHIND TELEVISION ON CORNER BACHELOR’S CHEST IN
                                      TYPICAL KING ROOM
                 General:             *MUST BE UL APPROVED AND LABELED.
                                      *ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY WITH
                                      STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HILTON PLANNING AND
                                      DESIGN STANDARDS.
                                      *ALL METAL PARTS MUST BE GUARANTEED AGAINST RUST, CORROSION, AND
                                      SCRATCHING.
                                      *FABRICATOR MUST REVIEW DESIGN CONCEPT AND INFORM PURCHASING
                                      AGENT OF ANY PROBLEMS OR DISCREPANCIES PRIOR TO FABRICATION.

             G. Compact fluorescent lamps (light bulbs) are required where possible and must be
                instant start, flicker-free and yield 2700 Kelvin temperature and 1750 initial lumens
                (minimum). These lamps will most closely resemble standard incandescent lamps. A
                mixture of cool and warm lamps will not be allowed.

                 The following are examples of compact fluorescents that may be used; however, each
                 varies in height and should be coordinated with fixtures such as lamp sizes or harp
                 heights prior to purchasing mass quantities. Other manufacturers’ models may be used
                 as long as the bulbs meet minimum Kelvin temperature and lumens. When other man-
                 ufacturers’ models are used, a specification sheet must be kept on file.




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                                                                         Building and Furnishing
                                                    incandescent                  max. overall
                  Manufacturer/                        Wattage     Initial           Length    Diameter            life
                  Model                  wattage     comparison    lumens           (inches)   (Inches)           Hours
                     TCP # 28927            27            100        1850                5.70              2.70   10,000
                     TCP # 28927M *         27            100        1800                5.25              2.30   10,000
                     TCP # 28930BD *        30            120        2000                5.30              2.70   10,000
                     H #SSS30-30            30            120        2100                4.90              2.70   10,000

                 TCP: Technical Consumer Products; H: Harmony Lighting
                 *      Abbreviation meaning: ‘M’ – “mini” lamp for shorter lengths; ‘BD’ – “base down” lamps
                        which may ONLY be used where the fixture is open and the standard screw-in base is
                        facing down at the floor.
            H. Light fixture finish must be appropriate to the overall design of the room. A powdercoat
               painted finish or anodized aluminum finish is recommended. Plastic is not permitted
               except for the switch.
              I. Lampshades must be of light-colored, translucent material to distribute light through-
                 out the room. Opaque or dark-colored shades are not allowed since they direct light
                 only up or down, not throughout the guest room. Lampshades throughout the guest
                 rooms must be coordinated (same style, color, and material).
              J. All plug-in type fixtures must have a minimum of one electrical outlet in the base. Desk
                 lamps must have a minimum of two.
             K. See Standard Room Layouts, Standard 313.00, for light fixture locations.
             L. Swag light fixtures are not permitted.
            M. Light fixtures overall suggested heights:
               Desk Lamp         22"
               Floor Lamp        60"
            N. Light fixture suggested mounting heights to bottom of shade (these can differ depend-
               ing upon style of fixture):
               Nightstand        4'-0"
               Luggage Bench 5'-4"
309.13 Electronics/Communications/HSIA
             A. Televisions
                   1. By January 1, 2010, all guest room televisions must be digital commercial HD LCD
                      units that meet the following specifications:
                         a. Minimum 32" Widescreen (16:9) LCD Screen (Maximum size 42")
                         b. High Definition display capable of receiving 1080i signal (60Hz)
                         c. ATSC Digital Tuner built-in


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                        d. Pro:Idiom HD Content Protection (only if hotel offers pay-per-view movie
                           content – see below)
                        e. Remote control
                        f. Recommended units:
                                1) Phillips Commercial Flat 32” LCD HDTV with Pro:Idiom - # 32HF7945D

                                2) Phillips Commercial Flat 32” LCD HDTV - # 32HF5335D

                                3) LG Commercial 32” LCD HD TV with Pro:Idiom - # 32LC5DC

                                4) LG Commercial 32” LCD HDTV - # 32LC7DC

                   2. Pro:Idiom HD Content Protection is required to be built-in to the television only if
                      the hotel utilizes pay-per-view movie services (such as LodgeNet or OnCommand).
                       NOTE: If hotel offers Premium HD movie content through standard cable,
                       Pro:Idiom can be added through a set top box. Consult your cable company for
                       more information.
                   3. Televisions are to be mounted on a swivel base which allows comfortable view-
                      ing from both bed and work desk. (See High-Definition Television FAQ on the
                      Hampton Resource Center for installation details.)
                        a. Television must be mounted on the rear half of the case goods, closest to the
                           wall.
                        b. Wall mounting is not permitted.
                        c. After January 1, 2010, guest room televisions may not be encased within an
                           armoire.
                   4. Televisions must be connected to a master antenna system or cable that is capable
                      of passing high definition (HD) content to all televisions. (See HHC Wiring Guide-
                      lines on the Hampton Resource Center.)
                   5. Televisions must not be preprogrammed to automatically turn off after any amount
                      of time. A guest controlled sleep timer is acceptable.
                   6. Electrical cords and cables must be as short as possible. Excess length is to be re-
                      moved or concealed.
             B. Telephone
                 Each guest room/suite must have a single telephone at the nightstand equipped with
                 a 25 foot cord, and message light. (See Standard 604.00 for additional details.) An ad-
                 ditional single line phone may be provided at the desk. If two phones are available,
                 each must be equipped with a 15 foot cord. In studio suites, phones are required at the
                 nightstand and at the desk.



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                 Emergency dialing instructions must be displayed on the telephone face plate. A speed-
                 dial button may be used as long as the telephone face plate displays the emergency di-
                 aling instructions in the event the speed-dial button is inoperable.
             C. Clock Radio (MIH)
                 Each guest room must be equipped with a clock radio, Hampton #H1276B as manu-
                 factured by SDI Technologies. (See OnQ Insider > Hampton > Make It Hampton Product
                 Reorder Catalog for ordering infomation.) The radio must be located on, but not at-
                 tached to, the nightstand and the radio buttons must be programmed. No other radios
                 or alarm clocks are acceptable. (See Standard 300.02, Make It Hampton.)
            D. Wired or wireless high-speed Internet access is required in all guest rooms and suites.
309.14 Mechanical
             A. Heating, ventilation (fresh air) and air conditioning must be provided for all guest
                rooms. If thru-wall units are utilized, they must be manufactured by GE (series Zone-
                line 2800 or 3800) or Amana (series DigiSmart PTC or PTH) or an approved equal.
             B. Condensate must be removed by concealed pipe. The pipe must be connected under-
                ground to a storm or sanitary sewer, spill into a dry well underground, or spill into a
                landscape bed utilizing a 90˚ elbow connection. Above grade “traps” and excessive pip-
                ing exposed to view is not permitted.
             C. Thru-wall units must be complete with sub-base containing power connections, a metal
                sleeve, and four-way air directional diffusers. If PTAC units are not as wide as the win-
                dow unit in which they are place, a drywall unit to finish the gap between the PTAC
                unit and the wall opening must be provided and a window sill utilized.
            D. Guest units must have individual digital, thermostat controlled, year-round heating and
               cooling with individual control. All new construction must have remote digital thermo-
               stats. An energy management set back function may be available with the thermostat,
               but it is not required.
                 The INNCOM e4 Smart Digital Thermostat is the preferred thermostat. Other approved
                 thermostats may be found on hamptonfranchise.com on the Approved Alternates List
                 under Standards. All thermostats allow continuous fan operation. Digital thermostats
                 are single-stage, manual or automatic change over with HEAT–OFF–COOL–AUTO
                 system settings and fan ON–AUTO settings; backlit LCD display with temperature, set-
                 point(s) mode and status indication. The thermostat are to be compatible with leading
                 manufacturers such as Amana, Carrier, GE and Trane. While the thermostats remain
                 the same for all applications, the control component must be tailored to the individual
                 manufacturer and PTAC unit. For this reason, INNCOM or a local mechanical contrac-
                 tor must install the controls for communication with the thermostat.




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                 Thermostats are to be located within each guest unit to effectively control the tempera-
                 ture in all areas of the guest unit while avoiding false readings from heat producing de-
                 vices such as televisions and lamps. The thermostat should be mounted 48" above the
                 floor, maximum, in a convenient location, typically on the bath wall, across the room
                 from the HVAC unit.
                 Product Specification: Guest Room Thermostat
                 Manufacturer:          INNCOM International, Inc.
                                        (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for
                                        ordering information.)
                 Description:           REMOTE THERMOSTAT
                 MFR Stock #            e4 SMART DIGITAL THERMOSTAT
                 Visit hamptonfranchise.com under Standards – Approved Alternates for more manufacturers.
309.15 Electrical
            (All outlets are to be located as shown on the prototype plans unless code requires oth-
            erwise.)
             A. Electrical outlets are to be placed to allow convenient connection of the individual fix-
                tures/lamps specified previously and as outlined on the prototype drawings. Electrical
                cords must be concealed from view. Additional outlets may be required by code.
             B. Provisions must be made for electrical outlets to supply power to the television set, AM/
                FM clock radio, microwave and refrigerator (if provided), coffee maker and hair dryer.
                One electrical outlet must be conveniently located and accessible for use with an iron.
             C. At all desks, the outlet for the desk lamp is to be mounted at the typical height. Two
                electrical outlets must be provided in the lamp base. High-speed Internet access must
                be provided 36" AFF.
            D. A wall switch controlling the ceiling-mounted entry light fixture (or the wet bar light
               fixtures in the studio suites) is required to be located adjacent to the entry door. Coor-
               dinate the light switch with the door guard—both are typically mounted at 48" AFF.
             E. Back-to-back power, telephone, television and any other electrical outlets or junction
                boxes are not permitted between guest rooms/suites. Device boxes in adjacent rooms
                must be offset a minimum of 6". The National Electric Code or other codes may require
                the installation of “putty packs” to maintain the fire rating of the wall due to the prox-
                imity of outlets to each other on opposite sides of the wall.
              F. All electrical outlets in guest rooms must be located 18" AFF to the center line unless
                 otherwise directed by code. All light switches in guest rooms and guest baths are to be
                 mounted at 48" AFF to the center of the switch. All switchplates and outlet cover plates
                 must match in color and style.




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             G. All electrical wiring must be installed in conduit (MC cable is acceptable) except for
                wood framed buildings, which may utilize “Romex” if code allows. Television cable, fire
                alarm and telephone wiring must be in conduit from rooms to the corridor ceiling, if
                the corridor ceiling is accessible. If the corridor ceiling is not accessible, the cable and
                wiring systems must be in conduit in their entirety.
            H. Electrical distribution must be made such that individual circuit problems in one guest
               room do not affect any other guest experience. Provide at least three 20-amp circuits for
               general lighting and receptacle requirements, with a separate GFCI circuit for the bath.
              I. A factory sub-base with an integral receptacle is required on all thru-wall HVAC units.
309.16 Fireplaces
            Rooms with fireplaces will only be allowed when the market warrants. These rooms must
            be submitted for approval and they must meet the following requirements:
             A. Fireplaces must be metal, prefabricated, gas-fired, and UL and AGA approved. Controls
                must have one-hour timer with automatic shut off. Fireplaces are to be totally enclosed
                and inaccessible to guests.
             B. Provide metal flues that extend above the roof line or direct vent. Ventless fireplaces are
                not permitted.
             C. Carbon monoxide detectors are required in these rooms in addition to smoke detectors.
309.17 Other
             A. Non-smoking Rooms (anywhere from 75 – 100 percent of total room count)
                 Each guest room designated “non-smoking” must be incorporated and identified with
                 uniformly designated Make it Hampton room number signage, strategically placed next
                 to the door on the exterior side that indicates it is a non-smoking room unless the en-
                 tire floor is designated non-smoking.
             B. A sign designating that the entire floor is non-smoking is required at the elevator lobby
                under the room directional signage.
             C. If your hotel is 100% non-smoking, signage is required at the front entrance/vestibule
                area and must be visible for any guest entering the building. It may not be displayed di-
                rectly on the front doors or at the front desk. (See Trademark and Identity, Section 400,
                Signage.)
            D. Coin Operated Devices
                 Coin operated devices in guest rooms are not permitted.
             E. Interior Signage
                 See Trademark and Identity, Section 400, Signage.




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              F. Artificial Plants
                 Studio suites are required to have two plants: one approximately 36"h x 30"w, and one
                 approximately 10"h x 12"w. The guest room portion of the suite is required to have the
                 smaller sized plant only. Plants must be high quality silk or polyester (no plastic) and
                 containers must coordinate with the decor.
             G. Safe (optional in guest rooms)
                 A free-standing or wall-recessed safe may be provided and should be located in the bed-
                 room closet.
            H. Expendable Items
                 All guest rooms must contain the minimum expendable supplies as listed in Rule
                 118.00.
                 NOTE: All reproductions of service marks and trademarks owned by Hilton Hotels that
                 appear on expendable items must conform with the Hampton Trademark Standards.
              I. Guest Room Lap Desk (MIH)
                 A lap desk must be provided on the bed in each guest room. Lap desk to be #HI-01 as
                 manufactured by CF Kent. The tray must be 23"w x 143/4"l x 3⁄5"h. It must be 1⁄4" ply-
                 wood with a foam cushion. Tray must have Velcro attachment and corner elastic sup-
                 port. Foam cushion must be covered with faux leather. Finish must be AR03 Golden
                 Amber (light finish) or AR09 Cherry (dark finish).




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                                                                       Building and Furnishing
310.00 Guest Room/Suite Bath and Dressing Area
310.01   Dimensions/Layouts
         The inside finished dimensions must be the minimum as shown in Standard 313.00 for
         typical room layouts.
310.02 Floors
         A. Decorative porcelain tile floor and tile base is required in all guest room baths and also
            in dressing areas where the vanity is separate from the tub and toilet. Floor tile must
            be nominal 12" x 12" minimum with a 3/8" minimum grout joint size and is recom-
            mended to include base tiles, corners, etc. The tile specified below is pre-approved. All
            other tile is subject to approval by Hilton Hotels Corporation. Vinyl tile and/or granite
            tile are not acceptable.
             Product Specification: Porcelain Tile
             Manufacturer:          Dal-Tile                                  Designer Tile & Stone
                                    1713 Stewart Street                       115 Newfield Avenue, Suite C
                                    Santa Monica, CA 90404                    Edison, NJ 08837
             Contact:               John Hall
                                    (310) 453-9112                            (800) 959-8453
                                    (310) 453-1783 fax                        (732) 225-0660 fax
             Description:           PORCELAIN TILE                            PORCELAIN TILE
             MFR Stock #:           BXO3                                      N/A

             Specifications
             Pattern:               BRIXTON                                   N/A
             Color:                 MUSHROOM                                  PABLO
             Dimensions:            12" X 12" (BASE: 3" X 12")                12" X 12" (BASE: 3" X 12")
             Shade Variation:       MODERATE                                  RANDOM
             Tile Thickness:        5⁄16"                                     5⁄16"
             Grout Color:           #94 STRAW ULTRACOLOR                      #94 STRAW ULTRACOLOR
                                    BY MAPEI                                  BY MAPEI
             Grout Joint:           3/16" MAXIMUM                             3/16" MAXIMUM
             Coefficient of
             Friction:              > .60 WET, > .65 DRY                > .60 WET, > .66 DRY
             Distribution:          GUEST ROOM FLOORS, BATH FLOORS, BATH TUB/SHOWER SURROUND
             General:               * ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY WITH
                                    STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN STANDARDS.
                                    * GENERAL CONTRACTOR TO FIELD VERIFY QUANTITY REQUIREMENTS.
          B. The floor assembly in the bath and dressing area must have an STC rating of 50 and an
             IIC rating of 55.
310.03 Walls
         A. Bath walls are to be moisture resistant gypsum board covered with approved vinyl wall-
            covering, Type I, 15 oz. per linear yard. Separate dressing area walls must match the
            guest room bedroom walls.

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                                                                          Building and Furnishing
             B. Tub/Shower Surround
                 Acceptable tub/shower surrounds are cultured marble with approved “Old World Style”
                 or diamond pattern or nominal 12" x 12" minimum porcelain tile with a minimum
                 grout joint size. Surrounds and tile specified below are pre-approved. Porcelain tile sur-
                 rounds must match the floor tile. The surrounds must extend to the ceiling, coordinate
                 with the vanity color and have a matte finish. Back panels may be provided as two pan-
                 els with a seam cover for easier installation. Trim pieces should be scribed to the tub
                 edge. Acrylic, fiberglass and/or granite units are not allowed.
                 Product Specification: Tub/Shower Surround
                 The following are recommended manufacturers for this item. Visit hamptonfranchise.com under Standards
                 – Approved Alternates for other manufacturers.
                 Manufacturer:          Mincey Marble Manufacturing, Inc.
                                        4321 Browns Bridge Road
                                        Gainesville, GA 30504
                 Contact:               Donna Mincey
                                        (800) 533-1806
                                        (770) 531-0935 fax
                 Description:           TUB/SHOWER SURROUND
                 MFR Stock #            #TS-DS

                 Specifications
                 Size:                     PANELS MUST EXTEND TO CEILING; BACK PANEL MAY BE TWO PANELS AND A
                                           SEAM COVER; EXACT SIZE TO BE FIELD VERIFIED
                 Finish:                   AURORA OR LINEN, MATTE FINISH WITH “OLD WORLD STYLE” OR DIAMOND
                                           DESIGN
                 Description:              WALL SURROUNDS WITH 2 SURFACE MOUNT SOAP DISHES (INCLUDING
                                           CORNER MOUNT) AND 2" TRIM PIECES (OPTIONAL)
                                           SOAP DISHES:
                                           CORNER MOUNT #SD-02
                                           WALL MOUNT #SD-01
                                           FOOTREST #FR-01
                                           LG. CORNER MOUNT #SS-01
                 Distribution:             GUEST ROOM BATHS
                 General:                  *ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY WITH
                                           STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN STANDARDS.
                                           *GENERAL CONTRACTOR TO FIELD VERIFY QUANTITY REQUIREMENTS.




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                                                                         Building and Furnishing
                 Product Specification: Porcelain Tile Surround
                 Manufacturer:            Dal-Tile                              Designer Tile & Stone
                                          1713 Stewart Street                   115 Newfield Avenue, Suite C
                                          Santa Monica, CA 90404                Edison, NJ 08837
                 Contact:                 John Hall
                                          (310) 453-9112                        (800) 959-8453
                                          (310) 453-1783 fax                    (732) 225-0660 fax
                 Description:             PORCELAIN TILE                        PORCELAIN TILE
                 MFR Stock #:             BXO3                                  N/A

                 Specifications
                 Pattern:                 BRIXTON                             N/A
                 Color:                   MUSHROOM                            PABLO
                 Dimensions:              12" X 12" (BASE: 3" X 12")          12" X 12" (BASE: 3" X 12")
                 Shade Variation:         MODERATE                            RANDOM
                 Tile Thickness:          5/16"                               5/16"
                 Grout Color:             #94 STRAW ULTRACOLOR                #94 STRAW ULTRACOLOR
                                          BY MAPEI                            BY MAPEI
                 Grout Joint:             3/16" MAXIMUM                       3/16" MAXIMUM
                 Coefficient of Friction: > .60 WET, > .65 DRY                > .60 WET, > .66 DRY
                 Distribution:            GUEST ROOM BATH TUB/SHOWER SURROUND
                 General:                 *ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY WITH
                                          STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN STANDARDS.
                                          * GENERAL CONTRACTOR TO FIELD VERIFY QUANTITY REQUIREMENTS.
             C. When whirlpool tubs are permitted, surrounding walls must be tiled to the ceiling. Tile
                must be porcelain, 12" x 12" minimum with a 3⁄8" minimum grout joint.
             D. Full height corner guards are required where shown on the prototype drawings. These
                must match the wall color and may not have screws.
310.04 Ceilings
             A. Guest room bath and dressing areas to be 7'-4" high minimum.
             B. An acceptable bathroom ceiling is one of the following:
                   1. Furred moisture resistant drywall with smooth finish and acrylic enamel paint.
                   2. Furred moisture resistant drywall with an orange peel latex enamel semi-gloss fin-
                      ish. Sample is to be submitted. (This is not allowed in the dressing areas where the
                      vanity is separate from the tub and toilet.)
310.05 Doors
             A. Bath doors must be a minimum width of 3'-0" (0.71m). Hollow core, 2 panel em-
                bossed tempered hardwood, painted doors are recommended. A solid-core door is to
                be provided if a full-length dressing mirror is used on the bath door.
             B. A sealed marble threshold at the door with a 2" (5.08cm) minimum width, not to ex-
                ceed 5⁄16" (.79cm) above bath floor level, is required, except where tile continues into
                the dressing area or entry area.

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             C. A Grade 2, cylindrical privacy set with lever handle is required on bathroom doors.
                The finish must be US26D satin chrome finish on the bath side and the finish on the
                room side must match the adjacent hardware. One pair of butts with US26D finish is
                required.
                 Lock operation: The latch bolt must operate by lever from either side, except when the
                 push-button locks the outside lever. The push-button lock must release by closing the
                 door. The lock must release by turning the inside lever. The push-button lock must also
                 be released by emergency key. The backset must be 23⁄8" (6.03cm) minimum with a
                 minimum latch projection of 1⁄2" (1.27cm).
310.06 Bathroom Fixtures and Plumbing
             A. Tub/Shower
                   1. A tub/shower combination is required except in guest rooms where showers only
                      are shown. Provide cast-iron tubs with factory finished non-slip bottoms or Vikrell
                      tubs as manufactured by Sterling. Steel tubs with sound blankets are allowed but
                      are not recommended. Refinishing of tubs, installation of acrylic inserts and adhesive or
                      rubber bath mats are not permitted. Acid etching to obtain a non-slip surface is permitted.
                      All tubs must be white in color and a minimum of 5'-0" long. Fiberglass tubs are not
                      allowed.
                   2. Shower pans are required in guest room baths with no tubs. Pans are to be single
                      piece cultured granite shower pans as fabricated by Mincey Marble or Vikrell pans
                      as manufactured by Sterling. Tiled shower floors are only allowed in accessible roll-
                      in showers. Fiberglass pans are not allowed.
                       Product Specification: Vikrell Tub
                       Manufacturer:            Sterling by Kohler
                                                444 Highland Drive
                                                Kohler, WI 53044
                       Contact:                 Doug Johnston
                                                (972) 342-8026 voice/fax
                                                J.P. Drevline
                                                (920) 457-4441 x70721 voice/fax
                       Description:             VIKRELL TUB
                       MFR Stock #              #61041110 (left drain)/#61041120 (right drain)

                       Specifications
                       Size:                    30" X 60"
                       Finish:                  LIGHTLY TEXTURED SWIRL GLOSS; WHITE
                                                NOTE: VIKRELL GLOSS IS PERMITTED ONLY IF ABOVE THE FLOOR
                                                ROUGH-IN IS NECESSARY AND IS APPROVED IN WRITING BY HILTON
                                                HOTELS CORP.
                       Description:             TUB WITH SLIP-RESISTANT BOTTOM
                       Distribution:            GUEST ROOM BATHS WITH TUBS
                       General:                 *ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY
                                                WITH STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN
                                                STANDARDS.


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                                                                            Building and Furnishing
                       Product Specification: Vikrell Shower Pan
                       Manufacturer:            Sterling by Kohler
                                                444 Highland Drive
                                                Kohler, WI 53044
                       Contact:                 Doug Johnston
                                                (972) 342-8026 voice/fax
                                                J.P. Drevline
                                                (920) 457-4441 x70721 voice/fax
                       Description:             VIKRELL SHOWER PAN
                       MFR Stock #              #72121100-0 (48"L) / #72131100-0 (60"L)
                                                #72141110 OR #72141120 (TUB REPLACEMENTS; ONLY 60" x 30")

                       Specifications
                       Size:                    34" X 48" (#72121100-0): 34"x 60" (#72131100-0);
                                                30" X 60" (#72141110 OR #72141120)
                       Finish:                  HIGH GLOSS VIKRELL WHITE
                       Description:             SINGLE PIECE SHOWER PAN WITH DRAIN IN CENTER OF PAN
                       Distribution:            GUEST ROOM BATHS WITH SHOWERS; 48" ALLOWED IN SINGLE QUEEN
                                                ROOM ONLY
                       General:                 *ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY
                                                WITH STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN
                                                STANDARDS.

                       Product Specification: Cultured Granite Shower Pan
                       Manufacturer:            Mincey Marble Manufacturing, Inc.
                                                4321 Browns Bridge Road
                                                Gainesville, GA 30504
                       Contact:                 Donna Mincey
                                                (800) 533-1806
                                                (770) 531-0935 fax
                       Description:             CULTURED GRANITE SHOWER PAN
                       MFR Stock #              #SP3448 (48"L) / #SP3460 (60"L)

                       Specifications
                       Size:                    34" X 48" (#SP3448): 34" x 60" (#SP3460)
                       Finish:                  MATCH SURROUND
                       Description:             SINGLE PIECE SHOWER PAN WITH DRAIN IN CENTER OF PAN
                       Distribution:            GUEST ROOM BATHS WITH SHOWERS; 48" ALLOWED IN SINGLE QUEEN
                                                ROOM ONLY
                       General:                 *ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY
                                                WITH STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN
                                                STANDARDS.




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                   3. Shower Door
                       Shower doors are required in guest room baths with shower pans. Doors are to be
                       bypass style except where pivot doors are shown on the prototype. The doors speci-
                       fied below are pre-approved. Roll-in showers in accessible guest room baths are to
                       have curtains in lieu of shower doors.
                       Product Specification: Shower Door
                       Manufacturer:            Sterling by Kohler
                                                444 Highland Drive
                                                Kohler, WI 53044
                       Contact:                 Doug Johnston
                                                (972) 342-8026 voice/fax
                                                J.P. Drevline
                                                (920) 457-4441 x70721 voice/fax
                       Description:             SHOWER DOOR
                       MFR Stock #              #5176-48S (48"L) / #5176-59S (60"L) - BYPASS DOORS
                                                #1530D-48S (48"L) - PIVOT DOOR

                       Specifications
                       Size:                    48" x 70" (#5176-48S); 60 "x 70" (#5176-59S); 42"-48" x 69" (#1530D-48S)
                       Finish:                  SILVER; RAIN GLASS FINISH (REQUIRED) AT BYPASS DOORS, OBSCURE
                                                GLASS AT PIVOT DOOR
                       Distribution:            GUESTROOM BATHS WITH SHOWERS; PIVOT DOORS ALLOWED ONLY
                                                WHERE SHOWN ON PROTOTYPE
                       General:                 * ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY
                                                WITH STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN
                                                STANDARDS.
                   4. Whirlpool tubs are permitted subject to Hilton approval. Tubs must be equal to
                      those manufactured by MTI. Acrylic whirlpools will be considered but fiberglass
                      whirlpool tubs are not permitted. Submit manufacturer’s specifications and cut-
                      sheets to Hilton for approval.
             B. Toilets
                   1. Toilets must be white, vitreous china, 1.6 gallons/flush, wheel stop assembly and
                      heavy duty, tank type with floor or back outlet and have elongated bowls. Flush
                      valve toilets are not permitted.
                   2. Hotels after July 1, 2008, renovations or PIPs must comply with the following:
                       The toilet must have a commercial grade, white, closed front plastic seat and lid
                       with stainless steel check hinges. The seat and lid must remain in an upright posi-
                       tion without being held.
                   3. Padded seats are unacceptable.




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                                                                             Building and Furnishing
             C. Vanity
                   1. Vanity Top
                       Vanity tops must be cultured marble, natural granite or quartz with bowed fronts
                       where shown in the prototype drawings. The top is recommended to have a raised
                       drip edge (natural granite tops are to have a bullnose edge). Provide matching back
                       splash and side splashes where abutting side walls. Cultured marble tops are to be
                       of matte finish. Undermount vitreous china bowl sinks are required. Sinks must
                       be shallow to allow clearance of plumbing with vanity shelf. Recommend sink
                       with 7½" or so overall depth. Drop-in sinks are not acceptable. The following are
                       preapproved vanity tops. Visit hamptonfranchise.com under Standards – Approved
                       Alternates for other approved manufacturers.
                       Product Specification: Cultured Granite Vanity Top
                       Manufacturer:            Mincey Marble Manufacturing, Inc.
                                                4321 Browns Bridge Road
                                                Gainesville, GA 30504
                       Contact:                 Donna Mincey
                                                (800) 533-1806
                                                770 531 0935 fax
                       Description:             CULTURED GRANITE VANITY TOP
                       MFR Stock #              NA

                       Specifications
                       Finish:                  AURORA, MATTE WHEN MATCHING SURROUND IS USED
                       Description:             18" CURVED FRONT VANITY TOP WITH INTEGRAL BACK SPLASH; END
                                                SPLASHES REQUIRED WHEN ABUTTING A WALL
                       Distribution:            ALL GUESTROOM BATHS
                       General:                 *ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY
                                                WITH STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN
                                                STANDARDS.




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                                                                            Building and Furnishing
                       Product Specification: Natural Granite Vanity Top
                       Manufacturer:            Belstone
                                                7629 Densmore Avenue
                                                Van Nuys, CA 91406
                       Contact:                 Penny Woods
                                                (818) 373-4900
                                                (818) 373-4901 fax
                       Description:             NATURAL GRANITE VANITY TOP
                       MFR Stock #              NA

                       Specifications
                       Finish:                  PALO GOLD
                       Finish Note:             FINISH OPTION TO BE SELECTED BY FRANCHISEE AND APPROVED BY
                                                HAMPTON INN BRAND.
                       Description:             18" CURVED FRONT VANITY TOP WITH BACK SPLASH; END SPLASHES
                                                REQUIRED WHEN ABUTTING A WALL.
                       Distribution:            OPTIONAL IN GUESTROOM BATHS
                       General:                 * ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY
                                                WITH STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN
                                                STANDARDS.
                   2. Vanities must have a separate, decorative soap dish.
                   3. Vanities must have a skirt made of the same material as the top at accessible guest
                      rooms only. There must be 29" minimum clear beneath the skirt for wheelchair ac-
                      cess. All other guest rooms must have a vanity base.
                   4. Vanity Base
                       Vanity bases must be provided in all guest room baths, except accessible rooms due
                       to wheelchair accessibility. Bases must have a furniture appearance and include a
                       skirt and one shelf and meet the following specifications. Bowed fronts must be pro-
                       vided where shown in the prototype drawings. They must be stained wood and be freestand-
                       ing (tops to be 4" minimum away from side walls except the backs, which should
                       be securely attached to the wall). Vanity openings less than 4'-0" wide must have
                       the vanity top extend the full width of the vanity area with the vanity base legs 3"
                       minimum away from side walls. Existing properties that have plumbing rough-ins
                       on side walls rather than the rear wall must also have the vanity top extend the full
                       width of the vanity area. A single roll toilet paper holder must be mounted behind
                       the front wood skirt if there is no wall space available within 12" of the front edge
                       of the toilet. If mounted beneath the wood skirt, the mounting location must NOT
                       be flush with the front edge of the skirt, nor may the holder be mounted to the front
                       of the skirt.
                       The following is a pre-approved manufacturer. Visit hamptonfranchise.com
                       > D & C > Alternates, for a list of approved manufacturers. Any non-approved vanity
                       bases are at risk of being rejected, therefore replaced, in order to comply with standards.




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                                                                           Building and Furnishing
                       Product Specification: Vanity Base
                       Manufacturer:            JTB Furniture
                                                1402 Waterworks Road
                                                Columbus, MS 39701
                       Contact:                 Reau Berry
                                                (800) 654-3876
                                                www.jtbfurniture.com
                       Description:             VANITY BASE
                       MFR Stock #              #9402-89 (SERPENTINE LEGS) / #9401-89 (STRAIGHT LEGS)

                       Specifications
                       Dimensions:              55"w (VARIES**) X 23"d (WITH 20"d SIDES) X 351⁄4"h
                       Finish:                  CC STAIN TO MATCH NEVAMAR #WC-0045E; CONTEMPORARY WILD
                                                CHERRY; FINISH OPTION TO BE SELECTED BY FRANCHISEE
                       Finish Note:             PRE-CATALYZED SYSTEM REQUIRED: 1421C00574 PRE-CAT SEALER,
                                                1706C20225 PRE-CAT TOP SEALER. STRAIGHT LEG VANITY TO HAVE ABS
                                                METALIZED (MATTE CHROME) FEET
                       Construction:            CONSTRUCTED WITH FURNITURE GRADE 3⁄4" PLYWOOD – FRAME AND
                                                SHELF
                       Notes:                   SERPENTINE LEGS OR STRAIGHT LEGS WITH TWO SHELVES; BOWED
                                                FRONT. BLOCKING REQUIRED UNDERNEATH SKIRT FOR MOUNTING OF
                                                TOILET PAPER HOLDER. COORDINATION OF ALL PLUMBING AND SHELF
                                                MUST BE CONSIDERED PRIOR TO INSTALLATION OF VANITY BASE
                       Distribution:            ALL GUEST BATHS EXCEPT ACCESSIBLE GUESTROOMS
                       General:                 * ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY
                                                WITH STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN
                                                STANDARDS.
                                                * FABRICATOR MUST REVIEW DESIGN CONCEPT AND INFORM
                                                PURCHASING AGENT OF ANY PROBLEMS OR DISCREPANCIES PRIOR TO
                                                FABRICATION.
                                                * FABRICATOR MUST PROVIDE A STRUCTURALLY SOUND PRODUCT
                                                WITH PROPER PROPORTIONS TO INSURE STABILITY AND PREVENT
                                                TIPPING.
                                                * WHERE APPLICABLE, ALL WOOD PARTS MUST BE TREATED FOR WOOD
                                                WORMS.
                                                ** ANY OPENING 6'-0" OR GREATER WILL REQUIRE SPECIAL
                                                CONSTRUCTION ON SHELVING FOR SUPPORT AND SHOULD BE
                                                COORDINATED WITH THE MANUFACTURER.
                   5. Corner Vanity Base
                       Corner mount vanities are not allowed for new construction. Existing properties
                       are to have corner mount vanity bases fabricated by JTB Furniture, which have a
                       furniture appearance and include a skirt and shelf and meet the following speci-
                       fications. Existing properties with corner vanity shelf extensions (off one side of
                       the vanity) may also purchase those from JTB. These must be provided in all guest
                       room baths, except accessible rooms due to wheelchair accessibility. Bases must
                       be stained wood and the backs must be securely attached to the wall. A single roll
                       toilet paper holder must be mounted beneath the front wood skirt, closest to the
                       toilet. The mounting location must not be flush with the bottom or front edge of
                       the skirt.

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                                                                           Building and Furnishing
                       All substitutions must be submitted to Hampton Design Review Committee, 755
                       Crossover Lane, Memphis TN 38117 prior to ordering for approval. Once approved,
                       the order may be processed. Any non-approved vanity bases are at risk of being
                       rejected, therefore replaced, in order to comply with standards.
                       Any hotels renovating guest room baths or applying for either re-licensing or
                       change of ownership after February 1, 2004, must comply with these standards.
                       Product Specification: Corner Mount Vanity Base
                       Manufacturer:            JTB Furniture
                                                1402 Waterworks Road
                                                Columbus, MS 39701
                       Contact:                 Reau Berry
                                                (800) 654-3876
                                                www.jtbfurniture.com
                       Description:             CORNER MOUNT VANITY BASE
                       MFR Stock #              #9403-89

                       Specifications
                       Dimensions:              481⁄2"w X 217⁄8"d X 36"h
                       Finish:                  CC STAIN TO MATCH NEVAMAR #WC-0045E; CONTEMPORARY WILD
                                                CHERRY; FINISH OPTION TO BE SELECTED BY FRANCHISEE
                       Finish Note:             REQUIRED TO BE PRE-CATALYZED SYSTEM: 1421C00574 PRE-CAT SEALER,
                                                1706C20225 PRE-CAT TOP SEALER
                       Construction:            CONSTRUCTED WITH FURNITURE GRADE 3⁄4" PLYWOOD – FRAME AND
                                                SHELF
                       Notes:                   CORNER UNIT WITH TURNED LEGS AND TWO SHELVES. BLOCKING
                                                REQUIRED UNDERNEATH SKIRT FOR MOUNTING OF TOILET PAPER
                                                HOLDER. COORDINATION OF ALL PLUMBING AND SHELF MUST BE
                                                CONSIDERED PRIOR TO INSTALLATION OF VANITY BASE.
                       Distribution:            CORNER MOUNT VANITIES IN GUESTROOM BATHS. NOT ALLOWED IN
                                                NEW CONSTRUCTION.
                       General:                 *ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY
                                                WITH STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN
                                                STANDARDS.
                                                * FABRICATOR MUST REVIEW DESIGN CONCEPT AND INFORM
                                                PURCHASING AGENT OF ANY PROBLEMS OR DISCREPANCIES PRIOR TO
                                                FABRICATION.
                                                * FABRICATOR MUST PROVIDE A STRUCTURALLY SOUND PRODUCT
                                                WITH PROPER PROPORTIONS TO INSURE STABILITY AND PREVENT
                                                TIPPING.
                                                * WHERE APPLICABLE, ALL WOOD PARTS MUST BE TREATED FOR WOOD
                                                WORMS.




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                                                                              Building and Furnishing
             D. Plumbing Fixtures
                   1. All exposed plumbing fixtures (pipes, faucets, etc.) must be first line, chrome-plated
                      brass as manufactured by nationally known manufacturers. Only escutcheon plates
                      are allowed to be chrome plated plastic. All new construction must use brushed
                      chrome finishes in lieu of polished chrome and all these finishes must coordinate
                      in color. The toilet flush handle, grab bars and shower rod are allowed to be pol-
                      ished chrome. All items in the ADA rooms are allowed to be polished chrome.
                   2. Tub/Shower Valves and Faucets
                        a. The tub/shower valve in the typical guest room bath must be Kohler
                           #K-P15601-4N-G trim with #K-304-KS valve with a WaterPik #SM621 show-
                           erhead. The shower only baths shall have a Kohler #K-P15611-4N-G trim with
                           #K-304-KS valve with a Water Pik #SM621 showerhead. The trim finish must be
                           brushed chrome on all new construction projects. Visit hamptonfranchise.com
                           under Standards – Approved Alternates for other approved manufacturers.
                        b. Accessible rooms must be Kohler #K-8520-CP handshower kit with slidebar:
                           #K-T15621-4-CP mixing valve trim with #K-304-KS valve, #K-15136-CP diverter
                           spout and #K-687-K transfer valve and #K-T10290-4-CP three-way transfer
                           valve trim with lever handle and a WaterPik #SM621 showerhead.
                             Product Specification: Tub/Shower Faucet
                             Manufacturer:           Kohler
                                                     444 Highland Drive
                                                     Kohler, WI 53044
                             Contact:                Doug Johnston
                                                     (972) 342-8026 voice/fax
                                                     J.P. Drevline
                                                     (920) 457-4441 x70721 voice/fax
                             Description:            TUB/SHOWER FAUCET
                             MFR Stock #             #K-P15601-4N-G TRIM WITH #K-304-KS VALVE




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                                                                             Building and Furnishing
                             Product Specification: Shower Faucet
                             Manufacturer:           Kohler
                                                     444 Highland Drive
                                                     Kohler, WI 53044
                             Contact:                Doug Johnston
                                                     (972) 342-8026 voice/fax
                                                     J.P. Drevline
                                                     (920) 457-4441 x70721 voice/fax
                             Description:            SHOWER FAUCET
                             MFR Stock #             #K-P15611-4N-G TRIM WITH #K-304-KS VALVE

                             Specifications
                             Finish:                 BRUSHED CHROME
                             Description:            SHOWER TRIM WITHOUT SPOUT; #33251-G SHOWER DRAIN IN A
                                                     BRUSHED CHROME FINISH SHOULD BE INCLUDED
                             Distribution:           GUEST ROOM BATHS WITH SHOWERS ONLY
                             General:                *ALL MATERIALS AND METHODS OF CONSTRUCTION MUST
                                                     COMPLY WITH STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND
                                                     HAMPTON INN STANDARDS.
                         c. The adjustable showerhead must be provided on the appropriate wall as re-
                            quired by ADA and the Water Pik showerhead in the typical guest room loca-
                            tion. ADA rooms may use polished chrome to coordinate with the numerous
                            grab bars.
                             Product Specification: ADA Handshower Kit
                             Manufacturer:           Kohler
                                                     444 Highland Drive
                                                     Kohler, WI 53044
                             Contact:                J.P. Drevline
                                                     (920) 457-4441 x70721 voice/fax
                             Description:            ADA HANDSHOWER KIT
                             MFR Stock #             #K-8520-CP

                             Specifications
                             Finish:                 POLISHED CHROME
                             Description:            HANDSHOWER KIT; #K-T15621-4-CP MIXING VALVE TRIM WITH
                                                     K-304-KS VALVE AND K-15136-CP DIVERTER SPOUT (FOR TUBS),
                                                     K-405K TRANSFER VALVE AND K-T9518-4-CP THREE WAY TRANSFER
                                                     VALVE TRIM WITH LEVER HANDLE, ALL IN POLISHED CHROME,
                                                     SHOULD BE PROVIDED FOR A COMPLETE PACKAGE IN ADDITION
                                                     TO THE STANDARD WATERPIK SHOWERHEAD
                             Distribution:           ACCESSIBLE GUEST ROOM BATHS ONLY
                             General:                *ALL MATERIALS AND METHODS OF CONSTRUCTION MUST
                                                     COMPLY WITH STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND
                                                     HAMPTON INN STANDARDS.




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                                                                              Building and Furnishing
                        d. All tub/shower valves must meet the following requirements:
                              1) The valves must pass through cold water first.

                              2) The “in-wall” valve must be brass or cast bronze with a pressure-balancing
                                 mechanism.

                              3) The pressure-balancing piston must be downstream from the shut off
                                 valve. Spring loaded or flapper type check valves are not permitted.

                              4) If a reverse connection is required, only valves with reversed inlet parts are
                                 allowed.

                              5) The temperature limit stop screw must be field set at 120° F.

                         e. Showerheads (MIH)
                             All guest bath showerheads are to be WaterPik #SM-621 with a minimum of 6
                             settings. The lowest part of the showerhead must be mounted 6'-6" above the
                             shower/tub floor.
                             Product Specification: Showerheads (MIH)
                            (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for suppliers.)
                   3. Vanity Faucets
                       The lavatory faucet (vanity faucet) for the typical guest room, including accessible
                       guest rooms, must be Kohler #K-15182-F-G, single lever faucet or #K-15261-4-G,
                       8" widespread dual lever faucet. An 8" widespread is required for dual lever faucets.
                       Lever handles may not have exposed screws. Twist and lift or trip lever stoppers
                       may be used at the vanity. Contact Hilton for other approved manufacturers.
                       Product Specification: Vanity Faucet
                       Manufacturer:            Kohler
                                                444 Highland Drive
                                                Kohler, WI 53044
                       Contact:                 Doug Johnston
                                                (972) 342-8026 voice/fax
                                                J.P. Drevline
                                                (920) 457-4441 x70721 voice/fax
                       Description:             VANITY FAUCET
                       MFR Stock #              #K-15182-F-G CORALAIS

                       Specifications
                       Finish:                  BRUSHED CHROME
                       Description:             SINGLE LEVER FAUCET WITH DRAIN
                       Distribution:            ALL GUESTROOM BATHS
                       General:                 * ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY
                                                WITH STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN
                                                STANDARDS.


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                                                                              Building and Furnishing
                       Product Specification: Vanity Faucet
                       Manufacturer:            Kohler
                                                444 Highland Drive
                                                Kohler, WI 53044
                       Contact:                 Doug Johnston
                                                (972) 342-8026 voice/fax
                                                J.P. Drevline
                                                (920) 457-4441 x70721 voice/fax
                       Description:             VANITY FAUCET
                       MFR Stock #              #K-15261-4-G CORALAIS

                       Specifications
                       Finish:                  BRUSHED CHROME
                       Description:             8" WIDESPREAD DUAL LEVER FAUCET WITH DRAIN
                       Distribution:            ALL GUESTROOM BATHS
                       General:                 *ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY
                                                WITH STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN
                                                STANDARDS.
                   4. Each hot and cold water supply must have an individual cut-off valve. Water supply
                      for the toilet must be mounted 10" AFF to avoid conflicting with the tile base.
                   5. Bathtubs and lavatories must have overflow outlets.
                   6. ABS pipe is not permitted for use.
                   7. If PVC drainage is used above guest rooms or any other public area, the pipes or
                      area must be insulated for sound control.
                   8. Domestic hot water for guest rooms must have a circulating pump or other ap-
                      proved system installed in-line to provide instant hot water at the tap. The maxi-
                      mum water temperature delivered to the guest room must not exceed 110° F.
                   9. When whirlpool tubs are permitted, separate hot and cold controls, faucet and
                      handheld spout for easy cleaning must be provided. Grab bars must also be pro-
                      vided.
310.07      Electrical
             A. A GFI electrical outlet must be located at each end of the vanity to allow convenient use
                of personal care appliances and the required coffee maker. In the studio suites, the cof-
                fee maker must be located at the wet bar so only one GFI outlet is required at the van-
                ity.
             B. The light switch and electrical outlets must be located so they do not conflict with the
                mirror or towel bar.




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                                                                      Building and Furnishing
310.08 Mechanical
             A. The bath area is to be mechanically exhausted by metal ducts and rooftop fans. The
                central fans may be either switched or on a 24-hour time clock with battery back-up.
                The exhaust system diffusers must be offset in adjacent rooms to prevent sight and
                sound transmissions between bathrooms. Baths must not vent into the chaseways or
                attics. The use of a metal lined or moisture resistant drywall shaft with each exhaust fan
                metal duct running into the shaft and turning up a minimum of 22" is allowed if ap-
                proved by the local jurisdiction and if no pipes penetrate the shaft.
             B. OPTIONAL: In lieu of a central-ducted exhaust system, individual bath fans with com-
                mercial rating with flexible duct systems may be used. When individual fans are used,
                they must meet the following criteria:
                 Individual toilet exhaust fans, when used, must be equal to Greenheck model SP ceiling
                 fan. The housing must be steel and the centrifugal fan wheel must be of high strength
                 polymer or polypropylene. The housing must be acoustically insulated for quiet op-
                 eration. Each fan must be equipped with an internal backdraft damper. The fan wheel
                 and motor assembly must be provided with an internal cord and plug to allow easy
                 removal. The motor bearings must be sealed and permanently lubricated. The intake
                 grill must be non-yellowing high strength polymer or polypropylene. The fan must
                 be certified and licensed to bear the AMCA seal for air and sound and be UL and CSA
                 listed. Maximum sound level must be 4.0 sones. The fan and bathroom light must be
                 switched separately. Combination fan/light units are not permitted.
             C. Exhausts may not be directed horizontally but must be ducted vertically to the roof.
310.09 Lighting
             A. Minimum lighting must be as follows:
                   1. 20 foot-candles measured 36" AFF at the water closet seat, 50 foot-candles mea-
                      sured at the vanity surface, 10 foot-candles measured 36" AFF at the tub with the
                      shower curtain open and five foot-candles with the shower curtain closed.
                   2. Where the tub/toilet area is separate from the vanity area, lighting for each area
                      must be separately switched.
                   3. Fluorescent lighting with instant start electronic ballasts and warm white lamps
                      which are approved for a damp location are required.
                   4. A decorative, fluorescent light fixture is to be used above the decorative vanity mir-
                      ror. The fixture must utilize 36" fluorescent lamps (minimum unless vanity area
                      is too narrow) and be rated for damp locations. The fixture must be cylindrical or
                      similar shape with translucent white plastic lens and decorative end caps. Fixture
                      to be submitted for Hilton’s approval. Instant on universal electronic ballast and
                      a T-8 lamp with a color temperature of 3000K are required. The fixture should be
                      mounted approximately 6'-10" AFF to center of fixture. Coordinate with mounting
                      height of mirror. Pre-approved fixtures may be obtained from the Design & Con-
                      struction Department.

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                   5. In addition to the light over the vanity, a surface/ceiling mounted light fixture with
                      (2) PLI8 watt fluorescent lamps or equal is required near the shower.
                   6. A nightlight must be provided inside the bathroom by one of the following op-
                      tions for existing hotels. New construction is allowed option a. (MIH).
                        a. Wall or ceiling mounted light fixtures that have a nightlight built in so that
                           when the main light is turned off, the nightlight is turned on automatically.
                           Hilton Hotels Corporation must approve the design of this fixture.
                        b. A plug-in nightlight, Nite Lite #71055 as manufactured by AmerTac.
                        d. A hairdryer nightlight.
             B. All lighting fixtures must be UL approved/certified for the wattage that will be carried.
                International properties must comply with the local equivalent.
             C. All guest room bath lamps must be warm white lamps.
310.10      Bath Accessories
             A. In general, all accessories shall be non-corrosive. Stainless steel or brushed chrome
                accessories are acceptable. All new construction shall have brushed finishes on all
                accessories and plumbing fixtures unless noted otherwise.
             B. Mirrors
                   1. A wall-mounted, decorative framed mirror is required above the vanity. The overall
                      width dimension must be the width of the vanity less 4" on each side. For example,
                      a 55" wide vanity must have a 47" wide framed mirror. If the vanity opening is less
                      than 48" and the vanity top extends wall to wall, the framed mirror should be the
                      width of the opening less 4" on each side. The average height of the mirror must be
                      36", typically. Coordinate size with the height of the junction box to the decorative
                      light above. The bottom of the frame must be set approximately 1" above the back-
                      splash. (Accessible vanities must be installed with the reflective surface no higher
                      than 40" above the floor). Dimensions include a minimum of 2" frame.
                       All other vanities must have mirrors similar in proportions while insuring ease of
                       installation with proper tools. Alternate sizes must be shown in submittals of
                       interior elevations for Hilton Hotels’ approval.
                   2. If two sinks are used in one vanity, as an alternate to a single mirror mounted as
                      described above, two mirrors may be provided, one over each sink. The mirrors
                      must extend to within 4" of the edges of the vanity on each side and hold a 4" gap
                      between the two mirrors in the center.
                   3. A wall-mounted mirror (frameless) is required above corner vanities extending the
                      full length and width of the vanity (to the end of each backsplash) and extending
                      from the top of the backsplash to the bottom of the soffit. Clearance at top and
                      sides of mirror must be 1" or less.



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                                                                       Building and Furnishing
                   4. A full-length framed mirror, required in all guest rooms, is to be located in or
                      immediately adjacent to the dressing area and mounted 18" above the finished
                      floor. Minimum size is to be 18" x 60" (.46m x 1.52m), 3⁄16" thick. Mirror must
                      be distortion-free, polished float glass with polished edges. If mounted on the
                      bath door or closet door, it is to be mounted on the bedroom side of the door, 12"
                      above the finished floor with mirror clips. The door must be solid core. Full mirror
                      closet doors are recommended as an alternate.
                   5. All mirrors must be 3⁄16" (.48cm) distortion free, polished float plate glass, manu-
                      factured according to federal specifications DDM-411 for Grade 1 mirrors.
             C. Toilet Tissue Dispenser
                   1. A single roll, wall mount dispenser equal to Franklin Brass #1408C is to be mount-
                      ed to the underside of the vanity skirt of vanity bases and granite vanities.
                   2. A reserve roll holder or a surface mount decorative roll holder is to be used when
                      the vanity base is separate from the toilet. The reserve roll holder must have a
                      chrome plated brass frame riveted to a box of gun metal gray steel. Projecting
                      brackets are to be of zinc alloy and triple chrome plated. A single roll is to be vis-
                      ible with a reserve roll concealed. The decorative holder must coordinate with the
                      other bath fixtures and accessories in color and in design.
             D. Double-Prong Robe Hook
                 The double-prong robe hook is to be zinc and triple chrome-plated with a concealed
                 screw and minimum hook projections of 15⁄8" (4.13cm). Mount at 6'-0" AFF on the
                 bathroom door. An additional robe hook, mounted as required by ADA, is to be pro-
                 vided in the accessible guest rooms.
             E. Shower Rod (MIH)
                 All guest bath shower rods (except ADA showers) are to be a curved rod, Franklin Brass
                 #190- 5BS (5'-0", polished finish) and they must be mounted 6'-8" AFF to the center-
                 line of the rod. Flat, curved shower rods as manufactured by Arch and Angles are
                 acceptable. The rod is typically mounted vertically centered on the back side of the tub
                 edge. Existing properties may lower the rod up to 4" to clear an existing ceiling light.
                 The rods must be permanently secured. ADA showers( not tubs) are to have straight
                 rods equal to Franklin Brass #165. See OnQ Insider > Make It Hampton Products Product
                 Reorder Catalog for suppliers.
              F. Grab Bars
                 A chrome, stainless steel or nylon (to match surround) grab bar, 24" (.61m) in length,
                 is to be installed vertically on the tub wall 1'-9" from the shower head wall with the
                 bottom flange of the grab bar 16" (.41m) above the rim of the tub. For shower loca-
                 tions, see prototype. Proper backing/blocking is to be provided for secure installation.
                 All grab bars must be securely anchored and capable of withstanding 250 lbs. of pull.
                 Cement adhesive is not acceptable. Grab bars must have flange covers to conceal the
                 mounting screws.

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                                                                     Building and Furnishing
             G. Soap Dishes
                 Two cultured marble soap dishes are required. Soap dishes must not have grab handles
                 and should not be metal. For the shower only rooms, the soap dish must be placed in
                 the corner on the showerhead wall (48" AFF) and a foot rest in the corner opposite the
                 showerhead on the back wall (15" AFF). For the tub/shower combos, the shower height
                 dish remains on the showerhead corner with the tub height centered on the back wall
                 (24"AFF). For pre-approved dishes, visit hamptonfranchise.com under Standards –
                 Alternates.
            H. Towel Shelf
                 A wood towel shelf must be located above the toilet, centered. For pre-approved
                 shelves, visit hamptonfranchise.com under Standards – Alternates.
              I. Towel Bar
                 All guest rooms with separate tub and vanity areas as well as accessible rooms require
                 an additional chrome towel bar, minimum length 18", or towel ring to be located in
                 the vanity area. These may be placed on the wall or vanity front (when a part of the
                 design). The Hometown prototype requires a towel ring in the queen room. The light
                 switches and receptacles at the vanity must not be concealed when towels are placed on
                 the towel bar.
              J. Facial Tissue Dispenser
                 A facial tissue dispenser must be provided and be a decorative, residential style tissue
                 box dispenser made of high quality molded plastic sitting on top of the vanity. The
                 dispenser must color coordinate with the vanity and wallcovering. Accessible baths
                 may utilize a recessed dispenser if counter space is limited. Recessed dispensers must
                 be heavy guage galvanized steel, 21⁄2" deep minimum and have no brand name desig-
                 nation.




 GUEST ROOM SUITE/BATH AND DRESSING AREA CONTINUED             2008 EDITION / Effective June 1, 2008   300-122
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                                                                                          Building and Furnishing
310.11      Bath Linens (MIH)
             A. Each guest room bath must be supplied with a minimum of the following freshly laun-
                dered linens daily in accordance with the table below.
                 NOTE: Use of the Hampton Inn name in logo form is required only on the bath mat.
                 The logo must be used according to Section 400, Trademarks, in the Standards Manual.
                                                                GUESTROOM BATH LINEN REQUIREMENTS

                                                                 Bath          Hand             Wash-              Bath
                                                                Towels        Towels            Cloths             Mats

                 King, Queen and Hospitality Suite,
                 Number Each Per Room                              2             2                 2                 1
                 King Study, Double/Queen and Studio Suites
                 Number Each Per Room                              4             4                 4                 1
                 Grade                                           First         First             First             First
                                                                Quality       Quality           Quality           Quality
                 Minimum Cotton Terry Cloth Content              86%           86%               86%                86%
                 Maximum Polyester Content                       14%           14%               14%                14%
                 Minimum Size                                  25" x 54"     16" x 27"         12" x 12"         20" x 30"
                 Minimum Finished Weight                      13.50 lbs/dz   3.5 lbs/dz       1.0 lbs/dz         7.0 lb/dz
                 Logo Required                                    No            No                No                Yes

             B. Bath linens must be white in color. Combed cotton is used for bath towels, hand towels
                and washcloths.




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             C. Washcloth ends must be reinforced with stitching to prevent unraveling.
             Any hotels beginning new construction, applying for either re-licensing or change of own-
             ership, or upon general replacement of bath linens after February 1, 2004 must comply
             with these standards. All other hotels must comply by July 31, 2005. See Standard 300.02,
             Make It Hampton.
                 Product Specifications: Bath Linens
                 (See OnInsider > Hampton > Make It Hampton Product Reorder Catalog for suppliers.)
                 Manufacturer:          WESTPOINT STEVENS, INC.
                 Style:                 Style: BATH (0018881) / HAND (0018880)
                                        WASH (0018879) / MAT (0018882)
                 Dimensions:            25" x 54"/ 16" x 27"/ 12" x 12"/ 20" x 30"
                 Loop Yarn Size:        12/ 12/ 12/ 7
                 Blend:                 86C 14P/ 86C 14P/ 86C 14P/ 86C 14P
                 Hem:                   7 SPI/ 7 SPI/ 7 SPI/ 10 SPI
                 Description:           BATH, HAND AND MAT THREAD IS COTTON WRAPPED BY POLY CORE. WASH
                                        CLOTH OVEREDGE IS 100 PERCENT POLY THREAD. BATH, HAND AND MAT
                                        END HEMS ARE LOCK STITCH BAR TACKED. WASH CLOTH IS OVEREDGED
                                        AND WITH ROUNDED CORNERS. BATH, HAND AND MAT HAVE FOUR SIDED
                                        HEM.
                 Distribution:          GUESTROOM BATHS
                 General:               * ALL MATERIALS AND METHODS OF CONSTRUCTION MUST COMPLY WITH
                                        STATE, LOCAL, FIRE & LIFE SAFETY CODES, AND HAMPTON INN STANDARDS.
             D. Shower Curtain (MIH)
                 The guest bath shower curtain must be #HBSHI as manufactured by Arc and Angles,
                 Inc. (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for sup-
                 pliers.) The curtain is available in two sizes, 71" x 74", 1.75 lbs. and 71" x 80", 1.90 lbs.
                 Fabric is 100 percent polyester plainweave (EH003) fabric with water resistant formula-
                 tion. Color selection is white or beige. The ten silver rings on a reinforced header must
                 be Hookless® and embedded magnets must be provided in the lower corners inside the
                 double reverse folded hems and sonic sealed non-water retaining bottom hem. A 12"
                 vinyl window set 111⁄2" from the top with Hampton Honeycomb Frosted Logo print,
                 treated to resist mildew is included.
                 Any hotels beginning new construction, renovating guest room baths or applying for ei-
                 ther re-licensing or change of ownership after February 1, 2004, must comply with this
                 standard. All other hotels must be in compliance by December 31, 2004. (See Standard
                 300.02, Make It Hampton.)




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                                                              Building and Furnishing
311.00 Wet Bar and Guest Room/Suite Appliances
        A. Each guest room must be equipped with a clock radio, Hampton #HI276B as manu-
           factured by SDI Technologies. The radio must be located on, but not attached to,
           the nightstand. No other radios or alarm clocks are acceptable. (See On Q Insider >
           Hampton > Make It Hampton Product Reorder Catalog for ordering information.)
        B. Wall-mounted hair dryers are recommended. If provided, they may be plug-wired.
        C. Each guest room must be equipped with an iron, ironing board and caddy/organizer.
           These items must meet these minimum criteria:
            1. Irons must be equipped with an automatic shut-off, a non-stick sole plate, steam
               setting and must be self-cleaning.
            2. The ironing board must be freestanding with an ironing surface of at least 40" long
               and 13" wide.
            3. Ironing boards must be stored in the closet.
            4. Iron caddy/organizer must be mounted in the closet and cannot be attached di-
               rectly to the ironing board.
            5. Iron cannot be attached to the caddy or the ironing board by a cable or any other
               method.
        D. Each guest room must be equipped with an automatic shut-off coffee maker. The cof-
           fee maker is recommended to be located at the wet bar when provided, otherwise at the
           bath vanity. (See Rule 118.17.) See OnQ Insider > Hampton > Make It Hampton Product
           Reorder Catalog for suppliers.
        E. Refrigerators and microwaves may be used.
            1. When provided, they must be installed in a finished cabinet to match the case-
               goods, or they may be built-in. The microwave may not be placed on top of the
               counter or refrigerator but must be within its own compartment. Upper cabinets
               are not recommended.
            2. Studio suites require an undercounter refrigerator and microwave in a built-in wet
               bar with bar sink and gooseneck faucet with hot and cold water.
            3. Refrigerators and microwaves must be black in color.
            4. Refrigerators and microwaves may not be located in close proximity to the guest
               room vanity and may not be free-standing.




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                                                                     Building and Furnishing
              F. Wet Bars (Full Kitchens, Where Applicable)
                   1. Built-in wet bars are required where shown. Full kitchens are not longer allowed,
                      but exisiting properties with full kitchens must follow the requirements in this sec-
                      tion.
                   2. Cabinetry must be stained wood cabinets with natural granite or quartz counter-
                      tops and splashes as a minimum.
                   3. Under mount stainless steel sinks are required.
                   4. Bar sink faucets must be Kohler #K15275-4 gooseneck faucet with dual lever (hot
                      and cold water). Levers with exposed screws are not allowed.
             G. Electrical appliances or devices other than those specifically outlined in the above stan-
                dards may not be installed in any guest room. This includes dehumidifiers, air purifiers,
                desktop computers, audio/home theater equipment and any other small appliances.
                Premium room types based on these items which violate brand standards are not per-
                mitted. (Standard effective October, 2007.)




 WET BAR AND GUEST ROOM/SUITE APPLIANCES CONTINUED             2008 EDITION / Effective June 1, 2008   300-126
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                                                                 Building and Furnishing
312.00 Accessible Accommodations
312.01   Only portions of the ADA are contained within the scope of these standards; therefore, le-
         gal counsels, architects, and/or other necessary advisors should be consulted on each indi-
         vidual projects. Additional codes or requirements may be imposed by the local jurisdiction
         thereby requiring compliance above and beyond what is included in these standards or in
         the ADA.
312.02   Every hotel must have a minimum number of rooms for the physically impaired guests as
         required by ADA and the local jurisdiction. These rooms must contain those elements out-
         lined in the applicable building code and ADA guidelines including requirements for hear-
         ing-impaired and vision-impaired rooms.
312.03   In order to provide persons with disabilities a range of options equivalent to those avail-
         able to other persons served by the facility, sleeping rooms and suites required to be acces-
         sible must be dispersed among the various classes of sleeping accommodations available to
         guests. The class dispersal should also include rooms with views.
312.04   Accessible rooms are recommended to connect to a double-bedded room.
312.05   Listed below are a number of items (required by ADA) that are often overlooked. However,
         be advised that the ADA guidelines in its entirety must be followed as a minimum.
         A. Guests must have barrier-free access to accessible suites and all public areas.
         B. Accessible parking must be conveniently located at the hotel entrance and convenient
            to the accessible guest rooms.
         C. Accessible guest room and suite entrance doors must be 3'-0" (0.91 m.). Threshold
            must not impede wheelchair movement.
         D. A second, one-way viewer in the entrance door is required.
         E. The thermostat is required to be in an accessible location.
          F. Drapery batons must extend to 48" (1.22m) AFF and be easily operable.
         G. The wall-mounted light fixture above the luggage bench in the guest rooms must be
            switched at the entrance door, separate from the entry area ceiling light. The fixture
            must not have a switch on it. This arrangement is only allowed in the accessible rooms.
            Push switches should be provided at all other lamps.
         H. Fiberglass or acrylic roll-in shower units fully equipped to comply with ADA are permit-
            ted.
          I. Wall-mounted china lavatories are also acceptable but only in the accessible rooms.
             Typical guest room vanity bases are not required in the accessible rooms. These rooms
             are to have skirts with 29" minimum clearance beneath.
          J. Bottom of the reflective portion of the mirror over vanity must be no more than 40"
             (1.02m) AFF.
         K. Provide toilet accessories mounted in compliance with ADA.

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                                                                       Building and Furnishing
             L. Shower rods in the ADA showers must be straight rods instead of the typical bowed
                shower rods.
            M. Showers must have two showerheads — one at typical guest room showerhead location,
               one on adjustable rod in location as required by ADA (typically the back wall).
            N. The standard wood towel shelf must be provided over the toilet. An additional towel
               bar must be provided within the bath that complies with all ADA clearances and reach
               ranges.
            O. Electrical outlets must be mounted no lower than 18" (0.46 m.) above floor. Coordi-
               nate casegoods accordingly.
             P. The wet bar must provide wheelchair access at sink.
            Q. The guest room desks and/or tables must provide wheelchair access, which is typically
               27" clear height.
             R. 2" x 2" floor tile is acceptable at roll-in showers.




 ACCESSIBLE ACCOMMODATIONS CONTINUED                            2008 EDITION / Effective June 1, 2008   300-128
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                                                              Building and Furnishing
313.00 Standard Room Layouts
313.01   Following are Standard Room Layouts for Hampton hotels. The layouts are noted to which
         brand they apply by the mark (HI) for Hampton Inn, (HH) for the Hometown prototype,
         (HIS) for Hampton Inn & Suites. These room sizes should be considered as minimums.
         Approved alternate room sizes could modify dimensional requirements of furniture pieces
         and/or furniture elements. See prototype drawings at hamptonfranchise.com for a com-
         plete package of all available room types and layouts.
         * New construction requires the 14'-0" bay king room.
         Single Queen Room (use in Hometown ONLY)
         King Room – New Construction
         King Room – Renovation
         Double Queen Room
         Alternate Desk Double Queen
         King Studio
         Double Queen Studio
         Queen Studio
         King Jacuzzi Tub
         King Spa
         King Sofa Room – New Construction
         King Sofa Room – Renovation




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 Building and Furnishing                                                              HH



                   SINGLE QUEEN ROOM
                             (276 SQ. FT.)




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 Building and Furnishing                                                              HI/HIS



    KING ROOM-NEW CONSTRUCTION
                         (353 SQ. FT.)




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 Building and Furnishing                                                              HI/HIS



       KING ROOM-RENOVATION
                     (352 SQ. FT.)




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 Building and Furnishing                                                              HH/HI/HIS


DOUBLE QUEEN ROOM
           (350 SQ. FT.)




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 Building and Furnishing                                                              HI/HIS



        ALTERNATE DESK DOUBLE QUEEN
                           (353 SQ. FT.)




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 Building and Furnishing                                                              HI/HIS



           KING STUDIO
              (467 SQ. FT.)




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 Building and Furnishing                                                              HI/HIS



   DOUBLE QUEEN STUDIO
              (559 SQ. FT.)




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 Building and Furnishing                                                              HH



          QUEEN STUDIO
              (440 SQ. FT.)




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 Building and Furnishing                                                              HH



      KING JACUZZI TUB
              (329 SQ. FT.)




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 Building and Furnishing                                                              HH



        KING SPA ROOM
              (370 SQ. FT.)




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 Building and Furnishing                                                              HI/HIS



  KING SOFA ROOM-NEW CONSTRUCTION
                            (400 SQ. FT.)




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 Building and Furnishing                                                              HI/HIS



         KING SOFA ROOM-RENOVATION
                            (352 SQ. FT.)




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                                                                  Building and Furnishing
314.00 Guest Room/Suite Support Areas
314.01 Passenger Elevators
        A. Elevator service is required in all hotels.
        B. Two- and three-story hotels require a minimum of one elevator as long as that elevator
           complies with the maximum wait time.
        C. A minimum of two elevators must be used in buildings above three stories.
        D. Provide minimum 2,500 lb. capacity.
        E. Minimum width of door opening is to be 3'-6" (1.07m).
         F. The floor is to be covered with carpet or hard surface decorative floor covering subject
            to approval of Hilton Hotels. Vinyl floor tile is not acceptable.
        G. One operating panel is required in each cab.
        H. The minimum finished inside floor dimension will be 6'-8" wide and 4'-3" deep.
         I. Assuming 24-30 rooms per floor, speeds must be:
            3-4 STORIES                  TYPE               UP                        DOWN

            Minimum                   Hydraulic          125 F.P.M.                150 F.P.M.
            Recommended               Hydraulic          150 F.P.M.                175 F.P.M.
            Maximum wait time is forty-five seconds.


         J. Heat or touch-sensitive call buttons are permitted provided there is an automatic aux-
            iliary return in the event of fire or other emergency.
        K. The elevator call button must be mounted no more than 42" (1.07m) AFF. Elevator
           controls and telephone must be mounted no more than 48" (1.22m) AFF.
         L. All elevator controls must be equipped with a “door open” button.
        M. Elevator walls must have grab rails on all three sides mounted 32" (.81m) AFF.
        N. A sign stating “Do Not Use Elevator in Case of Fire - Use Stairs” must be installed at
           each elevator entrance on each floor and in each cab.
        O. Provide Braille markings on elevator control panels.
         P. A recessed telephone cabinet must contain a house phone that dials automatically to
            the front desk, unless otherwise required by local authorities.
        Q. A rear door opening into the laundry is required when the elevator lobby is directly
           adjacent to the hotel lobby. A rear door opening is recommended in all cases. If a rear
           door opening into the laundry is provided, the door must be operable only by using an
           employee key to prevent guest access.



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             R. All elevator shaft walls must have a two-hour fire rating. All elevator shaft doors must
                have a 11⁄2-hour fire rating.
             S. Elevator Graphics (MIH)
                 An elevator graphic as manufactured by Harlan Graphics is to be installed in each pub-
                 lic elevator. (See OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for
                 ordering information.) Graphic to be 12"h x width of door plus 2" each side. Graphic
                 to be centered on door opening, mounted 4'-6" A.F.F. to the bottom, and trimmed of
                 any access at left and right sides. Lettering to be Frutiger font, 75 black. No other art-
                 work or marketing material will be allowed within the elevator cab.
                 Any hotels beginning new construction, applying for re-licensing or change of own-
                 ership after February 1, 2004, must comply with this standard. All other hotels must
                 comply by December 31, 2004. (See Standard 300.02, Make It Hampton.)
314.02 Corridors/Elevator Lobbies
             A. Primary Corridors
                   1. Corridors in the guest room/suite area must be a minimum of 6'-0" wide on new
                      construction (Hometown prototype are allowed 5'-0" corridors due to the size of
                      the hotel). A minimum ceiling height of 8'-0" is required, except furrdowns as low
                      as 7'-4" will be allowed for concealment of mechanical, plumbing, etc., at limited
                      areas. Furrdowns are required at the guest room entries on new construction as
                      shown in the prototype drawings.
                   2. Floors must be carpeted. Padding is required with carpet base. (See Section 302.03,
                      for commercial grade carpeting requirements.)
                   3. The wall finish must be Type II vinyl wallcovering with a minimum total weight of
                      20 oz. per linear yard. All corridor wallcovering must have a Class “A” flame-spread
                      rating and strippable adhesive.
                        a. Knock-down textured wall finish is not permitted in the corridors.
                        b. Chair rails are permitted in the corridor and must be a residential style and
                           match décor. Surfaces may not be painted and must be of a material resistant
                           to wear.
                   4. Dead-end corridors must not exceed 20'-0" (6.1m).
                   5. Lighting with a level of 10 foot-candles minimum, measured at floor level, must be
                      provided in corridors, and 15 foot-candles minimum at the entry door lock.
                   6. A minimum 4" bound carpet base (6" recommended) is required to protect wall-
                      covering.
                   7. Opaque acrylic corner guards are required at wall direction changes in high traf-
                      fic areas. They must be a solid color to match the wallcovering and must be self
                      adhesive. Exposed screws or other fasteners are not permitted.



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                   8. All guest room entry doors and exterior public entrance doors must have remote
                      card readers that operate with guest room card key.
                   9. Electrical outlets for housekeeping equipment must be provided a minimum of
                      every 50'-0".
             B. Secondary Corridors
                 Corridors to stairwells, vending areas, etc., are to be a minimum of 4'-0" (1.22m) wide
                 unless local code requirements are more stringent.
             C. Elevator Lobbies
                   1. Elevator lobbies are to be a minimum of 6'-0" (1.83m) in depth. Additional depth
                      is recommended at elevator lobbies used as a passageway to a secondary entrance
                      or exit.
                   2. Elevator lobby flooring must be carpet with a carpet base as a minimum. The
                      ground floor may be tile floor but must have a wood base when adjacent to the
                      lobby or other public area with a wood base.
                   3. Lighting in elevator lobbies must provide a minimum light level of ten (10) foot-
                      candles, measured at the floor level.
             D. Distributed audio (background music) is required in elevator lobbies on the ground
                floor, but is optional on other floors. See Standard 614.00 in Distributed Audio Stan-
                dards in the Information Technology section.
314.03 Stair Enclosures
             A. Finishes:
                  Item                                          Appropriate Finish

                  Walls                                         Painted - Satin finish latex
                  Rails                                         Painted - Oil base enamel
                  Stair Treads                                  Exposed concrete with sealer*
                  Landings                                      Exposed concrete with sealer*
                  Ceilings and underside of stairs              Painted - Satin finish latex
                  * In a wood frame building, stairs must have carpet with vinyl base at landings.

                    NOTE: A class “A” flame-spread rating is required for all finishes.
             B. Enclosure walls and ceilings must be of not less than two-hour, fire-resistant construc-
                tion. All stair enclosures must exit directly to the exterior of the building at ground
                level. No storage closets or other structures must be constructed or installed under a
                stairwell.
             C. The door assembly to the stair enclosure must have a fire protection rating of 11⁄2-hours
                minimum. These doors must be equipped with a sign that reads, “This fire door must
                remain closed at all times.” All stair doors must be a minimum of 3'-0" (.91m) wide,
                have closers and have full width panic hardware on the corridor side.

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             D. Fire-rated stair doors, which may have a wire reinforced glass vision panel, must have
                the vision panel opening no greater than 100 sq. in. (.065m2) (recommend 3" x 33" or
                10" x 10") unless local code is more stringent.
             E. The corridor side of the stairwell door and the door from the stair to the exterior must
                have the word “EXIT” in 6" high reflective vinyl appliqué letters. The top of the letters
                must be 12" AFF. If the building codes require illuminated exit signs mounted at floor
                level, the reflecting letters are not required.
              F. All stairwell doors and doors with “EXIT” lighting must include automatic door closers
                 and must be operable from both sides. At ground level, for security purposes, the ex-
                 terior stairwell door must be operable from stair side only.
             G. All stairs used as fire/emergency exits must be a minimum of 44" (1.12m) wide.
             H. Widths of stairways must not decrease in the direction of egress from the building.
              I. Every stair landing must have a dimension, measured in the direction of travel, equal to
                 the width of the stairway or greater.
              J. All floor levels must be clearly numbered in stairwells at each landing. These letters
                 must be a minimum of 6" (15cm) in height and be reflective vinyl appliqué type. The
                 top of the letters must be mounted 60" AFF.
             K. NFPA 101, Life Safety Code, and local building codes must be observed for information
                on lighting, angle, depth, width, handrails, treads, riser height, etc.
              L. All stair treads and risers must be solid for the entire width of the stair.
            M. Install handrails on each side of all stairs that are greater than 42" (1.07m) wide. Inside
               handrails must be continuous. Ends of wall-mounted railing must return to the wall.
             N. Exterior, open, metal fire escape type stairs are not an acceptable means of egress from
                the building.
 314.04 Vending
             A. Walls in vending/ice areas are to be vinyl wallcovering, Type II – 20 oz. per linear yard.
             B. Floor and base must be ceramic or porcelain tile. If glazed, the tile must have a non-slip
                additive.
             C. Ceilings are to be 2' x 2' acoustical ceiling tile with tegular edge. Provide adequate re-
                cessed lighting that is wired to remain on at all times.
             D. Provide a floor drain under the ice maker for condensate drainage.
             E. Provide adequate water and electrical connections.
              F. Provide proper HVAC cooling and a continuous exhaust. If a door is used, a supply
                 register in addition to the exhaust fan must be provided.




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             G. All hotels must provide a free, self-service ice machine on each floor capable of pro-
                ducing five pounds of ice per 24-hour period for each guest room on the floor served.
                Hometown prototypes require only one ice machine to service the entire property.
                Open/bin-type ice machines are not permitted. Sanitary ice dispensing machines which
                operate by push button, guest room key, or tokens are acceptable, provided such tokens
                are freely given to guests upon arrival with additional free tokens to be available upon
                request (without limitations).
             H. A minimum of one soft drink machine, either can or bottle type, must be provided on
                each floor. The soft drink machine is not required on the first floor for hotels that have
                a suite shop. Hometown prototypes require only one soft drink machine to service the
                entire property.
              I. A minimum of one snack machine must be provided on the first floor. The snack ma-
                 chine is not required in hotels that have a suite shop. Hometown prototypes require
                 only one snack machine to service the entire property.
314.05 Guest Laundry (Optional)
             A. Provide ceramic or porcelain tile floor and base.
             B. Walls must be Type I - 12 oz. per linear yard vinyl wallcovering.
             C. Provide a finished ceiling to conceal all pipes, ducts, conduit, etc.
             D. Provide a minimum of one coin operated washer and one electric dryer. Plumbing
                must comply with all national and local codes.
             E. Provide built-in plastic laminate counter (minimum size: 24"x 48") for folding clothes.
              F. Comply with ADA requirements.
             G. Provide full glass or half glass door with closer and card key access. The deadbolt on the
                lockset must be disabled. Glass area must not be blocked for the safety of guests.
             H. Provide central HVAC.
              I. The lights must be wired so that they remain on at all times.
              J. Provide floor drain.
             K. A wall-mounted house phone is required. It must be mounted at 48" AFF as measured
                to the center of the phone. When lifted of the cradle, the phone must ring directly to
                the front desk switchboard.




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315.00 Back of House Areas
315.01 Laundry Area
        A. Floors must be sealed concrete or better with 4" vinyl base in laundry area. The house-
           keeping office must have vinyl composition tile with 4" vinyl base.
        B. Walls must be painted gypsum board, masonry or better.
        C. Ceilings are to be painted or better.
        D. Minimum size of laundry and minimum number of equipment pieces must be as
           shown on the prototype drawings.
        E. Interior perimeter walls must be fire-resistant construction with minimum one-hour
           fire rating. Laundry doors within these rated walls must have a 45-minute rating mini-
           mum.
         F. Linen chutes are required in each building with three or more floors and must contain
            an automatic fire suppression system with an audible alarm annunciated at the front
            desk. The linen chute must be a factory fabricated metal chute with factory fabricated
            doors such as chutes manufactured by Wilkinson. In two-story buildings, a linen drop
            in each building is acceptable with a one-hour fire-rated door assembly to maintain the
            required floor-to-floor fire rating. Linen chute doors that are held open in the laundry
            must be equipped with fusible links to provide automatic closure in the event of a fire.
            The linen chute must be enclosed with two-hour fire-rated walls and 11⁄2-hour fire-rated
            access doors. Linen chutes may not be accessed directly from the guest corridor or any
            other public area. Linen chutes are not required in the Hometown prototype.
        G. Dryer enclosure is required. (See prototype drawings.)
        H. Central HVAC system is required for this area.
         I. Provide one wall-mounted ABC 10 lb. fire extinguisher. Additional units may be re-
            quired by local fire marshal.
         J. All light bulbs must be protected by lens covers or safety tube covers.
        K. Provide a wall-mounted telephone in the laundry area.
        L. A fully stocked first-aid kit must be available within the laundry area (see Standard
           108.09).
        M. Provide painted wood shelving (fully supported) or metal shelving in linen storage
           rooms.
315.02 Maintenance
        A. Floors must be VCT or better with 4" vinyl base.
        B. Walls must be painted gypsum board, masonry or better.
        C. Ceilings are to be painted or better.
        D. Provide HVAC.

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             E. Provide one wall-mounted, ABC 10 lb. fire extinguisher. Additional units may be re-
                quired by local fire marshal
              F. All light bulbs must be protected by lens covers or safety tube covers.
             G. Provide telephone.
            H. Provide electrical outlets located above the work counter.
              I. Provide built-in work counter.
315.03 Employee Facilities
             A. Back Office
                   1. Provide carpet, carpet pad and vinyl base as a minimum. Wallcovering must be
                      vinyl. Ceiling to be ACT as a minimum.
                   2. Provide push button door hardware and peephole at the main office door entry.
                   3. Every workstation is to have a minimum of one phone and data outlet and one
                      quad electrical outlet.
             B. Breakroom
                   1. Flooring must be vinyl tile or better with 4" vinyl base.
                   2. Walls and ceiling are to be painted or better.
                   3. Provide central HVAC or a thru-wall unit in the breakroom.
                   4. Provide a counter, storage cabinets, microwave, full size refrigerator and sink with
                      hot and cold water.
                   5. Provide a minimum of one table (high pressure laminate top) and four chairs.
                   6. Provide a minimum of 6 lockers, each a minimum of 2.5 cubic feet (.07m3). For
                      hotels with 75 guest rooms or more, a minimum of 10 lockers is required.
             C. Employee Restrooms
                   1. Flooring must be 6" x 6" minimum ceramic tile with ceramic base.
                   2. Walls to be painted gypsum board, masonry or better.
                   3. Provide a finished ceiling to conceal all pipes, ducts, conduit, etc.
                   4. Provide continuous exhaust.
                   5. The restroom must be provided separate from the public restrooms except in
                      Hometown prototype properties. Refer to the prototype drawings for location of
                      required accessories.
                   6. The restroom must meet all requirements of the ADA.




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            D. Training Facilities
                   1. The employee break room or a meeting room is to be used for training purposes.
                   2. A television and a DVD player must be provided on a rolling cart for showing train-
                      ing programs to employees.
                   3. Training facilities must have a data line extension from the PBX room as well as a
                      separate quad 120V outlet in case a computer is required for training purposes.
315.04 Food Prep
             A. Provide a food prep area directly adjacent to the pantry as shown on the prototype
                drawings. This area is to be totally enclosed.
             B. The floor must be 12" x 12" ceramic or porcelain tile with a tile base.
             C. Wall finish to be paint or better.
            D. Provide for the following commercial grade equipment:
                   1. A two-compartment stainless steel sink (a three compartment stainless steel sink if
                      required by local code or health department)
                   2. Garbage disposal (optional)
                   3. Hand sink (if required by local code or health department)
                   4. Refrigerator
                       Must have 22 cu. ft. capacity minimum and be commercial grade (residential units
                       and top and bottom units are not permitted). Recommended unit is True Food
                       Service Equipment #T-23 (solid door, reach-in, single door, stainless steel finish).
                   5. Freezer
                       Must have 22 cu. ft. capacity minimum and be commercial grade (residential units
                       and top and bottom units are not permitted). Recommended unit is True Food
                       Service Equipment #T-23F (solid door, reach-in, single door, stainless steel finish).
                   6. Microwave oven
                   7. Coffee Brewer (MIH)
                       Provide Fetco CBS-2051 for properties under 80 keys or Fetco CBS-2052 for prop-
                       erties 80 keys and over. (See OnQ Insider > Hampton > Make It Hampton Product
                       Reorder Catalog for suppliers.)
                       Any hotels beginning new construction, applying for re-licensing or change of
                       ownership after February 1, 2004 must comply with this standard. All other hotels
                       must comply by December 31, 2004. (See Standard 300.02, Make It Hampton.)




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  FETCO CBS-2051 Single Position Pulse Brewer
     ACCESSORIES AND ANCILLARY
                                                  PART NUMBER(S)                                    COMMENTS
            EQUIPMENT

  One gallon dispenser w/ base          L3D1.0                                     Five per property
  Brew Stand                            BS-1                                       Two per property
  Zorjirushi Stainless Airpot           SR-AG30XA                                  Six per property
                                           INSTALLATION REQUIREMENTS
  Base Equipment External Dimensions    Footprint: 123/4”w X 171/2”d, Height: 371/4”h
  Minimum Clearance Requirements        38“
  Equipment Weight                      139 lbs. filled
                                        Separate, dedicated 240V, 25.8A,
                                        (30 Amp breaker required), single
  Installation Electrical Requirement
                                        phase 3 wire plus ground, NEMA
                                        14-30
  Installation Plumbing and Waste
                                        Water inlet is 3/8” male flare … 20 – 75 psig, 1.0 gpm flow rate
  Requirements
  Ventilation Requirements              Vents from front of unit
  Other Installation Requirements and
                                        Unit requires neutral wire. Brewer may be used at 208-220-240V
  Issues


  FETCO CBS-2052 Dual Position Pulse Brewer
     ACCESSORIES AND ANCILLARY
                                                  PART NUMBER(S)                                    COMMENTS
            EQUIPMENT

  1.5 gallon dispenser w/ base          L3D1.5                                     Four per property
  1.0 gallon dispenser w/base           L3D1.0                                     Two per property
  Brew Stand                            BS-1                                       Two per property
  Zorjirushi Stainless Airpot           SR-AG30XA                                  Six per property
                                           INSTALLATION REQUIREMENTS
  Base Equipment External Dimensions    Footprint: 213/4”w X 221/2”d, Height: 37”h
  Minimum Clearance Requirements        38“
  Equipment Weight                      178 lbs. filled
                                        Separate, dedicated, 240V, 25.8A,
                                        (30 Amp breaker required), single
  Installation Electrical Requirement   phase 3 wire plus ground, (field
                                        convertible to 3 phase 4 wire plus
                                        ground), NEMA 14-30
  Installation Plumbing and Waste
                                        Water intake is 3/8” male flare … 20 – 75 psig, 1.5 gpm flow rate
  Requirements
  Ventilation Requirements              Unit vents from front
  Other Installation Requirements and
                                        Unit requires neutral wire. Brewer may be used at 208-220-240V
  Issues


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                   8. Convection Oven (MIH)
                       Provide Moffat Turbofan E31 for properties under 120 rooms, Moffat Turbofan
                       E32 for properties 121 rooms and over. When there is insufficient countertop space
                       available, an oven stand is necessary and is recommended when possible. (See
                       OnQ Insider > Hampton > Make It Hampton Product Reorder Catalog for suppliers.)
                       Any new electrical runs on existing properties must be concealed from guests’ view
                       if access through a public area is necessary.
                       Any hotels beginning new construction, applying for re-licensing or change of
                       ownership after February 1, 2004 must comply with this standard. All other hotels
                       must comply by December 31, 2004. (See Standard 300.02, Make It Hampton.)


  Moffat E31 Convection Oven (for re-therming)
     ACCESSORIES AND ANCILLARY
                                                   PART NUMBER(S)                                    COMMENTS
            EQUIPMENT

                                                                                    Only used in non-countertop
  Equipment Stand                       A25
                                                                                    applications
                                          INSTALLATION REQUIREMENTS
  Base Equipment External Dimensions    Footprint: 313/8”w X 235/8”d, Height: 227/8”h
                                        2” Sides and back – Top clearance required – Do not obstruct vent on top of
  Minimum Clearance Requirements
                                        oven
  Equipment Weight                      187 lbs.
                                        Separate, dedicated 240 V, 60 Hz,
                                        1P+N+E, 3.1 kW NEMA 6-15.
  Installation Electrical Requirement
                                        Requires adapter kit for 208 V

  Installation Plumbing and Waste
                                        3/8” I.D. male hose connection; 20-80 psi
  Requirements
  Ventilation Requirements              As required by code
  Other Installation Requirements and   Existing properties must install a new 208 or 220 circuit depending on their
  Issues                                location. Circuit availability must be coordinated with the oven supplier.




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                   8. Convection Oven (continued)


  Moffat E32 Convection Oven (for re-therming)
     ACCESSORIES AND ANCILLARY
                                                   PART NUMBER(S)                                    COMMENTS
            EQUIPMENT

                                                                                    Only used in non-countertop
  Equipment Stand                       A25
                                                                                    applications
                                          INSTALLATION REQUIREMENTS
  Base Equipment External Dimensions    Footprint: 28”w X 32”d, Height: 263/8”h
                                        2” Sides and back –Top clearance required Do not obstruct vent on top of
  Minimum Clearance Requirements
                                        oven
  Equipment Weight                      181 lbs.
                                        Separate, dedicated 240 V, 60 Hz, 6.66kW, 27.8A. Hard wired
  Installation Electrical Requirement
                                        (no receptacle or plug). Adapter kit required for 208 V
  Installation Plumbing and Waste
                                        3/4” thread; 20-80 psi
  Requirements
  Ventilation Requirements              As required by code.
                                        (No cord and plug supplied - local electrical hookup needed). Existing
  Other Installation Requirements and
                                        properties must install a new 208 or 220 circuit depending on their location.
  Issues
                                        Circuit availability must be coordinated with the oven supplier.



  Moffat A25 Stainless Steel Oven Stand (for E31/E32)
     ACCESSORIES AND ANCILLARY
                                                   PART NUMBER(S)                                    COMMENTS
            EQUIPMENT

  Casters (Casters Included)                                                        Recommend casters for mobility
                                          INSTALLATION REQUIREMENTS
  Base Equipment External Dimensions    Footprint: 275/8”w X 247/8”d, Height: 373/8” with casters
  Minimum Clearance Requirements        Per oven spec
  Equipment Weight                      40 lbs.; Packed weight: 42 lbs.
  Installation Electrical Requirement   None
  Installation Plumbing and Waste
                                        None
  Requirements
  Ventilation Requirements              None
  Other Installation Requirements and
                                        Supplied CKD; On-site assembly required
  Issues




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                   9. Other
                        a. Adequate storage for breakfast bar items must be provided.
                        b. Dishwashers, if provided, must meet local health department requirements.
             E. The prep area is to be cooled with a secondary air source. No ductwork should be
                placed in the room that is connected to a heating system. Two CFM/s.f. of the room di-
                mension should be provided. This space does not require heating anytime throughout
                the year.
315.05 Storage Rooms
             A. Indoor Storage
                   1. Adequate storage must be provided (see current prototype drawings).
                   2. Linen storage rooms must have vinyl composition tile with 4" vinyl base. All other
                      storage rooms must have sealed concrete floors or better with 4" vinyl base.
                   3. Walls and ceilings must have painted finish or better.
                   4. Cool white lamps are permitted in storage rooms and other back of house areas.
                      Warm white is preferred. All light bulbs must be protected by lens covers or safety
                      tube covers.
                   5. Electronic locksets are recommended at all linen storage rooms.
                   6. Indoor storage must include provisions for:
                        a. Linen storage (including duvet covers, duvets, blankets, etc.)
                        b. Replacement furniture and carpet (at least one set, including mattress and box
                           springs)
                        c. Stationary and miscellaneous supplies for rooms (including hand soap)
                        d. Extra guest equipment (irons, ironing boards, hair dryers, etc.)
                        e. Extra television sets and extra individual air conditioning units
                        f. Toilet tissue, facial tissue, coffee host supplies, matches and glasses
                        g. Roll-aways and baby cribs
                        h. Chemical and soap supplies
                        i. Maid carts, vacuums and related housekeeping equipment




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             B. Outdoor Storage
                 All existing storage buildings must meet the Outdoor Storage standard by December 31, 2010.
                 Temporary or portable structures are not permitted.
                 An outdoor storage building is required and must be a concrete block structure with an
                 exterior finish to match that of the main hotel tower. The interior must be painted as a
                 minimum. The floor finish must be sealed concrete. Double metal doors with a ramp
                 leading up to them shall be provided for ease of equipment transfer into and out of the
                 building. The building area shall provide space for the following:
                   1. Tools, equipment and work area
                   2. Maintenance supplies and a workbench including necessary electrical outlets
                   3. Lawn equipment (mower, edger, shears, hose, etc.)
                   4. Littervac, wheelbarrow and snow removal equipment, where applicable
                       NOTE: Gasoline-powered equipment and flammable liquids must be stored in
                       an enclosure away from the main building. Small quanti­ties of daily use/work-in-
                       progress flammable paints and chemicals may be stored in a cabinet specifically
                       constructed and approved for the storage of flammable liquids.
315.06 Electrical Rooms
             A. Floors to be sealed concrete or better with 4" vinyl base.
             B. The walls and ceilings must be painted.
             C. Storage of any materials in these rooms is prohibited.
            D. All electrical panel boxes and circuits must be labeled.
             E. Unless prohibited by local authorities, all electrical panels and circuits accessible to the
                public must be kept locked.
              F. Exposed electrical panel boxes must be finished to coordinate/blend with surround-
                 ing interior finish and color scheme. Electrical panel boxes must be located in separate
                 panel rooms when possible.
             G. All light bulbs must be protected by lens covers or safety tube covers.




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315.07 Mechanical/Equipment Rooms
              A. Floors to be sealed concrete or better with 4" vinyl base. All water heating equipment
                 rooms must have a floor drain with trap primer and if located on an upper floor, a
                 waterproof membrane under a VCT floor.
              B. Walls and ceiling must be painted.
              C. Storage of any materials in these rooms is prohibited.
             D. Temperature gauges must be provided in all hot water supply lines.
             E. Combustion and make-up air inlets must be sized according to AGA and the
                manufacturer’s installation instructions.
              F. All light bulbs must be protected by lens covers or safety tube covers.
315.08 Computer and Telecom Room
             A. For maximum efficiency the computer equipment room must be within 100 feet of the
                telecom equipment.
             B. Due to equipment heat output, this room does not require heating anytime throughout
                the year, therefore care should be taken to select a system that operates on low ambi-
                ant conditions. An exhaust fan may be used if sized to exhaust 2.5 CFM/s.f. and runs
                continuously. If the room is located on an exterior wall, a PTAC unit may be used, but
                it must have an architechtural, extruded aluminum louver powder coated to match the
                adjacent building color and must be a nominal 7000 BTU unit.
             C. See prototype drawings for electrical in this room.
315.09 Trash/Recycling Area
             A. Trash chutes and trash collection rooms are not permitted.
             B. Dumpster receptacles must be fully hidden from public view within a dumpster enclo-
                sure. The enclosure must be a concrete block structure with an exterior finish to match
                that of the main hotel tower. The interior must be painted as a minimum. Painted steel
                pipe bollards must be installed within the enclosure to prevent damage to the enclo-
                sure's walls. The receptacle opening must have opaque wood doors that close and
                secure. Doors must remain secured when not in use.
             C. If the hotel participates in a recycling program mandated by local legislation, the com-
                mercial recycling dumpster must be fully enclosed and hidden from public view. The
                dumpster area must have wooden doors that close and secure. Doors must remain se-
                cured when not in use.
            D. Provide a weather tight hose bib on the enclosure when allowed by code.




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316.00 Signage
See Standard 404.00 in Trademarks and Identity for more information and sign illustrations.
316.01   A construction project identification sign as shown in the prototype drawings must be in-
         stalled once construction begins.
316.02   A minimum of one ground monument sign and one building mounted sign is required for
         all properties.
         A. One or more internally illuminated building mounted signs must be provided on the
            guest building.
         B. Signs are to be time switched or photo-cell controlled.
         C. Refer to exterior signage brochure for additional information.
         D. Submit all signage to Hilton Hotels for approval.
316.03   Exterior signage must be manufactured and installed by contractors under license agree-
         ment by Hilton Hotels Corporation only. Signage must be dedicated and limited to Hamp-
         ton graphics. No additional advertising (banners, billboards and interior or exterior reader
         boards) will be permitted on the exterior of the building. Refer to exterior signage brochure
         for additional information.
316.04   A comprehensive system of information signs must be installed directing guests to all ap-
         propriate facilities contained within the building.
316.05   Interior corridor signage must be brought up to the current standard at the time of any
         renovation within the corridor.
316.06   Trademarks owned by Hilton Hotels Corporation must not be etched in any construction
         surface where they become permanent and cannot be easily removed.
316.07   A comprehensive listing of all exterior and interior sign signage can be found on the
         hamptonfranchise.com website.




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317.00 Master Antenna Television System
317.01   The master antenna television (MATV) system must receive and distribute to all guest
         rooms, without degradation, all color television broadcast stations (VHF and UHF) nor-
         mally received in that television market. At a minimum, if normally received in the area,
         channels must include all major networks and public stations, plus one independent sta-
         tion and one 24-hour movie channel.
317.02   The system must be capable of receiving and distributing adjacent VHF television channels
         and converting desired UHF television channels to adjacent VHF television channels in the
         bandwidth of 50 to 250 megahertz (MHz).
317.03   The system must be capable of continuous 24-hour operation in a temperature environ-
         ment of -10° to 100° F (-23° to 43°C).
317.04   All equipment must be designed for 117 volt (nominal) 60 Hz operation and be UL ap-
         proved.
317.05   The system must be designed for subsequent expansion. The system must be capable of
         distributing 20 adjacent television channels within the band-width of 50 to 250 MHz by
         modification of the “head end” only (antennas and strip amplifiers).




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318.00 Existing Hampton Inn Exterior Corridor Hotels
318.01 General
        Exterior corridor hotels may be two- or three-storied structures. Standards in 318.00 are
        required for existing exterior corridor hotels in addition to standards in the 300.00 Design
        and Construction section. Exterior corridor hotels are not allowed for new construction.
318.02 Fire Safety Systems
        Exterior Corridor Buildings
         A. All hotels constructed with exterior corridors must be provided with a general alarm
            system capable of being heard in each guest room and throughout the commercial area.
         B. Exterior corridor hotels must have manual pull alarm initiating devices capable of
            sounding an alarm at the point of origin and at the front desk. Devices must be con-
            nected to an annunciator panel at the front desk or other central locations approved by
            the governmental authority. The panel must be visible to the front desk employees. It
            may be located in the back office work area unless otherwise required by the local au-
            thority. The panel may not be located in the back wall facing the registration desk. Man-
            ual fire alarm pull stations capable of sounding a general alarm must be located behind
            the front desk, at exit doors, and at exit stairs on each floor. The panel must indicate
            which specific device is the alarm source.
        C. An automatic sprinkler system is not required for exterior corridor hotels except as oth-
           erwise directed by governmental authority having jurisdiction or if wood construction
           is used.
        D. A dry-pipe sprinkler system is also required at the exterior balconies of wood frame
           construction buildings.
318.03 Exterior Colors
         A. Metal roofs are not to be painted unless deemed necessary by the Hilton Hotels Quality
            Assurance Department.
         B. There are three color scheme options when painting the hotel’s exterior. All options
            require that the handrails remain bronze and not be painted. Acceptable paint colors
            are as follows:
             1. Main building: Dryvit #108 Manor White; Column trim: Dryvit #442 Cotton; Roof:
                Berridge Forest Green, Colonial Red or Dark Bronze.
             2. Main building: Dryvit #400 French Toast; Column trim: Dryvit #109 Eggshell
                Cream (or #108 Manor White); Roof: Berridge Forest Green, Colonial Red or Dark
                Bronze.
             3. Main building: Dryvit #110 Van Dyke; Column trim: Dryvit #442 Cotton; Roof:
                Berridge Forest Green, Colonial Red or Dark Bronze.



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318.04 Doors
              A. The exterior doors and frames must be painted to match the exterior finish of the build-
                 ing.
              B. Entry doors leading to the exterior of the building are to be 13⁄8" (3.49cm) minimum
                 (13⁄4" [4.45cm] recommended) and are to be insulated, 20 gauge reinforced metal of
                 reversible design with 12 gauge lock reinforcement.
             C. In coastal areas, steel doors must have a zinc coating of not less than 1.25 oz. (35.5 gr.)
                per sq. ft. in accordance with American Society for Testing Materials (ASTM) A 525, or
                local equivalent.
             D. Exterior corridor entry doors are to have three hinges. Spring loaded hinges are not re-
                quired.
              E. Door Frames
                    1. Sixteen gauge, fully welded frames must be utilized for exterior corridor guest room
                       entry doors.
                    2. Knockdown frames are not permitted at exterior corridor guest room’s entry doors.
                    3. Exterior corridor guest room entry doors do not have to be self-closing.
              F. Door Hardware
                  Exterior corridor applications require that the entry door electronic lockset be approved
                  by the manufacturer for exterior use.
318.05 Guest Room Windows
             Glass must be tempered in exterior corridor guest room window units.
318.06 Electrical
             In exterior corridor hotels, the switch at the guest room entry door must operate the re-
             quired floor lamp in lieu of a ceiling mounted light fixture at the entry.
318.07 Towel Shelves
             When tub/shower and toilet are separate from the lavatory, a towel bar must be located at
             the vanity in addition to the typical wood towel shelf located over the toilet. The towel bar
             at the vanity must be a minimum length of 18".




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318.08 Re-licensing/Change of Ownership
             Upon re-licensing or change of ownership on exterior corridor properties, the following
             items must be addressed. All applications must be reviewed and approved by Hilton prior
             to installation.
              A. Guest room walkways (those directly adjacent to guest room entries) must receive a
                 new application of a decorative, non-slip surface. It must not be painted. Typical site
                 sidewalks are not included.
              B. Exterior corridor light fixtures along the guest room walkways must be replaced with a
                 new decorative fixture. The fixture must provide a minimum of 10 foot-candles mea-
                 sured at the guest room door handle.
              C. All sunken lobbies are required to be raised to the same level as the entry and registra-
                 tion desk. If there are structural difficulties or a proposed alternative method, these
                 must be submitted to Hilton for approval.
             D. Guestrooms
                    1. The Style Right package must be installed in all guestrooms. Visit OnQ Insider >
                       Hampton or hamptonfranchise.com for specific requirements for this package.
                    2. Plantation shutters are required as a window treatment. This is in addition to the
                       required valance (a minimum of 8" in height) and side panels.
                    3. A 4' x 4' tiled area inside the guest room entry door is required. The tiled area must
                       encompass the area covered by the swing of the door.
                    4. A surface mounted fluorescent drum fixture with one 40-watt and one 32-watt
                       circuline warm white lamp for damp locations must be provided in the guest room
                       bath where the vanity is separate form the tub and toilet. This fixture shall be in
                       the tub area or may be used with a separate vanity light in areas where the vanity,
                       tub and toilet are combined in one room. The fixture shall have a white canopy
                       with an acrylic diffuser and high PF 120V ballast such as International Lighting’s
                       #E8234.




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318.09 Standard Room Layouts for Existing Corridor Hotels
             Standard Room Layouts for existing exterior corridor Hampton Inn hotels are on the fol-
             lowing pages:
             Exterior Corridor Double Room – (11' wide x 18' deep)
             Exterior Corridor King Room – (12' wide x 18' deep)
             Exterior Corridor King Room with Activity Table – (12' wide x 18' deep)
             Exterior Corridor King Room with Connecting Door – (12' wide x 18' deep)
             Exterior Corridor King Study Room – (12' wide x 18' deep)
             Exterior Corridor King Room – (12' wide x 16' deep)
             Exterior Corridor King Deluxe Room – (12' wide x 15.5' deep)
             Exterior Corridor Double Room with Activity Table – (12' wide x 18' deep)
             Exterior Corridor King Room – (11' wide x 18' deep)




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 Building and Furnishing

 Exterior Corridor Double Room – (11' wide x 18' deep)




 Furnishings Legend
                   Existing                               New
                    1 King bed 76" x 80"                  23 Executive work desk 24"D x 48"W
                    2 Double bed 54" x 80"                24 Curved work desk 42"D x 72"W
                    3 Nightstand 16"D x 20"W              25 Ergonomic desk chair
                    4 Framed mirror 24"W x 34"D           26 Task lamp with plug
                    5 Luggage bench 42"W x 22"D           27 Micro-fridge unit
                    6 Chest 30"W x 22"D                   28 Coffee maker
                    7 Desk 42"W x 22"D                    29 Desk chair 18"W x 22"D x 32"H
                    8 Clothing Armoire 36"W x 22"D        30 Artwork at desk
                    9 Activity table 30"Diam. x 32"H
                   10 Coffee table 18" x 30"
                   11 Activity chair 22"W x 24"D x 32"H
                   12 Desk chair 18"W x 22"D x 32"H
                   13 Recliner/lounge chair
                       32"W x 36"D x 38"H
                   14 Sofa sleeper 64"W x 35"D
                   15 Single-arm wall-mounted lamp
                   16 Double-arm wall-mounted lamp
                   17 Floor lamp
                   18 Desk lamp
                   19 Artwork
                   20 Television
                   21 TV armoire 36"W x 22"D
                   22 Vanity stool



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 Building and Furnishing

Exterior Corridor King Room – (12' wide x 18' deep)




 Furnishings Legend
                   Existing                               New
                    1 King bed 76" x 80"                  23 Executive work desk 24"D x 48"W
                    2 Double bed 54" x 80"                24 Curved work desk 42"D x 72"W
                    3 Nightstand 16"D x 20"W              25 Ergonomic desk chair
                    4 Framed mirror 24"W x 34"D           26 Task lamp with plug
                    5 Luggage bench 42"W x 22"D           27 Micro-fridge unit
                    6 Chest 30"W x 22"D                   28 Coffee maker
                    7 Desk 42"W x 22"D                    29 Desk chair 18"W x 22"D x 32"H
                    8 Clothing Armoire 36"W x 22"D        30 Artwork at desk
                    9 Activity table 30"Diam. x 32"H
                   10 Coffee table 18" x 30"
                   11 Activity chair 22"W x 24"D x 32"H
                   12 Desk chair 18"W x 22"D x 32"H
                   13 Recliner/lounge chair
                       32"W x 36"D x 38"H
                   14 Sofa sleeper 64"W x 35"D
                   15 Single-arm wall-mounted lamp
                   16 Double-arm wall-mounted lamp
                   17 Floor lamp
                   18 Desk lamp
                   19 Artwork
                   20 Television
                   21 TV armoire 36"W x 22"D
                   22 Vanity stool



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 Building and Furnishing

Exterior Corridor King Room with Activity Table – (12' wide x 18' deep)




 Furnishings Legend
                   Existing                               New
                    1 King bed 76" x 80"                  23 Executive work desk 24"D x 48"W
                    2 Double bed 54" x 80"                24 Curved work desk 42"D x 72"W
                    3 Nightstand 16"D x 20"W              25 Ergonomic desk chair
                    4 Framed mirror 24"W x 34"D           26 Task lamp with plug
                    5 Luggage bench 42"W x 22"D           27 Micro-fridge unit
                    6 Chest 30"W x 22"D                   28 Coffee maker
                    7 Desk 42"W x 22"D                    29 Desk chair 18"W x 22"D x 32"H
                    8 Clothing Armoire 36"W x 22"D        30 Artwork at desk
                    9 Activity table 30"Diam. x 32"H
                   10 Coffee table 18" x 30"
                   11 Activity chair 22"W x 24"D x 32"H
                   12 Desk chair 18"W x 22"D x 32"H
                   13 Recliner/lounge chair
                       32"W x 36"D x 38"H
                   14 Sofa sleeper 64"W x 35"D
                   15 Single-arm wall-mounted lamp
                   16 Double-arm wall-mounted lamp
                   17 Floor lamp
                   18 Desk lamp
                   19 Artwork
                   20 Television
                   21 TV armoire 36"W x 22"D
                   22 Vanity stool



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 Building and Furnishing

Exterior Corridor King Room with Connecting Door – (12' wide x 18' deep)




 Furnishings Legend
                   Existing                               New
                    1 King bed 76" x 80"                  23 Executive work desk 24"D x 48"W
                    2 Double bed 54" x 80"                24 Curved work desk 42"D x 72"W
                    3 Nightstand 16"D x 20"W              25 Ergonomic desk chair
                    4 Framed mirror 24"W x 34"D           26 Task lamp with plug
                    5 Luggage bench 42"W x 22"D           27 Micro-fridge unit
                    6 Chest 30"W x 22"D                   28 Coffee maker
                    7 Desk 42"W x 22"D                    29 Desk chair 18"W x 22"D x 32"H
                    8 Clothing Armoire 36"W x 22"D        30 Artwork at desk
                    9 Activity table 30"Diam. x 32"H
                   10 Coffee table 18" x 30"
                   11 Activity chair 22"W x 24"D x 32"H
                   12 Desk chair 18"W x 22"D x 32"H
                   13 Recliner/lounge chair
                       32"W x 36"D x 38"H
                   14 Sofa sleeper 64"W x 35"D
                   15 Single-arm wall-mounted lamp
                   16 Double-arm wall-mounted lamp
                   17 Floor lamp
                   18 Desk lamp
                   19 Artwork
                   20 Television
                   21 TV armoire 36"W x 22"D
                   22 Vanity stool



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 Building and Furnishing

Exterior Corridor King Study Room – (12' wide x 18' deep)




 Furnishings Legend
                   Existing                               New
                    1 King bed 76" x 80"                  23 Executive work desk 24"D x 48"W
                    2 Double bed 54" x 80"                24 Curved work desk 42"D x 72"W
                    3 Nightstand 16"D x 20"W              25 Ergonomic desk chair
                    4 Framed mirror 24"W x 34"D           26 Task lamp with plug
                    5 Luggage bench 42"W x 22"D           27 Micro-fridge unit
                    6 Chest 30"W x 22"D                   28 Coffee maker
                    7 Desk 42"W x 22"D                    29 Desk chair 18"W x 22"D x 32"H
                    8 Clothing Armoire 36"W x 22"D        30 Artwork at desk
                    9 Activity table 30"Diam. x 32"H
                   10 Coffee table 18" x 30"
                   11 Activity chair 22"W x 24"D x 32"H
                   12 Desk chair 18"W x 22"D x 32"H
                   13 Recliner/lounge chair
                       32"W x 36"D x 38"H
                   14 Sofa sleeper 64"W x 35"D
                   15 Single-arm wall-mounted lamp
                   16 Double-arm wall-mounted lamp
                   17 Floor lamp
                   18 Desk lamp
                   19 Artwork
                   20 Television
                   21 TV armoire 36"W x 22"D
                   22 Vanity stool



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 Building and Furnishing

Exterior Corridor King Room – (12' wide x 16' deep)




 Furnishings Legend
                   Existing                               New
                    1 King bed 76" x 80"                  23 Executive work desk 24"D x 48"W
                    2 Double bed 54" x 80"                24 Curved work desk 42"D x 72"W
                    3 Nightstand 16"D x 20"W              25 Ergonomic desk chair
                    4 Framed mirror 24"W x 34"D           26 Task lamp with plug
                    5 Luggage bench 42"W x 22"D           27 Micro-fridge unit
                    6 Chest 30"W x 22"D                   28 Coffee maker
                    7 Desk 42"W x 22"D                    29 Desk chair 18"W x 22"D x 32"H
                    8 Clothing Armoire 36"W x 22"D        30 Artwork at desk
                    9 Activity table 30"Diam. x 32"H
                   10 Coffee table 18" x 30"
                   11 Activity chair 22"W x 24"D x 32"H
                   12 Desk chair 18"W x 22"D x 32"H
                   13 Recliner/lounge chair
                       32"W x 36"D x 38"H
                   14 Sofa sleeper 64"W x 35"D
                   15 Single-arm wall-mounted lamp
                   16 Double-arm wall-mounted lamp
                   17 Floor lamp
                   18 Desk lamp
                   19 Artwork
                   20 Television
                   21 TV armoire 36"W x 22"D
                   22 Vanity stool



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 Building and Furnishing

Exterior Corridor King Deluxe Room – (12' wide x 15.5' deep)




 Furnishings Legend
                   Existing                               New
                    1 King bed 76" x 80"                  23 Executive work desk 24"D x 48"W
                    2 Double bed 54" x 80"                24 Curved work desk 42"D x 72"W
                    3 Nightstand 16"D x 20"W              25 Ergonomic desk chair
                    4 Framed mirror 24"W x 34"D           26 Task lamp with plug
                    5 Luggage bench 42"W x 22"D           27 Micro-fridge unit
                    6 Chest 30"W x 22"D                   28 Coffee maker
                    7 Desk 42"W x 22"D                    29 Desk chair 18"W x 22"D x 32"H
                    8 Clothing Armoire 36"W x 22"D        30 Artwork at desk
                    9 Activity table 30"Diam. x 32"H
                   10 Coffee table 18" x 30"
                   11 Activity chair 22"W x 24"D x 32"H
                   12 Desk chair 18"W x 22"D x 32"H
                   13 Recliner/lounge chair
                       32"W x 36"D x 38"H
                   14 Sofa sleeper 64"W x 35"D
                   15 Single-arm wall-mounted lamp
                   16 Double-arm wall-mounted lamp
                   17 Floor lamp
                   18 Desk lamp
                   19 Artwork
                   20 Television
                   21 TV armoire 36"W x 22"D
                   22 Vanity stool



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 Building and Furnishing

Exterior Corridor Double Room with Activity Table – (12' wide x 18' deep)




 Furnishings Legend
                   Existing                               New
                    1 King bed 76" x 80"                  23 Executive work desk 24"D x 48"W
                    2 Double bed 54" x 80"                24 Curved work desk 42"D x 72"W
                    3 Nightstand 16"D x 20"W              25 Ergonomic desk chair
                    4 Framed mirror 24"W x 34"D           26 Task lamp with plug
                    5 Luggage bench 42"W x 22"D           27 Micro-fridge unit
                    6 Chest 30"W x 22"D                   28 Coffee maker
                    7 Desk 42"W x 22"D                    29 Desk chair 18"W x 22"D x 32"H
                    8 Clothing Armoire 36"W x 22"D        30 Artwork at desk
                    9 Activity table 30"Diam. x 32"H
                   10 Coffee table 18" x 30"
                   11 Activity chair 22"W x 24"D x 32"H
                   12 Desk chair 18"W x 22"D x 32"H
                   13 Recliner/lounge chair
                       32"W x 36"D x 38"H
                   14 Sofa sleeper 64"W x 35"D
                   15 Single-arm wall-mounted lamp
                   16 Double-arm wall-mounted lamp
                   17 Floor lamp
                   18 Desk lamp
                   19 Artwork
                   20 Television
                   21 TV armoire 36"W x 22"D
                   22 Vanity stool



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 Building and Furnishing

Exterior Corridor King Room – (11' wide x 18' deep)




 Furnishings Legend
                   Existing                               New
                    1 King bed 76" x 80"                  23 Executive work desk 24"D x 48"W
                    2 Double bed 54" x 80"                24 Curved work desk 42"D x 72"W
                    3 Nightstand 16"D x 20"W              25 Ergonomic desk chair
                    4 Framed mirror 24"W x 34"D           26 Task lamp with plug
                    5 Luggage bench 42"W x 22"D           27 Micro-fridge unit
                    6 Chest 30"W x 22"D                   28 Coffee maker
                    7 Desk 42"W x 22"D                    29 Desk chair 18"W x 22"D x 32"H
                    8 Clothing Armoire 36"W x 22"D        30 Artwork at desk
                    9 Activity table 30"Diam. x 32"H
                   10 Coffee table 18" x 30"
                   11 Activity chair 22"W x 24"D x 32"H
                   12 Desk chair 18"W x 22"D x 32"H
                   13 Recliner/lounge chair
                       32"W x 36"D x 38"H
                   14 Sofa sleeper 64"W x 35"D
                   15 Single-arm wall-mounted lamp
                   16 Double-arm wall-mounted lamp
                   17 Floor lamp
                   18 Desk lamp
                   19 Artwork
                   20 Television
                   21 TV armoire 36"W x 22"D
                   22 Vanity stool



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                                         Section 400

                                    Trademark
                                   and Identity




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                                 Any questions regarding the contents
                                 of this manual may be addressed to:

                                  Hilton hotels corporation
                                      755 Crossover Lane
                                 Memphis, Tennessee 38117-4900
05272008
                                      Phone: 901/374-5000
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                   409.08 Coffee Cup. . . . . . . . . . . . . . . . . . . . . . . 400-102
                   409.09 Juice Machine Graphics . . . . . . . . . . . .  400-103
                   409.10   Milk Dispenser Graphics . . . . . . . . . . .  400-104

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                                                                                           Trademark and Identity

                   409.11           Cereal Dispenser Graphics . . . . . . . . .  400-105
                   409.12           Turn-and-Serve Graphic. . . . . . . . . . . .  400-107
                   409.13           Utensil Container Graphics. . . . . . . . .  400-108
                   409.14           Condiment Container Graphics. . . . . .  400-109
                   409.15           Breakfast Informational Signage . . . . . . 400-110
                   409.16           Hot Water Airpot Wrap. . . . . . . . . . . . . . 400-111
                   409.17           Front Desk Lamp Kiosk Sign . . . . . . . .  400-112
                   409.18           Juice Wraps . . . . . . . . . . . . . . . . . . . . . .  400-113
                   409.19           “Caution Hot” Signs. . . . . . . . . . . . . . .  400-114

          410.00   The Guest Room .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 400-115
                   410.01   Room Numbers. . . . . . . . . . . . . . . . . . .  400-115
                   410.02   “freshen please” Service Signal. . . . . . .  400-117
                   410.03   Privacy Hang Tags. . . . . . . . . . . . . . . . .  400-118
                   410.04   Amenities. . . . . . . . . . . . . . . . . . . . . . . .  400-119
                   410.05   Amenities Tray. . . . . . . . . . . . . . . . . . . .  400-121
                   410.06   Channel Guide . . . . . . . . . . . . . . . . . . . 400-122
                   410.07   Note Pads. . . . . . . . . . . . . . . . . . . . . . . .400-123
                   410.08   Pen. . . . . . . . . . . . . . . . . . . . . . . . . . . . . 400-124
                   410.09   Phone Plate. . . . . . . . . . . . . . . . . . . . . . 400-124
                   410.10   In-room Directory. . . . . . . . . . . . . . . . . 400-125
                   410.11   Folio Paper. . . . . . . . . . . . . . . . . . . . . . .400-125
                   410.12   Folio Sticker. . . . . . . . . . . . . . . . . . . . . . 400-127
                   410.13   Shower Curtain. . . . . . . . . . . . . . . . . . . 400-128
                   410.14   In-room Coffee Package. . . . . . . . . . . . 400-129
                   410.15   Matchbook . . . . . . . . . . . . . . . . . . . . . .  400-130
                   410.16   Hampton Home Collection Card . . . .  400-130
                   410.17   Clock Radio. . . . . . . . . . . . . . . . . . . . . .  400-131
                   410.19   In-room Cups. . . . . . . . . . . . . . . . . . . . 400-132
                   410.20   Guest Survey Card (Optional). . . . . . . 400-133
                   410.21   Evacuation Plan Sign . . . . . . . . . . . . . . 400-134
                   410.22   Housekeeping Card (Optional). . . . . . 400-135
                   410.23   Device Check-out Card (Optional). . . 400-135

          411.00   Airport Service Center Advertising .  .  .  .  .  .  .  .  .  . 400-136




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                                                                    Trademark and Identity
 Purpose and Scope
        This section of the Standards Manual specifies the requirements for the use of certain trade-
        marks of the Hampton hotel system.
        All visual communication using trademarks of the Hampton hotel system must strictly
        comply with the requirements of this section.
        Waivers or variances will be considered on an individual basis upon receipt of a written
        request, which must include the rationale for such waiver/variance request.
        All “slick” sheets illustrating logos, colors, etc. are placed at the end of this section.
        REFER QUESTIONS CONCERNING THESE STANDARDS TO:
        Hampton Brand Management
        Hilton Hotels Corporation
        755 Crossover Lane
        Memphis, Tennessee 38117-4900
        Phone: 901/374-5000




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                                                                  Trademark and Identity
 400.00 Trademark and Identity Standards – General
 400.01   Local Advertising—Print
          The Hampton logo must be used in all Hampton Inn or Hampton Inn & Suites hotel
          advertising, posters, brochures, etc. It must precede or dominate any individual property
          name or logo. No exceptions will be permitted.
          The Hampton script may be used where space prohibits use of the Hampton logo.
 400.02   Local Advertising—Broadcast
          In broadcast advertising, the property name may be used only in conjunction with the
          Hampton name.
 400.03   Individual Property Names/Logos
          Individual property names or logos may be used, but must be no larger than one-half the
          size of the Hampton logo or script, either of which must precede and dominate an indi-
          vidual property name. No exceptions will be permitted.
 400.04   Joint Advertising
          Joint advertising with quality cooperative partners may be permitted with prior written
          approval from Hilton Hotels.
 400.05   Vehicle Standards
          All Hampton hotel vehicles used to transport customers must conform with standards set
          forth in this section.
 400.06   Removing Trademarks
          Trademarks of Hilton Hotels must not be etched in the surface of bathtubs or any other
          construction surface where they become permanent and cannot be easily removed.
 400.07   Rules for Proper Use of Hilton Hotels Trademarks
          A. Trademarks of Hilton Hotels must be properly used (as set forth in this section) in
             all advertising and promotional materials and be given a dignified and prominent
             position.
          B. Trademarks of Hilton Hotels must not be placed within shapes or borders except as
             provided in these standards.
          C. Except for proper names, use the Hampton trademark as an adjective in conjunction
             with the word “hotel” whenever practical.
             Incorrect: Meet me at the Hampton.
             Correct: Meet me at the Hampton hotel.




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                                                                 Trademark and Identity
        D. The Hampton Inn or Hampton Inn & Suites hotel trademark must not be used in the
           plural or possessive forms.
           Incorrect: There are two Hamptons in Orlando.
           Correct: There are two Hampton hotels in Orlando.
           Incorrect: This Hampton’s breakfast is great.
           Correct: This Hampton hotel’s breakfast is great.
        E. Always capitalize the Hampton hotel trademark, i.e., HAMPTON or Hampton.
         F. It is required to use the registration symbol ® to the right of the Hampton logo or script
            either above or below the line on which the trademark appears. However, at a min-
            imum, the ® must always be used in association with the largest, most readily notice-
            able appearance of the trademarks in all printed materials. The symbol always should
            be large enough so that it can be read easily.
        G. The Hilton name and/or logo may not be used on business cards, brochures, enve-
           lopes, letterhead, billboards, or any other promotional piece without written approval
           from Hilton Hotels Corporation.




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401.00 Service Mark Usage – Print Material                                                                                    –CONFIDENTIAL–
                                                                                                                        for use by Hilton Hotels only

                                                                                                                               nOTe: Do not remove
   401.00 Service Mark Usage–print Material                                                                                 this sheet from the manual

                                                                                                                                   12/10/03


   401.01 Hampton Inn Registered Service Marks                              colors or through the four-color production process. (Any four-
   Trademarks owned by Hilton Hotels and used by the Hampton                color printing of the logo must match the Pantone Matching
   Inn Hotel Division include the Hampton Inn Logo, the Hampton             System logo colors.) The proof sheets provided illustrate the
   Inn Script, and the Hampton Inn Cartouche (A®). The Logo and             approved methods of reproduction. Deviation from the color
   Script trademarks should not be used together. The Logo or               requirements provided on the proof sheet is not permitted.
   Script trademarks must be used on all printed material and
   expendable items regularly exposed to the public.                        The Hampton Inn Script, including the  symbol, must be
                                                                            reproduced proportionately as shown in this section. This script
   The Hampton Inn Logo must be reproduced proportionately as               may be reproduced in one of two versions — horizontal
   shown in this section. It must never be textured with foreign            application (1 line) or vertical application (2 lines). Reproduction
   colors, dots or other patterns. The relationship of the components       of the Hampton Inn Script is restricted to one color.
   must be portrayed exactly as indicated on the reproduction
   proof sheets provided herein.                                            The Hampton Inn Cartouche, when used alone, must include
                                                                            the  symbol and be reproduced proportionately as shown in
   The Hampton Inn Logo, including the  symbol, may be                     this section. Reproduction of the Hampton Inn Cartouche is
   reproduced proportionately in one color, two colors, three               restricted to one color.




       equivalent to pantone Blue #280                   equivalent to pantone Red #207                     Equivalent to Pantone Gray #400




                                                                                                           Script (1 line) First Preference




          One Color - Positive Copy                       One Color - Reverse Copy


                                                                                                        Script (2 line) Second Preference




                    Two Colors                                     Three Colors                                             Cartouche




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                                                   2008 Edition Version 1 / Effective April 1, 2008
                                                                  –CONFIDENTIAL–
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                                                                                                                      for use by Hilton Hotels only

nOTe: These logo changes apply to hotels built or converted                                                              nOTe: Do not remove
to Hampton Inn & Suites hotels as of January 1, 2004.                                                                 this sheet from the manual

                                                                                                                              12/10/03


401.02 Hampton Inn & Suites Registered Trademarks                      colors or through the four-color production process. (Any four-
Trademarks owned by Hilton Hotels and used by the Hampton              color printing of the logo must match the Pantone Matching
Inn Hotel Division include the Hampton Inn & Suites Logo, the          System logo colors.) The proof sheets provided illustrate the
Hampton Inn & Suites Script, and the Hampton Inn & Suites              approved methods of reproduction. Deviation from the color
Cartouche (A®). The Logo and Script trademarks should not be           requirements provided on the proof sheet is not permitted.
used together. The Logo or Script trademarks must be used on
all printed material and expendable items regularly exposed            The Hampton Inn & Suites Script, including the  symbol, must
to the public.                                                         be reproduced proportionately as shown in this section. This
                                                                       script may be reproduced in one of two versions — horizontal
The Hampton Inn & Suites Logo must be reproduced                       application (1 line) or vertical application (2 lines). Reproduction
proportionately as shown in this section. It must never be             of the Hampton Inn & Suites Script is restricted to one color.
textured with foreign colors, dots or other patterns. The
relationship of the components must be portrayed exactly as            The Hampton Inn & Suites Cartouche, when used alone, must
indicated on the reproduction proof sheets provided herein.            include the  symbol and be reproduced proportionately as
                                                                       shown in this section. Reproduction of the Hampton Inn & Suites
The Hampton Inn & Suites Logo, including the  symbol, may             Cartouche is restricted to one color.
be reproduced proportionately in one color, two colors, three




    equivalent to pantone Blue #280               equivalent to pantone Red #207                       Equivalent to Pantone Gray #400




       One Color - Positive Copy                   One Color - Reverse Copy                                              Script




                Two Colors                                    Three Colors                                            Cartouche




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                                                               Trademark and Identity
401.03 Singular Hampton Logo Registered Trademark
        The singular “Hampton” Logo was created for cost efficiencies on property collateral and
        any other brand issued pieces that do not require delineation between Hampton Inn and
        Hampton Inn & Suites.




        THIS LOGO IS NOT PERMITTED TO BE USED WITHOUT
        PRIOR AUTHORIZATION FROM THE HAMPTON BRAND TEAM.
       The only approved items that this mark is used on are:
        A. Name tags (off site only)
        B. Authentication pages (Web site)
        C. Hampton’s On the Run™ Breakfast Bags
        D. Coffee/water cups
        E. Folio paper
         F. Guest comment cards




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                                                                                                                                                         Trademark and Identity
402.00 Hampton Property Stationery
           Each property must have Hampton Brand stationery. Below are the specifications that the
           stationery must comply with. The Olympic logo is approved for use until December 31,
           2012.
            A. Letterhead


                      Texarkana Hampton Inn 5300 North State Line Avenue, Texarkana, AR 71854 tel: 870.774.4444
                                                                                                                       fax: 870.774.4444




                                                                                                                                                            1. Hampton Inn
      Dear Mrs. Christa-Cathey,                                                                                                        02.09.04             		 Production Notes:
      After a few years, however, the original concept grew stale. To invigorate the idea, P&G hired Raymond Service, Inc., a firm that
                                                                                                                                                            		 Two color print:
      specialized in contests and direct mail. Service assigned Henry Bern as account executive; he went on to become the heart, soul and                      Black and PMS 280
      conscience of the re-born sculpture contest for over 30 years.                                                                                           Prints one side
                                                                                                                                                               Size: 81⁄2" x 11"
      Originally the contest had been open to carvers from “all walks of life, regardless of age.” But P&G decided to re-dedicate the

      contest exclusively to students from fourth to twelfth grade. Art classes, YMCA groups and scout troops embraced the contest as a
                                                                                                                                                               60# Finch Opaque Smooth
      way of giving art students a goal: to make it to the nationals “for the Procter & Gamble prizes.”                                                        (White)

      Still, P&G brands execs questioned how many young people practiced soap sculpture and would participate in the contests. Early on,
                                                                                                                                                               Linked Images:
      the judges received only 200 to 300 entries annually; this gradually increased to a high of 8,000 entries. The norm for most of the

      promotion’s run was between 2,500 and 3,000 entries. But these numbers only represent what was submitted for national judging,
                                                                                                                                                               Bobsled1766928.tif
      and not locally. As Bern noted to P&G marketing executives in an archived memo, “We have known of instances where schools carved                         Row1766127.tif
      hundreds of pieces, but submitted only one or two.” Bern goes on to note, “There was easily an annual consumption of a million                           HighJ1839063.tif
      cakes of soap.” He neglects to mention that all of this contest-specific consumption was at full retail price and, of course,
                                                                                                                                                               Skier1765410.tif
      superseded any soap purchased for normal household use.
                                                                                                                                                               Gymnast1812137.tif
      Originally the contest had been open to carvers from “all walks of life, regardless of age.” But P&G decided to re-dedicate the

      contest exclusively to students from fourth to twelfth grade. Art classes, YMCA groups and scout troops embraced the contest as a

      way of giving art students a goal: to make it to the nationals “for the Procter & Gamble prizes.”




      Loyetta Davis
      General Manager
      Hampton Inn Texarkana
                                                                                                                                      official sponsor




      for reservation please visit us at www.hampton.com or call 1.800.hampton




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                                                                                                                                                         Trademark and Identity

                      Texarkana Hampton Inn 5300 North State Line Avenue, Texarkana, AR 71854 tel: 870.774.4444
                                                                                                                       fax: 870.774.4444




                                                                                                                                                             2. Hampton Inn & Suites
      Dear Mrs. Christa-Cathey,                                                                                                        02.09.04
                                                                                                                                                            		 Production Notes:
      After a few years, however, the original concept grew stale. To invigorate the idea, P&G hired Raymond Service, Inc., a firm that
                                                                                                                                                            		 Two color print:
      specialized in contests and direct mail. Service assigned Henry Bern as account executive; he went on to become the heart, soul and

      conscience of the re-born sculpture contest for over 30 years.
                                                                                                                                                               Black and PMS 280
                                                                                                                                                               Prints one side
      Originally the contest had been open to carvers from “all walks of life, regardless of age.” But P&G decided to re-dedicate the                          Size: 81⁄2" x 11"
      contest exclusively to students from fourth to twelfth grade. Art classes, YMCA groups and scout troops embraced the contest as a
                                                                                                                                                               60# Finch Opaque Smooth
      way of giving art students a goal: to make it to the nationals “for the Procter & Gamble prizes.”
                                                                                                                                                               (White)
      Still, P&G brands execs questioned how many young people practiced soap sculpture and would participate in the contests. Early on,

      the judges received only 200 to 300 entries annually; this gradually increased to a high of 8,000 entries. The norm for most of the                        Linked Images:
      promotion’s run was between 2,500 and 3,000 entries. But these numbers only represent what was submitted for national judging,
                                                                                                                                                                 Bobsled1766928.tif
      and not locally. As Bern noted to P&G marketing executives in an archived memo, “We have known of instances where schools carved

      hundreds of pieces, but submitted only one or two.” Bern goes on to note, “There was easily an annual consumption of a million
                                                                                                                                                                 Row1766127.tif
      cakes of soap.” He neglects to mention that all of this contest-specific consumption was at full retail price and, of course,                              HighJ1839063.tif
      superseded any soap purchased for normal household use.                                                                                                    Skier1765410.tif
                                                                                                                                                                 Gymnast1812137.tif
      Originally the contest had been open to carvers from “all walks of life, regardless of age.” But P&G decided to re-dedicate the

      contest exclusively to students from fourth to twelfth grade. Art classes, YMCA groups and scout troops embraced the contest as a

      way of giving art students a goal: to make it to the nationals “for the Procter & Gamble prizes.”




      Loyetta Davis
      General Manager
      Hampton Inn Texarkana
                                                                                                                                      official sponsor




      for reservation please visit us at www.hampton.com or call 1.800.hampton




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                                                                                                         Trademark and Identity
        B. Envelope
                 1. Hampton Inn
                        Production Notes:
                        Two color print: Black and PMS 280
                        Size: 91⁄2" x 41⁄8" #10 envelope
                        80# Finch Opaque Smooth (White)




                                                     Texarkana Hampton 5300 North State Line Avenue, Texarkana, AR 71854




         Official Sponsor of the U.S. Olympic Team




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                                                                                                         Trademark and Identity
                 2. Hampton Inn & Suites
                         Production Notes:
                         Two color print: Black and PMS 280
                         Size: 91⁄2" x 41⁄8" #10 envelope
                         80# Finch Opaque Smooth (White)




                                                     Texarkana Hampton 5300 North State Line Avenue, Texarkana, AR 71854




         Official Sponsor of the U.S. Olympic Team




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                                                                                      Trademark and Identity
            C. Business Card
                     1. Hampton Inn                                                2. Hampton Inn & Suites
                          Production Notes:                                             Production Notes:
                          Two color print: Black and PMS 280                            Two color print: Black and PMS 280
                          Prints two sides                                              Prints two sides
                          Size: 2" x 31⁄2"                                              Size: 2" x 31⁄2"
                          80# Finch Opaque Smooth (White)                               80# Finch Opaque Smooth (White)
                          Linked Images:                                                Linked Images:
                          Bobsled1766928.tif                                            Bobsled1766928.tif
                          Row1766127.tif                                                Row1766127.tif
                          HighJ1839063.tif                                              HighJ1839063.tif
                          Skier1765410.tif                                              Skier1765410.tif
                          Gymnast1812137.tif                                            Gymnast1812137.tif




   Loyetta Davis                                                          Loyetta Davis
   General Manager                                                        General Manager


   Texarkana Hampton Inn                                                  Texarkana Hampton Inn & Suites
   5300 North State Line Avenue                                           5300 North State Line Avenue
   Texarkana, AR 71854                                                    Texarkana, AR 71854
                                                 tel: 870.774.4444                                                      tel: 870.774.4444
                                                 cel: 870.546.2587                                                      cel: 870.546.2587
   txkar.hampton@hilton.com                      fax: 870.779.1303        txkar.hampton@hilton.com                      fax: 870.779.1303




   we love having you here.™                                              we love having you here.™



   visit www.hampton.com or call 1.800.hampton         official sponsor   visit www.hampton.com or call 1.800.hampton         official sponsor




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                                                     Trademark and Identity
        D. Linked Images




            1. Row1766127.tif




            2. HighJ1839063.tif




            3. Skier1765410.tif




            4. Bobsled1766928.tif




            5. Gymnast1812137.tif




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                                                                 Trademark and Identity
403.00 Trademark Usage – Outdoor Advertising
403.01   Hampton Outdoor Advertising
         See following pages for Outdoor Advertising creative standards.
403.02   Photographs of all current billboards and airport courtesy board signage must be main-
         tained at the hotel, in addition to a map noting the location of each board.




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hampton outdoor advertising
                          usa/canada
                      creative standards




March, 2008
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introduction
topline notes on this guide

                              Outdoor advertising is one of our most powerful marketing tools. It greets
                              guests on their approach, converts passing motorists into new arrivals, and
                              builds a positive image of your Hampton hotel within your community. Since
                              your outdoor advertising is so important, we are pleased to announce the
                              completely redesigned Hampton outdoor campaign. This outdoor campaign
                              is far reaching and will include multiple executions. Each execution
                              highlights a specific amenity. Our initial executions are focusing on the
                              sleep experience; additional executions for business and leisure travelers
                              showcasing a variety of other Hampton amenities will appear by the
                              third quarter of 2007. You will be informed of new creative executions
                              as they become available.

                              In every element of our new outdoor campaign, visuals and language work closely
                              together to communicate benefits of the Hampton experience. The executions
                              are clean and inviting; the tone, warm and friendly. Directions and amenities are
                              clearly called out — and the Hampton logo is always featured with prominence.

                              This guide includes photography, design, and copy standards for our new outdoor
                              campaign. As of June 1, 2007, these guidelines will be the approved standards
                              for outdoor advertising. Please remember that these guidelines are mandatory.
                              All new Hampton hotels must follow these guidelines exactly; all hotels
                              with preexisting media contracts must be in full compliance by the end
                              of 2008.




creative guidelines
                              This section contains design and copy specifications for outdoor advertising.
                              No licensee may deviate from these authorized standards without an
                              electronic waiver (see last page for details)




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                                       Photography
                                       Visuals are consumer-centric, allowing the traveler to relate to the amenity
                                       highlighted on an emotional level. Every outdoor board features a single
                                       photograph of a consumer enjoying a specific Hampton amenity. On the
                                       following page are the photographs that have currently been approved for use
                                       to communicate the sleep experience.

                                       You will be informed throughout the year of new, approved photographs
                                       communicating additional amenities. Stay tuned! Only approved photographs may
                                       be used in conjunction with approved headlines.




                                     “Girl on bed”                                                “Woman with laptop”
                                                                          Specific headline only: “hi-speed exit ahead”




                                 “Woman in bed”                                                      “Man with laptop”
                                                                          Specific headline only: “hi-speed exit ahead”




                         “Man enjoying breakfast”                                                        “Child in pool”
         Specific headline only: “tasty exit ahead”                        Specific headline only: “splashy exit ahead”




                                                                                                                    3
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                                           Copy
                                           There is a definite hierarchy of quick-read messaging on every outdoor ad:
                                           1. Hampton Logo                3. Specific directions to your hotel
                                           2. Headline		                  4. Other amenities

                                           Headlines have been crafted to draw guests into the Hampton experience and
                                           direct them to your hotel. (Remember, they are driving by and must get your
                                           message quickly!) The headline focuses on the amenity portrayed by the visual.

                                           Currently, the approved headlines for the “girl on bed” and “woman on bed” are:
                                           • cozy exit ahead           • cozy landing ahead          • comfy exit ahead
                                           • comfy landing ahead • cushy exit ahead                  • cushy landing ahead
                                           • snuggly exit ahead        • cozy exit XXX (insert exit number)

                                           The approved headline for the “woman with laptop” and “man with laptop” is:
                                           • hi-speed exit ahead

                                           The approved headline for the “child in pool” image is:
                                           • splashy exit ahead

                                           The approved headline for the “Man enjoying breakfast” image is:
                                           • tasty exit ahead

                                           While the above are the suggested headlines, a hotel can also insert their
                                           hotel name or specific location of their property under the Hampton logo with a
                                           character count not to exceed 21 (including spaces).

                                           Specific directions to your hotel appear in the lower left portion of the
                                           blue bar that runs along the bottom of each outdoor board, i.e. “EXIT 256.”
                                           This quickly tells potential guests where they should turn off the road or highway
                                           to find you. The word “EXIT” is in ALL CAPS. Only the first letter of proper nouns
                                           should be capitalized.
                                                         Example: EXIT 256 • turn right • Macon Rd. • 13 miles

                                           Other amenities can also be featured in the blue bar that runs along the bottom
                                           of each outdoor ad between specific directions to your hotel on the left and the
                                           Hampton logo on the right.

                                           Amenity claims can only be used by hotels where the amenity is actually available.
                                           Two claims are recommended to be placed on each outdoor board within the
                                           blue bar—space permitting.* A maximum of three amenities can be included, if
                                           there is no directional copy in the blue amenitiy bar (these still need to conform
    * Directional copy should be ideally   to the maximum character count of 56). If there is directional copy in the blue
      kept at a minimum (e.g. just EXIT    bar, the number of amenities featured will be determined by the maximum
      #). If it needs to be longer, we     character count of 56. The approved amenity claims listed below should not be
      discourage listing more than one
                                           placed anywhere else on the ad except within the blue bar:
      additional amenity.
   ** Must be an official appointment
      hotel with AAA to use this           • 100% satisfaction guarantee            • AARP rates
      amenity listing.                     • complimentary hot breakfast            • exercise room
  *** At a scale of 1” equals 1’, any
      service marks i.e. ©, ®, ™ should
                                           • kids stay free                         • [indoor] water park
      be set to superscript.               • non-smoking rooms                      • AAA rates**
 **** Must have the new TV equipment       • [indoor] pool                          • earn free travel with Hilton HHonors®***
      implemented in 100% of room
                                           • complimentary hi-speed internet        • Flat Panel TV’s****
      inventory to use this amenity
      listing.                             • special weekend rates                  • HDTV*****
***** Must have the new TV equipment       • complimentary local calls
      implemented in 100% of room          • complimentary hi-speed internet and local calls
      inventory and must have HD
      Channels available in guest rooms    • complimentary hot breakfast & local calls
      to use this amenity listing.         • complimentary hot breakfast & hi-speed internet


                                                                                                                            4
      Case 4:19-cv-01848 Document Logo
                                  220-1Usage
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                                  Versions of the Hampton logo are available for outdoor advertising, denoting
                                  either Hampton, Hampton Inn or Hampton Inn & Suites. Please use the logo that
                                  accurately describes your specific hotel. Only if your outdoor signage continues
                                  to use the rectangular Hampton logo, may the rectangular logo be used on your
                                  outdoor advertising.

                                  At a scale of 1” equals 1’, the Hampton logo measures 11.3562”w x 7.25” h. The
                                  center point of the logo should be placed 31.4583” from the left edge of the board
                                  and .6838” from the top of the board. This center point is also the center point for
                                  which the headline copy is placed. The ® mark is part of the logo and should scale
                                  accordingly. It is currently .44” x .45”, roughly just under 6 inches square.

                                  The rectangular Hampton Inn & Suites logo is placed in a similiar method. The
                                  logo measures 11.6938” w x 7.25” h. The center point of the logo should be
                                  placed at 31.4583” from the left edge and .6838” from the top of the board.




                                  Font Usage
Indicates the center
point of each logo for            The approved typeface for Hampton outdoor directional signs is Frutiger 75
placement purpose                 Black and Frutiger 65 Bold. Font size can vary depending on space restrictions.
                                  Usage should be in lower case, unless otherwise indicated.

                                  Frutiger 75 Black
                                  ABCDEFGHIJKLMNOPQRSTUVWXYZ
                                  abcdefghijklmnopqrstuvwxyz

                                  Frutiger 65 Bold
                                  ABCDEFGHIJKLMNOPQRSTUVWXYZ
                                  abcdefghijklmnopqrstuvwxyz

                                  Color Usage

                                  PMS 280				                          PMS 207
                                  Logo background			                   Logo border
                                  Blue bar
                                  Headline

                                                                                                                  5
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design                       Approved outdoor designs appear on the following pages of this guide. Please
                             select the one that best fits the needs of your hotel.


                             A. Directional Sign with Amenities
                         1   Main image
                             • Use only approved images

                         2   Logo
                             • Position of logo is set and should not be adjusted
                             • At a scale of 1” equals 1’, the center point of the logo is 31.4583” from the left
                               edge and .6853” from the top of the board

                         3   Headline
                             • Use approved headlines
                             • PMS 280
                             • Font: Frutiger 75 Black, lower case. At a scale of 1” equals 1’, the headline font
                               size is 202 point.
                             • Headline character count should not exceed 21 (including spaces)
                             • No punctuation
                             • Headline is centered from the center line established by the logo
                             • Font should never be condensed or expanded

                         4   Blue bar
                             • The blue bar measures 48”w x 2.5875”h. It should not be altered.
                             • Type is centered on the width of the board
                             • Type reverses out white from PMS 280 blue bar
                             • Font: Frutiger 65 Bold, lower case. At a scale of 1”
                               equals 1’, the blue bar font size is 120 point
                             • Font should never be condensed or expanded
                             • The word EXIT should be in All CAPS. Only the initial letter of
                               proper nouns of other directional copy should be capitalized.
                             • Type can be directional and/or from a selection of amenities.
                               The character count should not exceed 56 (including spaces).
                             • The top line of the blue bar should NEVER cover any
                               part of the face of the person in the ad.




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                            B. Directional Sign with No Amenities

                            In some instances, further directional copy (more than just the exit number) may
                            be needed. The amenity claims are then excluded in order to make room for the
                            directional copy.

                        1   Main image
                            • Use only approved images

                        2   Logo
                            • Position of logo is set and should not be adjusted
                            • At a scale of 1” equals 1’, the center point of the logo is 31.4583” from the left
                              edge and .6853” from the top of the board

                        3   Headline
                            • Use approved headlines
                            • PMS 280
                            • Font: Frutiger 75 Black, lower case. At a scale of 1” equals 1’, the headline font
                              size is 202 point.
                            • Headline character count should not exceed 21 (including spaces)
                            • No punctuation
                            • Headline is centered from the center line established by the logo
                            • Font should never be condensed or expanded

                        4   Blue bar
                            • The blue bar measures 48”w x 2.5875”h. It should not be altered.
                            • Type is centered on the width of the board
                            • Type reverses out white from PMS 280 blue bar
                            • Font: Frutiger 65 Bold, lower case. At a scale of 1”
                              equals 1’, the blue bar font size is 120 point
                            • Font should never be condensed or expanded
                            • The word EXIT should be in All CAPS. Only the initial letter of
                              proper nouns of other directional copy should be capitalized.
                            • The character count should not exceed 56 (including spaces).
                            • The top line of the blue bar should NEVER cover any
                              part of the face of the person in the ad.




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                             C. Co-op Sign for Multiple Hotels
                             In an area where sign availability is limited, two/three Hampton hotels may be
                             displayed on a sign with the cost of the sign to be shared on a cooperative basis
                             by agreement between the hotels’ owners/operators. On a co-op sign the primary
                             visual, headline and copy treatment are exactly the same as in a sign for a single
                             hotel. Please note: two hotels can be promoted on a single board and one
                             amenity if space permits.

                         1   Main image
                             • Use only approved images

                         2   Logo
                             • Position of logo is set and should not be adjusted
                             • At a scale of 1” equals 1’, the center point of the logo is 31.4583” from the left
                               edge and .6853” from the top of the board

                         3   Headline
                             • Use approved headlines
                             • PMS 280
                             • Font: Frutiger 75 Black, lower case. At a scale of 1” equals 1’, the headline font
                               size is 202 point.
                             • Headline character count should not exceed 21 (including spaces)
                             • No punctuation
                             • Headline is centered from the center line established by the logo
                             • Font should never be condensed or expanded

                         4   Blue bar
                             • The blue bar measures 48”w x 2.5875”h. It should not be altered.
                             • Type is centered on the width of the board
                             • Type reverses out white from PMS 280 blue bar
                             • Font: Frutiger 65 Bold, lower case. At a scale of 1”
                               equals 1’, the blue bar font size is 120 point
                             • Font should never be condensed or expanded
                             • It is recommended that the directional copy include the name of the hotel
                               and simple EXIT information only. The word “EXIT” should be in ALL CAPS
                             • Type can be directional and/or from a selection of amenities.
                               The character count should not exceed 56 (including spaces).
                             • The top line of the blue bar should NEVER cover any
                               part of the face of the person in the ad.




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                                D. Co-op Directional Sign (Hampton and Cooperative Partner)
                                Co-op advertising with quality partners may be permitted with prior written
                                approval. No headline spanning the two partners will be approved.

                            1   Main image
                                • Use only approved images. Only bed images are available for this execution.

                            2   Logo
                                • Position of logo is set and should not be adjusted.
                                • At a scale of 1” equals 1’, the center point of the logo is 17.9208” from the left
                                  edge and .6875” from the top of the board.
                                • The logo is 11.3562”w x 7.25”h.

                            3   Headline
                                • Use approved headline - cozy exit ahead
                                • PMS 280
                                • Font: Frutiger 75 black, lower case. At a scale of 1” equals 1’, the headline font is
                                  202 point.
                                • Headline character count should not exceed 15 (including spaces)
                                • No punctuation
                                • Headline is right justified and lined up on the right most edge of the hampton logo
                                • Font should never be condensed or expanded.

                            4   Blue bar
                                • The blue bar measures 24”w x 2.5874”h. It should not be altered.
                                • Type is centered within the width of the blue bar.
                                • Type reverses out white from PMS 280.
                                • Font: Frutiger 65 Bold, lower case. At a scale of 1” equals 1’, the blue bar font size
                                  is 120 point.
                                • Font should never be condensed or expanded.
                                • The word EXIT should be in ALL CAPS. Only the initial letter of the proper nouns of
                                  other directional copy should be capitalized.
                                • The character count should not exceed 26 (including spaces)
                                • The top line of the blue bar should NEVER cover any part of the face of the person
                                  in the ad.




   Approved photo options




     1                 2                              1                       2




     3                 4                              3                       4




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                                E. Co-op Directional Sign without Image
                                  (Hampton and Co-Op Partner)

                                Using the directional sign on Co-op advertising with quality partners may be
                                permitted with prior written approval. No headline spanning the two partners will
                                be approved.

                        1       Main image
                                • Billboard color is PMS 280
                                • At a scale of 1” equals 1’, the blue field measures 24” w by 14” h.

                        2       Logo
                                • Position of logo is set and should not be adjusted
                                • At a scale of 1” equals 1’, the center point of the logo is 12” from the left edge
                                  and 5.55” from the top of the board
                                • The logo measures 14.12” wide by 9” high

                        3       Headline
                                • Approved headline for this signage is ‘exit ahead - XXXX’
                                • There are four character spaces provided for the specific exit to be included
                                • Font: Frutiger 75 Black, lower case. At a scale of 1” equals 1’, the headline font
                                  size is 124 point
                                • The headline is centered within the blue field with the center point being 12”
                                  from the left edge
                                • Headline character count should not exceed 24 (including spaces)
                                • No punctuation
                                • Headline should only be 1 line
                                • Font should never be condensed or expanded
                                • This baseline is 12.875” from the top of the board
                                • The type is white and reverses out of the blue PMS 280 background

                        4       Headline Color Option
                                • There are two color options for the headline.
                                • The headline can be white reversed out of the PMS 280 blue (top example)
                                • Or the headline can be PMS 280 blue in a white panel which measures
                                  24”wide x 3.125” high (bottom example)
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                            E. Sign for a New Hampton
                            Any outdoor board announcing a new Hampton hotel will display the following
                            approved promotional language, limited to the first six months after the hotel has
                            been opened: • Now Open • New • Coming Soon

                        1   Main image
                            • Use only approved images

                        2   Logo
                            • Position of logo is set and should not be adjusted
                            • At a scale of 1” equals 1’, the center point of the logo is 31.4583” from the left
                              edge and .6853” from the top of the board

                        3   Headline
                            • Use approved headlines
                            • PMS 280
                            • Font: Frutiger 75 Black, lower case. At a scale of 1” equals 1’, the headline font
                              size is 202 point.
                            • Headline character count should not exceed 21 (including spaces)
                            • No punctuation
                            • Headline is centered from the center line established by the logo
                            • Font should never be condensed or expanded

                        4   Blue bar
                            • The blue bar measures 48”w x 2.5875”h. It should not be altered.
                            • Type is centered on the width of the board
                            • Type reverses out white from PMS 280 blue bar
                            • Font: Frutiger 65 Bold, lower case. At a scale of 1”
                              equals 1’, the blue bar font size is 120 point
                            • Font should never be condensed or expanded
                            • Approved new Hampton verbiage (i.e. NOW OPEN) and the word “EXIT”
                              should be in ALL CAPS. Only the initial letter of proper nouns of other
                              directional copy should be capitalized
                              The character count should not exceed 56 (including spaces.)
                            • The top line of the blue bar should NEVER cover any
                              part of the face of the person in the ad.




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                            G. Construction Sign
                            To announce the construction of a Hampton hotel, this sign may be erected on the
                            property prior to or during construction. It must be removed six months after the
                            hotel opens.

                        1   Main image
                            • Use only approved images

                        2   Logo
                            • Position of logo is set and should not be adjusted
                            • At a scale of 1” equals 1’, the center point of the logo is 31.4583” from the left
                              edge and .6853” from the top of the board

                        3   Headline
                            • The initial headline for the construction copy should simply include the
                              date/time period when the hotel will be opened. After the opening, the
                              headline should switch to one of the approved headlines.
                            • Use approved headlines
                            • PMS 280
                            • Font: Frutiger 75 Black, lower case. At a scale of 1” equals 1’, the headline font
                              size is 202 point.
                            • Headline character count should not exceed 21 (including spaces)
                            • No punctuation
                            • Headline is centered from the center line established by the logo
                            • Font should never be condensed or expanded

                        4   Blue bar and Response copy
                            • The blue bar measures 48”w x 2.5875”h. It should not be altered.
                            • Type is centered on the width of the board
                            • Type reverses out white from PMS 280 blue bar
                            • Font: Frutiger 65 Bold, lower case. At a scale of 1”
                              equals 1’, the blue bar font size is 120 point
                            • Font should never be condensed or expanded
                            • Hampton.com and 1-800-hampton are recommended
                              callouts to promote future reservations
                            • Reverse out white from PMS 280 blue bar
                            • The top line of the blue bar should NEVER cover any
                              part of the face of the person in the ad.

                            • Type may contain amenitiy and/or location information.
                              The character count should not exceed 56 (including spaces.)

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                            H. Directional Sign without Images
                            Occassionally, a purely directional billboard will be requested. This execution features
                            a large logo, location copy and an opportunity to provide further directions.

                        1   Main image
                            • Billboard color is PMS 280
                            • At a scale of 1” equals 1’, the blue field measures 48” w by 10.5” h. The white
                              field measures 48” w by 3.5” h

                        2   Logo
                            • Position of logo is set and should not be adjusted
                            • At a scale of 1” equals 1’, the center point of the logo is 9.2” from the left edge
                              and 5.29” from the top of the board
                            • The logo measures 14.41” wide by 9.2” high

                        3   Headline
                            • Approved headline for this signage is ‘friendly exit ahead - XXXX’
                            • There are four character spaces provided for the specific exit to be included
                            • Font: Frutiger 75 Black, lower case. At a scale of 1” equals 1’, the headline font
                              size is 168 point
                            • The headline is centered within the blue field with the center point being
                              32.1125” from the left edge and 5.1979” from the top of the board
                            • Headline character count should not exceed 26 (including spaces)
                            • No punctuation
                            • Headline should only be 1 line
                            • Font should never be condensed or expanded
                            • The headline is on the same baseline as the Hampton lettering of the logo. This
                              baseline is 6.125” from the top of the board

                        4   White bar and directional copy
                            • The white bar measures 48”w x 3.5”h. It should not be altered
                            • Type is PMS 280
                            • Font: Frutiger 75 Black. At a scale of 1” equals 1’, the font size is 148 point
                            • The baseline of the font is located 10.875” from the top of the board
                            • Type is centered on the width of the board
                            • Font should never be condensed or expanded
                            • The character count should not exceed 42 (including spaces.)




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                            I. Directional Sign without Images
                            Another option of the directional sign featuring a larger logo.



                        1   Main image
                            • Billboard color is PMS 280
                            • At a scale of 1” equals 1’, the blue field measures 48” w by 14” h.

                        2   Logo
                            • Position of logo is set and should not be adjusted
                            • At a scale of 1” equals 1’, the center point of the logo is 9.2” from the left edge
                              and 6.9” from the top of the board
                            • The logo measures 14.41” wide by 9.2” high

                        3   Headline
                            • Approved headline for this signage is ‘friendly exit ahead - XXXX’
                            • There are four character spaces provided for the specific exit to be included
                            • Font: Frutiger 75 Black, lower case. At a scale of 1” equals 1’, the headline font
                              size is 168 point
                            • The headline is centered within the blue field with the center point being
                              32.3521” from the left edge and 5.5625” from the top of the board
                            • Headline character count should not exceed 26 (including spaces)
                            • No punctuation
                            • Headline should only be 1 line
                            • Font should never be condensed or expanded

                        4   Directional copy
                            • Type is white
                            • Font: Frutiger 75 Black. At a scale of 1” equals 1’, the font size is 148 point
                              and the leading is set at 164 point
                            • The directional copy is centered within the blue field with the center point
                              being 32.3521” from the left edge
                            • The baseline of the directional copy is located 11.625” from the top
                              of the board
                            • Font should never be condensed or expanded
                            • The character count should not exceed 28 per line (including spaces.)




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erec ting an outdoor board
                              Hotel owners/operators shall contract directly with the sign company of their
                              choice. However, all creative produced for outdoor boards must meet the standards
                              outlined herein.

                              In order to receive all the creative materials for outdoor boards, hotel owners/
                              operators should go to OnQ Insider>My applications>Hampton Sales and Marketing
                              Online Toolkit. *If only the link “hampton Sales and marketing” appears, you will
                              need to update your user access. You can request access by going to User Settings
                              and requesting access to the toolkit via the Change My Account section. There is an
                              online process for ordering creative materials and routing boards for the appropriate
                              approvals.




review and waiver requirements
                              Review

                              Each hotel must maintain a designated outdoor advertising file on property
                              for review by Hilton Hotel representatives. The file must contain current
                              photographs of each outdoor board, a description of each outdoor board, and
                              other pertinent documents and information related to the hotel’s outdoor
                              advertising program.


                              Waiver

                              Hotel owners/operators may request a waiver for the special instances which
                              prohibit them from following the established outdoor board requirements.
                              A request for waiver should be accompanied by a digital image of the artwork
                              for the board as well as the rationale for the request. Waiver requests should
                              be submitted to your HPS Director electronically via OnQ Insider>Hampton Brand.
                              Hotel approval or denial will be communicated to the hotel via this website.
                              Be advised that the outdoor board may not be erected until the owner/operator
                              receives waiver approval from Hampton Brand Management.




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                                                              Trademark and Identity
404.00 Exterior Signage
404.01   Each Hampton Inn/Hampton Inn & Suites hotel must be identified as a member of the
         Hampton Inn/Hampton Inn & Suites hotel system by the prominent display of a freestand-
         ing standard sign which has been approved by Hilton Hotels.
404.02   The primary sign must be installed at each Hampton Inn/Hampton Inn & Suites hotel prior
         to its opening.
404.03   No other signs may be attached to any part of the Hampton Inn/Hampton Inn & Suites
         primary or script signs.
404.04   See “Hotel Signage Standards” brochure (available from Hilton Hotels Design And Con-
         struction Department) for further details on exterior signage.




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 404.05 HI P13 D/F Directional Sign




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404.06 HI P-16 D/F Directional
Sign




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404.07 HI P-32 D/F Monument Sign




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 404.08 HI P-82 D/F Pylon Sign



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 404.09 HI P-82 D/F Pylon Sign


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 404.10 HI P-182 D/F Pylon
 Sign




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 404.11 HI P-82 D/F Pylon Sign




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404.12 HI P312 D/F Pylon Cabinet




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404.13 HI Case
          P3124:19-cv-01848
               D/F Pylon Cabinet
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                                      404.14 HI P312 D/F Pylon Cabinet




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 404.15 HI Stacked F.C.O. Building Letters
 404.16 HI Linear F.C.O. Building Letters




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 404.17 HI Stacked Building Letters
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                                              2008 EDITION / Effective June 1, 2008   400-42
 404.18 HI Linear Building Letters
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                                              2008 EDITION / Effective June 1, 2008   400-44
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404.19 Alternate Face Layouts for HIS-10D
Sign




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404.20 D/F HIS-40 Monument Sign




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404.21 D/F HIS-60 Monument Sign




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404.22 D/F HIS-88 Pylon Sign




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404.23 D/F HIS-150 Pylon Sign




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404.24 D/F HIS-220 Pylon Sign




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                                        404.25 D/F HIS-385 Hi-Rise Pylon Sign




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                                                                                      404.26 HIS Stacked Building Letters
                                                                                      404.27 HIS Linear Building Letters




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                                                                                        404.28 HIS Stacked Building Letters
                                                                                        404.29 HIS Linear Building Letters




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 404.30 Building Number
         Scale............................. 3" = 1'-0"
         Handicap..................... No
         Material........................ Type 3
         Letter Style................... Frutiger
         Color............................ Baked enamel or other permanent
                                            coating, contrast with background
         Mounting Method....... Concealed fasteners
         Quantity....................... One set




 404.31 Entrance Canopy Clearance
         Scale............................. 1" = 1'-0"
         Handicap..................... No
         Material........................ Type 3
         Letter Style................... Frutiger
         Color............................ Baked enamel or other permanent
                                            coating, contrast with background
         Mounting Method....... Concealed fasteners
         Quantity....................... One set over driveway at each side of
                                            canopy




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 405.00 Interior Signage
        The interior sign package for Hampton Inn and Hampton Inn & Suites should reflect the
        quality that is associated with the brand standard. The colors chosen should tastefully com-
        pliment the hotel interior and meet all ADA requirements. Interior corridor signage must
        be brought up to the current standard at the time of any renovation within the corridor.
 405.01 ADA Font Requirements
        The Americans With Disabilities Act (ADA), Title III, section 4.30.2 Character Proportion,
        states:
        “Letters and numbers on signs must have a width-to-height ratio between 3:5 and 1:1 and
        a stroke-width-to-height ratio between 1:5 and 1:10.”
        The following fonts meet those requirements, and must be used on all signage:




 405.02 Guest Room Numbers
        Each guest room must be identified with uniformly designed and clearly distinguishable
        numerals placed adjacent to the guest room entry door on the latch side or on the first vis-
        ible wall adjacent to the door. The sign must be mounted 60" above the floor to the center
        of the sign. The specifications that follow are for the guest room signage.
        Existing properties that have signage made of solid surface material located on the door,
        whether room number signage or the Hampton Inn cartouche, may leave these signs on
        the door until the door is replaced. The new signage as described as follows must replace
        those signs located to the side of the door. Replacement signs size must be coordinated
        with available wall space prior to ordering.
         A. Graphics
            Room signage must be 8"w x 4"h digital graphics, laminated backs, mounted to second
            surface of 1/8" Plexiglas with a 45-degree edge.




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        B. Applied Numerals
           Guest room numerals must be located on the first surface and must be white, New
           Hermes Gravotac #214-114, Frutiger 55 Roman 115 point
           1/32" thick and 11⁄8" high. Exterior room signs may use larger numerals. Correspond-
           ing room numerals in clear Raster Braille must be applied. Room numbers may be
           match-routed for better adhesion but must maintain compliance with ADA.
        C. Backer Material
           Backer may be any of the following:
            1. One-quarter inch thick acrylic painted with the following color
               options:
                a. Bronze MT 41313SP
                b. Black MT N923SP
                 c. Brushed Aluminum MT 41342SP
            2. One half-inch thick solid surface option: Corian Nocturne
        D. Backer Profile
            1. Two profiles may be used for the backer:
                a. Ogee edge (for acrylic), 85⁄8"w x 45⁄8"h
                b. Straight “frame” edge (for acrylic or solid surface), 9"w x 5"h
            2. A recessed area for the Plexiglas sign must be provided. The ogee edge must have a
               1/16" recess and the straight edge, a 1/8" recess.
        E. Mounting System
           Double-sided tape should be used to hold the sign in place while the silicone or adhe-
           sive dries to the wall. The manufacturer must ship double-sided tape to all self-installa-
           tion properties.




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            1/2"                                                       1/2"
                                            8"
                                                                                                                          1/4"
                                             1/4"              1/4"




                                                                                                      115 point




                                                                              4"
                      www.hamptoninn.com




              1/4"                                                     1/4"
                                             8"


                                                 1/4"                                                             1/4"
                                                                1/4"


                                                                                                                         1/16"



                                                                                   Frutiger 45 Light 32 point

                                                                                    PMS 295

                                                                                                      115 point

                                                                              4"




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         F. Approved Image Library
           Artwork must be from the Hampton Brand approved image library designated specifi-
           cally for room signage. The image library is available only to Hampton approved inte-
           rior signage manufacturers. Each room on a floor must utilize a different image unless
           there are more rooms than images available, in which case duplicate images must be
           installed as far apart as possible. Images must be duplicated on different floors.




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                                                                 Trademark and Identity
405.03 General Specifications for Public Area Signs
        The material is to be 1/2" thick solid surface or painted acrylic with a custom drop bevel
        edge treatment then sandblasted 1/32" deep. Signs are to have Grade II Braille where re-
        quired. Copy heights are to meet the requirements of the Americans with Disability Act. An
        etch and fill process may be used instead of sandblasting for signs that are strictly informa-
        tional and do not require raised letters or Braille.




       Choose from these colors:




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405.04     Restrooms
           Restroom signage should indicate gender and handicap accessibility. If the restroom is not
           handicap accessible, a sign directing guests to handicap accessible restrooms should be
           displayed.




         Frutiger 65 Bold                                  Frutiger 65 Bold




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                                                                         Trademark and Identity
       405.05 Stairs/Floor Numbers
                Local fire codes should be referenced before ordering these signs. The Exit-Stairs sign
                should be located adjacent to the stair door, on the latch side outside the stairwell, with the
                center of the sign 60" off the floor. Some codes require an evacuation plan also be posted
                at the stairs as Item #A4E shows.
                The hotel must provide information, including evacuation plan, when required for these
                signs prior to production.




  Frutiger 55 Roman
               Frutiger 55
               Frutiger 55 Roman
                           Roman
  Frutiger 65 Bold
               Frutiger 65 Bold
               Frutiger 65 Bold




            STAIR 1     STAIR 11
                        STAIR
      HAS NO ROOFHAS
                   ACCESS
                 HAS NO ROOF
                         ROOF ACCESS
                                ACCESS




 22
                     NO



                 2ND 2ND                                      Floor numbers are to be located adjacent to
                                                              the latch side of the door on the inside of the

                 FLOOR
                     FLOOR
                                                              stairwell. These signs must designate stairwell




                                                                 EXIT
                                                                  EXIT
                                                              number or name, roof access and origination
                                                              and termination of that stairwell.


            1 THRU 4      11 THRU
                             THRU 44
     FIRE DOOR - KEEP
                 FIRE  CLOSED
                  FIRE DOOR
                       DOOR -- KEEP
                               KEEP CLOSED
                                     CLOSED




Frutiger Fonts
             Frutiger Fonts
                      Fonts                                       2008 EDITION / Effective June 1, 2008   400-61
             Frutiger
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            STAIR 1
      HAS NO ROOF ACCESS




 2                2ND
                  FLOOR
                    Six-inch reflective, pre-spaced vinyl
                       letters spelling “EXIT” should be
                       placed at the base of each stair door
                       on the corridor side, used to assist
            1 THRU 4 the evacuation of a smoke-filled cor-
                       ridor.
     FIRE DOOR - KEEP CLOSED                                                                                                                                                    EXIT
                                                                                                                                                                                       Trademark and Identity




Frutiger Fonts
     405.06 Guest Room Evacuation
                 This sign contains important information for your guest. An emergency exit plan, check-in
                 and check-out times, room rates, safe deposit box availability, and state laws are included.
                 The full color paper inserted into an assembled two-piece sign is displayed on the back of
                 the guest room door below the peephole. The hotel must provide pull station and fire ex-
                 tinguisher locations in addition to the maximum room rate, check-in and check-out times
                 prior to production of this sign.
                 A. Option One
                    Graphic mounted second surface of Plexiglas. Backer with thumb hole to create slot for
                    paper insert.
                 B. Option Two
                    Graphic printed second surface on velvet Lexan
                 C. All Options
                    White lettering, Hampton Honeycomb: stroke 50 percent PMS 295, fill 80 percent PMS
                    295, Background behind honeycomb 100 percent PMS 295

                      IN CASE OF FIRE USE STAIRWAY FOR EXIT. DO NOT USE ELEVATOR.
                      FOR YOUR SECURITY:
                      •   FOR YOUR PRIVACY AND SECURITY, PLEASE ALWAYS USE THE DEADBOLT TO         •   IF YOU DETECT FIRE OR SMOKE, CALL “OPERATOR” OR DESIGNATED HOTEL
                          DOUBLE LOCK YOUR ROOM FROM THE INSIDE. THE SAFETY LATCH AND                  EMERGENCY NUMBER.    DIAL 9-911.
                          DOOR VIEWER SHOULD BE USED TO VISUALLY IDENTIFY ANYONE OUTSIDE
                          YOUR DOOR. PLEASE FOLLOW THESE SAME GUIDELINES FOR CONNECTING            •   FEEL THE DOOR TO SEE IF IT IS HOT. IF NOT, OPEN CAUTIOUSLY AND PROCEED
                          AND POOL SIDE DOORS.                                                         CALMLY TO THE NEAREST FIRE EXIT (SEE FLOOR PLAN). TAKE YOUR ROOM KEY.

                      •   FOR THE SAFE KEEPING OF YOUR VALUABLES, STATE LAW LIMITS LIABILITY FOR   •   IF YOU CANNOT LEAVE, REMAIN IN YOUR ROOM AND SEAL DOOR WITH WET
                          LOSS OF ARTICLES LEFT IN GUEST ROOMS. PLEASE USE SAFE DEPOSIT BOXES          TOWELS UNTIL ASSISTANCE ARRIVES.
                          WHICH ARE PROVIDED WITHOUT CHARGE AT THE FRONT DESK IN THE LOBBY.




                                                                                                   EVACUATION PLAN


                                                                                                                                                                                2008 EDITION / Effective June 1, 2008   400-62
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405.07 Elevator Lobby Signage
        An “In Fire Emergency” sign must be displayed above each elevator call button and inside
        each elevator cab. Some codes require an evacuation plan in addition to the basic sign. The
        hotel must provide a floor plan for the evacuation plan sign required by code prior to sig-
        nage production.




405.08 Meeting Room/Hospitality Suites
        The style of meeting room and hospitality suite signs should be determined by the use of
        the room:
        A. Simple room identification
        B. Identification with “In Use/Vacant” strip
        While ADA requires 1/32" raised letters and Braille to identify these rooms, some signs in
        larger settings may require additional dimensional individual letters. This should be deter-
        mined by the distance from which they will be viewed.
405.09 Other ID Signage with Operating Hours




                                      Frutiger 55 Roman




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        This group of signs usually requires additional hotel specific information, such as hours or
        age restrictions. Hours of operation must be displayed for the convenience of your guests if
        the area will not open 24 hours a day. The hotel must provide hours of operation for these
        signs prior to signage productions.




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                                                                 Trademark and Identity
 405.10 Room/Area Identification Signage
         Many local fire department codes require all public access doors to be clearly marked.
         To comply with ADA standards:
         A. All permanent rooms and spaces must be identified by signage with 1/32" raised let-
            ters, graphics and Grade II Braille.
         B. The letter style must be easy to read.
         C. The sign background and copy must have good color contrast.
         D. Signs must be mounted adjacent to the door on the latch side, or on the first visible
            wall adjacent to the door, with the center of the sign 60" off the floor.




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405.11 Directional Signage
        A. Directional signage is an important part of a wayfinding sign system. These signs
           direct guests through a facility. These signs are generally read from a distance, therefore
           they should have an average copy height of 11⁄2". A well designed wayfinding sign sys-
           tem will:
            1. Identify travel path decision points throughout your facility. A travel path decision
               point is a place at which someone moving through your facility must make the
               decision to turn left, right or continue straight ahead.
            2. Place directionals so they are readily visible from travel path decision points.
            3. Identify and direct your guests to common areas of interest such as:
                 a. Lobby
                 b. Registration area
                 c. Elevators
                d. Guestrooms/suites
                 e. Gift shops
                 f. Pools and fitness centers
                 g. Ice and vending machines
                h. Restaurants
                 i. Lounges
                 j. Meeting rooms
                 k. Restrooms
                 l. Telephones
                m. Guest Laundries
            4. Guide your guests through each travel path decision point, all the way to their des-
               tination.
           All wayfinding signage should be reviewed by the owner or an owner’s representative
           prior to ordering.




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        B. Wall Mounted Directionals




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        C. Ceiling/Flag-Mounted Directionals
           Ceiling and flag-mounted directionals are used only when there is no visible wall space
           available for wall-mounted directionals. These signs are often visible from both sides,
           therefore double-sided.




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405.12 Informational Signage
        Informational signage design should be consistent with the other signs in your sign system.
        These signs should convey their information clearly and concisely. Many of these are re-
        quired by code.
        A. Lobby Area Signage
           These informational signs are typically displayed in the Lobby/Entrance/Front Desk ar-
           eas. Note: The “Pets are not admitted sign” is optional depending on the policy at your
           hotel.




        B. Secondary and Locked Exits
           These signs inform guests when doors
           will be locked, how to enter and/or refer-
           ence any other alternative entrances to
           the hotel when doors are locked. The ho-
           tel is to provide all copy for these signs.




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                                                               Trademark and Identity
        C. Non-smoking Entry Signage
           If required by state or local law non-smoking signs must be placed appropriately in
           public areas in accordance with the statutes. Information detailed on the sign and post-
           ing location must conform to state or local requirements and may vary from location
           to location. Signs must be permanent and match the hotel’s interior sign package. All
           signs are to be obtained through approved vendors Rising Signs or Hospitality Signs.
           The ash receptacle must remain in place at the front entrance unless state or local law
           requires it to be located elsewhere.
           If the hotel is approved by Hampton Brand Management to be a 100% non-smoking
           facility the standard sign (pictured below) with the specific verbiage “This is a smoke
           free location” and the international non-smoking symbol must be posted at the main
           entrance. If additional information is required by state or local law a custom sign must
           be made to display both (see Standard 309.17 for details on non-smoking policies).




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 405.13 Whirlpool/Fitness Center Signage
         These signs should match the design of, and be consistent with, the other signs in your sign
         system. The signs should convey their information clearly and concisely. The hotel must
         provide hours of operation for these areas prior to sign production.
         A. Interior
            Rules and No Diving signs are to be constructed of two pieces of acrylic (3/16" backer
            with 1/8" face), and are sub-surface painted (see side view).
         B. Exterior
            Rules and No Diving signs are to be constructed of 1⁄8" aluminum or Fiberbright with
            fence mounting brackets and have face-applied vinyl graphics.




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405.14 Interior/Exterior Pool Area Signage
        These signs should match the design of, and be consistent with, the other signs in your sign
        system. The signs should convey their information clearly and concisely. The hotel must
        provide hours of operation and pool depth for these signs prior to signage production.
         A. Interior
            Rules and No Diving signs are to be constructed of two pieces of acrylic (3/16" backer
            with 1/8" face), and are sub-surface painted (see side view).
         B. Exterior
            Rules and No Diving signs are to be constructed of 1/8" aluminum or Fiberbright with
            fence mounting brackets, and have face-applied vinyl graphics.




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        C. California Code Pool Area Signage
           Some states, such as California, have additional health code requriements for their
           pool facilities. These requirements may include CPR instructions, maximum occupancy,
           specific wording and copy heights. Check your local health department for any specific
           requirements. The hotel must provide hours of operation, pool depth, maximum oc-
           cupancy and emergency number for this sign prior to signage production.




                                                1. Interior
                                               		 Rules and No Diving signs are to be
                                                  constructed of two pieces of acrylic
                                                  (3/16" backer with 1/8" face), and are
                                                  sub-surface painted.
                                                2. Exterior
                                               		 Rules and No Diving signs are to be
                                                  constructed of 1/8" aluminum or
                                                  Fiberbright with fence mounting
                                                  brackets, and have face applied vinyl
                                                  graphics.




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405.15 Aluminum Parking Signs
        Sign faces are manufactured using 1/8" aluminum with face-applied vinyl. The posts are
        constructed of 11⁄2" x 11⁄2" square tubing with rounded corners and include plastic end caps.
        Posts are generally 7 ft. tall and are set 18" into the ground. Local codes may require spe-
        cific signs that can only be purchased locally. Verify with your local code enforcers.




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 405.16 Individual Letters/Numbers
         The address and clearance height letters and numbers are to be 1/4" extruded PVC painted
         dark bronze unless otherwise approved by your Hilton Project Manager. These sets include
         pounce pattern and instructions for mounting.




                                                                                 Frutiger 65 Bold




     Frutiger 65 Bold




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 406.00 Welcome Touchpoint Signage Items
             Welcome touchpoint signage items include front desk graphics, vestibule, front entry door
             graphics and elevator wrap graphics.
 406.01 Front Desk Graphics
             The registration wall must have “welcome to (city)” signage (including horizontal trim
             pieces). Lettering is to be 3/4" thick black sintra letters with brushed stainless steel face to
             match Stylmark trim finish #218. Lettering must use the Frutiger font, 230 point, tracking
             50. ‘Welcome to’ must be Frutiger 45 light (not size 45) and ‘[city]’ must be Frutiger 75
             black. Lettering must be left-justified aligning with the left side of furthermost left frame
             once mounted. Horizontal trim to be 3/4" x 3/4" Stylmark trim #110410 with base #411331
             and a brushed stainless steel finish #218. Trim is to run entire length of wall (except on any
             doors or door frames). Trim is not required on any wing walls or offset walls beyond the
             immediate back wall of the registration desk.
             The chair rail must be Stylmark trim #110465 with base #410509, with end caps RH
             #310399 and LH #310400 and buffed satin black finish #123. Length of chair rail must be
             entire length of wall (only the main portion of the wall if a door is located on the wall) less
             11⁄2" at each end to allow proper clearance for installation. Rail to be mounted 3'-0" AFF to
             the bottom of the rail.




      door opening




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406.02 Front Entry Graphics
        Main entrance vestibule doors are required to have graphics installed on both sets of doors
        and any sidelights. Hotels without a vestibule must have installed, as a minimum, the “hel-
        lo” and corresponding set of graphics on the doors and any sidelights. Properties with code
        required door decals must install the approved automatic door graphic.




        When installing on doors with emergency bar, split the graphic at red dotted line. Top sec-
        tion of graphic goes above emergency bar. The bottom section goes below the emergency
        bar.




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 406.03 Automatic Front Entry Graphics
         The bottom edge of the automatic door graphic decal must align with the top edge of the
         entry graphic. The material must be 3M™ Scotchcal™ Translucent Film—European Blue
         with white lettering, printed on both sides and applied to one surface of the entry door.




 406.04 Elevator Wrap Graphics
         Reference Standard 408.07 for information and illustrations pertaining to elevator wrap
         graphics.




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 407.00 Brand Identity System
 407.01 The Typefaces
         Using one typeface for all communications will strengthen the visual language of the
         brand, create consistency across all channels, and become memorable to the consumer.
         We use the Hampton Frutiger typeface. All weights in the family are permissible although
         the preferred weights are Frutiger 45 Light and Frutiger 75 Black. General type treatments
         should encourage the use of lights and darks with a clear hierarchy for preferably three
         levels of read. Headlines should use Frutiger 75 Black, sub-headlines should use Frutiger
         65 Bold, and body copy should use Frutiger 45 Light. Frutiger 55 Roman can be used for
         body copy when text is applied over a color or photographic background. All lowercase letter
         forms are used followed by a period when words or short phrases are used as a headline. Copy style
         should be simple and direct using as few words as possible—fewer words will make each
         one count for more.




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 407.02 The Color Palette
         The core color palette has been selected to compliment and co-exist with a multitude of
         existing color palettes in the built environment. This color palette should be used through-
         out all communications moving forward. While blue may be dominant, we prefer to use a
         system of colors that visually represent Hampton and become signature to the brand. These
         colors can be used architecturally, in addition to print graphics, and are saturated enough
         to reverse type out to white. A color range of tints will allow for design flexibility on a lim-
         ited print budget.
         These colors are not to be used for color matching. Please pull corresponding chips from a
         Pantone book for accurate color.




 407.03 The Pattern
         The pattern will become the most proprietary and recognizable element of the brand iden-
         tity system. The pattern should be present whenever possible so that any communication
         piece instantly says Hampton whether or not the logo is present. The color relationships,
         spacing, stroke weights, and cropping should remain consistent with the following stan-
         dards:
         A. All patterns print:
              1. Pattern is to only be used as one color—do not mix and match colors, do not use
                 without a background.



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                                                              Trademark and Identity




            2. On left and right edges pattern always ends on center point of chevron
            3. Top and bottom edges always end in a full chevron
            4. The pattern should be small, never use less than five rows high
            5. Stroke:
                a. Stroke weight should never be thinner than .2
                b. Stroke weight should increase proportionately
            6. Chevron: The 6-sided chevron shape is always to have a tinted stroke increased
               proportionately with the above examples. (It is only permissible to remove stroke
               when using pattern as a frost or varnish on glass or plastics.)
        B. Production notes:
            1. 100 percent color: background color
            2. 80 percent tint: chevron fill color
            3. 50 percent tint: chevron stroke color




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407.04 The Image Bank




        We’ve created a library of black and white photography that is proprietary and possessed by
        the Hampton brand. These photographs allow you to customize your property with im-
        ages that communicate the unique aspect of your region. The images were photographed to
        capture the essence of travel in single image shots that are clear, recognizable, and iconic in
        nature.
        There are different banks of images for each area of the hotel, the vestibule, the front desk,
        and the breakfast area. The images should be chosen to provide guests with insight into
        your property’s unique location. For instance, a shot of a child eating ice cream may speak
        to a local ice cream parlor, a shot of a historic street scene may speak to local shopping, and
        an agricultural product may speak to your area’s best known crop. The images are meant to
        spark conversation between guests and team members for a genuine connection.




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408.00 The Welcome
408.01 Entry Door Graphics
        Entry door graphics begin a dialog as the guest approaches the property. The graphics greet
        them with the word ‘hello’ and use propriety patterning to make it signature. It incorpo-
        rates the guarantee symbol as our foundation statement.
        The entry door graphics should be replaced if graphic becomes damaged or worn.




        Production notes:
        A. Frosted 3M vinyl (die-cut) applied to first and second surface




        B. Graphic applied 1/2" above existing emergency bar on door




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                                                                 Trademark and Identity
408.02 Vestibule Graphics
        There are a wide variety of wall configurations at our hotels. This section is intended as a
        general guide. Some properties may require more or less than three framed images.
        A. Remove existing wall covering and Hampton logo:
             1. Patch and repair drywall as required.
             2. Install new wall covering per manufacturer’s instructions.
             3. Install Stylemark per manufacturer’s instructions.
        B. Wallcovering and framed photography and letter forms are to be provided by the
           owner. All others to be provided by installer.
        C. Remove any existing chair rail.
        D. Any existing crown or base molding remains.
        E. Both walls in vestibule area are to be covered in new wall covering.
         F. Production notes:
             1. Images produced on Lightjet prints on Kodak Endura silver metallic stock
             2. Images to have a 1" bleed on all four sides




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                                                                Trademark and Identity
408.03 Front Desk
        The front desk presentation continues the welcome dialogue and welcomes the guest to
        your city. Dimensional letters with the city name combined with large black and white
        photos speak to the propertie’s knowledge of the local area. There are a wide variety of wall
        configurations. This section is intended as a general guide. Some properties may require
        more or less than framed photographs.
        A. Remove existing wall covering and Hampton logo
             1. Patch and repair drywall as required
             2. Install new wallcovering per manufacturers instructions
             3. Install Stylemark per manufacturers instructions
        B. Wallcovering, framed photography, and letter forms are to be provided by owner. All
           other services to be provided by installer.
        C. Remove any existing chair rail. Install new per manufacturers instructions.
        D. Any existing crown or vase molding is to remain.
        E. Production notes:
             1. Images produced on Lightjet prints on Kodak Endura silver metallic stock
             2. Images to have a 1" bleed on all four sides




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                                                                 Trademark and Identity
 408.04 Front Desk Framed Art
         The art at the front desk should speak to the state or region’s personality at a glance. The
         largest photograph should capture the local flavor and have a human presence. The second-
         ary photograph should reflect aspirational travel. The tertiary photograph should speak to
         the region through recognizable agricultural or industrial products.




         Production notes:
         A. Images to have a 1" bleed on all four sides
         B. Images produced as Lightjet prints on Kodak Endura silver metallic stock
         C. FD-3: Finished Frame size: 33.5" x 34.5"
         D. FD-1: Finished Frame size: 23" x 24"
         E. FD-4: Finished Frame size: 17.5" x 18.5"
         F. All frames
              1. Frame Finish: Matte Black
              2. Matte Size: 3" top & sides, 4" bottom
              3. Matte: Queen City Paper, QCP0011 Cool White, with straight edge
              4. Glass: 1/8" thick, clear
              5. Backing: Drymount 3/16" foam core
              6. Hardware: T-Shaped Security Hangers




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                                                               Trademark and Identity
408.05 Keycard
        The keycards are collectible. Encourage the guest take them home. A variety of images will
        be used to create assortment and names of the states will add local enthusiasm.
        The keycard has the name of the state in which the property resides. The keycards should be
        replaced if the guest takes the cards or if the cards become damaged or worn.




        Production notes:
        A. Front 2-color, PMS 295 and black
        B. Back 1-color, PMS 295




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                                                                 Trademark and Identity
408.06 Keycard Jacket
        Keycard jackets are a small, compact envelope that easily fit into a wallet, coat pocket or
        purse. The Guarantee is printed on it so it is easily seen.
        The keycard jacket should have the guest’s name written on the tear-off tab attached to the
        front of the jacket. Write the room number and the HSIA code on the back of the jacket
        where indicated. One jacket should be used per guest and should not be reused. The jackets
        should be replaced if the jacket is damaged or worn.
        Production notes:
        A. 1-color print, PMS 295
        B. 1" perforated tab for guest
           name/check-in




                    front of jacket




                      we’ve prepared your room:

                      hi-speed internet access code:




                    back of jacket



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408.07 Elevator Door Graphic
           An elevator graphic as manufactured by Harlan Graphics is to be installed in each public el-
           evator. There are four elevator images to choose from in a package. These images should be
           rotated; the image may change quarterly upon properties’ discretion. The elevator graphics
           should be replaced if the graphics become damaged or worn. (See OnQ Insider > Hampton
           Brand Make It Hampton Product Reorder Catalog for ordering information.)
           Graphic to be 12"h x width of door plus 2" each side. Graphic to be centered on door
           opening, mounted 4'-6" A.F.F. to the bottom, and trimmed of any access at left and right
           sides. Lettering to be Frutiger font, 75 black. No other artwork or marketing material will be
           allowed within the elevator cab.




                           here a “moo”, there a “moo.”                                            i scream, you scream...




 GR-1.6M                                                  GR-1.6N




                               found them.                                                         happy and you know it?




 GR-1.6O                                                  GR-1.6P




                            walking the dog.                                                       can you hear me now?




 GR-1.6Q                                                  GR-1.6R




                            all dressed up...                                                        frequent flyer.


 GR-1.6S                                                  GR-1.6T




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                                                                Trademark and Identity
408.08 Name Tags
        The “i am hampton collection” name tag displays either a personal photograph or one of a
        variety of iconographic images to add a sense of personality to the name tag. These images
        may spark a conversation between the guest and the employee. The team member’s name
        and a phrase indicating a personal interest are customized at property level with a P-touch
        label system using clear labeling with white lettering only.
        Off-property name tags may be worn by management-level team members. The name tag
        must include team member’s name, home city and state. A title is optional. No other desig-
        nations are permitted.
        The name tags should be replaced if the tags become damaged, worn, or illegible.


        front                                     back




                                                                                       name tag frame
                                                                                       with clear pocket




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                                                                Trademark and Identity
408.09 Welcome Mat
        Our welcome mat rolls out the red carpet for the guest. It displays a signature welcome that
        begins at the front door and carries the brand message.
        The welcome mat should be replaced if the mat becomes damaged or worn.




        Production notes:
            A. Print colors




             B. Digital print on walk-off mat
                (standard stock)




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                                                                                                Trademark and Identity
408.10 Vehicle Specifications and Van Wraps
               Guest transporation vehicles should be as proprietary, impactful, and easily recognized as
               Hampton. All van options reflect the customer experience at the property for instant brand
               recall. The vans shown are available for all Hampton Inns and Hampton Inn & Suites for
               transportation. Designs A, B and C cannot be used with other sister or competitor brands.
                A. Body Color
                        The body color of all newly acquired vehicles to be used for the transportation of guests
                        must be metallic silver or white. The rims of the wheels must be silver and/or chrome
                        in color. All non-integrated bumpers must be chrome. Refer to the vehicle painting il-
                        lustration for the appropriate designs and colors.
                B. Graphic Identification
                         1. Vans
                            The Hampton van must be one of the proprietary designs as described and il-
                            lustrated below. The vehicle markings must be a high performance vinyl that has
                            been printed with solvent inks and laminated with UV protection. The colors must
                            match the Pantone Matching System colors as specified in the artwork. Windows
                            are printed with Clear Focus vision materials, printed with solvent ink and lami-
                            nated with optical clear UV protection.
                            Hampton Inn/Hampton Inn & Suites blue Pantone 280
                            NOTE: Options A through C are available for all Hampton Inns and Hampton Inn
                            and Suites for transportation. These options cannot be used with other sister or
                            competitor brands.



     friendly service
      clean rooms
    hi-speed internet
     hot breakfast
     a super shuttle
                                                                                                                          visit www.hampton.com   we love having you here.



                                        we love having you here.



                                                                       Hampton Inn
                                                                   Chicago North Shore
                                                                       847-583-1111




                             a. Option A print colors: blue PMS 280; orange PMS 716




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                            AIRPORT TRANSPORTATION 4HESE OPTIONS CAN NOT BE USED WITH OTHER SISTER OR COMPETITOR BRANDS
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                            OPTION A
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                            6AN OPTION D IS APPROVED FOR (AMPTON )NNS AND (AMPTON )NN AND 3UITES THAT WILL
                            BE SHARING
                            OPTION A              THEIR VAN WITH ANOTHER (ILTON SISTER BRAND 6AN OPTION E IS APPROVED FOR
                            (AMPTON )NNS AND (AMPTON )NN AND 3UITES THAT WILL BE SHARING THEIR VAN WITH TWO (ILTON
                            SISTER BRAND 6AN OPTION F IS APPROVED FOR (AMPTON )NNS AND (AMPTON )NN AND 3UITES
                            THAT WILL BE SHARING THEIR VAN WITH A COMPETING BRAND

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                            OPTION  B
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                                                                             b. Option B print colors: blue PMS 280; light blue PMS 7452; green PMS 377;
                            OPTION B
                                                           
                                                     
                                                                     
                                                                                orange PMS 722; red PMS 711



                            OPTION D
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                            OPTION C 




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                            OPTION C                                                                                                                            




                                                                             c. Option C print colors: blue PMS 280; yellow PMS 117; orange PMS 7414;
                                                                                green PMS 5757; dark blue PMS 5275
                            OPTION E

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                            OPTION F



                                                                             d. Option D print colors: blue PMS 280; light blue PMS 7452; green PMS 377;
                                                                                orange PMS 722; red PMS 711. Van option D is approved for Hampton Inns
! 4   )   /   .   3   4 !    .   $     !      2      $       3                                               THE VAN \  \ 
                                                                                and Hampton Inn and Suites that   will be sharing their van with one compet-
                                                                                ing brand.
                                                                                                                                                                                     2008 EDITION / Effective June 1, 2008   400-93
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                                                                                                            Trademark and Identity


                                                                                                                                              Chicago North Shore
                                                                                                                                                  847-583-1111




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         847-583-1111




                           Chicago North Shore
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                                                                                   847-583-1111




                                                  e. Option E print colors: blue PMS 280; light blue PMS 7452; green PMS 377;
                                                     orange PMS 722; red PMS 711. Van option E is approved for Hampton Inns
                                                     and Hampton Inn and Suites that will be sharing their van with two compet-
                                                     ing brands.




                                                  f. Option F colors: Van option F is approved for Hampton Inns and Hampton
                                                     Inn and Suites that will be sharing their van with a Hilton family brand.
                                            2. Other Vehicles
                                                 Station wagons and mini-vans that are used by the property must meet the same
                                                 standards as above.
                                                 a. Graphics must to be altered to fit selected vehicles.
                                                 b. Altered graphics must be approved by Hampton Brand Management.




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                                                                  Trademark and Identity
408.11 Guarantee Plaque
        Stamped in metal, the Hampton Guarentee plaque signals that our Guarentee is a promise
        we are going to keep. It is mounted directly to the countertop at guest check-in so it is eas-
        ily seen at our guest’s first point of interaction.
        The guarantee plaque should be replaced if it becomes
        damaged, worn, or illegible.
        Production notes:
         A. Acid etched metal plaque
            on .064" Zinc
         B. Semi-permanent adhesive
            backing
         C. Mount directly to top surface
            of front desk




408.12 Guest Access Device Direction Sticker
        This sticker is placed on the back of the guest access device. It gives the guest directions on
        how to use this device to connect to the Internet.
        The guest access device direction sticker should be replaced if the sticker becomes damaged,
        worn, or illegible.
        Production notes:
         A. 1-color print, PMS 295




         B. Matte stock sticker
         C. Medium weight adhesive




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                                                                                                              Trademark and Identity
409.00 The Breakfast
409.01 Hampton’s On the Run™ Breakfast Bags
        A plain brown bag is used for Hampton’s On the Run breakfast bag.




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        Hampton’s On the Run breakfast bags must be placed on the front desk kiosk. The top of
        Hampton’s On the Run breakfast bags must be folded down approximately 3" (see illustra-
        tion). To ensure freshness bag must not be offered for more than two days. The breakfast
        bags should be replaced if the bags become damaged or worn.
        Production notes:
        A. Size: #8; 61⁄8” x 41⁄6” x 127⁄16”
        B. Type: 35# Natural Kraft, 500/case
        C. Sysco approved bag item numbers: 5113410, 4087680, 1456409, 4014486, 6546931,
           5760376, 5039888, 4087680




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                                                                                                                           Trademark and Identity
409.02 Hampton’s On the Run™ Breakfast Bag Stickers



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        Hampton’s On the Run bag stickers were created to seal the breakfast bags for a more
        uniform presentation. Images are used to create taste appeal and bring recall of the larger
        Hampton’s On the House® breakfast experience they may not have had time to experience.
        The Hampton’s On the Run bag stickers should be placed centered in the bag—see diagram
        at 409.01. The breakfast stickers should be replaced if the stickers become damaged or worn.
        Production notes:
        A. 4-color CMYK sticker; green to match PMS 576,
           light blue to match PMS 2718, orange to match
           PMS 716                                                                                                                PMS 576    PMS 2718           PMS 716



         B. Stickers print on matte stock
        C. Size: round 23⁄4"
        D. Medium weight adhesive
         E. 3 different images are part of the set




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                                                                   Trademark and Identity
409.03 Zone Signs
        These signs are intended to provide the guest with clear, direct choices, create an attitude
        and show food products that are difficult to see. The signs incorporate photography that
        communicate quality, have taste appeal, and have a human presence. Short banners are
        used at properties where over counter cabinets and clearance prohibit use of the tall signs.
        The zone signs are hung on ‘s’ hooks. All zone signs in the breakfast area are color coded.
        Zone signs should be hung in appropriate zones (fresh = green, hot = red, baked = gold,
        and cold = blue). The zone signs should be replaced if the signs or the holes become dam-
        aged or worn.




        Production notes:
        A. Print colors:
           Background prints 100 percent color,
           pattern 80 percent fill with 50 percent stroke




        B. Lightjet print on Kodak Endura
           silver metallic stock with low gloss
           laminate mounted two sides to 1/8"
           sintra
        C. 3/8" holes drilled at top to hang on
           ‘s’ hooks from stand




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                                                                 Trademark and Identity
 409.04 Romance Cards
        These cards speak to the care and quality that Hampton has put into feature food items.
        Punched holes at the top center of the cards allow them to hang from wire stands. This
        system provides ease in changing the cards daily and prevents damage to the cards.
        Romance cards are hung on the romance card sign holders. The fresh fruit card are from
        hooks on the fresh fruit bowl stand. For items in the two-tiered wire racks, cards may be
        placed on adjacent hooks. All other cards should be placed in the appropriate zone near
        the specified breakfast item. The romance cards should be replaced if the cards become dam-
        aged or worn.
        A. Production notes:
             1. Print colors:




             2. Lightjet print on Kodak Endura silver metallic stock with low gloss laminate
             3. Mount to .030 white styrene 1/4" hole punched in the center, 1/4" from the top
             4. Each property should get: two (2) sets for a total of 24 cards
         B. Other romance cards
             1. baked:
                 a. donuts
                 b. coffee cakes
                 c. crumb cake
                 d. cinnamon rolls
                 e. muffins
                 f. bagels
                 g. danish
             2. fresh:
                fresh fruit
             3. hot:
                 a. big cheese                 e. original gridiron
                 b. great eggs and ham          f. real crowd pleaser
                 c. little bit country         g. toast of the town
                 d. opening act                h. top of the morning


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409.05 Framed Art
        Art in the breakfast area should be added to support the storyline and enrich the breakfast
        experience. Three sizes are available for varying spatial configurations. Artwork is not man-
        datory if over the counter cabinets exist.
        The image or frame should be replaced if either becomes damaged or worn.
        Production notes:
        A. Images to have a 1" bleed on all four sides
        B. Images produced as Lightjet prints on Kodak Endura silver metallic stock
        C. Finished Frame size: 33.5" x 34.5"
        D. Frame Finish: Matte Black
        E. Matte Size: 3" top & sides, 4" bottom
         F. Matte: Queen City Paper, QCP0011 Cool White, with straight edge
        G. Glass: 1/8" thick, clear
        H. Backing: Drymount 3/16" foam core
         I. Hardware: T-Shaped Security Hangers




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                                                                Trademark and Identity
409.06 Coffee Wraps
        Photography on the coffee wrap is used to add a humorous “wink,” signal a quality prod-
        uct, and integrate visually with the Hampton brand identity system. Wraps on the airpots,
        in combination with the zone sign, speak to the proprietary and unique nature of the
        Hampton coffee initiative.
        Coffee wraps are available in two sizes: 1.5 gallon and 1 gallon. The wraps you select de-
        pend on the coffee brewer used at your properties. The wraps are placed on the appropriate
        pots. The images on the wraps should be placed centered over the spout of the pot. The
        Velcro closure should be on the back so it is not seen by the guest. The coffee wraps should
        be replaced if the wraps become damaged or worn.
        Production notes:
        A. 3-color print:
        B. Velvet Lexan stock
        C. Velcro closure




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                                                                                                                  Trademark and Identity
409.07 Coffee Graphics
        These three frames must be installed in a horizontal row on the wall behind the coffee serv-
        ing table. Space closely and hang together as one artwork installation. These frames replace
        the coffee zone sign. Frames are provided by Artonomy.




        Production notes:
        A. Print color:



            PMS 483       PMS 5275        PMS 484          PMS 5757


        B. Frame glass
             1. Black shadow box frame
             2. Cut vinyl—three colors mounted second surface on glass
        C. Frame background
           Lightjet print three background colors on Kodak Endura Silver Metallic stock
409.08 Coffee Cup
        The coffee cup is a marketing tool for the brand since it is a key piece of collateral leav-
        ing the property. Graphics have maximum impact with minimal ink coverage to keep cost
        down. Verbiage on the cup brings recall to the On the House® breakfast experience.




                 ome like it hot.




                                                                      some like it hot.                                    some like it hot.




                  on.com www.hampton.com www.hampton.com



                                                                        ampton.com   www.hampton.com   www.hamp               ampton.com   www.hampton.com   www.hamp




                      16 oz. PerfecTouch cup                                 10 oz. foam cup                                  10 oz. PerfecTouch cup

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                                                                      Trademark and Identity
            The size of the cup selected is at the property’s discretion. The cups are to be placed in the
            cup holder. The holder is to be located in the coffee zone next to the coffee dispensers. The
            cups should be replaced if the cups become damaged, worn, or supplies run out.
            Production note:
            1-color with tints, PMS 280




 409.09 Juice Machine Graphics
            The photography is used to create taste appeal, signal a quality product, and integrate visu-
            ally with the Hampton brand identity system.
            The graphics are supplied with the machine. The plastic faces must be cleaned regularly as
            needed. The graphics should be replaced if the graphics become damaged or worn.
            Production notes:
            A. Print color:




             B. Digital output




 2-head machine                     4-head machine

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                                                                 Trademark and Identity
 409.10 Milk Dispenser Graphics
         The photography adds a humorous wink, signals a quality product, and integrates visually
         with the Hampton brand identity system.
         The milk pitcher graphics are adhered to the lower front of the pitcher. The milk machine
         graphics should be centered on the machine over the appropriate dispenser. The refrigerator
         graphic should be centered near the top of the refrigerator glass door. The ice bath graphic
         should be hung on a romance card holder. Pitcher graphics, milk machine graphics, and
         refrigerator graphics should be cleaned as needed. The graphics should be replaced if the
         graphics become damaged or worn.
         Production notes:
         A. 2 color print,
            PMS 2718 and black




         B. Pitcher graphics:
              1. Velvet Lexan material
              2. Adhesive Back
         C. Refrigerator graphic: Pumpskin ma-
            terial backed with adhesive
         D. Milk machine: Pumpskin material
            backed with adhesive
         E. Ice bath:
              1. Lightjet print on Kodak Endura
                 silver metallic stock with low
                 gloss laminate
              2. Mount to .030 white styrene
              3. 1 hole punched in the center, 1/4" from the top




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                                                                                    Trademark and Identity
409.11 Cereal Dispenser Graphics
        A. Wraps
           Wraps are used to add color and an extra wink to the bulk cereal dispenser. A Velvet
           Lexan material is used for its durability and waterproof qualities. A Velcro closure is
           used so that wraps may be changed when cereal changes.
           Velcro the cereal wraps around at the top of the cereal dispenser tube. The Velcro should
           be tight so that the wrap does not fall. The wraps should be cleaned as needed. The
           wraps should be replaced if the wraps become damaged or worn.
            1. Production notes:
                a. 1 color print,
                   PMS 2718




                b. Velvet Lexan material
                c. Velcro closure




                                               Kashi... 7 whole grains on a mission ™... Kashi... 7 whole grains on a mission ™... Kashi... 7 whole grains on a mission ™...
                                                                                                                                                                 ™ , © 2 0 0 7 K a sh i C o m p a ny




                                               Wraps




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                                                                Trademark and Identity
        B. Cards
           Cards fit the cereal box dispenser and the stands for the cereal fish bowls.
           The cards should be replaced if the cards become damaged or worn.
           Production notes:
            1. 1 color print, PMS 2718




            2. Lightjet print on Kodak Endura silver metallic stock with low gloss laminate
            3. Mount to .030 white styrene
            4. 1 hole punched in center, 1/4" from top


                                                                                   Cards




                                                                                      7 whole grains on a mission ...
                                                                                                                      ™




                                                                                                                Kashi.
                                                                                                                                            ™

                                                                                                                ™, © 2 0 0 7 Kash i C o m p an y




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                                                              Trademark and Identity
409.12 Turn-and-Serve Graphic
        The turn-and-serve graphics add a wink and provide direction on the turn and serve con-
        tainers. The graphics are color-coded to match the zone where they reside.
        The graphics are supplied on the turn-and-serve dome. The dome and graphics should be
        cleaned as needed. The domes should be replaced if the domes and/or graphics become dam-
        aged or worn.
        Production notes:
        A. 1 color print




        B. CalMil turn and serve dome
        C. Arrows will be silk screened
           directly onto dome for rollout.




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                                                                 Trademark and Identity
409.13 Utensil Container Graphics
        Utensil container graphics clearly illustrate the containers contents and add color to the
        overall breakfast display. Graphic bands are color-coded to reside in their respective zones.
        The utensil graphics should be adhered to the utensil bain maries. Bain maries and graph-
        ics should be cleaned as needed. The wraps should be replaced if the wraps become damaged
        or worn.
        Production notes:
        A. 2 color print
        B. Velvet Lexan material
        C. Adhesive back




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                                                               Trademark and Identity
409.14 Condiment Container Graphics
        These cards add color to the breakfast display and provide the guest with clear choices.
        Punched holes at the top center of the cards allow them to hang from wire stands which fit
        into the condiment bowls. This system provides ease in changing the cards daily and pre-
        vents damaging the cards.
        The condiment graphics are placed on the small sign holders which are placed in the ap-
        propriate bowls. The cards should be replaced if the cards become damaged or worn.




        Production notes:
        A. 1 color print




        B. Lightjet print on Kodak Endura silver metallic stock with low gloss laminate
        C. Mount to .030 white styrene
        D. 1 hole punched in the center, 1/8" from the top




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                                                                Trademark and Identity
409.15 Breakfast Informational Signage
        The breakfast informational signage identifies Hampton’s On the House® breakfast and an-
        nounces the hours of operation. Signage must be framed and mounted in a vertical column
        directly to the wall adjacent to the breakfast serving area.
        New properties can order frames with the graphics already in place. Existing properties
        should remove the breakfast hours panel and slip into the new frame.
        Black frames are provided by Artonomy.
        Production notes:
        A. One color print, black




         B. 14" x 14" Chemetal #909 Satin Silver Aluminum Laminate with Phenolic Backer
        C. Graphics screen printed semi-gloss black applied directly to Chemetal laminate




                                                                                           .     .




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                                                                 Trademark and Identity
409.16 Hot Water Airpot Wrap




        Hot water airpot graphics clearly illustrate the contents of the containers and add color to
        the overall breakfast display. Graphic bands are color coded to reside in their respective
        zones, cold and hot.
        The hot water airpot wraps must be placed at the top edge of the stainless steel portion of
        the airpot. Wraps should be cleaned as needed. The wraps should be replaced if the wraps
        become damaged or worn.
        Production notes:
        A. 2 color printing, options are PMS 2718, PMS 711, and black




        B. Velvet Lexan material
        C. Adhesive back




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                                                                      Trademark and Identity
409.17 Front Desk Lamp Kiosk Sign
        The signs hang on the front desk lamp to inform customers of the Hampton’s On the Run™
        Breakfast Bags available Monday through Friday, 5:30-10 a.m. The reverse side highlights the
        Hampton Bedding Experience.
        The sign should be hung on the ‘s’ hooks on the front desk lamp kiosk. During breakfast
        hours, when the Hampton’s On the Run™ bags are on the kiosk, the sign should display the
        front side (see illustration). During all other hours the sign should display the back side
        (see above) of the sign to promote the Hampton Bedding Experience. The signs should be
        replaced if the signs become damaged or worn.
        Production notes:
        A. Three color print, PMS 576, PMS 295, and black


            PMS 1955   PMS 377   PMS 295



        B. Lightjet print on Kodak Endura silver metallic stock with low gloss laminate mounted
           two sides to 1/8" sintra
        C. 3/8" holes drilled at top to hang on ‘s’ hooks from stand




                HAMPTON’S                              check it out
                on the run                             our bed is all new for you!
                                               TM




                 BREAKFAST BAGS

                 Monday-Friday 5:30-10am               ask at the front desk for more details




                                           enjoy.           sweet dreams.

            front.                                  back.



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                                                                Trademark and Identity
409.18 Juice Wraps
        Juice wraps use photography to communicate what flavor juice is in the pitcher, signal a
        quality product and integrate visually with the Hampton brand identity system.
        The juice wraps should be placed at the lower front of the pitchers with the Velcro closure
        on the back as to be unseen by the guest. The wraps should be replaced if the wraps become
        damaged or worn.




        Production notes:
        A. Print colors:




        B. Velvet Lexan material
        C. Velcro closure




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                                                               Trademark and Identity
409.19 “Caution Hot” Signs
        A “caution hot” sign is used on the chaffing dish. The “caution hot” sign should hook over
        the chaffer bar. The signs should be replaced if the signs become damaged or worn.
        Production notes:
        Print on metallic
        surface with PMS 711




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                                                                 Trademark and Identity
410.00 The Guest Room
410.01   Room Numbers




         Travel related images and a welcome message are added to the guest room doors for a level
         of personalization and a feeling of welcome. Hampton guests are more than just a number.
         Room numbers are available in two different mounting options, framed or backplate
         mounting, and three different finish options. Both options (mounting and finish) should
         be selected to match the theme in your hotel. There are also four color options for the
         graphic inserts. Please see production notes below for a list of choices.
         Room numbers should be replaced when they are damaged or the numbers are no longer
         able to be read.
         A. Production notes:
             1. Two colors with tints
             2. Room numbers available in the four colors
                (PMS 295, 1955, 378, and black)
             3. Graphic applied second surface of 1/8" Plexiglas
             4. Framed room numbers available in three different frame
                colors (Hudson Surfaces, galaxy; Hudson Surfaces, bub-
                inga travertine; brushed aluminum)
             5. Backplate room numbers available in three
                different frame colors (black, brown, and silver)
             6. Numbers are to be white gravatac letters applied first sur-
                face

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                                                              Trademark and Identity
            7. Braille to be matched to room number and applied to Plexiglas by vendor
            8. Graphic to be LightJet print on Kodak Endura silver metallic paper mounted to
               second surface of 1/4" Plexiglas
        B. Below are the 36 images that are approved to use on the guest room door signs.




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                                                                Trademark and Identity
410.02 “freshen please” Service Signal
        A red “freshen please” service signal goes on one bed in each room. See Standard 309.09
        for placement information.
        The card should be replaced if the guest takes the card from the room or if the card be-
        comes damaged or worn.




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                                                                  Trademark and Identity
410.03 Privacy Hang Tags




        Hang tags with images of people add an unexpected sense of personality to a common
        piece of hotel collateral. A series of four images captures a cross-section of our guests and
        will add a smile to guests faces when passing through our corridors.
        The privacy hang tags are to be on every guest room door in the hotel. There are four im-
        ages used on the hang tags. These images should be spread throughout the hotel. The hang
        tags should be replaced if the guest takes the tags from the room or if the tags become dam-
        aged or worn.




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                                                                 Trademark and Identity
Production notes:
         A. 2-color print, PMS 295 and black




         B. Print on 20pt. double white opaque matte transalloy
         C. Knob style tag is 2.41" by 7.25"
         D. Keyless style tag is 2.625" by 4.867"




410.04 Amenities
         NOTE: Effective April 1, 2008, an oval bottle shape for all bottled items will be introduced
         and become available with a rolling change.
         A. Standard Amenities
            Our proprietary amenities line that is upscale and an unexpected delight. The ameni-
            ties line reinforces the “purity basics” name through the use of transparent, clean and
            simple packaging with images that reinforce the notion of “refresh and recharge.”
            Minimum standards require that each guest bathroom contain a facial soap, a body
            soap, a shampoo and a moisturizer. Every item should be replaced if they have been
            partially used or they have been removed from the room.




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                                                                Trademark and Identity
        B. Optional Amenities
           Properties may also choose to offer conditioner, mouthwash, shower gel, shower cap,
           vanity kit, and shoe mitt, if desired. Shoe mitt, vanity kit, shower cap, and mints are op-
           tional additions to the standard amenities line. These items should be replaced if they
           have been partially used or they have been removed from the room.




        C. Production notes:
           Print colors




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                                                                Trademark and Identity
410.05 Amenities Tray




        The amenities tray gives a physical presence to the amenities by giving them a backdrop. The
        “forget something?” message is incorporated into the presentation for reduced clutter. Ver-
        biage for the message creates a dialogue with the guest.
        The amenities shelf must be placed on the vanity in the guest bathroom. The shelf needs to
        hold the minimum required amenities described in Standard 410.04A. The shelf should be
        replaced if the guest takes the shelf from the room or if the shelf becomes damaged or worn.
        Production notes:
        Print colors




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                                                                 Trademark and Identity
410.06 Channel Guide
        The channel guide is an invitation to relax and provides information of the local area by
        incorporating the top three-five restaurant recommendations on the back side.
        The channel guide should contain a listing of all the local channels the hotel receives. The
        channel guide should be replaced if the guest takes the guide from the room or if the guide
        becomes damaged or worn.
        Production notes:
        A. Template pre-printed
           1-color, PMS 295




        B. Template imprinted with
           second color with hotel
           information




        C. 80lb. Luna matte cover
           with 5 mil laminate
        D. Size: 2.625" by 8.5"




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                                                                  Trademark and Identity
410.07 Note Pads
        Personality and proprietary value is added to the
        note pads by naming them “thought pads.” We’ve
        incorporated the Web address and phone number
        to items that are likely to leave the property with the
        guest. The 4.25” x 4.25” note pads are to be placed in
        the guest rooms. The note pads should be replaced if
        the guest takes the pads from the room or if the pads
        become damaged or worn..
        Production notes:
        A. All note pads 1-color print, PMS 295




        B. Meeting room note pad:
             1. 15 sheets per pad with chipboard back
             2. Cover stock 75# High Bulk
             3. Paper stock 15# bond
             4. Size: 5.5" by 8.5"
        C. Large fold-over note pad:
             1. 10 sheets per pad with chipboard back and
                gummy adhesive top
             2. paper stock 20# bond
             3. chipboard stock #14 unbleached chipboard
             4. Size: 4.25" by 4.25"




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                                                                 Trademark and Identity
410.08 Pen




        Pens are customized with contact information since it is a key piece of collateral leaving the
        property.
        A pen should be placed in every guest room. Pens should be replaced if the guest takes the
        pen from the room or if the pens become damaged, worn, or runs out of ink.
        Production notes:
        A. 1-color print, PMS 295




        B. Bic pen with translucent/frost white body and silver metallic plastics
410.09 Phone Plate
        The phone plate reinforces to the guests that Hampton
        employees are there to assist them with any of their
        travel needs.
        Phone plates need to be placed on every phone in the
        guest room. Phone plates should be replaced if the guest
        takes the plates from the room or if the plates become
        damaged or worn. Numbers must be professionally
        printed. Handwritten numbers are not permitted.
        See the OnQ Insider > Hampton Brand > Make It
        Hampton Product Reorder Catalog for suppliers.
        Production notes:




        A. 1-color print, PMS 295
        B. Size varies depending on the dimension of the
           phone being used in the guest room




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                                                                                                                   Trademark and Identity
410.10   In-room Directory
         Each guest room/suite must contain a guest service directory. See Rule 118.12 for informa-
         tion and illustrated examples of the pocket folder, binders and inserts.
410.11   Folio Paper
         Our easy to read folio reinforces the quality, consistency and expertise of our service. The
         guest should never have to question if the charges are correct or what the charges are for.
         Reinforce contact information of Hampton’s Web site and phone numbers for future reser-
         vations. Each guest should receive a folio when they leave. The folio should be folded and
         then sealed with the folio sticker. The folios should not be used more than once or if the
         folios are damaged or worn. Hotels may opt to use the brand approved e-Forms. For more
         information, contact Electronic Forms Plus, Inc. (888) 337-2776 extension 4#.
         A. Folio Paper (Single Pages)
              1. Production notes:
                                                                                                                                                                                                                   official sponsor U.S. Olympic Team

                  a. 2-color print,
                     PMS 295 and black

                                                 If the debit/credit card you are using for check-in is attached to a bank or checking account, a hold will
                                                 be placed on the account for the full anticipated dollar amount to be owed to the hotel, including
                                                 estimated incidentals, through your date of check-out and such funds will not be released for 72 business
                                                 hours from the date of check-out or longer at the discretion of your financial institution.

                                                                                                                                                              Rates subject to applicable sales, occupancy, or other taxes. Please do not leave any money or items of value unattended in
                                                                                                                                                              your room. A safety deposit box is available for you in the lobby. I agree that my liability for this bill is not waived and agree
                                                                                                                                                              to be held personally liable in the event that the indicated person, company or association fails to pay for any part or the full
                                                                                                                                                              amount of these charges. I have requested weekday delivery of USA TODAY. If refused, a credit of $.75 will be applied to
                                                                                                                                                              my account. In the event of an emergency, I, or someone in my party, require special evacuation due to a physical disability.
                                                                                                                                                              Please indicate yes by checking here:




                  b. Paper stock is laser jet
                     compatible
                  c. Size: 8.5" by 11"




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                                                                Trademark and Identity
        B. Folio Paper – Continual Feed
            1. Production notes:
                a. 2-color print, PMS 295 and black
                   (also available as a black and white electronic file)




                b. Paper stock is laser jet compatible
                c. Size: 6.125" by 11"




                                                                         Rates subject to applicable sales, occupancy,
                                                                         or other taxes. Please do not leave any money
                                                                         or items of value unattended in your room.
                                                                         A safety deposit box is available for you in
                                                                         the lobby. I agree that my liability for this bill
                                                                         is not waived and agree to be held personally
                                                                         liable in the event that the indicated person,
                                                                         company or association fails to pay for any
                                                                         part or the full amount of these charges. "I
                                                                         have requested weekday delivery of USA
                                                                         TODAY. If refused, a credit of $.75 will be
                                                                         applied to my account.” In the event of an
                                                                         emergency, I, or someone in my party, require
                                                                         special evacuation due to a physical disability.
                                                                         Please indicate yes by checking here:




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                                                                 Trademark and Identity
410.12 Folio Sticker




        Folio stickers reinforce the Guarantee, reminding guests to let us know if their stay was less
        than satisfactory.
        Folio stickers should be used to seal all folio papers. The room number of the guest should
        be added in the space after “room:”. The folio stickers should not be used more than once or
        if the stickers are damaged or worn.
        Production notes:
         A. 1-color print, PMS 295




         B. Semi-gloss removable adhesive, 60# face stock with a 40# liner
        C. Size: 1.75" by 1.75" with a .125" radius corner




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                                                               Trademark and Identity
410.13 Shower Curtain
        Sometimes even the most mundane items can be redefined to create something special—
        rings that don’t come off the rod, and a window to let extra light in. Proprietary Hampton
        patterning makes the shower curtain a signature statement.
        The shower curtain should be hung in every guest bathroom. The curtain needs to be clean
        for every guest. The shower curtains should be replaced if the curtains become damaged,
        worn, or mildewed.




        Production notes:
        1. White and beige cotton duck




        2. Silver plastic grommets (to match amenity bottle caps)
        3. Translucent frosted white vinyl pattern on transparent vinyl curtain
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                                                               Trademark and Identity
410.14 In-room Coffee Package
        Our coffee package was created to visually relate to our coffee program while communicat-
        ing it is a different product offering than the coffee available in the lobby.
        Provide one regular and one decaf coffee package in every guest room. The coffee packages
        should be replaced if the guest takes the package from the room or if the package becomes
        damaged, worn, or used.




        Production notes:
        A. 3-color print
        B. Pouch is metallic silver




        C. A pass of white is run under the center square graphic




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                                                                                                         Trademark and Identity
410.15 Matchbook
        Matchbooks are available for placement in guest rooms. The matchbooks should be re-
        placed if the guest takes the books from the room or if the books become damaged, worn, or
        used.
        Production notes:
        A. 2-color print,




             PMS 295 and black
        B. 1.5" by 1.8"
        C. 20 stick matchbook




410.16 Hampton Home Collection Card
        Each guest room/suite must clearly display the approved Hampton Home Collection collat-
        eral cards in the center of the lap desk.


                            clock radio                          lap desk




           comfy                            bath accessories                         cozy




                                                                                                                           hampton
                              pillows                             duvets
                                                                                                                          HOME
                                                                                                                          collection
          bed skirts                            casual                            duvet inserts




         Your travels have brought you to us, now take us home with you. Enjoy Hampton
         signature items that you experience in our hotels in your own home. You can view the
         hampton home collection at www.hampton.com or call 888.552.6442.




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                                                                 Trademark and Identity
410.17 Clock Radio
        Our clock radio makes it easy for guests to find a radio station format they like and to feel
        secure the alarm has been set correctly. Images reflecting different music types allow guests
        to easily choose their favorite format. The style includes nature sounds, an MP3 line and
        improved sound quality.
        The clock radio should be placed on the bedside table in every guest room. It must be set to
        the correct time for the hotel location. The buttons must have the pre-sets set to match the
        graphic that is on that button. The clock radio should be replaced if the guest takes the radio
        from the room or if the radio becomes damaged or worn.
        Production notes:
        1-color print, black




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                                                                                Trademark and Identity
         410.18 In-room Cups
                   Our coffee and water cups are marketing tools for the brand since they are a key piece of
                   collateral leaving the property. Graphics should have maximum impact with minimal ink
                   coverage to keep cost down.
                   The coffee and water cup should be replaced if the guest takes the cups from the room or if
                   the cups become damaged, worn, or used.
                   Production notes:
                    A. 1-color print, PMS 280




                    B. 8 oz. foam Trophy cup




                      some like it hot.
                                                                  some like it cold.                                some like it cold.




                                                              www.hampton.com        www.hampton.com             www.hampton.com   www.hampton.co
www.hampton.com www.hampton.com www.hampton.com www.hampton.com www.hampton.com




                                10 oz coffee cup                                      9 oz water cup




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                                                                      Trademark and Identity
410.19 Guest Survey Card (Optional)
        The guest survey card is an optional piece for the guest rooms. The guest survey card should
        be replaced if the guest takes the card from the room or if the card becomes damaged, worn,
        or used.




       outside of card                        inside of card


        Production notes:
        A. 1-color print, PMS 295




        B. Paper stock: 8pt. Candesce c1s




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                                                                  Trademark and Identity
410.20 Evacuation Plan Sign
        Information for your guests, an emergency exit plan, check-in and/or -out times, room
        rates, safe deposit availability, and state laws are included in the full color paper inserted
        into an assembled two-piece sign and displayed on the back of the guest room door or ad-
        jacent wall.
        The evacuation plan or paper insert should be replaced if the guest takes either the plan or the
        inserts from the room or if either becomes damaged, worn, or used.




        Production notes:
        A. 1-color print, PMS 295




        B. Graphic mounted to second surface of Plexiglas
        C. Property plan needs to show in window opening




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                                                                 Trademark and Identity
410.21   Housekeeping Card (Optional)
         The housekeeping card is an optional piece for the guest rooms. The housekeeping card
         should be replaced if the guest takes the card from the room or if the card becomes damaged,
         worn, or used.
         Production notes:
         A. 1-color print, PMS 295




          B. Paper stock is 10pt Candesce Cover
             white uncoated
         C. Full bleed three sides




410.22 Device Check-out Card (Optional)
         The device check-out card is an optional piece for the guest rooms. The device check-out
         card should be used only once. A new card should be filled out for each guest.
         Production notes:
         A. 1-color print, PMS 295




          B. 75 sheets per pad,
             gummy adhesive top
         C. 20# white bond sheets
         D. Chipboard backing




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                                                                  Trademark and Identity
411.00 Airport Service Center Advertising
This section contains the designs and specifications for airport service center advertising. Deviation
from the designs and specifications contained in this section is not authorized. See the following for
creative standards.




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     hampton airport
  courtesy board signage

                 usa/canada
             creative standards
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introduction
topline notes on this guide
                               Airport courtesy board signage bolsters our current marketing efforts by creating
                               synergy for the Hampton brand. Airport courtesy boards greet guests on their
                               arrival in town, provide them with quick directions to their hotel or number to call
                               for complimentary shuttle service from the airport, and reinforce their decision
                               to stay with Hampton. At the same time, these boards offer an opportunity to
                               convert passing travelers into future guests. Since your airport courtesy boards are
                               so important, we are pleased to announce the completely redesigned Hampton
                               airport courtesy board signage campaign. This campaign is far reaching and
                               will include multiple executions. Each execution highlights a specific
                               amenity. You will be informed of new creative executions as they are
                               made available.

                               In every element of our new airport courtesy board signage campaign, visuals
                               and language work closely together to communicate benefits of the Hampton
                               experience. The executions are clean and inviting; the tone, warm and friendly.
                               Directions and amenities are clearly called out — and the Hampton logo is
                               always featured with prominence.

                               This guide includes photography, design, and copy standards for our new airport
                               courtesy board signage campaign. As of April 1, 2007, these guidelines will be
                               the approved standards for airport courtesy board signage. Please remember
                               that these guidelines are mandatory. All Hampton hotels as of April 1, 2007
                               must follow these guidelines exactly; all hotels with preexisting media
                               contracts must be in full compliance by the end of 2008.



creative guidelines
                               This section contains design and copy specifications for airport courtesy board
                               signage. No licensee may deviate from these authorized standards
                               without an electronic waiver (see last page for details).


                               Photography

                               Visuals are consumer-centric, allowing the traveler to relate to the amenity
                               highlighted on an emotional level. Every airport courtesy board features a single
                               photograph of a consumer enjoying a specific Hampton amenity. Below are the
                               photographs that have currently been approved for use to communicate the
                               sleep experience.

                               You will be informed throughout the year of new, approved photographs
                               communicating additional amenities. Stay tuned! Only approved photographs
                               may be used in conjunction with approved headlines.




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                                           Copy

                                           There is a definite hierarchy of quick-read messaging on every airport
                                           courtesy board:
                                           1. Headline
                                           2. Address and specific directions to your hotel
                                           3. Number to call for complimentary shuttle
                                           4. Other amenities

                                           Headlines have been crafted to draw guests into the Hampton experience.
                                           The headline focuses on the amenity portrayed by the visual. It must appear
                                           prominently on the airport courtesy board, and may NOT cross over onto the
                                           person pictured in the visual. Currently, the approved headlines communicating
                                           the sleep experience are:
                                           • cozy landing minutes away
                                           • catch more zzz’s here

                                           You will be informed throughout the year of new, approved headlines communicating
                                           additional amenities. Stay tuned! Only approved headlines may be used.

                                           The address of and specific directions to your hotel always appear in the
                                           lower left portion of the blue bar that runs along the bottom of each airport
                                           courtesy board (called a “snipe”). This quickly tells potential guests where to
                                           find you.

                                           The phone extension to dial for complimentary shuttle service will always
                                           appear in the top left hand corner of the airport courtesy board. This quickly alerts
                                           guests to the availability of the shuttle, and how to arrange a ride on the spot.

                                           Other amenities are featured beneath the headline, above the blue snipe that
                                           runs along the bottom of each airport courtesy board.

                                           Amenity claims can only be used by hotels where the amenity is actually available.
                                           Two claims are recommended to be placed on each airport courtesy board. These
                                           are the approved amenity claims for airport courtesy board signage:

                                           • Cloud Nine. The Hampton bed experience.     • [indoor] water park
                                           • 100% satisfaction guarantee                 • special weekend rates*
                                           • complimentary hot breakfast                 • AARP rates
* May only be used if hotel is offering
                                           • kids stay free                              • exercise room
  special reduced rates that weekend.      • non-smoking rooms                           • AAA rates**
** Must be an official appointment hotel   • complimentary high-speed internet access    • earn free travel with Hilton HHonors®
   with AAA to use this amenity listing.   • [indoor] pool                               • complimentary local calls




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                            Logo Usage

                            Versions of the Hampton logo are available for airport courtesy board signage,
                            denoting either Hampton Inn or Hampton Inn & Suites. Please use the logo that
                            accurately describes your specific hotel. Only if your outdoor signage continues
                            to use the rectangular Hampton logo, may the rectangular logo be used on your
                            airport courtesy board signage.

                            The Hampton logo with the “®” should always be placed in the lower right
                            hand corner of the airport courtesy board. The top line of the blue snipe should
                            NEVER cover any part of the face of the person in the ad. There should always
                            be appropriate space between the right hand portion of the logo and the end
                            of the airport courtesy board. To make the logo stand out further, it is given
                            dimensionality through the use of a soft drop-shadow.




                            Font Usage

                            The approved typeface for Hampton airport signage is Frutiger 65 Bold and
                            Frutiger 55 Roman. Font size can vary depending on space restrictions. Usage
                            should be in lower case, unless otherwise indicated.

                            Frutiger 65 Bold
                            ABCDEFGHIJKLMNOPQRSTUVWXYZ
                            abcdefghijklmnopqrstuvwxyz

                            Frutiger 55 Roman
                            ABCDEFGHIJKLMNOPQRSTUVWXYZ
                            abcdefghijklmnopqrstuvwxyz

                            Color Usage

                            PMS 280				                        PMS 207
                            Logo background			                 Logo border
                            Blue snipe
                            Shuttle information box




                                                                                                        3
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design
                             There are two approved sizes for Hampton airport courtesy boards: 8”x10”
                             (horizontal orientation) and 10”x 8” (vertical orientation). Please select the one
                             that best fits the needs of your hotel. Approved airport courtesy board signage
                             designs appear below.


                         1   Main image
                             • Use only approved images
                             • Person in image should be positioned at the top right region

                         2   Logo
                             • Placed in the lower right
                             • Allow enough space between logo and right side of airport courtesy board

                         3   Shuttle information box
                             • Reverse out white from PMS 280
                             • Font: Frutiger 45 Light and Frutiger 55 Roman, all lower case
                             • Placed in upper left

                         4   Headline
                             • Use only approved headlines
                             • PMS 280
                             • Font: Frutiger 65 Bold, lower case
                             • Should be placed over image, but never over the person
                             • No punctuation

                         5   Amenity claims
                             • PMS 280
                             • Font: Frutiger 45 Light, initial cap
                             • Always appear beneath the headline, above the blue snipe at the bottom of 		
                               the airport courtesy board

                         6   General location and specific directions to your hotel
                             • Reverse out white from PMS 280
                             • Font: Frutiger 65 Bold
                             • Initial cap names of cities
                             • Left justified
                             • Always appear in the blue snipe at the bottom of the airport courtesy board

                         7   Blue snipe
                             • Used for directional copy only
                             • Always run full length of airport courtesy board




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placing signage
                              Hotel owners/operators shall contract directly with the airport courtesy board
                              company of their choice. However, all creative produced for airport courtesy board
                              signage must meet the standards outlined herein.

                              In order to receive all the creative materials for airport courtesy board signage, hotel
                              owners/operators should go to hamptonsalesandmarketing.com / HSMOT website,
                              log-in, and then click on the button for “airport courtesy board signage standards.”
                              There is an online process for ordering creative materials and routing airport courtesy
                              boards for the appropriate approvals.




review and waiver requirements
                              Review

                              If your hotel chooses to advertise on a courtesy board, you must maintain a
                              designated airport courtesy board signage file on property for review by Hilton Hotel
                              representatives. The file must contain current photographs of each airport courtesy
                              board, a description of each airport courtesy board, and other pertinent documents
                              and information related to the hotel’s airport courtesy board signage program.


                              Waiver

                              Hotel owners/operators may request a waiver for the special instances which prohibit
                              them from following the established airport courtesy board signage requirements.
                              A request for waiver should be accompanied by a digital image of the artwork
                              for the airport courtesy board as well as the rationale for the request. Waiver
                              requests should be submitted to your HPS Director electronically via the website
                              http://resource.makeithampton.com. Hotel approval or denial will be communicated
                              to the hotel via this website. Be advised that the airport courtesy board signage may
                              not be placed until the owner/operator receives waiver approval from Hampton
                              Brand Management.




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                                          Section 500

                                     The
                              "i am hampton"
                                  Collection



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                                         for use by Hilton Hotels only



                                 Any questions regarding the contents
                                 of this manual may be addressed to:

                                  HILTON HOTELS CORPORATION
                                      755 Crossover Lane
                                 Memphis, Tennessee 38117-4900
05272008
                                      Phone: 901/374-5000
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                                                                                                      i am hampton collection

          500.00   The “i am hampton” Collection  . .  .  .  .  .  .  .  .  .  .  .  .  . 500-1

          501.00   New Team Members  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 500-1

          502.00   Name Tags  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 500-1

          503.00   Shoes  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 500-1

          504.00   “Team Hampton”
                   (available June 15, 2007)  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 500-1

          505.00   “More Choices More Layers”
                   (available October 2007)  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 500-3

          506.00   “Traditional Kit”
                   (available October 2007).  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 500-6




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                                                               i am hampton collection
500.00 The “i am hampton” Collection
       As of June 15, 2008, every Hampton team member must wear the “i am hampton
       collection” by Lands‘ End and no other supplier may be used. Access the Lands’ End
       ordering Web site through OnQ Insider, or call 866-223-4759. Management may choose to
       offer for each team member the ”Team Hampton Kit” or the “Traditional Kit.” Management
       may utilize selections in the “More Choice, More Layers” category for each team member as
       well. (See notes below on availability of kits and items.)
       NOTE: The schedule below outlines approximate availability of items:
           June 15, 2007 — “Team Hampton” kit and More Choice More Option items
           (hat, aprons, outerwear jacket)
           October 2007 — “Traditional Kit” and all remaining “More Choice More Layers”
           Options
501.00 New Team Members
       All new team members must begin wearing items from the “i am hampton” collection
       within 15 days of the hire date.
502.00 Name Tags
       Each team member must wear an approved name tag; see Trademark and Identity standards
       for specifics. Also see 110.00, Rules of Operation. The name tag order form is found on OnQ
       Insider > Hampton Brand.
503.00 Shoes
       Shoes must match the overall appearance of the team member wardrobe choices. Open toed
       shoes are not appropriate or approved for any position.
504.00 “Team Hampton” (available June 15, 2007)
        A. “Team Hampton” Women’s Items “Team Hampton Kit” for the “i am hampton
           collection” by Lands’ End
            1. Short-sleeve Scoop Tee
               100% Cotton, Nylon/Spandex Trim. Women’s sizes: XS-5X. Light Sea Blue, True
               Blue. 196061, 196062, 196063.
            2. Rib Knit Cardigan
               100% Cotton, Nylon/Lycra Satin Trim. Women’s sizes: XS-5X. Light Sea
               Blue.196054, 196055, 196056.
            3. Three-quarter Sleeve Knit Johnny Collar
               100% Cotton. Women’s sizes: XS-5X. Pale Emerald. 196058, 196059, 196060.




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                                                             i am hampton collection
            4. Three-quarter Sleeve Stripe Blouse
               100% Cotton. Women’s sizes: 0-34W. Bermuda Blue Stripe. 197949, 197950,
               197951.
               *Transitioning to 60% Cotton/40% Polyester. 278021, 278022, 278023.
            5. Plain Front Chino Pant
                a. 60/40 Cotton/Polyester. Women’s sizes: 2-34W. Desert Khaki. Traditional Fit
                   176814, 176816.
                b. 60/40 Cotton/Polyester. Women’s sizes: 00-34W. Desert Khaki. Classic–Straight
                   Fit 195209, 195210, 195211.
                c. 60/40 Cotton/Polyester. Women’s sizes: 00-18. Desert Khaki. Classic–Curvy
                   Fit. 195206, 195207.
               d. 60/40 Cotton/Polyester. Women’s sizes: 00-18. Desert Khaki. Modern–Straight
                  Fit. 195244, 195245.
                e. 60/40 Cotton/Polyester. Women’s sizes: 00-18. Desert Khaki. Modern–Curvy
                   Fit. 195241, 195242.
            6. Reversible Grosgrain Belt
               100% Polyester. Women’s sizes: XXS-5X. Vivid Green Multi Stripe. 197952, 197953.
            7. Approved maternity options available via Lands’ End
                a. Maternity Short Sleeve Scoop Tee 100% Cotton. Women’s sizes: XS-XL. True
                   Blue. 199876.
                b. Maternity Rib Cardigan 100% Cotton Rib. Women’s sizes: XS-XL. True Blue.
                   199878.
                c. Maternity Three-quarter Sleeve Stretch Blouse 60/35/5 Cotton/Polyester/
                   Spandex. Women’s sizes: S-XL. China Blue. 002196.
               d. Maternity Performance Chino Pant 60/40 Cotton/Polyester. Women’s sizes:
                  00-18. Desert Khaki. 197172.
        B. ”Team Hampton” Men’s Items
            1. Short-sleeve Pima Tee
               100% Cotton. Men’s sizes: S-5XL. True Blue, True Navy. 194984, 194985.
            2. Short-sleeve Performance Polo
               100% Cotton. Men’s sizes: S-5XL. True Navy. 198119, 198122.
            3. Long-sleeve Pattern Oxford
               60/40 Cotton/Polyester. Men’s sizes: S-5XL. Green Clear Blue Stripe, Clear Blue
               Windowpane. 195548, 195550, 195549, 195551.



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                                                             i am hampton collection
             4. Pleated Front Performance Chino Pant
                60/40 Cotton/Polyester. Men’s sizes: 30-54. Desert Khaki. 176819, 203138.
             5. Pleated Front Performance Chino Pant
                60/40 Cotton/Polyester. Men’s sizes 30-46. Desert Khaki. 176821.
             6. Cotton Buckle Belt
                100% Cotton. Men’s sizes: 30-54. Khaki. 198058, 198062.
505.00 “More Choices More Layers” (available October 2007)
       “More Choice More Layers” for the “i am hampton collection” by Lands’ End
        A. More Choice More Layers Women’s Items
             1. Washed Twill Cap
                100% Cotton. Khaki. 220034.
             2. Thermacheck Hat
                100% Polyester Fleece. Sizes: S/M, L/XL Black. 277969
             3. Twill Apron
                100% Cotton. Desert Khaki. 199102.
             4. Twill Half Apron
                100% Cotton. Desert Khaki. 199110.
             5. Outrigger Jacket
                100% Nylon Shell, 100% Polyester Mesh Lining. Women’s sizes: S-XL. Dark Navy.
                074898.
             6. Marinac Jacket
                100% Polyester Fleece Knit. Women’s sizes: S-XL. Heritage Blue. 095064.
             7. Marinac Vest
                100% Polyester Fleece Knit. Women’s sizes: S-XL. Heritage Blue. 095066.
             8. Squall Parka
                100% Nylon Lining, 100% Poly Polartec 300 Insulation: 100% Poly Thermolite.
                Sleeve Women’s sizes: S-3X. Cobalt. 096631, 096632.
             9. Short-sleeve Scoop Tee
                100% Cotton Rib, Nylon/Spandex Trim. Women’s sizes: XS-5X. Pale Emerald
                196061, 196062, 196063.
            10. Rib Knit Cardigan
                100% Cotton Rib, Nylon/Lycra Satin Trim. Women’s sizes: XS-5X. Pale Emerald,
                True Blue. 196054, 196055,196056.

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                                                               i am hampton collection
           11. Three-quarter Sleeve Knit Johnny Collar
               100% Cotton Rib. Women’s sizes: XS-5X. True Blue, Light Sea Blue. 196058,
               196059, 196060.
           12. Long-sleeve Rib Scoop Tee
               100% Cotton Rib. Women’s sizes: XS-5X. Pale Emerald, True Blue, Light Sea Blue.
               248650, 248651, 248653.
           13. Fine Gauge Cardigan Sweater
               75% Acrylic, 25% Nylon. Women’s sizes: XS-5X. China Blue. 194293, 194294,
               194295.
           14. Long-sleeve Stretch Blouse
               60% Cotton/35% Polyester/5% Spandex. Women’s sizes: 0-34W. Pale Emerald,
               China Blue. 002190, 002191, 002192.
           15. Silk Scarf
               100% Silk. Navy Floral, Navy Fair Isle. 270438.
           16. Chino Blazer
               60% Cotton/40% Polyester. Women’s sizes: 0-34W. Desert Khaki. 195252, 195253,
               195254.
        B. “More Choice More Layers” Men’s Items
            1. Washed Twill Cap
               100% Cotton. Khaki. 220034.
            2. Thermacheck Hat
               100% Polyester Fleece. Sizes: S/M, L/XL Black. 277969
            3. Twill Apron
               100% Cotton. Desert Khaki. 199102.
            4. Twill Half Apron
               100% Cotton. Desert Khaki. 199110.
            5. Outrigger Jacket
               100% Nylon Shell, 100% Polyester Mesh Lining. Men’s sizes: M-5XL. Dark Navy.
               074896, 074897.
            6. Marinac Jacket
               100% Polyester Fleece Knit. Men’s sizes: S-5XL. Heritage Blue. 095063, 095845.
            7. Marinac Vest
               100% Polyester Fleece Knit. Men’s sizes: S-3XL. Heritage Blue. 095065, 095846.


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                                                             i am hampton collection
            8. Squall Parka
               100% Nylon Lining, 100% Poly Polartec 300 Insulation: 100% Poly Thermolite
               Sleeve. Men’s sizes: S-5XL. Cobalt. 096628, 096629, 096630.
            9. Short-sleeve Pima Tee
               100% Cotton. Men’s sizes: S-5XL. Light Sea Blue. 194984, 194985.
           10. Long-sleeve Pima Tee
               100% Cotton. Men’s sizes: S-5XL. True Blue, True Navy, Light Sea Blue. 248608,
               248610.
           11. Long-sleeve Performance Pima Polo
               100% Cotton. Men’s sizes: S-5XL. True Navy. 248602, 248603.
           12. Short-sleeve Pattern Oxford
               60/40 Cotton/Polyester. Men’s sizes: S-5XL. Clear Blue Windowpane, Green Clear
               Blue Stripe. 195320, 195321.
           13. Fine Gauge Vest
               80/20/Acrylic/Nylon Knit. Men’s sizes: S-5XL. China Blue. 065565, 065572.
           14. Long-sleeve Broadcloth Shirt
               60/40 Cotton/Polyester. Men’s sizes: 14-21. True Blue. 087907, 087908, 251181,
               276183.
           15. Chino Blazer
               60/40 Cotton/Polyester. Men’s sizes: S-5XL. Desert Khaki, True Navy. 201080,
               201081.
           16. Cross Pattern Tie
               100% Silk. Reg/Long. Blue. 195768,195769.
           17. Oxford Neat Tie
               100% Silk. Reg/Long. Pale Emerald. 195771,195772.




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                                                              i am hampton collection
506.00 “Traditional Kit” (available October 2007).
         A. “Traditional Kit” Women’s Items
             1. Gabardine Blazer
                98% Wool, 2% Lastol. Women’s sizes: 00-34W. True Navy. 247056, 247057,
                247058, 247059.
             2. Gabardine Trousers
                 a. 98% Wool, 2% Lastol. Women’s sizes: 00-34W. True Navy. Traditional Fit.
                    247098, 247099, 247100, 247103.
                 b. 98% Wool, 2% Lastol. Women’s sizes: 00-18. True Navy. Classic-Curvy Fit.
                    247119, 247120.
                 c. 98% Wool, 2% Lastol. Women’s sizes: 00-34W. True Navy. Classic – Straight
                    Fit. 247112, 247114, 247495, 247117.
             3. Long-sleeve Stretch Blouse
                60/35/5 Cotton/Polyester/Spandex. Women’s sizes: 0-34W. Pale Emerald, China
                Blue. 002190, 002191, 002192.
             4. Three-quarter Sleeve Stripe Blouse
                100% Cotton Pinpoint. Women’s sizes: 0-34W. Bermuda Blue Stripe. 197949,
                197950, 197951.
                *Transitioning to 60% Cotton/40% Polyester. 278021, 278022, 278023.
             5. Silk Scarf
                100% Silk. Navy Floral, Navy Fair Isle. 270438.
             6. Glove Leather Belt
                Cowhide Leather, Buckle Solid Brass. Women’s sizes: 24-58. Black. 271414, 271413.
         B. “Traditional Kit” Men’s Items
             1. Year Rounder Blazer
                100% Worsted Wool, Lining: 100% Acetate. Men’s sizes: 38-64. Dark Navy. 65638,
                65674, 65681, 277952.
             2. Year Rounder Pant – Pleated
                100% Worsted Wool, Lining 100% Acetate. Men’s sizes: 30-60. Dark Navy. 65612,
                65613, 169193, 169194.
             3. Long-sleeve Pattern Oxford
                60/40 Cotton/Polyester. Men’s sizes: S-5XL. Green Clear Blue Stripe, Clear Blue
                Windowpane. 195548, 195550, 195549, 195551.



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                                                             i am hampton collection
            4. Long-sleeve Broadcloth Shirt
               60/40 Cotton/Polyester. Men’s sizes: 14-21. True Blue. 087907, 087908, 251181,
               276183.
            5. Cross Pattern Tie
               100% Silk. Reg/Long. Blue. 195768,195769.
            6. Oxford Neat Tie
               100% Silk. Reg/Long. Pale Emerald. 195771,195772.
            7. Glove Leather Belt
               Cowhide Leather, Buckle Solid Brass. Men’s sizes: 30-60. Black. 271411, 271412.




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                                          Section 600

                                   Information
                                    Technology
                                     Standards



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                                 Any questions regarding the contents
                                 of this manual may be addressed to:
                                   HILTON HOTELS Corporation
                                         755 Crossover Lane
                                 Memphis, Tennessee 38117-4900
                                        Phone: 901/374-5000
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 Purpose and Scope
       Standards in this section will apply to all Hampton hotels. New hotels are required to
       implement all standards listed in this section.
       The addition of voice mail capability offers efficiency and assistance with administrative
       tasks, making it easier to provide friendly and efficient service. Having two phone lines is
       becoming an imperative for today’s business traveler. As more and more guests traveling
       on business work in their room, our ability to meet their needs for simultaneous voice and
       data transmission (i.e., working on a computer while talking on the phone) is becoming
       more critical. In addition, more and more direct competitors are offering this capability.
       REFER QUESTIONS CONCERNING THESE STANDARDS TO:
       Hampton Brand Management Team
       Hilton Hotels Corporation
       755 Crossover Lane
       Memphis, Tennessee 38117-4900
       Phone: 901/374-5000




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 600.00 Voice Telecommunications Hardware
 600.01 Wiring
         All hotels must have certified Category 5E or 6 wiring system installed for all telephone
         locations. Please refer to www.hiltonfranchise.com for wiring specifications.
 600.02 Entrance Cabling
        A 100 pair cable is recommended. It is important that a minimum of three 4” conduits be
        used for telephone entrance cable.
 600.03 Telecom Room Location
        The telecommunications room must be within 100 feet of the computer equipment room
        for maximum efficiency of technology cabling.
 600.04 Private Automated Branch Exchange Requirements
        Each Hampton hotel must have a digital private automated branch exchange (PBX) tele-
        phone system that provides the following features. (PBX upgrades or PBXs installed in new
        hotels must be Internet Protocol (IP) capable (not enabled) for future proofing properties.
        IP PBXs are similar in price to standard TDM machines.)
         A. PBX upgrades or PBXs installed in new hotels must be capable of E-911 notification
            either to front desk or Emergency Center
         B. Interface with OnQ to provide guest name display, maid codes and phone on/off
         C. Automatic call wake-up with personal message capabilities
         D. Least cost routing/automatic route selection
         E. Station Message Detail Recording (SMDR)
          F. Message light waiting notification
         G. Direct dial access (1010XXXX)
         H. Toll-free area code programming
          I. Ability to connect to a T-1 dedicated network using internal equipment
          J. Call restriction capabilities for fraud prevention
         K. Network access trunks must provide a P.05 (GOS) Grade-of-Service. This means a hotel
            can block only five out of 100 calls during the busiest hour of the day or night.
          L. Hotel PBX must have a minimum of two hours of battery backup.




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600.05 PBX Features Recommendations
        A. Console backup or call pickup capabilities to process calls quickly during busy front
           desk times
        B. Customized on-hold, in queue and call wake-up announcements for guests
        C. On-hold music to provide enhanced customer service (see Standard 614.00)
        D. Ability to implement Automatic Call Distribution (ACD) software for enhanced call
           distributing and routing
        E. Dedicated telephone line for remote maintenance and diagnostics.




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601.00 Telephone Switchboard Requirements
601.01. Telephone switchboard service must be operated 24 hours a day. Initial calls into the hotel
        switchboard must be answered in person. Automated attendants (automated systems that
        answer/transfer calls) are not permitted. Once answered, an on-hold message reminding
        callers that a service representative will assist them shortly is acceptable. Automated inter-
        ceptors (automated systems that answer on the fourth ring) are acceptable as long as there is
        an on-hold message reminding callers that a service representative will assist them shortly.
601.02 The switchboard must have a multi-character visual display, showing the calling guest’s
       name, to provide enhanced customer service.
601.03 Recommended Features for Telephone Switchboard
        Hilton Hotels Corporation recommends that telephone switchboards in Hampton hotels:
          A. Provide a minimum of six (6) incoming calls, transfer, hold and conference calling
             functions
          B. Allow use of handsets or headsets to enhance employee productivity
         C. Allow manual activation/deactivation of message waiting lamps to ensure that guests
            receive messages promptly
         D. Allow manual activation or restriction of telephones when the Property Management
            System Interface is not functioning




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 602.00 Voice Messaging System Requirements
 602.01 Voice Messaging System Standards
        The Voice Messaging System (voice mail) must meet the following minimum standards:
         A. An efficient voice mail/messaging system must be part of the standard phone system.
            Easy-to-understand operating instructions for its use must be posted.
          B. Interface directly with the PBX for accurate and timely message delivery
         C. Interface with OnQ via the PBX-to-OnQ interface or directly to OnQ via the approved
            interface specification to provide mailbox open/close at checkout
         D. Provide the ability to partition the system between administration and guest. This will
            ensure that guests can easily retrieve messages and provide employees with additional
            features.
          E. Have a minimum of four access ports and forty hours of storage or equivalent, based
             on data storage technique
          F. Allow manual activation and deactivation of message waiting lamp
         G. Have easy-to-read instructions for the voice message system posted on the telephone
            face plate
 602.02 Voice Mail Recommendations
         A. Provide a dedicated telephone line for remote maintenance and diagnostics
          B. Provide a way for guests to retrieve messages after check-out by saving guest messages in
             a temporary file for 24 hours after check-out and then automatically deleting them
         C. Allow guest access from outside the hotel




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 603.00 Call Accounting System Requirements
 603.01 A Call-Accounting System must be provided with the following features:
          A. Interface with OnQ for quick and accurate posting of telephone revenue
          B. Balance telephone system revenues with OnQ audits
          C. Have remote dial-up access for rate table and other software changes
          D. Allow call posting from both lines if guest room or suite has two telephone lines
 603.02 Call-Accounting Feature Recommendations
          A. Partition between guests and administration to ensure that guests are accurately billed
             and that administrative use can be accurately reported
          B. Dedicated telephone line for remote maintenance and diagnostics
          C. Provide cross reference table function for two-line application




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 604.00 Telephone Requirements
 604.01 Telephone Requirements
         A. Guest Rooms/Suites
             1. Each guest room/suite must have a telephone at the nightstand equipped with a
                25-foot cord and message light. An additional phone may be provided at the desk.
                If two phones are available, each must be equipped with a 15-foot cord. In studio
                suites, phones are required at the nightstand and at the desk.
             2. Emergency dialing instructions must be displayed on the telephone face plate.
                A speed-dial button may be used as long as the telephone face plate displays the
                emergency dialing instructions in the event the speed-dial button is inoperable.
         B. General Area
             1. All telephones in the hotels must allow 911 or E-911 calls to be placed, regardless of
                other restrictions or guest room status (stop charge, etc.)
             2. The swimming pool area, exercise room and all elevators must be equipped with a
                house telephone that will ring to the front desk.
             3. There must be a minimum of one telephone that has local, credit card and toll-free
                number access. If a pay phone is not available, there must be a house telephone
                with these dialing features available. An additional house phone is required in
                or near the lobby. Both phones must be restricted from dialing guest rooms and
                suites. Professionally created signage must be in place designating local, credit
                card and toll-free number dialing instructions. If signage is wall-mounted, it must
                match interior signage package.
                Examples of sign:
                For local calls, dial 9 + number
                For 800 and long distance calls, dial 8 + number
                For emergency, dial 911
             4. The housekeeping area must have a telephone.
 604.02 Recommendations for Telephones
         A. Hilton Hotels recommends both Teledex and TeleMatrix telephones with the standard
            faceplate design for brand consistency.
         B. Dial Plan
            The recommended standard dial plan for guest rooms and suites is:
             1. Nine for local calls
             2. Eight for long distance calls
             3. Speed dial button for front desk/wake-up

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            4. Speed dial button for messages and voice mail
            5. For guest room to guest room or suite to suite dialing, touch seven plus the room
               number for line one and six plus the room number for line two. For example, to
               call Guest Room 100, a person would dial 7100 for line one and 6100 for line two.




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605.00 Network Access Requirements
605.01 Local Telephone Network Access
       Local non-toll telephone calls must be provided at no charge to guests.
605.02 Network Access Recommendations
       A financial analysis of local T-1 versus individual lines should be performed prior to order-
       ing service to ensure that the highest service level is provided at the lowest possible cost. In
       many cases, dedicated T-1 service provides higher revenue with lower access and usage costs.
       Contact: Hilton Telcom, Jettie Taylor (901) 748-7920.
605.03 Long Distance Network Access
        A. Calling card/O+ telephone calls cannot be billed at a rate exceeding the current AT&T
           rate. Credit card tariffs and surcharges cannot be applied. Deposits for telephone usage
           are prohibited.
         B. The long distance carrier’s name and rates must be provided in each guest room in the
            guest directory (see Rule 118.12).
605.04 Long Distance Network Access Recommendations
       Hilton recommends AT&T dedicated T-1 service, whenever financially feasible, and AT&T
       1+ and O+ long distance telephone service. In many cases, dedicated T-1 service provides
       higher revenue with lower access and usage costs.




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606.00 Americans With Disabilities Act (ADA) Compliance
       Each Hampton hotel must comply with all ADA requirements concerning telecommun-
       ications.




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607.00 Voice, Data and Video Cabling Infrastructure
607.01 Empty Conduit System
       An empty conduit system shall be designed and installed using the codes and standards of
       the following agencies:
       ANSI           American National Standards Institute
       BICSI          Building Industry Consulting Services International
       BOCA           Building Officials and Code Administrators
       EIA/TIA        Electronic Industries Association/
                      Telecommunications Industry Association
       FCC            Federal Communications Commission
       IEEE           Institute of Electrical and Electronic Engineers
       NFPA           National Fire Protection Association
       NEC            National Electrical Code
       UL             Underwriters Laboratories
       During the schematic and design development phases, consultants should refer to the fol-
       lowing standards to ensure that adequate pathways are established capable of supporting
       current and emerging technology for guest services.
        A. BICSI
             Consult the Telecommunications Distribution Methods Manual, issue number seven, 1995,
             for design assistance regarding:
              1. Service entrances
              2. Equipment rooms/closets
              3. Grounding, bonding, electrical protection and fire stopping
              4. Horizontal and vertical distribution pathways
              5. Special situations (poolside, ADA, etc.)
        B. EIA/TIA
             Various standards documents are to be consulted which deal with all aspects of low
             voltage (>110VAC/DC) cabling. Note that the Canadian equivalent of EIA/TIA is CSA.
             The following documents are relevant to the design of an empty conduit system and
             the subsequent design of the technology infrastructure:
              1. EIA/TIA-568A (CSA T529)
                 Commercial Telecommunications Cabling Standard
              2. EIA/TIA-569 (CSA T530)
                 Commercial Building Standard for Telecommunications Pathways and Spaces

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              3. EIA/TIA-570 (CSA T525)
                 Residential and Light Commercial Telecommunications Wiring Standard
              4. EIA/TIA-670 (CSA T527)
                 Commercial Building Grounding/Bonding Requirements
             The International Standards Organization of the United Nations is currently adapting
             these EIA/TIA standards under the title Generic Cabling for Customer Premises Cabling
             ISO/IEC 11801.
 607.02 Voice and Data Wiring for Guest Rooms
         It is the intent of this section to define a technology-based cabling system (media, con-
         nectors, jacks, etc.) which supports terminal equipment provided by the hotel (telephone
         sets, fax machines, printers, etc.) and which accommodates equipment the guest carries and
         attaches to the hotel network.
          A. In each room or suite a wiring point is installed on or near the bed(s) and at or near
             the activity table or work desk.
          B. At a minimum, each wiring point shall contain a single run of UTP (unshielded twisted
             pair), four-pair, Category 5E or 6 (EIA/TIA 568A) compliant cable.
          C. Each run will terminate in a Category 5E or 6 compliant wall jack (RJ45 or RJ11).
          D. Optional Configurations
              1. Emerging high-speed networks for Internet and video-based guest services will
                 require extra bandwidth available with additional UTP cable pairs available in each
                 guest room/suite.
              2. A second four-pair, Category 5E or 6 compliant cable may be pulled to the same
                 location as that for the coaxial cable used for CATV. If this option is not used, the
                 empty conduit, used for the CATV coaxial cable, must be sized to accommodate
                 this additional cable in the future.
 607.03 Voice and Data Wiring for Hotel Front Desk and Back Office
          A. At each location identified for a OnQ desktop component (server, workstation, print-
             er), a four-pair, UTP, Category 5E or 6 compliant cable and associated hardware should
             be installed.
          B. Where an administrative telephone is co-located with a OnQ component, dual-jack
             arrangements are encouraged.
 607.04 Availability of Reference Documents
          A. Internet Websites
              1. http://www.anixter.com
                 Summary of all EIA/TIA 568A (et al) cabling standards and design/installation
              2. http://www.bicsi.org
                 Access to the latest EIA/TIA updates and information on BICSI related issues

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            3. http://www.lucent.com
               Design and cost analysis information regarding the use of structured cabling design
               tools as related to EIA/TIA standards
            4. http://www.ortronics.com
               Design and component specifications to assist designers and engineers in selecting
               a standard based, structured wiring system
        B. Literature and Publications
           BICSI Telecommunications Distribution Methods Manual
            1. BICSI
               10500 University Center Dr
               Suite 100
               Tampa, FL 33612
               Telephone 813/979-1991
            2. EIA/TIA Standards Publications
               c/o Global Engineering Documents
               Fax request to (800) 854-7197




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 608.00 OnQ Property Management System
 608.01 Every Hampton hotel must utilize OnQ/Hampton, an integrated hotel business computer
        system. OnQ must be fully operational when the hotel is opened. Management and hotel
        staff must be trained and certified by the system supplier and pass final certification with a
        combined score of least 80 percent.
          OnQ/Hampton will perform the following functions:
           A. Provide real time integration with the Hampton Reservation System that supports all
              current and future reservation functions and procedures
           B. Maintain room status, provide automated guest folio and accounting capabilities and
              provide a level of guest service required to maintain the Hampton Hotel Standards and
              conform to Hampton Hotels Rules of Operation
          C. Integrate with and provide timely data to our centralized database for system statistics
             and financial data analysis
          D. Support all current and system-wide marketing programs
           E. Provide a fully integrated revenue management system which analyzes historical data
              and current booking activity and recommends how to achieve the highest possible rev-
              enue
           F. Connect to the Internet service provider approved by Hilton for e-mail access. The
              service includes online access capability that allows hotels to closely manage their
              property information as contained on the hotel brand Web sites and interact directly
              with consumers via e-mail. The connection also allows access to emerging Web based
              business applications on OnQ Insider.
 608.02 Configuration for OnQ/Hampton in a Hampton Hotel
           A. File Server
              The file server maintains the hotel database information and OnQ software. Third-party
              interface software is installed in this unit, which also provides communication between
              the hotel and the central reservations system. The file server must have one (1) each of
              the following components:
               1. IBM tower system unit
               2. IBM color monitor
               3. Communications board
               4. Keyboard with trackpoint
               5. UPS (uninterruptible power supply) unit
               6. Back-up tape drive unit
               7. Microsoft back office server license
               8. Modem (internal or external)

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            9. (IFB) Dedicated phone line
        B. Network Communications
           Frame Relay (required for all new construction)
           A CSU/DSU (Channel Service Unit/Digital Service Unit) and router connects the hotel
           to the Hilton network.
        C. MSAU (Multistation Access Unit) or 3Com SuperStack II Hub
            1. The MSAU maintains communication among the workstations, DIU and file server.
               The cabling standard is Type 9, Token Ring cabling.
            2. The 3Com SuperStack II Hub maintains communication among
               the workstations, DIU and file server. The cabling standard is Category 5E or 6
               (requested for all new construction).
        D. Workstations
           The guidelines outlined below are provided as minimum and maximum parameters for
           hotels. The actual number of workstations are determined at contracting. The overall
           brand minimum is three, thus allowing information to be processed in several loca-
           tions at the same time. One of these workstations must be used for Internet access.
            1. For Hampton Inns with
                a. 0 to 99 rooms, three workstations
                b. 100 to 139 rooms, four workstations
                c. 140 to 179 rooms, five workstations
                d. 180 to 240 rooms, nine workstations
                e. 241 or more rooms, eleven workstations
            2. For Hampton Inn & Suites with
                a. 0 to 109 rooms, five workstations
                b. 110 to 145 rooms, six workstations
                c. 146 or more rooms, nine workstations
            3. Each workstation must consist of the following components:
                a. IBM desktop system unit with CD-ROM
                b. IBM color monitor
                c. Keyboard
                d. Pointing device
                e. Laser printer



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        E. Credit Card Readers
           Credit card readers are used to input credit card numbers automatically on the guest
           folio by swiping the card through the reader. Locate one credit card reader at each front
           desk workstation.
         F. Software License
           Each Hampton hotel must have one (1) software license for OnQ/Hampton.
        G. Call Rating Interface Software
           One (1) call rating interface software program is necessary for OnQ to interface to an
           approved third party call accounting system.
        H. PBX Interface Software
           One (1) PBX interface software program is necessary for OnQ to interface to an ap-
           proved third party PBX.
         I. Voice Mail Interface Software
           One (1) voice mail interface software program is necessary for OnQ to interface to an
           approved third party voice mail system.
608.03 OnQ Training
       See 106.09 in the Rules of Operations section for information about OnQ training.




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 609.00 Software Compatibility
 609.01 Hilton Hotels will not provide support for any non-certified third-party software and/or
        equipment (see Rule of Operation 120.00).
 609.02 Hotels must neither attach nor use third-party equipment and/or interfaces with the OnQ
        desktop equipment that have not been certified by Hilton Hotels as meeting Hilton Hotel
        specifications.
         Should the hotel choose to install third-party, non-OnQ software that has not been certified
         by Hilton Hotels as being compatible with OnQ equipment, the hotel will bear any and all
         costs of repair or replacement to restore proper operation of the equipment.
         Complete lists of approved third party interfaces and software are available on the OnQ
         Web site.
         Hotels may not install or connect any third-party network equipment that would allow ac-
         cess to the OnQ network from an outside source. Firewalls and other devices installed on
         the OnQ network must be provided by Hilton.
 609.03 OnQ desktop software packages that are Microsoft XP workstation compatible need the
        legal, licensed software (original installation disks) in order to install the software.
 609.04 When certain OnQ certified equipment or parts for certain OnQ certified equipment are no
        longer being manufactured or reasonable obtainable, Hilton shall notify hotels of such cir-
        cumstance and that maintenance on such certified equipment will no longer be provided by
        Hilton. In this circumstance, it is recommended that hotels replace the retired model with
        the currently unmanufactured certified model.
 609.05 Hotels must maintain and have installed the most current version of Microsoft Office. Soft-
        ware will be purchased at a reduced rate and billed through monthly installments through
        the Hilton IT Department. (See Rule of Operation 120.10)




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 610.00 Internet Web Site Standards
        A. Strategy
           Our brand Internet strategy enables individual properties to capitalize on an Internet
           presence by using the brand Web site www.hampton.com for electronic marketing pur-
           poses as opposed to creating stand-alone Web sites.
        B. Domain Names
           Hilton Hotels Corporation currently assigns each hotel a domain address within the
           www.hamptoninn.com Web site that is to be used as the hotel’s Internet address on the
           World Wide Web.
           Domain names for all addresses related to the hotel or that redirect to hotel’s Internet
           address are to be owned by Hilton Hotels Corporation.
           To transfer ownership of a domain to Hilton Hospitality, request a purchase of a do-
           main, or request a redirect, go to OnQ Insider.
        C. Updates and Maintenance
           Complete details for creating, updating and maintaining your hampton.com hotel Web
           site can be found in the Hampton Online Marketing Tool Kit at OnQ Insider.
        D. Search Engine Marketing and Optimization
           No hotel/management company/franchise group may (directly or indirectly) purchase
           a keyword that includes any Hilton trademarked names other than their own officially
           approved hotel name. Nor can they purchase other trademark names of competitor ho-
           tels. Nor can they authorize a third party to purchase the hotel name under any circum-
           stance. Strict compliance of this standard is required.
           Given the changing nature of this technology, we have the right to withhold our ap-
           proval, and to withdraw any prior approval, and to modify our requirements.
        E. Resources/References
            1. Hampton Online Marketing Tool Kit OnQ Insider > Hampton Brand.
            2. Hampton Brand Stand-Alone Web Site Guidelines
               These will be posted within the Hampton Online Marketing Tool Kit (see 610.02).
            3. Domain Request for Purchase
               See OnQ Insider.




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              4. Domain Transfers
                 See OnQ Insider.
              5. Domain Redirects
                 See OnQ Insider.
 610.02 Stand-Alone Web Sites
        Stand-alone Web sites are any Web sites (including without limitation html, xml, ftp, Web
        logs, chat, bulletin boards and any other electronic communications or distribution media)
        that are created by a hotel, group of hotels or entity outside of the brand.com environment.
        This also includes hotel e-mail sites and address because they may display our marks.
        The guidelines and rules below apply to any Web site representing any one of the Hilton
        Family brands, or any property therein, created outside of the corporate held/hosted Web
        sites (hampton.com).
         A. Once the hotel initiates the creation of a new stand-alone Web site, the hotel and all
            of its vendors must work with Hotel Content and Support and the appropriate Brand
            Marketing team to ensure that all guidelines are met. The hotel must have completely
            optimized its www.hampton.com Web site before developing any stand-alone site.
         B. The information that appears on these sites is the sole and direct responsibility of the
            hotel(s)/entity. Content must be maintained by the hotels through the hotel’s stand-
            alone vendor agreed upon defined process.
         C. The hotel is responsible for all aspects of its sites, including without limitation all costs,
            fees, licenses, permits, claims, development and maintenance related in any way to
            these sites.
         D. Hilton takes the collection and retention of personally-identifiable information seri-
            ously. Strict compliance is required for any standalone Web site to all applicable laws,
            standard practice instructions and/or brand standards.
          E. Existing Stand-Alone Sites Currently Under Contract
             After September 1, 2005, all stand-alone Web sites must meet current Web site stan-
             dards.
          F. Franchises
             Upon the expiration or termination of the Franchise License Agreement, you must irre-
             vocably assign and transfer to Hilton (or its designee) all of your right, title and interest
             in any domain listings and registrations which contain any references to our marks,
             system or licensed brand, and delete all references to Hilton’s marks or licensed brands
             from any other Web site(s) you own, maintain or operate.




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        G. Trademark/Copyrights
           All intellectual property created for Hilton is owned by Hilton Hotels Corporation
           Conrad intellectual property is owned by Conrad Hospitality, LLC. HHonors intellec-
           tual property is owned by Hilton HHonors Worldwide, LLC. Certain copyright notices
           and proper trademark usage must be displayed on the Web site. Legal must also review
           the references to third-party names and logos that appear on the site. Please refer to
           Trademark and Identity Section of your Hampton Brand Standards manual (see Section
           400).
        H. Purchase and Registration of Domain Names (URLs)
            1. You may not promote or advertise the licensed brand or the hotel on the Internet
               or any computer network unless you obtain prior written approval from Brand
               Management of the third-party Web site in which the hotel will be listed, any
               proposed links between the Web site(s) and any other Web site(s), any proposed
               changes to the Web site(s), and have registered the hotel’s domain name through
               Hilton’s Domain Administrator.
            2. All domain names must be registered through Hilton Hotels Corporation. To re-
               quest a domain, go to OnQ Insider.
            3. Once submitted, your request will be reviewed by Hilton’s domain administrator.
               You will receive an answer to your request within five business days. Your hotel
               will pay no costs for the purchase of the domain (or its renewal) if it is registered
               through Hilton. You will be notified prior to the domain’s expiration by the do-
               main administrator to confirm or decline the renewal of the domain.
         I. Hosting
           The hotel and its vendors will be solely and directly responsible for everything relating
           to their Web sites, including without limitation, site hosting and maintenance. Hotels
           may have their sites hosted by a company other than the site creator/developer. The
           third party host must sign the Hilton Web Services Agreement. If a domain name server
           (DNS) change is needed for a domain owned by Hilton, go to OnQ Insider. HHC’s do-
           main administrator will make the change within five business days of the submittal of
           the form. Once the DNS has been updated, allow an additional 24 to 72 hours for the
           change to propagate throughout the Internet.
         J. Brand Style Guides
           The site must be well constructed with a “look and feel” consistent with Brand stan-
           dards. All design must be approved by the appropriate Brand Marketing team prior to
           the site going live. It is best to include them in the initial design process to prevent any
           changes later on. Please forward to Hampton Brand Marketing at
           hampton.marketing@hilton.com.




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        K. Reservations Functionality
            1. Booking Engines
               All reservations are to be routed directly to Hilton’s brand.com Web site. Any and
               all fees, taxes, commissions or charges of any kind due or payable in regard to res-
               ervations are the hotel’s sole responsibility.
                a. The site must link back to the main brand.com reservations module for any/all
                   reservations.
                b. No brands outside of the Hilton Family of brands may be cross sold.
                c. In order to pass customers to a specific CTYHOCN reservation page or package
                   page, certain parameters to the main reservation URL have to be added. For
                   example:
                     1) https://secure.hilton.com/en/hp/res/index.jhtml

                     2) Main reservation URL for Hampton Inn & Suites Shady Grove, add
                        CTYHOCN

                     3) Featuring property – Hampton Inn and Suites
                        https://secure.hilton.com/en/hp/res/index.jhtml?ctyhocn=memsghx
                d. There are other parameters that can be added to pass the customer to a specific
                   reservation result, including:
                     1) SRP

                     2) SRP description

                     3) Corp ID

                     4) Arrival and departure dates

        L. Search Engine Optimization and Marketing
           Hilton Hotels Corporation has engaged Wahlstrom Interactive (www.wahlstrominterac-
           tive.com) to provide a corporate strategy for search engine marketing and optimization.
           Search Engine Marketing consists of two important areas: Optimization and Pay for
           Performance.
           As Hilton Hotels Corporation rolls out the Search Marketing Strategy for the Hilton
           Family of Brands, clusters, and local properties, there are some key principles that are
           critical in order for HHC to achieve efficient and cost effective results. For the latest
           strategy, please defer to the Search Engine Marketing Strategy Survival Kit which can be
           found in the Online Marketing Tool Kit at OnQ Insider > Hampton Brand.




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           No hotel/management company/franchise group may (directly or indirectly) purchase
           a keyword that includes any Hilton trademarked names other than their own officially
           approved hotel name. Nor can they purchase other trademark names of competitor ho-
           tels. Nor can they authorize a third party to purchase the hotel name under any circum-
           stance.
           Given the changing nature of this technology, HHC has the right to withhold approval,
           withdraw any prior approval and modify our requirements.
        M. Reporting and Analytics
           The Web site hosting company is required to provide the following basic reporting
           upon request to HHC for measurement of the success of the site:
            1. Reports for the entire site as well as participating featured hotels
            2. A visitor summary representing unique visitors, average visits per visitor, visitors
               who visited once, and visitors who visited more than once
            3. Page views
            4. Visits
            5. Top pages
            6. Top referrers
        N. Links to Other Sites
           The site can neither promote nor link:
            1. To any non-HHC property
            2. To any third-party Web site unless approved by BDM
            3. To other sites that dilute traffic from the brand.com site
            4. To other sites that generally have content that HHC does not have control over and
               any questionable data/content can therefore not be controlled
        O. Third Party Links
            1. Framing
               “Framing” is the process of allowing a user to view the contents of one Web site
               while it is framed by information from another site, similar to the “picture-in-
               picture” feature offered on some televisions. For example, a user of a search engine
               may view the contents of an online store that is framed by the search engine’s text
               and logos.
                a. The site cannot use framing or other methods to copy or make any use of the
                   content of stand-alone Web sites. Also, the hotel cannot permit the site to be
                   framed.




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                b. Framing may trigger a dispute under copyright and trademark law theories
                   because a framed site arguably alters the appearance of the content and creates
                   the impression that its owner endorses or voluntarily chooses to associate with
                   the framer.
            2. Third Party Links Outside of the Brand
                a. If using third party links outside of the Hilton brand sites, they must be
                   opened using an external browser screen window.
                b. The hotel must review, and Hilton retains the right to disapprove at any time,
                   linked third party sites outside of the brand. Any such site cannot include in-
                   formation about, or link to, other competing hotel Web sites nor have “ques-
                   tionable” data.
        P. Images/Photos Brand Approvals
            1. Hotels submitting images must prove in writing that they own the images and
               have Internet usage rights. Usage remains at the hotel’s sole risk and responsibility.
               Photography release forms must be signed by any photographer for any property
               image. (The hotel must ensure that it can use all images without any obligation to
               pay a recurring royalty fee). Releases may also be obtained from agencies hired by
               the hotel (if the agency’s contract specified that the hotel owns all rights and privi-
               leges related to the images). Each hotel must maintain in its records original signed
               copies of all necessary releases, agency agreements, work-for-hire agreements, non-
               disclosure agreements and all other agreements related to its submitted images,
               content and sites.
            2. No hotel may have more images on a third party or stand-alone Web site than they
               have posted on www.hampton.com.
            3. Images must be an accurate representation of the hotel facilities and rooms.
            4. Specific required images to be available on www.hampton.com are outlined in the
               Hampton Online Image Requirements which can be found in the Hampton Brand
               standards-Hampton Online Image Requirements, refer to Standard 610.07.
        Q. A message must be displayed on the home page that states: “This Web site is for an
           individual hotel, (your hotel name). You may obtain further information regarding
           Hampton hotels at hamptoninn.com.” This information must link to the Hampton
           brand Web site.
        R. Logos/Copyrights
           All property stand-alone sites must feature the copyright line of ©[year, e.g., 2008]
           Hilton Hotels Corporation at the bottom of each Web page. Franchised properties may
           also feature the copyright line of its ownership group.
           All appropriate brand logo usage and copyright standards must be followed.




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        S. HHonors
           All HHonors content and/or integration of HHonors® with links to www.hiltonhhon-
           ors.com must be submitted to HHonors for approval. Contact your HHonors Market-
           ing Manager.
        T. Data Capture and Email Lists
           Stand-alone sites are not permitted to create their own e-mail capture or collect infor-
           mation from site visitors nor are they permitted to send promotional e-mails.
           Stand-alone sites must adhere to 122.00 Brand Privacy Rules.
        U. Brand.com Referral Links
            1. Required
                a. Reservations
                   The site must link back to the main hamptoninn.com reservations module for
                   any/all reservations. See detail under “Reservations Functionality” section.
                b. Groups and Meetings
                   The site must link back to the main www.hamptoninnmeetings.com or www.
                   hiltondirect.com. Request a proposal for any and all group, meeting, conven-
                   tion, leisure, and tour/wholesale related requests. See detail under Groups and
                   Meetings Functionality section.
                c. Our Best Rates. Guaranteed.
                   Mention the Best Rates guarantee on the home page and reservation pages and
                   link to http://www.hiltonworldwide.com/en/ww/ourbestrates/overview.html
                d. HHonors
                   Link to either www.hiltonhhonors.com or http://www.hilton.com/en/hhon-
                   ors/points/index.html.
            2. Optional
                a. Directions and transportation
                b. Specials and offers
                c. Local maps
                d. Business and attraction locator
                e. The weather feature on brand.com is not licensed for use on any stand-alone
                   Web site.




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          V. Technology Considerations
              1. Supported platforms and operating systems are Windows 2000, Windows XP and
                 Mac 9.01.
              2. Browsers supported are Netscape 6.0 and greater and Internet Explorer 5.5 and
                 greater.
              3. Page size is to be under 100K, except to the extent specifically approved by Cor-
                 porate. All images should be optimized. Flash images are allowed if the page size
                 remains under 100K.
              4. PDF attachments are acceptable. We recommend that they stay under 1MB size to
                 prevent long download times for the user.
         W. A list of approved vendors can be found within each brand’s online marketing Tool Kit
            on OnQ Insider > Hampton Brand.
          X. Additional pages or functionality added to the Web site after the initial launch of the
             site must be reviewed and approved as well by Hotel Content at Hotel.Content@hil-
             ton.com and Hampton.Marketing@hilton.com.
 610.03 Hilton Family Cluster Website
         Hotels desiring to participate with a Hilton Family Cluster Web site must comply with HHC
         cluster guidelines. See HiltonNet Clusters Web Site information on OnQ Insider.
         Contacts/Resources
          A. For Hilton Legal Department, Brand Online Marketing, Domain Request for Purchase
             Tool Kit, Domain Transfers and Domain Redirects, refer to OnQ Insider
          B. BDM (Brand Distribution Marketing) Manager for Clusters
             Pending generic phone and e-mail
          C. Hotel Content
             (877) 777-7881
             hotel.content@hilton.com
         D. Purchase or Transfer of Domain Names
            Hilton’s Domain Administrator
            Domain.admin@hilton.com
          E Brand Marketing
            (800) 615-4007
            hampton.marketing@hilton.com




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                                                                  Information Technology
           F. International/Regional Contacts

               Mexico                                     hhonorsmarketing.mexico@hilton.com
               Canada                                     hhonorsmarketing.canada@hilton.com
               Alaska, Arizona, California, Colorado,     hhonorsmarketing.west@hilton.com
               Idaho, Montana, Nevada, Oregon,
               Utah, Washington, Wyoming
               Hawaii, Iowa, Illinois, Indiana, Kansas,   hhonorsmarketing.central@hilton.com
               Michigan, Missouri, Minnesota, North
               Dakota, Nebraska, New Mexico, Okla-
               homa, South Dakota, Texas, Wisconsin
               Connecticut, Delaware, District of         hhonorsmarketing.northeast@hilton.com
               Columbia, Maine, Maryland, Massa-
               chusetts, New Hampshire, New Jersey,
               New York, Ohio, Pennsylvania, Rhode
               Island, Vermont, Virginia, West Virginia
               Alabama, Arkansas, Florida, Georgia,       hhonorsmarketing.southeast@hilton.com
               Kentucky, Louisiana, Mississippi, North
               Carolina, South Carolina, Tennessee


 610.04 All sites containing any of the trademarks and any linked sites must advertise, promote, and
        reflect on your hotel and the system in a first-class, dignified manner. Hilton’s right to ap-
        prove all materials is necessitated by the fact that those materials will include and be inex-
        tricably linked with its trademarks. Therefore, any use of the trademarks on the World Wide
        Web, the Internet, or any computer network, must conform to Hampton’s requirements,
        including the identity and graphics standards for all system hotels. Given the changing
        nature of this technology, Hampton has the right to withhold its approval and to withdraw
        any prior approval to modify its requirements.
 610.05 You may not (without a legal license or other legal right) post on your site(s) any material
        in which any third party has any direct or indirect ownership interest, including video clips,
        photographs, sound bites, copyrighted text, trademarks or Trademarks, or any other text or
        image in which any third-party may claim intellectual property ownership interests. You
        must incorporate on your site(s) any other information Hampton requires in the manner it
        considers necessary to protect its trademarks.




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610.06 Upon the expiration or termination of the Franchise License Agreement, you must irrevo-
       cably assign and transfer to Hilton (or to its designee) all of your right, title and interest
       in any domain name listings and registrations which contain any references to our marks,
       system or licensed brand, and must notify the applicable domain name registrar(s) of the
       termination of your right to use any domain name or site(s) associated with the trademarks
       or the licensed brand, and will authorize and instruct the cancellation or transfer of the do-
       main name to us (or our designee), as directed by us. You must also delete all references to
       Hilton’s marks or licensed brands from any other site(s) you own, maintain or operate be-
       yond the expiration or termination of the Franchise License Agreement. (Franchise License
       Agreement, Paragraph 5c.)
610.07   Required and Recommended Imagery for Hampton.com
         All Hampton Inns and Hampton Inns & Suites must make available still property images
         on the brand Web site, www.hampton.com. Hotels may load multiple images free of charge.
         For information on loading images, consult the following Web site OnQ Insider.
          A. Hampton Inn hotels must have a minimum of four still images.
          B. Hampton Inn & Suites hotels must have a minimum of five still images. The core four
             as indicated for the Hampton Inn brand, plus a guest suite image.
         C. All online images of the hotel or property must adhere to the following:
              1. No hotel may have more images on the third-party or stand-alone Web site than it
                 has posted on www.hampton.com.
              2. Images must be an accurate representation of the hotel facilities and rooms.
         D. Specific required images to be available on www.hampton.com are as follows:
              1. Exterior
              2. Breakfast area
              3. Front desk/lobby
              4. Standard guest room
              5. Guest suite (for Hampton Inn & Suites)
          E. Other ideas (ideal but not mandatory) are:
              1. Swimming pool
              2. Fitness center
              3. Conference/meeting room
              4. Business center




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611.00 Hotel Information Security Standards
         Hilton Hotels Corporation and the Hilton Family of Brand Hotels are dependent on the
         timely and appropriate access to information and information systems. The HHC Informa-
         tion Security Department assists the corporate-owned and managed Hilton Family of Brand
         Hotels to maintain the confidentiality, integrity and availability of corporate information
         and information systems. The Information Security Standards are requirements for corpo-
         rate owned or managed hotels and recommended as information security practices for fran-
         chise hotels.
611.01   Business Center
         A. All business center computers must have an up-to-date anti-virus program installed that
            cannot be disabled.
          B. Anti-spyware software must be installed and current for Windows-based systems.
         C. All business center computers must be routinely updated with all patches within 30
            days of their release date from the software manufacturer (e.g., Microsoft Updates).
         D. All business center computers must be inspected daily for physical key logging devices.
          E. All business center computers must be on a network separate from the hotel’s Property
             Management System network or using INCS.
          F. All unnecessary and insecure services and protocols not directly needed to perform the
             devices specified function (e.g., FTP & telnet) must be removed.
         G. Default passwords for administrative or evaluated rights must meet the requirement of
            a strong/complex password and be changed every 90 days.
         H. Administrator account cannot be “administrator” and must be renamed at time of in-
            stallation.
          I. Guest access to the workstation must be through the Windows Guest account or some
             similar account with no administrator or power user privileges.
611.02   Applications/Systems
         A. Property Management System (PMS) version must be Payment Application Best Prac-
            tice (PABP) and/or Payment Application Data Security Standard (PA-DSS) certified. A
            list of approved PABP applications and version can be found at:
            http://usa.visa.com/download/merchants/validated_payment_applications.pdf
          B. Vendor software (F&B POS, Retail POS, Parking Garage, Spa, Golf, etc.) must be PABP
             certified if applicable (credit card data is entered, procured, transmitted and/or stored).
         C. All receipts (PMS, F&B, Retail, Spa, Parking Garages, etc..) should NOT display full
            credit card number and/or credit card expiration date. Last 4 numbers of the credit card
            is fine; the rest should be masked (displayed with XXXXXs or not displayed at all). Expi-
            ration date should never be displayed on the receipt.



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         D. Maintenance and emergency software patches for non OnQ systems (e.g., Point of Sale
            systems) must be installed and kept up to date per vendor specifications.
          E. Application system data input should be periodically reviewed to ensure the integrity of
             the data entered (e.g., Guest information is not generic, data entered is complete).
611.03   Computer Access Controls
         A. Access to any computer system information must be limited to a business need to-know
            basis.
          B. Access to credit card data must be limited to employees that require access for business
             purposes.
         C. Employee access and employee permission levels must be reviewed and signed off quar-
            terly by the general manager or his/her representative.
         D. Employee access (and permissions) must be reassigned with changes in job duties. Each
            employee is required to have a unique ID for computer access.
          E. Employees must be educated on the need to keep their username/passwords private
             and secure.
          F. User accounts for terminated employees need to be disabled within the OnQ Identity
             System within 48 hours.
         G. User accounts for applications not synchronized with the OnQ Identity System must be
            disabled immediately for terminated employees.
         H. 3rd party vendor (e.g., POS system) remote access must be control and regulated per
            the vendor remote access standards using Positive Networks VPN solution.
611.04 Physical Security
         A. Access to the computer facilities (e.g., server rooms, telephone closets, etc.) must be
            secured and restricted to authorized personnel (e.g., hard key, keycard, etc.).
          B. Access to all computer network equipment (e.g., switches and patch panels) must be
             secured and restricted to authorized personnel (e.g., locked cabinet).
         C. All OnQ network and VOIP jacks in public areas must be secured with a lockbox or
            similar device or unplugged at the patch panel to disable the jack when not in use.
         D. All wireless access points must be stored securely (e.g., in a locked box).
          E. System backup tapes must be securely stored in a fire-proof safe or locked cabinet away
             from the server.
          F. System backup tapes must be labeled appropriately (e.g., date, contents, confidential—
             if appropriate).
         G. Hard-copy documents with credit card or other sensitive information (e.g., audit packs,
            reports, faxes, ledgers, etc.) must be stored securely (locked file cabinet, etc.).



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         H. All hard-copy documents must be crosscut shredded when no longer required or once
            they have reached the end of the retention period established in the retention policy.
          I. Workstations and servers must be securely wiped of all data when repurposed, re-
             freshed, returned or retired.
611.05   Wireless Network
         A. Wireless networks must be encrypted.
          B. Vendor default SSID on wireless access points must be renamed.
         C. The OnQ network firewall must be installed to restrict access to critical applications
            from vendor applications.
         D. HSIA must be on a separate network from the OnQ network or separated by a firewall.
          E. Guest HSIA networks must not be used for POS and/or OnQ servers and workstations.
          F. All third party applications or systems must be certified by the OnQ Change Control
             Committee prior to being installed on the OnQ network.
611.06 Network
         A. Vendor supplied usernames and passwords must be removed from all applications and
            devices.
          B. All unnecessary and insecure services and protocols not directly needed to perform the
             devices specified function are to be disabled (e.g., FTP & telnet must be disabled).
         C. Intrusion detection systems must be left in place as configured by the OnQ Implemen-
            tation team to monitor unauthorized network access.
         D. All servers and workstations installed on the OnQ network must be configured with a
            current functioning anti-virus program.
          E. Any third party networks must be separated from the OnQ network by a firewall ap-
             proved and provided by Hilton.
          F. OnQ Property Management server backups must performed daily and label as appro-
             priate (e.g., date, contents, confidential).




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612.00 In-Room, On-Demand Movies and Video Games
612.01   Properties may, at their option, offer in-room, on-demand movies and/or video games.
         If your hotel is interested in installing in-room, on-demand movies or video games, please
         contact a Hilton In-room Entertainment Services (HIES) respresentative at 866/446-7666.
         Lodgenet is the recommended supplier.
612.02   Guests are typically charged a fee for movies and video games. This fee is billed to the guest
         folio, then shared between the movie supplier and the hotel property. The hotel is required
         to handle overall accounting activities and monthly revenue share submission to the sup-
         plier. Property management system interfaces may require additional license and mainte-
         nance fees.




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613.00 Hampton High-speed Internet Access (HSIA)
       Operational and Technical Standards
        Hotels opening after August 1, 2007, must implement the Stay Connected high-speed Inter-
        net solution. Existing hotels open prior to August 1, 2007, must maintain standard 613.01
        and comply with the following Stay Connected standards by December 31, 2008.
613.01 Existing Hotels and Preferred HSIA Providers
         A. Pre-Survey Questionnaire (Stay Connected)
            All hotels must complete the online pre-survey questionnaire (PSQ) by May 31, 2008,
            to begin the transition to the Stay Connected program. The survey can be found at:
            https://racs.raioam.com/Login.aspx?mode=gm.
         B. Guest Rooms
            High-speed Internet access (wired or wireless) must be installed and functional in all
            hotel rooms. HSIA must be offered as a complimentary service.
        C. Lobby/Breakfast Area
            High-speed Internet access (wireless) must be available in the lobby/breakfast area and
            be offered as a complimentary service.
        D. Meeting Rooms
            High-speed Internet access must be installed and functional in all meeting rooms (wire-
            less) and must be offered as a complimentary service.
         E. Collateral
            Brand approved collateral must be maintained in guest rooms, clearly identifying the
            provider service number and technical support directions.
         F. Hotels must maintain technical support for guests, 24-hours a day, through an HHC
            approved HSIA provider until the transition to the Stay Connected program by Decem-
            ber 31, 2008. Support must include:
             1. System availability must be 95 percent or greater.
             2. Provider must maintain on-site break-fix services.
             3. Proactive network monitoring to ensure maximum system performance.
             4. Monthly reporting including system usage, bandwidth consumption, system
                up-time and call center statistics.
        G. Ethernet bridges must be available at the front desk to accommodate 10 percent of the
           total guest rooms.




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613.02 Stay Connected Installation (if applicable)
         A. Guest Rooms
            HSIA must be installed in 100% of guest rooms with either a wired or wireless solution.
            For wired solutions, a physical connection must be plainly visible on the desktop. (See
            Standard 613.04.)
         B. Lobby/Breakfast Area and Business Center
            Wireless HSIA must be installed in the lobby, breakfast area and the business center.
            Wireless HSIA must be offered as a complimentary service.
         C. Meeting Room
            All meeting and boardrooms must have wireless HSIA installed.
         D. In-Room Pull Through Cables Device
            Must be provided for wired solutions and must be of sufficient length to allow guest
            laptop access from any point on the desk.
         E. Collateral Hardware
            Brand approved in-room collateral must be available in guest rooms. (See Standard
            613.08.)
         F. Premise Cabling
            Hotels opening on Stay Connected are required to install Cat5e or Cat6 cabling.
         G. Remediation to meet HHC
            All existing hotels are required to implement, as their responsibility, the remediation
            recommendations made by HHC, based on HHC-managed surveys.
        H. Only HHC and its agents are allowed to perform any of the following HSIA services:
             1. Installation of HSIA equipment
             2. Provisioning and installation of HSIA circuits (See Standard 309.13D.)
             3. Hotel and consumer HSIA support
         I. Selection of an Equipment Vendor
            Hotels must purchase and install hardware and software to meet this high-speed Inter-
            net access requirement, in addition to the hardware and software for OnQ. This HSIA
            hardware will be purchased from a preferred service provider chosen by Hilton Hotels
            Corporation, installed by Hilton or our agents and maintained by Hilton or our agents.




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         J. Payment for Equipment, Services and Other Fees
            All fees and costs for equipment, procurement and installation services provided by
            Hilton’s preferred services provider will be billed to the hotel by the preferred services
            provider or Hilton. Any pre-installation infrastructure work to be performed by the
            Hotel and any core drilling, firewall penetration, wiring chase installations and lift
            rental are the responsibility of the hotel.
613.03 Basic HSIA Features
         A. The HSIA service must provide certain basic capabilities. The desired solution must
            provide either:
             1. A Wireless 802.11b or 802.11g dual mode connection. It is mandated that all access
                points are powered over Ethernet and connect directly to a switch. No local AC/DC
                wall power adapters can be used on the Access Point.
                Or:
             2. A Wired Ethernet Solution CAT5e or CAT6 Cabling will be connected directly into
                the Ethernet switch and will not exceed 100 meters or 300 feet (sharing CAT5 pairs
                between a non-IP phone system and data not allowed). A patch cable must be pro-
                vided and on the desk. No split-pairs are allowed
             3. A Wired DSL connection using either:
                 a. Existing in-room CAT5 cable cabling, or
                 b. Existing CAT3 telephone cabling – in-room device included along with all
                    cables provided
         B. Wireless Installations
            Wireless 802.11b/g (dual mode) Ethernet bridges (approved models with HHC firm-
            ware)— refer to Standard 613.08—must be provided for at least 10 percent of the total
            number of guest rooms (e.g., 10 wireless bridges for a 100 room hotel). These devices
            must be plug-and-play and must not require any configuration of the guest’s laptop or
            the wireless bridge. These must be approved by HHC.
         C. Wired Installations
            HSIA connections in meeting rooms and guest rooms must offer a standard Ethernet
            jack (RJ-45). Category 5e or 6 Ethernet cable connections must be supported and pro-
            vided as required by the solution. Category 5 Ethernet “patch” cables should be avail-
            able in the room for guest use. There should be no additional charge to the guest for an
            Ethernet cable to be in the suite.
        D. Guests must be able to use the telephone and the HSIA service at the same time with no
           perceived degradation in service quality.




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        E. The connection must be always available or “always on” just as any LAN connection
           might be in a corporate environment. The router will not need to re-authenticate after
           any idle period that may be encountered, CAT5 or CAT3 connections may only share
           the cable with the phone system in the case of a DSL installation, and the HSIA and
           phone connection must be available concurrently.
         F. Compatibility
           The HSIA wired solution must fully support the IEEE 802.3 and IEEE 802.3u standard
           for wired connectivity. The HSIA wireless solution must fully support the IEEE 802.11b
           and IEEE 802.11g wireless connectivity standards.
        G. Any equipment installed by the HSIA provider must be tested and approved by the
           Underwriters Laboratory (UL). Any installation of cabling or electrical wiring must be
           in compliance with existing local, state, or federal codes.
        H. The HSIA provider must use hardware and software components that have been certi-
           fied by HHC as meeting this standard. Only equipment certified by HHC meets stan-
           dards. Equipment not certified by HHC equals not meeting standards. A list of certified
           equipment is included in Standard 613.08.
613.04 Authentication and Content
        A. Hilton Hotels Corporation (HHC) requires that, prior to being given access to the sys-
           tem, all users must be authenticated through a HHC approved system.
        B. The HSIA system will be configured to present the guest with the standard HHC terms
           of service page prior to being permitted to use the HSIA service.
        C. The HSIA system will be configured to redirect the user to a standardized brand-specific
           first up Web page once the user has accepted the standard terms of service.
        D. HHC shall have exclusive control over any content displayed or otherwise made avail-
           able through the HSIA system. At all times, HHC will have complete veto authority over
           the presentation of any content or service on the HSIA system.
        E. The HSIA service must include collateral in each guest room that provides detailed
           instructions on accessing the HSIA service. The complimentary contact number for the
           Stay Connected Customer Care service must be displayed (as part of the standard collat-
           eral) at all times. All collateral placed in the hotel must meet the brand identity guide-
           lines and be approved in advance by HHC.




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613.05 Service Requirements
        A. Monthly average system availability (up-time) must be 95 percent or greater and quar-
           terly average system availability must be 98 percent or greater. The HSIA selected service
           provider must be able to provide monthly performance reporting to the hotel.
        B. The HHC selected service provider will provide on-site break-fix services, for which the
           hotel pays a monthly fee, to ensure that the system continues to function as intended
           and remains in good working order. The HSIA provider must respond to service prob-
           lems within the following time frames:
            1. For problems that materially affect or essentially prohibit the usage or operation
               of the service in more than 20 percent of guest rooms, provider will, if provider
               has not already monitored the problem remotely and begun to resolve it, respond
               to hotel within four (4) hours of notification by HHC. If necessary, provider will
               dispatch a technician to make required repairs and said repairs must be completed
               within twenty-four (24) hours of notification by the hotel.
            2. For problems that materially affect or prohibit the usage or operation of the service
               in less than 20 percent of guest rooms, provider will, if it has not already moni-
               tored the problem remotely and begun to resolve it, respond to hotel within four
               (4) hours of notification by HHC. If necessary, provider will dispatch a technician
               to make required repairs and said repairs must be completed by the end of the
               second business day.
            3. Hotels are required to carry maintenance contracts on certain hardware as specified
               by HHC.
            4. HHC’s selected service provider will maintain and depot spares on certain select
               equipment.
        C. Support services for the HSIA hardware and guest help desk function will be provided
           by HHC. This function will provide 24 x 7 x 365 customer support via a complimen-
           tary-to-guest 800 number and a 24 x 7 x 365 Tier II support number that is dedicated
           to hotel staff. All fees and costs for support and maintenance will be billed to the hotel
           by Hilton. Hotel will report issues to the Help Desk in a timely manner and maintain
           current and relevant support collateral, approved by Hilton, in guest rooms at all times.
           Hotel will also assist in support process as on-site resource for problem resolution. This
           includes a hotel-administered process to deliver a wireless bridge to the guest room
           when wireless coverage is determined to be an issue.
        D. Support Desk Requirements
            1. 90 percent of calls will be answered by a live person within 120 seconds
            2. Call abandonment rate will be less than two percent
            3. First call resolution will be greater than 90 percent




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        E. HHC will provide proactive 24 x 7 x 365 network monitoring to proactively identify
           and address system performance issues before hotel intervention is required. WAN cir-
           cuits, routers, switches, DSLAM devices and access points will have connectivity verified
           at least every 15 minutes.
         F. Must be able to provide reporting to the hotel regarding the following:
             1. System usage (e.g., take rates per 24 hour increments)
             2. Bandwidth consumption (e.g., average outlets in vs. average outlets out measured
                daily and monthly as well as peak usage statistics)
             3. System up-time
             4. Maintenance logs
             5. Call center statistics
                 a. Number of calls per month
                 b. Types of calls or support issues (including diagnosis of correctable problems)
                 c. Average speed to answer
                 d. First call resolution rates
                 e. Average talk time and average resolution time
613.06 Internet Connection Requirements
        A. Qualifying circuit types will include:
             1. T1 circuit
             2. T3 circuit (full or fractional)
        B. Circuit Provisioning and Monitoring
           Internet service must be upgraded in the event that the circuit is maintaining 80 percent
           of maximum port speed utilization for periods of more than 15 minutes at a particular
           time period barring any exceptional circumstances such as virus activity. Latency on the
           Internet circuit must not exceed 120 milliseconds to designated sites (e.g., yahoo.com).
        C. Equipment must not be in “end-of-life.”
        D. All HSIA network equipment must be configured in accordance with the HHC Techni-
           cal Standards documents. (See http://stayconnected.hilton.com.)
        E. The HSIA solution must be “plug-and-play” and engineered so that guests can obtain
           access to the Internet without the need to load software drivers or reconfigure their ma-
           chines in any way.




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613.07 Internet Circuit Providers
        The following is the bandwidth provider that has been certified and approved by HHC and
        meets the requirements of this standard.
        AT&T provides a wide range of voice and data services. They provide frame-relay connec-
        tions for OnQ connectivity, as well as T-1 and DS3 service for HSIA. In addition, they are
        able to provide us with a converged solution for voice and data, known as INCS (Integrated
        Network Connection Services).
613.08 Equipment Specifications
        Available at http://stayconnected.hilton.com




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614.00 DMX MUSIC Distributed Audio Standards
614.01 Hilton Hotels Corporation has developed a strategic partnership with DMX MUSIC to pro-
       vide audio systems, background music and messaging on-hold for all Hampton properties.
614.02 The purpose of this document is to provide a standard for all A/V equipment installed in
       new and existing properties. This includes but is not limited to audio and message market-
       ing source equipment, speakers, back-cans, baffles, supports, amplification and field wiring.
        The equipment list represents major equipment items for the distributed audio system.
        DMX MUSIC provides all necessary equipment for a complete working system.
614.03 Hampton Inn Standard System Design for New Properties
        Standards include the audio brand standards set forth for both center and end lobby proto-
        types as well as additional sound system design options.
         A. Equipment (Lobby/Common Areas) - S100
             Qty       Description

              1       DMX ProFusion X DMM provides both music and messaging on hold
                      (zone 1 and zone 2 respectively)
              1       TOA BG-1060 BGM Series Mixer-Amplifier provides adequate power for all speakers
              500’    Belden 18 2C CL2P White Plenum Cable
              9       DMX CM-1525R 5.25” flush-mount retro speaker and back cans in the common areas—this 		
                      audio zone includes hotel lobby, breakfast area and elevator lobby on the main level only
              2       DMX CM-1525R flush mount retro speakers and back cans in the Port Corche/Canopy
              1       Lowell 18x20 Equipment Shelf installed in the manager’s office or phone room


          B. Equipment (Pool Area – Optional) shared audio zone with Fitness - S101
              Qty      Description

              2       DMX SM-105 Speakers (white) installed in the pool area
              1       TOA BG-1015 Mixer-Amplifier supplies an additional music zone or
                      level (optional)


         C. Equipment (Fitness Area - Optional) shared audio zone with Pool - S102
              Qty      Description

              2       DMX CM-1525R Speakers (white) installed in the workout area
              1       TOA BG-1015 supplies an additional music zone or level (optional)
              1       DMX 10W Volume Control (white) located in the fitness room




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                                                                         Information Technology
        D. Equipment (Meeting Rooms - Optional) - S103
             Qty      Description

             4       DMX CM-1525R Speakers (white) installed in the meeting room area
             1       TOA BG-1030 Amplifier supplies an additional music zone or level (optional)
             1       DMX 100W Volume Control (white) located in the meeting rooms
             1       Microphone-XLR-Input Wall-Plate for optional microphone usage (combined rooms only)

614.04 Hampton Inn & Suites Standard System Design for New Properties
        Standards include the audio brand standards set forth for both center and end lobby proto-
        types as well as additional sound system design options.
         A. Equipment (Lobby/Common Areas) - S100
             Qty      Description

             1       DMX ProFusion X Digital Media Manager Music Source provides
                     both music and messaging on hold (zone 1 and zone 2 respectively)
             1       TOA BG-1060 BGM Series Mixer-Amplifier provides adequate power for all speakers
             500’    Belden 18 2C CL2P White Plenum Cable
             9       DMX CM-1525R 5.25" flush-mount Retro Speaker and Back Cans installed in the common 		
                     areas -this audio zone is to include, hotel lobby, breakfast area, and elevator lobby on the main
                     level only
             2       DMX CM-1525R flush mount retro speakers and back cans installed in the
                     Port Corche/Canopy
             1       Lowell 18x20 Equipment Shelf will be provided and installed in the
                     manager’s office or phone room


         B. Equipment (Pool Area – Optional) shared audio zone with Fitness - S101
             Qty      Description

             2       DMX SM-105 Speakers (white) installed in the pool area
             1       TOA BG-1015 Mixer-Amplifier supplies an additional music zone or level (optional)


        C. Equipment (Fitness Area - Optional) shared audio zone with Pool - S102
             Qty      Description

             1       DMX CM-1525R Speakers (white) installed in the workout area
             1       TOA BG-1015 supplies an additional music zone or level (optional)
             1       DMX 10W Volume Control – white located in the fitness room




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                                                                       Information Technology
        D. Equipment (Meeting Room[s] - Optional) - S103
            Qty      Description

            4       DMX CM-1525R Speakers (white) installed in the meeting room area
            1       TOA BG-1030 Amplifier supplies an additional music zone or level (optional)
            1       DMX 100W Volume Control (white) located in the meeting rooms
            1       Microphone-XLR-Input Wall-Plate for optional microphone usage
            1       RDL Room-Combining System for locations with multiple and/or
                    combinative meeting rooms – additional amplifiers may also be necessary


614.05 Hometown Hampton Standard System Design for New Properties
       Standards include the audio brand standards equipment as well as additional sound system
       design options.
        A. Equipment (Lobby/Common Areas) - S100
            Qty      Description

            1       DMX ProFusion X Digital Media Manager Music Source will provide both music and messaging
                    on hold (zone 1 and zone 2 respectively)
            1       TOA BG-1060 BGM Series Mixer-Amplifier provides adequate power for all speakers
            500’    Belden 18 2C CL2P White Plenum Cable
            7       DMX CM-1525R 5.25” flush-mount Retro Speaker and Back Cans installed in the common 		
                    areas -this audio zone is to include, hotel lobby, breakfast area and elevator lobby on the main
                    level only
            2       DMX CM-1525R flush mount retro speakers and back cans installed in the Port Corche/Canopy
            1       Lowell 18x20 Equipment Shelf will be provided and installed in the manager’s office or phone 		
            room


       B. Equipment (Pool Area – Optional) shared audio zone with Fitness - S101
            Qty      Description

            4       DMX SM-105 Speakers (white) installed in the pool area
            1       TOA BG-1030 Mixer-Amplifier supplies an additional music zone or level (optional)


        C. Equipment (Fitness Area - Optional) shared audio zone with Pool - S102
            Qty      Description

            1       DMX CM-1525R Speakers (white) installed in the workout area
            1       TOA BG-1015 supplies an additional music zone or level (optional)
            1       DMX 10W Volume Control – white located in the fitness room




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                                                                         Information Technology
         D. Equipment (Single Bay Meeting Room - Optional) - S103
              Qty      Description

              1        DMX CM-1525R Speakers (white) installed in the meeting room area
              1        TOA BG-1015 Amplifier supplies an additional music zone or level (optional)
              1        DMX 35W Volume Control (white) located in the meeting rooms
              1        Microphone-XLR-Input Wall-Plate for optional microphone usage

          E. Equipment (Large Meeting Room - Optional) - S103
              Qty      Description

              4        DMX CM-1525R Speakers (white) installed in the meeting room area
              1        TOA BG-1030 Amplifier supplies an additional music zone or level (optional)
              1        DMX 35W Volume Control (white) located in the meeting rooms
              1        Microphone-XLR-Input Wall-Plate for optional microphone usage (combined rooms only)


614.06 All equipment and materials shall be new, and conform to applicable UL, CSA, FCC, and
       ANSI provisions. Take care during installation to prevent scratches, dents, chips, etc.; equip-
       ment with significant or disfiguring cosmetic flaws will be rejected.
614.07 High purity stranded copper cable; insulation dielectric appropriate to signal and code
       requirements; foil or braid shield. Install in plenum (metallic conduit, wire-way,) or flex,
       unless otherwise noted or instructed. No substitutions are allowable without specific writ-
       ten approval. All cable for a given wiring category shall be consistent. For example, if Belden
       9464 is chosen for line level wiring, all line level wiring shall be done with this cable. Not
       all acceptable cables listed below may be employed in the system. Molded cable/connectors
       are not acceptable for audio, video, or control circuits, except computer signal intercon-
       nection or AC power cords. All equipment must be provided with signal and/or control
       cabling, whether or not specifically shown on the conduit and wiring drawings. The overall
       cable diameter is shown in inches.
614.08 Cable Connectors. Employ only new first quality connectors, assembled, wired, and in-
       stalled according to the manufacturer’s instructions. Do not mount connectors in inacces-
       sible locations, or employ to splice cables. Connectors shall typically be keyed to prevent
       improper insertion, and include strain relief mechanisms which firmly grip the cable. All
       audio, video, and control connectors not a part of manufactured equipment (BNC, XLR,
       phono, video patch, card edge, multi-pin, spade lug, etc.) shall have gold plated contacts.
       Exceptions: 1/4” phone and audio patch plugs.
614.09 Hilton Hotels Corporation (or franchisee) provides drawings and schematics for the Prop-
       erties as described below, DMX MUSIC will use this information as the basis for preparing
       their proposal. In addition to the said drawing, DMX MUSIC will need to be provided own-
       er information including contact name, address, and hotel information including complete
       address, phone number, GC contact information and target build schedule.




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          B. Hampton Inn & Suites
              1. Ground floor plan
              2. Lobby and core reflective ceiling plan
              3. Interior elevations
         C. Hometown Hampton
              1. Ground floor plan
              2. Lobby and core reflective ceiling plan
              3. Interior elevations
614.10 Contact Information
         DMX MUSIC
         900 East Pine Street
         Seattle, WA 98122
         Phone (800) 687-0652
         Fax (206) 328-1335
         E-mail
         groupmih@dmxmusic.com
614.11   Electrical Contractors and the Scheduled Work of Other Trades
         Conduit; wireways; floor, wall, pull, and junction boxes; and AC power circuits and ground
         wiring to the A/V system power box(es), permanently installed in the building or in archi-
         tectural millwork, are provided by the Electrical Contractor.
         Owner to provide either an analog phone line or Ethernet connection for ProFusion X
         communications and updates and a music on-hold input in the specified phone system for
         Message Marketing OnHold by DMX MUSIC.




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